l"                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 1 of 187




                                        AMENDED AND RESTATED

                                 AGREEMENT OF LIMITED PARTNERSHIP OF

                                       2013 TRAVIS OAK CREEK. LP




                                                  M'AY 23,?.014




            4837 -4545-8969.4
                                                      EXHIBIT
                                            tto
                                            o
                                            o
                                            g
     CONF   I DENT IAL                                                 PLAINTIFFS_OOOOB456
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 2 of 187
                                                                                                                                  .l

                                                       TABLE OF CONTENTS
                                                                                                                         Page

                                                           ARTICLEI
                                                       NAME AND BUSINESS


                Place   of Business; Registered   Agent                                                   ................... I

                General and Limited Partners; Time of Admission and/or   Withdrawal.......       ............................1




                                                           ARTICLEII



                                                           ARTICLE III
                                                            CAPITAL
                Capital Contributions of the General Partner.........                                   ........,.......... 15

                Capital Confributions of the Limited Partner...........                                   .................15




                Tax Credit Covenants, Duties and Obligations; Adjustments to Capital   Contributions                .......18



                                                    ARTICLEIV
                                    ALLOCATION OF PROFIT AND LOSS; DISTRIBLTTIONS
                Allocation of Net Profit and Net Loss...............                               ......-..-..-...........21

                Distribution of Net Cash F1ow.............                                                   ..............23

                Allocation of Net Profit on Sa1e..........                                                .................24

                Allocation of Net Loss From Sale......                                                      .......,.......24

                Distribution of Net Cash Proceeds From a Sale or Refinancing..                          ...................24

                Revaluation of Partnership Property........                                                       .........25

                Consent to Allocations and Distributions ..............-.                                  ...........,....25

                Allocations and Distributions Within a Class                                     ...........................25



                                                           ARTICLEV
                                       PURCHASE OF LMITED PARTNERS' INTERESTS
     5.1.       Right To Require    Repurchase...                                                 ..........................27

     5.2.

     ).J.
                                                           ARTICLE VI
                                   RIGHTS. POWERS AND DUTIES OF GENERAL PARTNER

     6.1.

     6.2.       Resbictions on Authoritv of General    Partner...........                                  .................30



     Page   i
     4837-4545-8969.4




CONFI DENTIAL                                                                              PLA]NTIFFS OOOOB45l
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 3 of 187




       6.5.     Duties, Covenants, Obligations, Representations and  Warranties................        ........................33

       6.6.     Limitation on Liability; Indemnification ....................                                     .............40

       6.7.     Development Duties, Covenants and Ob1igations.....................                        .............'..'.,..41

       6.8.     Development and Other Fees...............                                                        ..............43



       6.10.    Partnership Manager and Tax Matters    Partner...........                                       ...............46



       6.12.    Transactions With Lenders, Agencies and Affiliates of the SLP or the   ILP......            ...................49




                                   RrcHrs AND LIMITi+Sift%;Ii,IMITBD pARTNERS


       7.2.     No Right To Manage; Right To    Inspect...........                                      ...............'.......50


       7.4.     Death, Disability, etc. of aLimited   Partner                                      .............................51



       7.6.     Proposal and Adoption of Amendments Generally...                                                ................51

       7.7.     Special Rights of the Limited Partners.........                                    .............................52

       7.8.     Extraordinary Limited Partner Expenses                                                              ............56

       7.9.

       7.10.    Sale; Purchase Option and Right of First   Refusal..........                                         '.........-57
                                                           ARTICLEVIII
                                             TRANSFER BY LIMITED PARTNERS
       8.l.ComplianceWithSecuritiesLaws......,....
       8.2.




                                                            ARTICLE IX
                                          CHANGES AMONG GENERAL PARTNERS




       9.3.     Withdrawal of All General   Partners.......                                                        .............61

       9.4.     Interest of General Partner After Permitted Withdrawal                                               ...........   6l


                                                            ARTICLEX
                                    ACCOUNTING. RECORDS & FINANCIAL REPORTING




       4837-4545-8969.4




CONF   I DENT IAL                                                                             PLAINT]FFS_OOOOB458
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 4 of 187




     10.7.     Construction Draws, Audits, Tax Filings and   Comp1iance..................                   ............62


     10.9.                                     Budgets.........
               Operating and Capital Expenditure                                                     ...................67
     10.10.    Other Management   Reporting, Miscellaneous...................               .............................68




     10.13.                                          X...................
               General Terms and Provisions of Article                                                      ............69
     10.14.    Compliance   With Other Interested Parties...........                               .....................69


                                           rERMINArrSilirT#rroruuo*


                                                         ARTICLE XII

     AGENCY REGULATIONS                                                                                                 70
                                                         ARTICLBXIII
                                                     MISCELLANEOUS




     13.12.    Governing Law, Jurisdiction and   Venue............                                .......................72

     13.13.

     EXHIBIT I REAL PROPERTY DESCRIPTION
     EXHIBIT 2 PARTNERS' CAPITAL CONTRIBUTIONS AND INTERESTS
     EXHIBIT 3 GENERAL PARTNER'S FUNDING CERTIFICATE

                                                               lll
     4837-4545-8969.4




CONF] DENTIAL                                                                        PLAINTIFFS                          OOOOB459
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 5 of 187




       EXHIBIT4 PLANS AND SPECIFICATIONS
       EXHIBIT 5 AGREEMENT OF GUARANTY
       EXHIBIT 6 REQUIRED INSURANCE
       BXHIBIT 7 FORM OF TRANSFER AMENDMENT
       EXHIBIT 8 PROJECT FORECAST
       EXHIBIT 9 FORM OFACCOUNTANT'S ADDENDUM
       E)GIIBIT 1OFORM OFQUARTERLY STATUS $PORT




                                                lv
       48374545-8969.4




CONF   I DENT IAL                                              PLAINTIFFS-OOOOB46O
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 6 of 187




                                           AMENDED AND RESTATED
                                     AGREEMENT OF LIMITED PARTNERSHIP OF
                                          2013 TRAVIS OAK CREEK, LP



               THIS AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP                                                    (this
     'ACreement") is entered into as of May 23,2014, by and among 2013 TRAVIS OAK CREEK GP, LLC, a Texas
     limited liability company (the "General Partner"), RENE O. CAMPOS, in his individual capacity (the 'Onigina!
     Limited Partner"), PNC BANK, NATIONAL ASSOCIATION, a national banking association (the "!f,"), and
     COLUMBIA HOUSING SLP CORPORATION, an Oregon corporation (the "SLP").

                                                      WITNESSETH:
              WHEREAS, the Partnership was originally formed as a limited partnership under the laws of the State
     pursuant to the Original Certificate and Original Agreement; and

              WHEREAS, this Agreement is entered into to amend and restate the Original Agreement to (i) admit the
     ILP and SLP   as Limited Partners, (ii) provide for the withdrawal of the Original Limited'Partner and (iii) set out
     more fully the rights, obligations, and duties of the General Partner and the Limited Partners.

               NOW, THEREFORE, the parties agree to the continuation of the Partnership as a limited partnership
     pursuant to the Partnership Act upon the following terms and conditions which amend, restate and supersede those
     set forth in the Original Agreement. Capitalized terms shall have their meanings set forth in Article II.

                                                          ARTICLE         I
                                                     NA.ME AND BUSINESS

               l.l.     Name. The name of the Partnership conunues to be 2013 Travis Oak Creek, LP, and the federal
     tax identification number for the Partnership is XX-XXXXXXX.

               1.2.     Place of Business: Resistered Aeent. The principal place of business of the Partnership in the
     State is located at the address so identified in the Schedule, or such other place as the General Partner may hereafter
     designate upon written notice to the Limited Partners. The Partnership's registered agent for service of process in
     the State shall be as identified in the Schedule.

               1.3.      General and Limited Partners: Time of Admission and/or Withdrawal.

                         (a)     The names and addresses ofthe Partners are as set forth on Exhibit 2.

                         (b)     The ILP and the SLP shall be deemed to be admitted to the Partnership as such as of the
     Closing Date.

                         (c)     The Original Limited Partner hereby acknowledges the return of its capital contributions
     to the Partnership and withdraws from the Partnership and hereby represents that the Original Limited Partner's
     spouse, if any, has been notified of such withdrawal and return of capital contributions and further represents that
     neither the Original Limited Partner nor their spouse,   if   any, has any interest in or claims against the Partnership as a
     partner thereof or as a spouse thereof.

                         (d) Any Partner admitted after the Closing Date in accordance with this Agreement shall be
     deemed to have been admitted to the Partnership as of the first day of the calendar month during which such Partner
     is admitted.

              1.4. Purposes. The only purposes of the Partnership are to acquire, construct and/or rehabilitate as
     applicable, own, develop, operate, maintain, manage, lease, sell, mortgage or otherwise dispose of the Project. The



     4837 -4545-8969.4




CONFI DENT      IAL                                                                                PLAINT]FFS_OOOOB461
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 7 of 187




           Project shall be operated in accordance with Section 42 ofthe Code and applicable Lender and Agency requirements
           taking into account the overriding obligation to ensure the availability ofTax Credit to the Partnership as provided
           herein.

                       1.5.      Term. The Partnership shall continue until the Termination Date.

                                                                  ARTICLE    II
                                                                 DEFINITIONS

                    Accountant Addendum means the addendum to the engagement letter entered into between the Partnership
                                  form of which is attached as Exhibit 9.
           and the Accountants, the

                    Accountants means the firm so identified in the Schedule, or such other certified public accountant firm
           with expertise in partnership tax and accounting and Section 42 of the Code as may be engaged by the General
           Partner at the expense ofthe Partnership and with the Consent ofthe SLP, which Consent shall not be unreasonably
           withheld.

                    Actual Tax Credit means, with respect to any Fiscal Year, the total amount of Tax Credit properly reported
           and available to be claimed by the Partnership and the ILP on the respective federal information and income tax
           returns for that Fiscal Year, and allowed to the Partnership and the ILP, taking into account any adjustments thereto
           by the Internal Revenue Service.

                    Additional Credit shall have the meaning set forth in Section 3.5(c).

                    Adjustment Amount shall have the meaning described in Section 3.5.

                    Affiliate means as to any Person (a) any other Person directly or indirectly controlling, controlled by or
           under common control with such initial Person, (b) any other Person controlling 107o or more of the outstanding
           voting securities of such initial Person, (c) any officer, director, trustee, manager, managing member or general
           partner of such initial Person, and (d) if such initial Person is an officer, director, trustee, manager, managing
           member or general partner of any company or entity, any other company or entity for which such Person acts in any
           such capacity.

                   Affiliate Loan means any loan or advance made to the Partnership by the General Partner, Developer or
           Guarantor and Affiliates thereof.

                    Aqencv means the Tax Credit Agency, and any other government or regulatory agency providing financial
           assistance or regulatory oversight to the Project or the Partnership.

                     Agency Set-Aside Test means the set-aside test whereby at least 18 of the units in the Project must be
           occupied by individuals with income equal to no more than 307o of area median income, as adjusted for family size,
           at least 70 of the units in the Project must be occupied by individuals with income equal to no more than 507o of
           area median income, as adjusted for family size, at least 85 of the units in the Project must be occupied by
           individuals with income equal to no more than 6OVo of area median income, as adjusted for family size and at least 9
           units in the Project must be special needs units as defined by the Tax Credit Agency.

                   Agreement means this Amended and Restated Agreement of Limited Parmership, as it may be amended
           from time to time.

                       $!\    means the American Institute of Architects.

                    ALTA Survev means a survey of the Project prepared in accordance with 201 I surveying standards of the
           American Land Title Association and the American Congress on Surveying and Mapping and certified to the
           Partnership, the ILP and the SLP and otherwise in form and substance satisfactory to the SLP.




           4837-4545-8969.4




CONF   ]    DENT        IAL                                                                         PLAINTIFFS-OOOOB462
                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 8 of 187




                Ancillarv Income means any type of underwritten revenue (as specified in Exhibit 8) which is received by
       the Partnership and is not residential rental income.

                 Applicable PercentaEe means the percentage defined in Section 42(b) of the Code.

                 Applied Amounts shall have the meaning given to it in Section 6.13.

                Architectural Contract means the agreement so identified in the Schedule entered into by and between the
       Partnership and the Project fuchitect.

                Breakeven Operations means, for any specified period, the Operating Revenues (based on actual Project
       operations rather than underwritten) equal or exceed Operating Expenses (based on actual Project operations rather
       than underwritten), mandatory Debt Service, and any other obligation payable during such period under any of the
       Project Documents.

                 Bridge Loan means the loan so identified in the Schedule.

                 Builder means the company so identified in the Schedule.

                 Capital Account shall have the meaning given in Section 3.3.

                Capital Contribution means the amount of money or the fair market value of other property contributed to
       the Partnership by a Partner as provided in Article III.

                Cagital Expenditures means customary and reasonable costs and expenses incurred by the Partnership in
       connection with certain major repairs, replacements and improvements of the Project which are normally capitalized
       under generally accepted accounting principles, including, but not limited to, the performance of work ro the roofs,
       chimneys, gutters, downspouts, paving, curbs, ramps, driveways, balconies, porches, patios, exterior walls, exterior
       doors and doorways, windows, elevators, interior walls, appliances, carpeting, painting, vinyl flooring, plumbing,
       plumbing fixtures, countertops, cabinets, water heaters, electrical systems, elecrical fixtures, clubhouse repairs,
       pool, spa, landscaping, fences, gates, parking areas, carports, garages, sidewalks, light fixtures, shingles, woods,
       bricks, stucco, security systems, smoke detectors, stairs, boilers, laundry room, window treatments, bath vanities,
       bathtubs and mechanical and HVAC equipment.

                 Carryover Allocation means a valid issuance of an allocation of Tax Credit to the Partnership in the amount
       set forth in the Schedule made pursuant to Section 42(h)(l)(E) ofthe Code.

               Change in Law means an amendment to the Code or Treasury Regulations that is applicable to the
       Partnership and that provides for a change in the amount of the Tax Credit or that substantially changes the
       requirements for qualifying for the Tax Credit in a manner which Tax Counsel determines cannot be satisfied by the
       Partnership.

                City Mortgage Loan means the loan so identified in the Schedule.

                Closing Date means the date of this Agreement or,    if   later, the date the ILP and SLP are admitted to the
       Partnership.

                 Code means the Internal Revenue Code of 1986, as amended.

                 Completion Date means the date as identified in the Schedule.

                Compliance Period shall have the meaning defined in Section 42(i) of the Code.

                Consent means prior written approval in accordance with Section 13.4.




       4837-4545-8969.4




CONF   I DENT IAL                                                                               PLAINTIFFS-OOOOB463
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 9 of 187




                Construction Consultant means the firm so identified in the Schedule.

                Construction Contract means the agreement so identified in the Schedule.

                Construction Loan means the loan so identified in the Schedule.

                Construction Draw shall have the meaning set forth in Section 10-7(a)(2)-

                 Controlling Interest means the power to direct the management and policies of any Person as a result of
       holding directly or indirectly whether through the ownership of voting securities, by contract or otherwise (which
       shall include, without limitation, the Person(s) with the largest share of voting rights in such Person).

                 Cost Certification means the written certification of the Accountants, in form and substance reasonably
       satisfactory to the SLP, as to the itemized amounts of the construction and/or acquisition and rehabilitation costs, as
       applicable, together with all other development costs of the Project and the Eligible Basis and Applicable Percentage
       pertaining to each building in the Project.

                Credit Adjuster Obliqation shall have the meaning set forth in Section 3.5(b).

                Credit Period shall have the meaning defined in Section 42(0(l) ofthe Code.

                 Debt Service means principal, interest and other recurring charges and fees required to be paid monthly
       (but excluding monthly funding of the Replacement Reserve Account and escrows for taxes and insurance which are
       includible as Operating Expenses), quarterly or annually in connection with any Permitted Loan if payment is not
       contingent on available Net Cash Flow.

                 Debt Service Coverage means Operating Revenue less Operating Expenses expressed as a percentage of all
       mandatory Debt Service (including pro forma monthly principal and interest payments on the Permitted Loan if the
       month under consideration is prior to commencement of principal and amortization on the Permitted Loan or for any
       monthly period that the Partnership has agreed to a forbearance with any knder). For the purposes of the foregoing
       calculation, actual Debt Service shall be modified to reflect the maximum possible monthly debt service payment
       amounts during the life of the relevant Permitted Loan (absent default or maturity), even if such maximum amounts
       are not then accruing or being charged.

                 Deferred Developmeqt Fee shall have the meaning set forth in Section 6'8(a).

                 Delivery Percentases means the percentages on the Schedule.

                 Developer means the entity so identified     in the Schedule. In the event that there is more than one
       Developer, then the term "Developer" will include all such Developers.

          '      Development Asreement means the agreement so identified in the Schedule.

                 Development Completion Oblieation shall bear the meaning set forth in Section 6.7(i).

                Development Costs means, at any point in time, all costs, liabilities and expenses associated with acquiring,
       constructing/rehabilitating, developing or operating the Project, including, but not limited to, those costs reflected in
       the Project Forecast and including payment of the Development Fee (net of any Deferred Development Fee), which
       have been incurred to (i) acquire the Project, (ii) achieve Final Construction Completion, (iii) remedy any defects in
       the construction of the Project and/or any variance in construction from the Plans and Specifications that is
       discovered within one (l) year after initial occupancy of all of the dwelling units or should have been discovered
       within such time period and is actually discovered not later than three (3) years after initial occupancy of all of the
       dwelling units, (iv) achieve Stabilized Occupancy (including all Operating Expenses and Debt Service athibutable to
       the period prior ro achievement of Stabilized Occupancy), (v) fund the reserves (including, without limitation, the




        4837-4545-8969.4




CONF   I DENT IAL                                                                                 PLAINTfFFS                OOOO8464
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 10 of 187




        reserves specified   in Section 6.5(c) herein) and escrows    required hereunder and     (vi) achieve Mortgage Loan
        Commencement.

                 Development Fee means the fee described in Section 6.8(a).

                   Development Funds means, at any point in time, the aggregate of (i) proceeds of the Permitted Loan and
        Capital Contributions which have been funded to the Partnership, (ii) Operating Revenue of the Partnership and
        (iii) available insurance proceeds ofthe Partnership, but only to the extent the foregoing are permitted to be used to
        satisfy Development Costs.

                 Distributions means any money or other property distributed to Partners with respect to their interests in the
        Partnership without consideration therefor, but shall not include any payments permitted by Section 6.8.

                 DRO Notice shall have the meaning set forth in Section I1.2.

                 Economic Occupancv means, for a given period of time, the actual gross rental revenues (including
       payments under the HAP Contract) received from the Project less rent concessions, rebates and credit loss divided
       by contracted rents under written leases.

               8609 Application Filing means the filing by the Partnership of all required documents with the Tax Credit
       Agency for purposes ofthe 8609 Issuance, which documents must be reasonably satisfactory to the SLP.

                 8609 Issuance means.the valid issuance by the Tax Credit Agency of Internal Revenue Service Form(s)
        8609 for each residential building in the Project.

                 Eligible Basis shall have the meaning set forth in Section 42(d) of the Code.

                Environmental Laws means all local, state, and federal laws, ordinances, regulations, orders, and reported
       state or federal court decisions thereunder relating to: environmental protection, the use, storage, generation,
       production, treatment, emission, release, discharge, remediation, removaln disposal, or transport of any Hazardous
       Substance, or any other environmental matter, including, but not limited to, any of the following statutes:

                 (a)      Federal Resource Conservation and Recovery              Act of    1976, as amended,        42 U.S.C.
                          $$ 6901-6991k;
                 (b)      Federal Comprehensive Environmental Response, Compensation, and Liability Act of 1980, as
                          amended,42 U.S.C. $$ 9601-9675;
                 (c)      Federal Clean Air Act, as amended,42 U.S.C. $$ 7401-76a2;
                 (d)      Federal Hazardous Material Transportation Control Act of 1970, as amended, 42 U.S.C. $g 1801-
                          I 812;
                 (e)      Federal   Clean Water Actof 1977, as amended, 33 U.S.C. gg 1251-1387;
                 (0       Federal   Insecticide, Fungicide, and Rodenticide Act, as amended, 7 U.S.C. $$ 136-136y;
                 (g)      Federal   Toxic Substances Control Act, 15 U.S.C. $$ 2601-2611;
                 (h)      Federal   Safe Drinking Water Acq 42 U.S.C. $$ 300f-300i-26;
                 (i)      Federal   Atomic Energy Act,42 U.S.C. $$ 20ll-22919-4;
                 0)       Federal   Occupational Safety and Health Act of 1970, as amended, 19 U.S.C. $$ 651 et seq.; and
                 (k)      Federal   Oil Pollution Act of 1990, as amended. 33 U.S.C. $$ 2701 et seq.

                Environmental Reports means those certain reports so identified in the Schedule.

                 Event of Bankruptcy means, with respect to the Partnership, a Guarantor, or a Person with a Controlling
       Interest in the General Partner (i) the voluntary or involuntary filing ofa petition in bankruptcy by or against any of
       the foregoing parties under the Bankruptcy Code     (ll U.S.C. $$ ll01 et seq.), as amended, or any successor statute
       thereto, or the commission of an act of bankruptcy (except if the filing of the petition in bankuptcy or act of
       bankruptcy is susceptible to cure or dismissal and is so cured or dismissed within sixty (60) days ofthe filing or act
       thereof); (ii) the voluntary or involuntary conrmencement of an assignment for the benefit of creditors, a



       4837-4545-8969.4




CONF   I DENT IAL                                                                                PLAINTTFFS OOOO8465
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 11 of 187




     receivership or other insolvency proceeding pursuant to state law or as determined by court proceedings; or   (iii) with
     respect to any General Partner, any ofthe following:

                      (a) The making of an assignment for the benefrt of creditors or the filing of a voluntary
     petition in bankuptcy by any General Partner;

                          (b)   The filing of an involuntary petition in bankruptcy against any General Partner which is
     not dismissed within sixty (60) days after filing or the adjudication of a General Partner as a bankrupt or insolvent;

                          (c)  The filing by any General Partner of a petition or answer seeking for such General
     Partner any reorganization, arrangement, composition, readjustment, liquidation, dissolution or similar relief under
     any statute, law or rule;

                      (d) The filing by any General Partner of an answer or other pleading admitting or failing to
     contest the material allegations of a petition filed against such General Partner in any proceeding of a nature
     described under subparagraph (c) above;

                       (e) The seeking, consenting to or acquiescing in the appointment of a trustee, receiver or
     Iiquidator by any general partner, manager, or managing member of a General Partner or of all or a substantial part
     of such General Partner's properties;

                          (0    The commencement of a proceeding against any General Partner seeking reorganization,
     arrangement, composition, readjustment, Iiquidation, dissolution or similar relief under any statute, law or rule not
     dismissed within sixty (60) days after commencement of the proceeding;

                        (g) The appointment, without a General Partner's consent, ofa trustee, receiver or liquidator,
     either of such General Partner or of all or a substantial part of such General Partner's properties, which is not
     vacated or stayed on or before the sixtieth (60th) day after such appointment and, if stayed, is not vacated on or
     before the sixtieth (60'h) day after expiration of the stay:

                          (h)     The admission by any General Partner of its inability to pay its debts as they become due;
     or
                      (i)      Any General Partner becoming "insolvent" by the taking of any action or the making of
     any transfer or otherwise, as insolvency is or may be defined pursuant to the Bankruptcy Code, the Uniform
     Fraudulent Transfers Act, any similar state or federal act or law, or the ruling ofany court.

                Event oll_Default shall have the meaning set forth in Section 7.7(a).

                Event of Withdrawal shall have the meaning set forth in Section 9.1 .

               Exit Taxes means the amount of applicable federal income taxes, state income taxes, sales and franchise
     taxes, transfer fees and related government assessments payable by the partners/owners of the ILP (taking into
     account all applicable deductions and credits attributable to such taxes in each taxing jurisdiction) in connection
     with a specified sale of the Project or liquidation of the Partnership, in each case assuming each such partner is a
     corporation that is not a closely-held corporation, pays taxes at the highest applicable marginal tax rate generally
     applicable to corporations and is not subject to the alternative minimum tax, and taking into consideration, on a
     reiterative basis, the payment ofsuch Exit Taxes as part ofsuch sale or liquidation.

            Extended Low Income Housing Use Commitment means the agreement by and between the Tax Credit
     Agency and the Partnership which meets the requirements of Section 42(h)(6) of the Code and Rev. Rul. 2004-82.

              507a Construction Completion shall mean the first time 507o of the construction and/or rehabilitation of the
     Project is physically completed including completion of all grading and site work (other than paving, parking,
     sidewalks and landscaping) in accordance with the Plans and Specifications as determined by the Project Architect




      4837 -4545-8969.4




CONF ] DENT      IAL                                                                           PLAINT]FFS_OOOOB466
                   Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 12 of 187




        and confirmed in writing by the Construction Consultant pursuant to an inspection report and the related
        construction costs associated with such stage of completion have been incurred and paid for pursuant to funded draw
        requests submitted to and approved by the SLP.

                 Final Construction Completion means construction and/or rehabilitation of the Project, as applicable, has
        been completed without lien (unless such liens have been bonded over to the satisfaction of the SLP) or defect in
        accordance with the Plans and Specifications based on the receipt and acceptance by the SLP of each of the
        following items:

                            (a)      an "AIA Form G704 Certificate of Substantial Completion" issued by the Project
        Architect with a copy of any punch list items not yet completed;

                            (b)      a final inspection report by the Construction Consultant acceptable to the SLP         and
        confirming:

                            (1)      all incomplete punch list items do not exceed 27o of the fixed price set forth in      the
        Construction Contract. and

                           (2)       the punch list items can be completed in the ordinary course of business;

                            (c)      final unconditional certificates of occupancy (or local equivalent) for all units in   the
        Project;

                            (d)      final lien waivers from the Builder and from each subcontractor with contracts of
        $300,000 or more engaged to complete work on the Project conditioned only to the extent payment has not been
        received on any incomplete punch list items or to the extent that payment will be received from the equity
        Installment that will be funded in connection with Final Construction Completion;

                          (e) evidence, reasonably satisfactory to the SLP, that an amount equal to not less than l50%o
        of the expected costs to complete all outstanding punch list items has been held back from the current Installment
        funding solely as an escrow for such costs; and

                            (0       evidence ofradon test results satisfactory to the SLP, but only to the extent the Property
        is located in a Radon Zane    I or 2.

                   Final Determination shall have the meaning set forth in Section 6.7(k).

                   First Mortgase Loan means the loan so identified in the Schedule.

                   Fiscal Year means the fiscal year of the Partnership, as determined in accordance with Section 10.3.

                   Forecasted Tax Credit shall have the meaning set forth in the Schedule.

                 Funding Certificate means the certification of the General Partner, the form of which is attached hereto as
        Exhibit    3.
                    The Funding Certificate shall be delivered with respect to all Installments (including draws of First
        lnstallment proceeds) following closing.

                   General Partner means the entity so identified   in the recitals of this Agreement and any other Person   or
        Persons who succeed it in its capacity as a general partner of the Partnership, and any additional general partner of
        the Partnership admitted as provided herein. Ifat any time the Partnership shall have more than one general partner,
        the term "General Partner" shall mean each such general partner.

                   GP Predevelognent Loan means the loan so identified in the Schedule.




        4837-4545-8969.4




CONF   I DENT IAL                                                                                 PLAINTIFFS-OOOO8467
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 13 of 187




                Governmental Reeulations means all present and future statutes, regulations, rules, ordinances, codes,
       licenses, requirements, resolutions, policy statements, standards and orders (including, without limitation, those
       relating to land use, subdivision, permitting, building code, zoning, environmental, toxic or hazardous waste,
       occupational health and safety, mold, water, earthquake, hazard reduction and building and fire codes) of any
       federal, state or local authority, and all applicable judicial, administrative and regulatory decrees, judgments and
       orders relating to the ownership, consfiuction, alteration, rehabilitation, maintenance, use, operation, sale or other
       disposition of the Project.

                Guarantor means each party so identified in the Guaranty in the capacity as guarantor of the obligations of
       the General Partner and Developer. If at any time there shall be more than one such guarantor, the term "Guarantor"
       shall mean each such guarantor.

                  Guarantv means the Agreement of Guaranty executed by the Guarantor and of even date herewith, the form
       of which is attached hereto as Exhibit 5.

                  HAP Contract shall mean the contract so identified in the Schedule.

                Hazardous Substance means any hazardous mold or fungus, and any other hazardous or toxic substance,
       material or waste which is regulated by any local governmental authority, the state in which the Property is located
       or the United States government. The term "Hazardous Substance" shall include, without limitation, any material or
       substance which is (A) defined as a solid waste, hazardous waste, extremely hazardous vvaste, restricted hazardous
       waste, toxic waste, radioactive material or substance, or a hazardous substance under the laws ofthe state or locality
       in which the Property is located or any regulations or orders now promulgated or hereinafter promulgated
       thereunder, or (B) designated or becomes designated as a "hazardous substance" pursuant to any Environmental
       Laws. Notwithstanding anything herein to the contrary, Hazardous Substance shall not include items used in the
       ordinary course of operation of a multifamily residential property, so long as such use is in compliance with the
       applicable law.

                  HUD shall mean the United States of America acting through the Department of Housing and Urban
       Development.

                ILP means the entity so identified in the recitals of this Agreement, and those Persons who replace      it   as
       Substitute Limited Partner(s).

                  Incentive Manasement Fee shall have the meaning set forth in Section 6.8(d).

               Indemnitees means, collectively, the ILP and the SLP, their respective Affiliates, partners, members,
       shareholders, directors, officers, managers, agents, representatives and employees, and each of their successors and
       assigns.

                  Installment{s) shall have the meaning set forth in Section 3.2.

                  Investor Services Fee shall have the meaning set forth in Section 6.8(b).

                Lender means any Person who makes a Permitted Loan to the Partnership for so long as such loan remains
       outstanding.

                Licenses and Permits means (A) all zoning and other licenses, permits, certificates of occupancy,
       approvals, dedications, subdivision maps and entitlements required, issued, approved or granted by any Agency or
       otherwise required in connection with the Project; (B) documents pertaining to any and all development rights and
       other intangible rights, titles, interests, privileges and appurtenances owned by the Partnership and in any way
       related to or used in connection with the Project; and (C) all licenses, consents, easements, rights of way and
       approvals required from private parties and required in connection with the operation, development and the
       construction and/or rehabilitation.of the Proj ect.




       4837-4545-8969.4




CONF   I DENT IAL                                                                                PLAINTIFFS_OOOO8468
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 14 of 187




               Limited Partner means any ILP, SLP or Substitute Limited Partner.

               Low-Income Unit shall have the meaning set forth in Section 42(iX3) of the Code.

             Minimum Set-Aside Test means the set-aside test selected by the Partnership pursuant to Section 42(g) of
     the Code whereby at least 40Vo of apartment units in the Project must be occupied by individuals with income equal
     to no more than 6OVo of area median income, as adjusted for family size.

              Mortsage Loan Commencement means the first date on which all of the following shall have occurred:

                        (a)     Following Final Construction Completion and lease-up of the Project, the Lender has
     determined the final principal amount and maturity date of the Permitted Loan, which principal amount shall not
     exceed that which would result in a Debt Service Coverage of not less than l20%o for ninety (90) days prior to
     commencement as confirmed in writing by the SLP;

                        (b)     All   interest which shall have accrued during construction     of the Project   under any
     Permitted Loan shall have been either paid or capitalized and added to the principal amount due thereunder;

                        (c)     All   fees due and payable to the Lender by the Partnership have been paid;

                        (d)     Written evidence reasonably satisfactory to the SLP indicating full repayment of the
     Construction Loan and the lien securing the Construction Loan has been discharged;

                        (e)     The Bridge Loan has been repaid in full; and

                        (f)     Evidence the conditions to closing and funding the First Mortgage Loan, as set forth in
     the First Mortgage Loan Documents, have been satisfied.

              Net Cash Flow means Operating Revenue less (a) Operating Expenses (including Replacdment Reserve
     Account required amoqnts), (b) Debt Service and (c) Capital Expenditure payments to the extent not paid from any
     applicable reserve or other source in the Project Budget.

             Net Cash Proceeds means the net cash (including collection of both principal and interest on any deferred
     payments) received by the Partnership from a Sale or Refinancing, after payment eifall expenses related thereto.

              Net Loss means the net loss of the Partnership from its activities, other than a Sale, as determined in
     accordance with the regulations under Section 704(b) of the Code using the method of accounting used by the
     Partnership for regular federal income tax purposes.

              Net Loss From Sale means the net loss of the Partnership recognized from a Sale, as determined in
                                                        of the Code using the method of accounting used by the
     accordance with the regulations under Section 704(b)
     Partnership for federal income tax purposes.

              Net Profit means the net profit of the Partnership from its activities, other than a Sale, as determined in
     accordance with the regulations under Section 704(b) of the Code using the method of accounting used by the
     Partnership for regular federal income tax purposes.

              Net Profit From Sale means the net profit of the Partnership recognized from a Sale, as determined in
     accordance with the regulations under Section 704(b) of the Code using the method of accounting used by the
     Partnership for regular federal income tax purposes.

              ODG Cap means the amount provided in the Schedule.

              ODG Period means the period commencing on Stabilized Occupancy and ending on the ODG Period End
     Date.




     4837-4545-8969.4




CONFI DENTIAL                                                                                 PLAINTIFFS_OOOO8469
                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 15 of 187




                ODG Period End Date means the first day upon which, for a period of two (2) consecutive quarters
       (commencing not earlier than six (6) months prior to the 60-month anniversary of Stabilized Occupancy), the
       achievement of the following for each such quarters: (a) monthly Debt Service Coverage of. lZola or greater, (b)
       monthly average physical occupancy of atleast gOVo of the units by tenants (who must be Qualified Tenants in the
       case of the Low Income Units) paying contract rents under written leases, and (c) monthly averags Fronomic
       Occupancy of at least 807a; provided the balance in the Operating Reserve Account must be an amount not less than
       the Operating Reserve Amount on the last day of such two (2) consecutive quarter period. For purposes of the
       foregoing calculations, the calculation of Debt Service Coverage shall be based on then current Project operations,
       provided that such operations accurately reflect historic operating history and trends, culrent actual taxes and
       insuranca, and an economic vacancy of 5% gross potential rents. Evidence of ODG Period End Date shall be
       subject to review and reasonable approval by the SLP to confirm that the calculations conform to the requirements
       herein.

                1007o Occupancy Date means the first date upon which not less than l00Vo of the Low Income Units shall
       have been leased to and physically occupied at least once by Qualified Tenants at rents meeting the requirements of
       the Rent Restriction Test, provided that on the "1007a Occupancy Date" not less than93Vo ofthe units in the Project
       shall be physically occupied by tenants (who must be Qualified Tenants in the case of Low Income Units)'
       Evidence of the eligibility of each tenant shall have been provided to and approved by the SLP on a tenant
       certification form (which form shall include a copy of each tenant's executed lease) approved by the SLP in
       accordance with Section 10.7(b) and, ifrequired, by each Lender and Agency.

                  Operatine Deficit means    for any period the total amount by which (i) the sum of the            Partnership's
       Operating Expenses and Debt Service exceeds (ii) Operating Revenue during such period.

                  OperatinE Deficit Obligations shall bear the meaning set forth in Section 4.9(e).

                 Qperatine Expenses means for a specified period (using the accrual basis of accounting and ensuring that
       costs and expenses are paid on a current basis)  all ofthe costs and expenses incident to the ownership and operation
       of the Project in accordance with the provisions of this Agreement, including, without limitation, monthly deposits
       required to fund the Replacement Reserve Account and required deposits to fund any other reserves required
       hereunder or by any Lender or Agency, reasonable monthly reserves for real estate taxes (based on the appraisal
       district's full assessed value of the Project once fully completed), and insurance premiums, costs of maintenance
       (including any deferred maintenance) and utilities, costs of administration of the Partnership (including the fees of
       the Accountants), all property management fees, supportive service expenses, leasing fees, compliance monitoring
       fees, all sales, excise and other taxes payable by the Partnership (but excluding income taxes ofthe Partners) and all
       other costs, expenses, and payments by the Partnership (except as actually reimbursed by tenants) in connection with
       the ownership, management, leasing, operation, and administration of the Project and/or any other assets of the
       Partnership; provided, however, that Operating Expenses shall exclude depreciation and other non-cash charges,
       Debt Service, initial funding or replenishment of the Operating Reserve Account, Development Costs, and any other
       fees or payments contingent on available Net Cash Flow or that are paid from a permitted reserve already included
        in the Calculation of Operating Expenses. For purposes of determining Stabilized Occupancy, all Operating
        Expenses will be calculated for each month on an individual expense line-item basis at the higher of (i) actual
        monthly operating expense for such line item, or (ii) the annual "Base Expenses" outlined in the Project Forecast for
        such line item divided by 12. Tf the Lender requires a reappraisal, the SLP reserves the right to adjust the "Base
        Expenses" accordingly. Furthermore, the SLP shall adjust Operating Expenses on a line-item basis in its discretion
        to reflect a ratable share of any seasonal expenses. Notwithstanding the foregoing adjustments to Operating
        Expenses, the SLP shall use actuat expenses with respect to the following expense line items:

                            (a)      real estate taxes, provided such taxes reflect the appraisal district's assessed value and tax
       rates of the   fully completed Project;

                            (b)  insurance, provided that the actual expense reflects a monthly prorated share of the
       annual premium and the insurance premiums reflect insurance coverages for the Project complying in all respects
       with the requirements of Section 6.5(b) and Exhibit 6; and




                                                                     l0
        4837-4545-8969.4




CONF   I DENT fAL                                                                                     PLAINTIFFS_OOOO847O
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 16 of 187




                          (c)       property management fees, provided the actual expense is no less than 2.'l2%a of monthly
       Operating Revenue.

                 Operatins Reserve Account means the reserve account required pursuant to Section 6.5(c)(2).

                 Operating Reserve Amount means the amount stated on the Schedule.

                 Ooerating Revenue means actual collected rental revenue (except Section 8 payments and voucher
       certificates payable by the U.S. Department of Housing and Urban Development and rural development rental
       subsidies provided by the U.S. Department of Agriculture which will be included on an accrual basis) received from
       the operations of the Project, plus all collected Ancillary Income and the proceeds of any rental loss insurance paid
       to the Partnership. Operating Revenue shall exclude Net Cash Proceeds, Capital Contributions, proceeds of any
       Permitted Loan, insurance or condemnation proceeds (except rental loss insurance), tenant security and other
       deposits (unless forfeited in accordance with the tenant's lease), prepaid items of income (provided, such prepaid
       items shall no longer be considered prepaid on or after the date in which payment ofsuch item is due), and interest
       income not available for distribution. For purposes of determining Stabilized Occupancy, the SLP shall adjust
       Operating Revenue in its discretion to:

                          (a)     exclude rent which is paid by any tenant of a Low Income Unit who is not a Qualified
       Tenant which is in excess of rents charged for comparable Low Income Units;

                          (b)      adjust rental income by any concessions or other incentives at the Project;

                          (c)      reflect economic vacancy (physical vacancy and bad debt) at the higher of actual or 57o
       of gross potential rents;

                          (d) unless otherwise included in the Limited Partners' underwriting, reduce actual gross
       potential rental income on each residential unit to the extent any rental subsidy, voucher payment or other excess
       rent or subsidy exceeds the lesser of (i) rents being charged to other non-rent assisted units of similar size in the
       Project and (ii) Iow income restrictions required by the Minimum Set-Aside Test, the Agency Set-Aside Test, the
       Rent Restriction Test, any rent restriction required by any applicable federal, state or local subsidy program, and/or
       any restrictive covenant or regulatory agreement; provided that the foregoing shall not be deemed to exclude income
       relating to the HAP Contract, as such income was included in the Limited Partner's underwriting; and

                          (e)    reduce actual gross potential rental income on each residential unit to the extenr any
       accrued rental subsidy payment has not been subsequently collected or the unpaid subsidy exceeds three months of
       subsidy payment for such residential unit.

                 Original Agreement means the agreement so identified in the Schedule.

                 Original Certificate means the certificate so identified in the Schedule.

                 Original Limited Partner means the Person so identified in the recitals of this Agreement in the capacity as
       an original limited partner of the Partnership, withdrawing as such pursuant to this Agreement.

                 Out-Of-Balance means at any point       in time that Development Costs for the Project exceed available
       Development Funds.

                 Partner means any General Partner or Limited Partner.

                 Partnership means the limited partnership continued under this Agreement.

                Partnership Act means the applicable limited partnership act of the State.

                Partnership Management Fee shall have the meaning set forth in Section 6.8(c).


                                                                   1l
       4837-4545-8969.4




CONF   I DENT IAL                                                                                PLAINT]FFS_OOOO8471
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 17 of 187




                Partnership Manaser means the Partner designated to perform certain management services as provided in
       Section 6.10.

                Permitted Loan means the loan(s) so identified in the Schedule and any other financing for which the SLP
       has providid Consent. At any time when there is more than one Permitted Loan, the term "Permitted Loan" as used
       herein shall refer to each such Permiued Loan (individually and collectively, as circumstances may require).

                 Person means an individual, proprietorship, trust, estate, partnership,joint venture, association, corporation,
       Iimited liability company, limited liability partnership or other entity.

                Placement In Service means the placement in service of all dwelling units in the Project for purposes         of
       Section 42 of the Code.

                Placement In Service Date means the date as identified in the Schedule.

                plans and Specifications means all plans and specifications or scope of work (for rehabilitations only) for
       the Project prepared by the Project Architect and/or Builder, as applicable, reviewed by the Construction Consultant,
       and approvid by the SLP, a listing of which is attached hereto as Exhibit 4 including Qualifications and
       ChrifGtions included in the Construction Contract. Unless it has received Consent from the SLP, the General
       Partner shall not permit the Builder to use any other plans and specifications to build the Project and all change
       orders, revisions and other modifications (other than the Qualifications and Clarifications included in the
       Construction Contract) shall not become part of the Plans and Specifications unless the Consent of the SLP has been
       received in accordance with Section 10.7.

                Prime Rate means the "prime rate" of interest as published inThe Wall Street Joumal from time to time.

                 Project means the Property, together with the improvements existing or to be constructed or rehabilitated
       on the Property-

                 Proiect Architect means the firm so identified in the Schedule, or such other architect for the Project as may
       be selected by the Partnership with the Consent of the SLP.

                Proiect Budget means the final detailed budget for the development and construction/rehabilitation of the
       Project which is reflected in the sources and uses section of the Project Forecast as said budget may be modified
       with the Consent of the SLP and, to the extent required under any Permitted Loan, each Lender.

                Proiect Documents means all documents, instruments and agreements that the Partnership is bound to
       comply with and which have previously received the Consent of the SLP and shall include, but is not limited to, the
       Permiged Loan documents and other agreements entered into by the Partnership with any Lender or Agency, the
       Guaranty, the Development Agreement, the Property Management Agreement, the Plans and Specifications, the
       Architeatural Contract, the Construction Contract, the Project Budget, the HAP Contract, Extended Low Income
       Housing Use Commitment and all material documents relating to the construction, development and operation of the
       Project and by which the Partnership is bound, as amended or supplemented from time to time.

                 Project Forecast means the financial forecast attached hereto as Exhibit 8.

                 Property means the real property described on Exhibit 1 attached hereto'

               Property Management Asreement means the agreement by and between the Partnership and the Property
       Manager providing for the management of the Project-

                Property Manager means the party so identified in the Schedule, and its successors and assigns, which has
       contracted or will contract with the Partnership to manage the Project.

                 Oualified Basis shall have the meaning defined in Section 42(c) of the Code.


                                                                    t2
        4831-4545-8969.4




CONF   I DENT IAL                                                                                  PLAINTIFFS-O AOO841 2
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 18 of 187




               Qualified Tenants means tenants meeting the income and eligibility requirements imposed by Section 42       of
       the Code, the Agency Set-Aside Test and the Tax Credit Agency.

                  Ouarterly Status Reoort shall bear the meaning set forth in Section 10.7(c)(l)(iv).

                Refinancing means the refinancing or obtaining of any loan secured by Partnership property, other than the
       refinancing of or the obtaining of the Permitted Loan.

                  Relinguished Interests shall bear the meaning set forth in Section 9.1.

                Rent Restriction Test means the test under Section 42 of the Code pursuant to which the gross rent,
       including utility allowances, charged to tenants of each Low Income Unit in the Project is not allowed to exceed
       30Vo of the qualifying income levels of such tenants and the applicable area median income levels under the
       Minimum Set-Aside Test.

                  Rental Subsidy Reserve Account shall mean the reserve account required pursuant to Section 6.5(cX3).

                 Replacement Reserve Account means the account established in accordance with Section 6.5(c)(l).

                 Reportins Damages shall bear the meaning set forth in Section 10.1l.

                 Reportine Default shall bear the meaning set forth in Section   10. I I   .



                 Sale means the sale, exchange, condemnation or similar eminent domain taking, casualty or other
       disposition of all or any portion of the Project which is not in the ordinary course of business, and the sale of
       sasements, rights of way or similar interests in the Property or any other similar items which in accordance with the
       accounting methods used by the Partnership are attributable to capital; provided, however, that Sale shall not refer to
       any transaction to the extent gain or loss is not recognized, or is elected not to be recognized, under any applicable
       section of the Code.

                  Schedule means the Schedule attached hereto.

                  Seller Loan means the loan so identified in the Schedule.

                  Service Contracts shall bear the meaning set forth in Section 6.5(aa).

                  SLP means the entity so identified in the recitals of this Agreement, and any Person who becomes an SLP
       as   provided herein, in its capacity as a limited partner of the Partnership.

                Stabilized Occupancv means, for the period of three (3) consecutive months commencing immediately
       prior to Mortgage Loan Commencement, the achievement of (a) monthly Debt Service Coverage of l20%o (or such
       greater Debt Service Coverage if necessary to achieve a projected l207o Debt Service Coverage throughout the
       Compliance Period), (b) monthly average physical occupancy of at least 90Vo of the units by tenants (who must be
       Qualified Tenants in the case of the Low Income Units) paying contract rents under written leases, and (c) monthly
       average Economic Occupancy of at least 807a. Evidence of Stabilized Occupancy shall be subject to the reasonable
       review and approval by the SLP to confirm that the calculations conform to the requirements herein.

                  State means the state   in which the Partnership was formed.

                Subordinated Loan means any loan made by the General Partner (or by the Guarantor for a General Partner
       obligation) to the Partnership as provided herein, but specifically excludes the GP Predevelopment Loan and the
       Seller Loan.

                  Substitute Limited Partner means a Person admitted to the Partnership as a Substitute Limited Partner
       pursuant to Article   vIII.

                                                                    13
       4837 -4545-8969.4




CONF   I DENT IAL                                                                                 PLAINTIFFS*OOOO8473
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 19 of 187




            Supplemental Limited Partner means the holder of an interest in the Partnership designated as an interest    of
    a Supplemental Limited Partner pursuant to Section 9.4.


                Tax Counsel means the law firm selected by the SLP to serve as tax counsel for the Limited Partner.

                Tax Credit means the low income housing tax credit pursuant to Section 42 of the Code which is
     anticipated to be available to the Partnership.

              Tax Credit Agencv means the authorized agency of the state in which the Property is located with respect
    to the allocation and monitoring of Tax Credit.

                Tax Credit Price means the amount provided in the Schedule.

                Tax Dispute shall bear the meaning set forth in Section 6.10(bX5).

                Tax Matters Partner means the General Partner designated as the tax matters partner of the Partnership for
     purposes   ofCode Section 6231(aX7XB) or the designated successor, as described in Section 6.10.

               l07o Test Certification means the written certification of the Accountants, indicating the Partnership had
     incurred capitalizable costs with respect to the Project ofat least 107o ofthe Partnership's reasonably expected basis
     in the Project as of the Placement In Service Date. The ll%o Test Certification shall be accompanied by detailed
     calculations and supporting documentation reasonably acceptable to the SLP and Tax Counsel and, to the extent
     available, written confirmation from the Tax Credit Agency that the l}Vo test has been satisfied.

              Termination Date means December3l,2100, unless the Partnership            is otherwise earlier dissolved   and
     terminated by law or in accordance with the provisions of this Agreement.

                Timing Adiuster Additional Credit shall have the meaning set forth in Section 3.5(cX2).

              Title Policy means an owner's extended title insurance policy or an endorsement thereto issued to the
     Parrnership pursuant to title commitment no. 829130008004 with an effective date not earlier than the Closing Date,
     in the insured amount of at least $56,328,130 from Chicago Title of Texas, LLC, as agent for Chicago Title
     Insurance Company evidencing the Partnership's ownership of the Project subject only to such exceptions,
     conditions, exclusions, or stipulations as shall be satisfactory to the SLP, in its reasonable discretion, and including
     to the extent available in the State, non-imputation, Fairway, survey/identicality, comprehensive, environmental
     liens, mechanic's liens, maximum loss, access, location, contiguity, separate tax lot, subdivision, future advance and
     such other endorsements as shall be required by the SLP in its reasonable discretion, with such policy and such
     endorsements being acceptable to the SLP, in its reasonable discretion, both as to form and as to content.
     Affirmative coverage will be required for any easement which cannot be plotted on the survey. All "pre-printed" or
     "standard" exceptions must be deleted from the Title Policy and any property tax exceptions should be limited to
     taxes that are "not yet due and payable." Any tenant's rights exception must contain a qualification that such rights
      are "to leaseholds ofparties in possession, as tenants only, under unrecorded leases."

                Title Policy Updare means a date-down endorsement of the Title Policy bearing a then-cunent effective
     date and the deletion of all standard survey exceptions unless previously provided, and, if necessary, a current
     ALTA Survey showing the location of any easements appearing on such date-down endorsement; provided,
     however, that to the extent the Property is located in a state in which date-down endorsements are unavailable, a
     "title repoft" or "title update" shall be required.

               Transfer Amendment means, if applicable, an amendment to this Agreement evidencing a ffansfer by the
     ILP of its interest in the Partnership, the form of which is attached hereto as Exhibit 7.

                Treasury Regulations means the regulations promulgated under the Code.




                                                                 t4
      4837-4545-8969.4




CONF] DENT        IAL                                                                           PLAINTIFFS                OOOO841 4
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 20 of 187




                                                              ARTICLE NI

                                                                CAPITAL

                 3.1.    Capital Contributions of the General Partner. On or prior to the Closing Date, the General Partner
       has made Capital Contributions totaling $100 to the Partnership. The General Partner shall be obligated to make
       additional Capital Contributions to the Partnership in an amount equal to amounts owed on each Affiliate Loan on
       the maturity date thereof. The General Partner shall also be obligated to make additional Capital Contributions to
       the Partnership no later than the 13tb anniversary of Final Construction Completion in the event that any portion of
       the Development Fee remains unpaid on such date as further described in Section 6.8. In no event shall the General
       Partner make any additional Capital Contributions to the Partnership without the Consent of the SLP except as
       otherwise required herein.

                3.2.      Capital Contributions of the Limited Partner.

                          (a) Capital Contributions. Except as otherwise provided in Section 3.5, the ILP's obligation
       to make Capital Contributions shall be limited to $18,698,130. The SLP's obligation to make Capital Contributions
       shall be limited to $10, which shall be contributed on behalf of the SLP by the ILP as pafi of the First Installment.
       The SLP shall reimburse the ILP for such Capital Contribution. The ILP's Capital Contributions shall be due and
       payable in Installment(s) as follows:

                          (l)      $2,804,720 (the "b!-I4€!g!!4qCEg") shall be paid on an "as needed" draw basis (which
       may be a single draw) in accordance with Section 10.7, with the first draw paid on or about the Closing Date and
       subsequent draws paid within ten (10) business days of a draw request submitted by the General Partner in
       accordance with Section 10.7, that indicates the Partnership has paid or incured Development Costs in the amount
       requested to be disbursed from such Installment.

                          (2)      $11,443,256 (the "SegondJ4trllgeng') shall be paid on an "as needed" draw basis in
       accordance with Section 10.7 after the prior Installment has been fully disbursed and within ten (10) business days
       after receipt and acceptance by the SLP of evidence that each of the following conditions has been satisfied:

                                    (i)      Final Construction Completion;

                                    (ii)     as-built ALTA Survey; and

                                    (iii)    permanent property insurance bound in accordance with Exhibit 6;

                                    (iv)     lOVo Test   Certification;

                                    (v)      Title Policy Update;

                                    (vi)     Full funding of amounts intended to be drawn on the Construction Loan and full
                                             funding of the Seller Loan, the GP Predevelopment Loan and the City Mortgage
                                             Loan;

                                    (vii)    Evidence the Bridge Loan      will be fully paid upon funding of the Second
                                             Installment: and

                                    (viii)   January 5,2016.

                 Upon satisfaction ofthe above conditions, the Second Installment shall be funded first to repay the Bridge
       Loan in full in accordance with the terms of the Bridge Loan documents and notwithstanding any other condition or
       restriction otherwise set forth in this Agreement or any default occurring hereunder. Said capital shall be paid by the
       ILP directly to the Bridge Lender on behalf of the Partnership. In no event shall any portion of the Second
       Installment be used to satisfy any obligation of the Partnership until the Bridge Loan is repaid in full.


                                                                     l5
       4837-4545-8969.4




CONF   I DENT IAL                                                                               PLAINTIFFS_OOOO8475
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 21 of 187




                         (3) $3,982,702 (the "!hig!,hg!d!@!") shall be paid after the prior Installment has been
       fully disbursed and within ten (10) business days after receipt and acceptance by the SLP that each ofthe following
       conditions have been satisfied:

                                      (D       Stabilized Occupancy;

                                      (ii)     Mortgage Loan Commencement;

                                      (iii)    satisfactory completion of all punch list items previously determined at Final
                                               Construction Completion, as certified by the Project Architect and verified in
                                               writing by the Construction Consultant, and receipt of all final unconditional
                                               lien waivers from the Builder and all subcontractors;

                                      (iv)     permanent property insurance bound in accordance with Exhibit 6;

                                      (v)      1007o Occupancy Date;

                                      (vi)     Cost Certification;

                                      (vii)    Title Policy Update;

                                      (viii)   8609 Application Filing; and

                                      (ix)     April 5,2016.

                         (4) $467,453 (the "Finat Instaltmenf') shall be paid after the prior Installment has been
       fully disbursed and within ten (10) business days after receipt and acceptance by the SLP that each of the following
       conditions have been satisfied:

                                      (i)      8609 Issuance;

                                      (iD      Final Determination has been made by the SLP in accordance with Section
                                               6.7(k) and all Development Completion Obligations, if any, have been satisfied
                                               by the General Partner and/or Developer;

                                      (iiil    delivery of the Partnership's tax return and Schedule      K-l   thereto for the first
                                               year of the Credit Period to the ILP;

                                      (iv)     recordation of the Extended Low Income Housing Use Commitment; and

                                      (v)      Title Policy Update.

                               (b)    General Conditions     to Capital Contributions.      Notwithstanding satisfaction      of   the
       conditions in Section 3.2(a), the ILP shall have no obligation to fund an Installment or any portion thereof as
       follows:

                               (1)     Unless the funding conditions to all previous Installments continue to be satisfied. If a
           funding condition  is not satisfied at the time an Installment is contributed, such condition shall be a condition to the
           subsequent Installment or draw. No funding condition shall be waived with respect to any Installment unless a
           written notice expressly waiving such condition is issued by the SLP to the General Partner;

                               (2)    Unless the SLP has received and accepted the Funding Certificate executed by the
           General Partner (which shall be acceptedif such certificate is in the form and substance as the certificate attached
           hereto as Exhibit 3);




                                                                       16
           4837 -4545-8969.4




CONF   T   DENT       IAL                                                                             PLAINTIFFS                   OOOOB476
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 22 of 187




                          (3)     Unless all construction and development work completed as of the date of any funding
       request shall have been done in accordance with the Plans and Specifications;

                          (4) If a Transfer Amendment has been requested, the General Partner has not provided the
        SLP with its (and its Affiliates) signature pages thereto, provided, that the Transfer Amendment is substantially in
        the form attached hereto as Exhibit 7:

                          (5)     Ifany reports or insurance required by Article X have not   been submitted to and accepted
       by the SLP;

                          (6)     Ifany Event ofDefault     has occurred and is continuing;

                          (7)       If a Lender or Agency has (i) failed to timely fund any portion of any Permitted Loan or
       grant to the Partnership when due, (ii) provided notice ofa default under any financing document entered into with
       the Partnership, or (iii) provided a notice of denial or termination of any financing commitment to the Partnership;

                          (8)     If   the Project is Out-Of-Balance (as determined by the Lender or SLP); or

                          (9)     If   any Adjustment Amount has not been satisfied (or will not be satisfied from the
       requested Installment) whether or not the payment or cure period provided herein has lapsed.

                          (c)     Fundins Priority_of Each Installment. Each Installment shall be funded in accordance
       with the following requirements:

                        (1) The SLP and the ILP shall have the right to offset any Installment with any unpaid
       Adjustment Amount, Investor Services Fees, Reporting Damages and any other amounts levied by the SLP or ILP in
       accordance with this Agreement; and

                          (2) (A) Any portion of the First Installment funded at Closing shall be funded by the ILP to
       the Partnership by depositing all such funds with the title company for disbursement to the Partnership and any
       remaining funds not disbursed by the title company to the Partnership shall be deposited into a Partnership bank
       account established with the Construction Lender, which bank account shall be subject to a security interest in favor
       of the Construction Lender (the "Construction Escrow"); (B) any portion of the First Installment funded after
       Closing pursuant to a construction draw request shall be funded by the ILP to the Partnership by depositing all such
       funds into the Construction Escrow; and (C) any portion of the Second Installment shall be funded by the ILP
       directly to the Bridge Lender on behalf of the Partnership and any remaining funds after the full repayment of the
       Bridge Loan shall be deposited into the Construction Escrow, with all Installments or portions thereof funded only
       upon:

                                  (i)        approval by the SLP pursuant to Section 10.7, and

                                  (ii)       approval by each Lender and any Agency with approval rights thereover,
                                             including satisfaction of any draw conditions as may be imposed by any Lender
                                             or Agency.

                           (d) Notwithstanding the conditions in this Section 3.2, if the Partnership has incuned third
       party obligations which could be satisfied from the proceeds ofan unfunded Installment, then, in the sole discretion
       of the Limited Partners, such Installment or any portion thereof may be advanced to the Partnership or disbursed
       directly to pay such outstanding third party obligations ofthe Partnership, provided in all events such advances or
       disbursements shall be treated as capital contributions to the Partnership. Any such advance ofan Installment by the
       Limited Partners shall accrue simple (not compounded) interest at an annual rate equal to the Prime Rate plus 47o
       commencing on the date on which such Installment proceeds or portion thereof is advanced and ending upon
       satisfaction of the conditions for such Installment.




                                                                   l7
       4837-4545-8969.4




CONF   I DENT IAL                                                                                PLATNTTFFS OOOO8477
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 23 of 187




                3.3.     Capital Account. A capital account shall be maintained for each Partner (a    "egd@!").
     The Capital Accounts shall be determined and maintained                 in   accordance   with Treasury     Regulation
     Section 1.704-l(bX2Xiv).

                3.4.    Interest. Except as may be explicitly provided in this Agreement, no Partner shall be entitled to
     interest on a Capital Contribution or Capital Account.

                3.5.     Tax Credit Covenants. Duties and. Obligations: Adiustments to Caoital Contributions.

                       (a) Tax Credit Covenants. Duties and Oblieations. The General Partner shall, or shall cause
     the Partnership to, timely satisfy each of the following covenants, duties and obligations pertaining to the Tax
     Credit:

                       (l)      The General Parlner shall ensure that the ILP receives the full amount of the Forecasted
     Tax Credit (as may be adjusted pursuant to Section 3.5), including, but without limitation: (i) making an election to
     begin the Credit Period for each building in the Project in the year Placement In Service occurs unless the Consent
     of the SLP is received to defer the beginning of the Credit Period, (ii) ensuring the rental of Low Income Units to
     Qualified Tenants, including renting the next available unit to a Qualified Tenant if any Low Income Unit becomes
     nonqualifying, (iii) obtaining tenant certifications and recertifications as required pursuant to Section 10.7,
     (iv) leasing all dwelling units in the Project under leases having original terms of not less than six (6) months, and
     (v) complying with all of the Tax Credit Agency's compliance monitoring procedures.

                         (2) The Partnership shall timely submit all applications, cost certifications, ll%o test
     certifications, elections and filings necessary and appropriate to qualify for the maximum amount of the Tax Credit.
     If temporary andlor final Treasury Regulations have been issued relating to Tax Credit, the General Partner shall
     execute an amendment to this Agreement to comply with such regulations, if requested to do so by the SLP, to
     ensure the maximum availability of Tax Credit to the Partnership and the ILP.

                       (3) The Project will be constructed and operated in conformance with the Tax Credit
     application, including any amendments thereto approved by the Tax Credit Agency and the SLP, and other
     documents submitted to the Tax Credit Agency.

                         (4)     The allocation of Tax Credit is not pursuant to the "non-profit set-aside" provisions of
     Section 42 of the Code.

                         (5)    Carryover Allocation occurred by December 31, 2013. 8609 Issuance shall occur by
     December 31" of the year following the first year of the Credit Period unless the delay is caused by the Agency and
     the General Partner is using commercially reasonable efforts to obtain the same.

                         (6)     The Partnership's basis in the Project (including costs attributable to land and depreciable
     basis which are not eligible for the Tax Credit) as of the date no later than the earlier of (a) the date required by.the
     Tax Credit Agency and (b) the twelve (12) month anniversary of the Canyover Allocation will exceed 10Vo of the
     Partnership's reasonably expected basis in the Project as of the Placement In Service Date. The General Partner
     shall provide a draft of the 107o Test Certification to the SLP at least twenty (20) days prior to the earlier of (a) and
     (b). General Partner covenants it will not file the lOVo "test Certification witb the Tax Credit Agency until the draft
     107o TestCertification has been approved by the SLP and Tax Counsel in their reasonable discretion; except that the
     General Partner shall be permitted to file the lUVo Test Cost Certification with the Tax Credit Agency if the SLP
     and/or Tax Counsel have not responded to the draft documents by the deadline for submission to the Tax Credit
     Agency.

                         (7)    The Partnership will properly incur and capitalize costs in connection with the
     construction and/or rehabilitation and development of the Project in an amount needed to generate sufficient Eligible
     Basis to support the Forecasted Tax Credit (as may be adjusted pursuant to Section 3.5).




                                                                18
     4837 -4545-8969.4




CONFI DENT       IAL                                                                            PLA]NT]FFS OOOOB4l8
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 24 of 187




                       (8) No portion of the Development Fee shall be allocable to services that relate to items not
     includable in Eligible Basis and 2OVo of such Development Fee shall be earned as of the date hereof. All services
     relating to the acquisition of the Project, the organization of the Partnership, the syndication of interests in the
     Partnership, and obtaining permanent financing of the Project were and/or will be performed exclusively by the
     General Partner in its capacity as a General Partner.

                         (9)       No grants or federal subsidies (within the meaning of Section 42(1)(2)(A) of the Code)
     will   be received by the Partnership.

                        (10) No portion of the cost of the acquisition, construction or operation of the Project has been
     (or will be) funded with obligations the interest on which is exempt from taxation under Section 103 of the Code.

                         (1   1)   The Project has no commercial space.

                      (12) The General Partner shall submit to the SLP the completed final draft of the Extended
     Low Income Housing Use Commitment at least ten (10) business days prior to the required date for execution and
     recording thereof, and shall obtain the Consent of the SLP prior to executing and recording the same.
     Notwithstanding the foregoing the General Partner may file the Extended Low Income Housing Commitment by the
     deadline therefor under Section 42       if   the SLP has not provided a timely response.

                         (13)    The hoject shall satisfy the Minimum Set-Aside Test and the Rent Resfiction Test by
     the end of the first year of the Credit Period and throughout the balance of the Compliance Period and the Agency
     Set-Aside Test for the time period required by the Agency.

                         (14)      The Partnership will rent the Low Income Units only to Qualified Tenants and in
     compliance with any additional restrictions set forth in the Project Documents. The General Partner will promptly
     advise the ILP and the SLP if any Low Income Unit is rented to a non-qualifying tenant.

                       (15) The Project is located in an area designated by HUD as a "qualified census tract" or
     "difficult development area" for the purpose of computing Eligible Basis of the Project.

                         (b)       Downw4rd Adjustments to Capital Contributions.

                        (1) Downward Basis Adjuster. If at any time at or prior to 8609 Issuance the SLP determines
     in its reasonable judgment that the ILP will not be eligible to be allocated the aggregate amount of Forecasted Tax
     Credit during the Credit Period (the aggregate amount of such shortfall being referred to herein as the "E609 Credit
     Shordall Amount"), then (a) the Capital Contribution obligation of the ILP shall be reduced by an amount (an
     'A{iustment Amoun!") equal to the product of (i) the 8609 Credit Shortfall Amount and (ii) the Tax Credit Price
     and (b) the Forecasted Tax Credit for each Fiscal Year shall thereafter be adjusted to mean 99.99Vo of the total
     amount of Tax Credit allocated and available to the Partnership over the Credit Period, assuming for these purposes
     that the Delivery Percentages do not change regardless of the actual delivery schedule.

                        (2) Downward Timine Adjuster. In the event that the ILP is entitled to claim Tax Credit for
     2015,2016 and/or 2Ol7 with respect to the Project in an amount less than the Forecasted Tax Credit for such year
     (after the Forecasted Tax Credit is revised to take into account any adjustment made pursuant to Section 3.5(bX1)
     and/or Section 3.5(cX1), as applicable) as the result of a later-than-anticipated delivery of Tax Credit and the
     shortrall will be deferred pursuant to Section 42(f)(2)(B) of the Code, then (a) the Capital Contribution obligation of
     the ILP will be reduced by an amount (an "&iustment Amoun!") equal to the difference between (i) the shortfall
     in the Forecasted Tax Credit to the ILP in 2015, 2O16 andlor 2Ol7 and (ii) the present value of the increase in the
     Forecasted Tax Credit for Fiscal Year 2025,2026 andlor 2027 to the ILP computed as of December 31,2015,2016
     and/or 2017, as applicable, attributable to the shortfall in Tax Credit for Fiscal Year 2015,2016 andlor 2017 using a
     discount factor of l07o compounded annually and (b) the Forecasted Tax Credit shall be correspondingly updated.

                         (3)       Compliance. Recapture and 2/3rd Adjuster.            If, with   respect to any year during the
     Compliance Period, the Actual Tax Credit allocated to the Limited Partner is, will be or was less than the Forecasted



                                                                       l9
     4837-4545-8969.4




CONFI DENT       IAL                                                                                  PLAINTIFFS              OOOO8419
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 25 of 187




     Tax Credit (affer the Forecasted Tax Credit has been revised in accordance with Section 3.5), for any reason,
     including, but not limited to, any breach ofany ofthe covenants, duties or obligations set forth in Section 3.5(a), any
     reduction in Qualified Basis and/or Eligible Basis, any application of ?3rds credits, any further delay in the timing
     and delivery ofTax Credit beyond what is provided for in Section 3.5(bX2) (regardless of whether such Tax Credit
     may be available in later years) and/or any disallowance or recapture of any Tax Credit, then the Capital
     Contribution obligation of the ILP shall be reduced by an amount (an "Adiustment Amount") equal to (a) the
     shortfall in Forecasted Tax Credit for such year, plus (b) the amount of any Tax Credit previously allocated to the
     ILP that is recaptured or otherwise disallowed (to the extent not otherwise taken into account in determining the
     Adjustment Amount pursuant to this subsection), plus (c) the amount of interest and penalties payable by the ILP (or
     its Partners) as a result of such shortfall or recapture such calculation to be made assuming that each Iimited partner
     of the ILP used all of the Tax Credit allocated to such limited partner in the year of allocation and that each such
     limited pafiner was subject to interest at the rate set forth in Section 6621(a)(2) of the Code and the penalty for
     understatement oftax set forth in Section 6662(d) ofthe Code, plus (d) an amount sufficient to pay any tax liability
     (calculated at an assumed tax rate of 40Vo) owed by the ILP (or its partners) resulting from the receipt of the
     amounts specified in the foregoing clauses (a), (b) and (c) and this clause (d). The General Partner shall require the
     Accountants to make their determination of the amount of the Actual Tax Credit with respect to each year of the
     Credit Period within thirty (30) days following the end of such Fiscal Year.

                        (4) Payment of Adjustment Amounts. Any Adjustment Amount shall be applied to the
     Installment or portion thereof next due to be paid by the ILP (other than the portion of the Second Installment
     required to be paid to the Bridge Loan), with any portion of such Adjustment Amount in excess of the amount of
     such Installment then being applied to the next succeeding Installment(s), provided that if no further Installments
     remain to be paid or if the Adjustment Amount exceeds the sum of the amounts of the remaining Installments, then
     the General Partner shall immediately make a Capital Contribution to the Partnership in the amount of the entire
     Adjustment Amount or the balance of the Adjustment Amount, as the case may be (a "Credit Adiuster
     Q!!igg$gg"), and the entire Credit Adjuster Obligation shall be immediately distributed to the ILP and shall neither
     constitute nor be limited by Net Cash Flow or Net Cash Proceeds. Provided, if the Accountants determine that the
     Capilal Contribution and distribution contemplated by the immediately preceding sentence, or applying any
     Adjustment Amount against the ILP's next due Installments, would at any time prevent the ILP from being allocated
     99.99Vo of Net Losses, Net Losses From Sale, and Tax Credit, then the Ceneral Partner shall pay such portion of the
     Credit Adjuster Obligation as is determined by the Accountants to be necessary to avoid the reallocation directly to
     the ILP as a payment for damages (and the remaining portion of the Credit Adjuster Obligation shall be applied to
     the next due Installment or contributed by the General Partner as a Capital Contribution, as provided in the
     immediately preceding sentence).

                         (5) Notwithstanding anything to the contrary contained in this Agreement, the General
     Partner shall not be responsible: (i) for the ILP's inability to utilize any Tax Credit allocated to it; (ii) for any
     recapture of Tax Credit arising solely as a result of the ILP's sale, transfer or assignment of its interest in the
     Partnership; or (iii) to the extent that any Credit Adjuster Obligation is solely attributable to a Change in Law. Any
     portion of a Credit Adjuster Obligation solely attributable to a Change in Law shall be payable to the ILP pursuant
     to Section 4.2 and Section 4.5.

                         (c)    Upward Adjustments to Capital Contributions.

                        (1) Upward Basis Adjuster. In the event that the Partnership receives an amount of Tax
     Credit with respect to the Project in addition to the aggregate ofthe Forecasted Tax Credit, as updated as provided
     herein (such additional amount being referred to hereinafter as the "@g!-e.Eedit"), the ILP agrees that it will
     make additional Capital Contributions to the Partnership in an amount equal to the product of the Tax Credit Price
     and the aggregate Additional Credit allocable to the ILP over the Credit Period. Upon any application of this
     Section 3.5(cX1), the Forecasted Tax Credit for each year shall be redefined to mean 99.99Vo of the total amount of
     Tax Credit, including the Additional Credit to be allocated and available to the Partnership over the Credit Period,
     assuming for these pu?oses that the Delivery Percentages do not change regardless of the actual delivery schedule,
     Notwithstanding the foregoing, there shall be no additional Capital Contributions due under this Section3.5(c)(1)
     unless the increase is supported by appropriate documentation and by a certi{ication of the Accountants, all in form
     and substance reasonably acceptable to the SLP, and the support documentation shall have been received by the SLP
     no later than the three-year anniversary of the Closing Date.


                                                               ?o
     4837 -4545-8969.4




CONFI DENTIAL                                                                                  PLA]NTIFFS                OOOOS4BO
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 26 of 187




                        (2) Uoward Timine Adiuster. In the event that the Partnership allocates on Schedule K-l to
     Form 1065 to the ILP Tax Credit for 2015 in an amount greater than the Forecasted Tax Credit (after the Forecasted
     Tax Credit is revised to take into account any adjustment made pursuant to Section 3.5(bXl) and/or 3.5(c)(l)) as the
     result of an earlier-than-anticipated delivery of Tax Credit (such additional amount being referred to hereinafter as
     the "fimine Adiuster Addifi                 '), the ILP agrees that it will make additional Capital Contributions to the
     Partnership in an amount equal to the present value of the Timing Adjuster Additional Credit computed as of
     December 31,2015, of receiving the Timing Adjuster Additional Credit on December 31,2025 using a discount
     factor of 107o compounded annually. Upon any application of this Section 3.5(cX2), the Forecasted Tax Credit shall
     be correspondingly updated.

                        (3) In no event will the ILP be obligated to make additional Capital Contributions pursuant to
     Section 3.5(c) in an amount in excess of l0Vo of the total Capital Contributions set forth in Section 3.2(a). Any
     additional Capital Contributions determined pursuant to Section 3.5(c) shall be added to the Final Insrallment or
     such earlier date determined by the ILP in its sole discretion; and provided, further, that ifthe Final Installment has
     been paid, then the entire amount of such additional Capital Contributions shall be made by the ILP to the
     Partnership within thirty (30) days after the determination of the amount thereof.

                3.6.     Security Interest.

                (a)     Each ofthe ILP and the SLP hereby grants to the Partnership a security interest in their respective
     interests in the Partnership, together with all oftheir right, title and interest in and to the Tax Credits, any tax credits
     available pursuant to Section 48 ofthe Code, all comparable state or local tax credit or tax incentives available to be
     allocated by the Partnership to the ILP and/or the SLP, all tax benefits and other property rights and distributions,
     and all of the proceeds and products thereof that would be available for distribution or allocation to the ILP and/or
     the SLP, on account of such interests, and all payments due or paid to the ILP and/or the SLP or any of either of
     their Affiliates by ttre Partnership as fees, returns of capital, distributions, repayments of loans or advances or for
     any other purpose, all in order to secure the ILP's obligations to fund the Installments of its Capital Contributions
     hereunder, and all on the express condition that the Partnership assign such security interests to PNC Bank, National
     Association as contemplated in Section 3.6(c) and Section 3.6(d). The General Partner shall register the pledge of
     the ILP's and the SLP's interests in the Partnership to the Partnership, as set forth in this Section 3.6, upon the books
     of the Partnership. The security interests granted under this Section 3.6 shall terminate automatically               upon
     repayment in full of the Bridge Loan.

                (b)     The General Partner hereby consents to the pledge by the ILP and the SLP of their Partnership
     interests to the Partnership, as set forth in Section 3.6(a).

              (c) The Partners hereby consent to the pledge by the General Partner ofits Partnership interest to PNC
     Bank, National Association and consent to the assignment of Capital Contribution proceeds by the Partnership to
     PNC Bank, National Association and to the assignment by the Partnership to PNC Bank, National Association of the
     Partnership's security interests in the Partnership interests ofthe ILP and the SLP, as set forth in Section 3.6(a).

                (d)     The Partners hereby consent to the pledge by the Partnership and the General Partner of all of their
     respective right, title and interest in and to the Tax Credits, any tax credits available pursuant to Section 48 of the
     Code, all comparable state or local tax credit or tax incentives available to the Partnership, the Project or the Partners
     thereof, all tax benefits and other property rights and distributions, and all ofthe proceeds and products thereofthat
     would be available for distribution or allocation to anv of the Partners of the Partnershio.

                                                           ARTICLE IV

                                 ALLOCATION OF PROFIT AND LOSS; DISTRIBUTIONS

               4.1.      Allocation of Net Profit and Net Loss.

                         (a)      Except as otherwise provided herein, all Net Profit and Net Loss, and each item of
     income, gain, loss, deduction and/or credit, shall be allocated 0.01Vo to the General Partner and 99.99Vo to the ILP.



                                                                  2l
     4837 -4545-8969.4




CONFI DENT       IAL                                                                              PLA]NT]FFS_OOOOB4B1
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 27 of 187




                          (b)     In no event shall any Partnership loss or deduclion, or item thereof, be allocated to the
       ILP or the SLP if, or to the extent, such allocation would cause or increase a deficit balance in such Limited
       Partner's Capital Account (in excess of any limited dollar amount of such deficit balance that such Limited Partner
       is obligared to restore under Treasury Regulation Section 1.704-1(bx2xii)(c)) or pursuant to a DRO Notice,            if
       applicable, as of the end of the Partnership taxable year to which such allocation relates, unloss such loss, deduction
       or item constitutes a "nonrecourse deduction" as defined in Treasury Regulation Section 1.704-2(c). For purposes
       of this limitation, each such Limited Partner's share (determined in accordance with Treasury Regulation
       Section 1.704-2(g)(l)) of the Partnership's "minimum gain," as defined in Treasury Regulation Section l.'704'2(d),
       shall be treated as an amount that such Limited Partner is obligated to restore. Any loss or deduction to such a
       Limited Partner, the allocation of which is disallowed by the foregoing restriction, shall be reallocated first to other
       Limited Partners, to the extent such allocation is not limited by this subparagraph, and then to the General Partner.

                           (c) In determining the extent to which an allocadon of loss or deduction (other than an
       allocation attributable to nonrecourse debt) would otherwise reduce a Limited Partner's Capital Account below zero
       for purposes of Section 4.1(b), such Limited Partner's Capital Account shall first be reduced (but only for purposes
       of this subparagraph) for:

                          (1)     any allocations of loss and deduction that, as of the end of such Fiscal Year, reasonably
       are expected to be made to such Limited Partner under Sections 704(e)(2) and 706(d) of the Code and Treasury
       Regulation Section 1.75 l-l (bx2xii); and

                          (2)      any cash disributions that, as ofthe end of such Fiscal Year, reasonably are expected to
       be made to such Limited Partner, to the extent that such distributions exceed offsetting increases to such Limited
       Partner's Capital Account that reasonably are expected to occur during (or prior to) the Fiscal Years in which such
       distributions reasonably are expected to be made.

       For purposes of determining the amount of expected distributions and Capital Account increases described above,
       the rules ofTreasury Regulation Section    L704-1(bX2Xii)(d) shall apply.

                          (d)      In the event there is a net decrease in Partnership "minimum gain" (as defined in
       Treasury Regulation Section 1.704-2(d)) during any Partnership taxable year, each Partner will be allocated items of
       income and gain, including gross income if necessary (in such year and, if necessary, subseguent years), in
       proportion to, and to the extent oi such Partner's share ofthe net decrease in Partnership minimum gain before any
       other allocation of Partnership items for such taxable year. A Partner is not subject to this mandatory allocation of
       income or gain to the extent that any of the exceptions provided in Treasury Regulation Section 1.704-2(fX2)-(5)
                                                                                   in
       apply. Such allocations pursuant to this subsection shall be accordance with Treasury Regulation
       Section 1]04-2(f). This provision is a "minimum gain chargeback" within the meaning of Treasury Regulation
       Section 1.704-2(f) and shall be construed as such,

                          (e)      If   the ILP or the SLP unexpectedly receives an adjustment, allocation, or distribution
       described in any of subdivisions (4), (5), and (6) ofTreasury Regulation Section 1.704-(bX2XiiXd) for any Fiscal
       Year which causes or increases a deficit balance in such Limited Partner's Capital Account in excess of any limited
       dollar amount of such deficit that such Limited Partner is obligated to restore, as adjusted in the manner provided in
       or is  deemed obligated to restore, under Treasury Regulation Sections 1.704-1(bx2xli)(c), L.704-2(g) and
       1.704-2(i\, such Limited Partner shall be allocated items of Partnership income and gain (consisting of a pro rata
       portion, in accordance with the deficit Capital Account balances of all Limited Partners, of each item of Partnership
       income, including gross income, and gain for such year) in an amount and manner sufficient to eliminate such
       Limited Partner's deficit Capital Account balance as quickly as possible. This provision is a "qualified income
       offset" within the meaning of Treasury Regulation Section 1.704-l(bX2Xii)(dX3) and shall be construed as such.

                         (f)      In the event there is a decrease in "partner nonrecourse debt minimum gain" (as defined
       in Treasury Regulation Section 1.704-2(i)) during any Partnership taxable year, each Partner shall be allocated items
       of income and gain (including gross income) in proportion to and to the extent of such Partner's share of the net
       decrease in partner nonrecourse debt minimum gain. A Partner is not subject to this Section 4.1(0 to the extent that
       any of the exceptions provided in Treasury Regulation Section 1.704-2(1)(4) applied consistently with Treasury
       Regulation Section 1.704-2(t)(2)-(5) apply. All allocations pursuant to this Section4.l(f) shall be in accordance

                                                                  22
        48374545-8969.4




CONF   I DENT IAL                                                                                 PLAINTIFFS_OOOOB482
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 28 of 187




     with Treasury Regulation Section 1.704-2(i). This provision is a "partner nonrecourse debt minimum                       gain
     chargeback" within the meaning of Treasury Regulation Section 1.704-2(i)(4) and shall be interpreted as such.

                          (g)        Nonrecourse Deductions shall be allocated 99.99Vo to the    ILP   and O.OlVo   to the General
     Partner.

                       (h) Net Profit and Net Loss and specific items of income, gain, loss, deduction and/or credit
     shall be allocated to a Partner only for that portion of the Fiscal Year for which such Person is a Partner in
     accordance with applicable Treasury Regulations.

                4.2.   Distribution of Net Cash Flow. Net Cash Flow shall only be disnibuted in accordance with this
     Agreement, the Project Documents and any applicable Lender or Agency requirement and only with the Consent of
     the SLP (which Consent shall not be unreasonably withheld to the extent the proposed distribution is in accordance
     with the foregoing). Net Cash Flow shall not be distributed prior to Stabilized Occupancy. Upon the achievement
     of Stabilized Occupancy and only if the SLP determines that the Project Budget is not Out-of-Balance and there are
     no outstanding Development Completion Obligations, cumulative Net Cash Flow (up to the lesser of. (A) $350,000
     and (B) l|Vo of effective gross income from Closing until Stabilized Occupancy) may be released and distributed to
     the General Partner as an incentive lease-up fee, but only to the extent permitted by HUD, the First Mortgage
     Lender, the City Loan Lender and the Tax Credit Agency, provided that there is no uncured Event of Default
     outstanding or other current or anticipated cash shortage; provided, further, to the extent the cumulative Net Cash
     Flow described above would be sufficient to satisfy any outstanding Development Completion Obligations, such
     cumulative Net Cash Flow may be released and distributed to the General Partner as an incentive lease-up fee less
     the amount of any outstanding Development Completion Obligation with such difference being applied toward the
     satisfaction of the Development Completion Obligation. Thereafter commencing upon Stabilized Occupancy, Net
     Cash Flow shall be distributed annually in the order set forth below within forty-five (45) days after the end ofeach
     Fiscal Year, but only to the extent permitted by HLJD, the City Loan Lender, the Ilrst Mortgage L,ender and the Tax
     Credit Agency, and provided that there is no uncured Event of Default outstanding or other current or anticipated
     cash shortage. For each Fiscal Year following Stabilized Occupancy, Net Cash Flow (including Net Cash Flow
     accumulated from all Fiscal Years prior to Stabilized Occupancy and not distributed to the General Partner as an
     incentive lease-up fee pursuant to this paragraph) shall be disnibuted in the following order:

                       (a) To the ILP as payment of the Investor Services Fee and then to any other amounts owed
     to the ILP, the SLP or any Affiliates thereof;

                       (b) If the balance in the Operating Reserve Account is below the Operating Reserve Amount,
     to the replenishment of such account until the balance is restored to the Operating Reserve Amount;

                          (c)        To the Developer as payment of the Defered Development Fee until payment in full,
     second, to the repayment      of the GP Predevelopment Loan, and third, to the repayment of the Seller Loan;

                          (d)        To payment of the Partnership       Management Fee (including any unpaid amounts
     accumulated from prior years);

                          (e)     To the ILP, an amount equal to 40Vo of the taxable income allocated to the ILP with
     respect to such year and any amount which would have been distributed under this subclause in any prior year but
     for there being insufficient Net Cash Flow to do so;

                          (D        To the General Partner for any fees, debts or liabilities owed to it (or to the Guarantors as
     reimbursement       of   advances made to satisfy General Partner obligations hereunder), including repayment of
     Subordinated Loans; and

                          (e)        To payment of the Incentive Management Fee;

                          (h)        Any remaining Net Cash Flow shall be distributed lOVo to the ILP and 907o to the
     General Partner.



                                                                    23
     4837 -4545-8969.4




CONFI DENT       IAL                                                                               PLAINTIFFS                  OOOOB4B3
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 29 of 187




                 In no event shall more than 90Vo of Net Cash Flow distributable to Partners for any year be paid or
       distributed to the General Partner and the foregoing distributions shall be modified to the extent necessary so that the
       General Partner will receive no more than 90Vo of such Net Cash Flow, after (c) above, in any year.

                4.3.      Allocation of Net Profit on Sale. Subject to allocations required by Sections 4.1(d), a.l(e), a.1(0,
       and 4.1(g), any Net Profit realized by the Partnership as a result of any of the transactions described in Section 4.5
       shall be allocated to the Partners (after having given effect to charges and credits to Capital Accounts resulting from
       allocations pursuant to Section4.l for the Fiscal Year in which the gain is recognized for federal income tax
       purposes, and to all distributions for such year under Section 4.2but before giving effect to any dishibutions under
       Section 4.5) as follows and in the following order:

                         (a)       First, if any of the Partners have negative balances in their Capital Accounts, to such
       Partners on a pro rata basis     in proportion to such negative balances until such negative balances have been
       eliminated.

                         (b) Second, any remaining gain shall be allocated so that the Capital Accounts ofall Partners
       equal as nearly as possible the amount of cash each Partner would receive if the aggregate amount of all Capital
       Account balances were cash available to be distributed pursuant to Section 4.5 (other than distributions to pay debts,
       fund reserves and pay fees).

                4.4.     Allocation of Net Loss From Sale. Any Net Loss From Sale shall be allocated as follows:

                         (a) First, if the Capital Account of any Partner or Partners is a positive number, such loss
       shall be allocated to those Partners whose Capital Accounts are positive in proportion to the positive balances of
       each of them, until the balance of each such Partner's Capital Account is equal to zero.

                         (b)       Then, subject to Section 4.1(b), any remaining loss shall be allocated to the Partners as
       Net Losses are allocated under Section 4. l.

                4.5.     Distribution   of Net   Cash Proceeds From      a Sale or Refinancing.       Except as provided in
       Section I 1.2 in the event of a liquidating distribution, the Net Cash Proceeds shall be distributed and applied in the
       following order of priority:

                          (a) To the payment or provision for payment ofthe expenses ofliquidation and the debts and
       liabilities of the Partnership then due, excluding obligations to any Partner (but including PNC Bank, National
       Association as lender) or Affiliates thereof.

                         (b)       As agreed to between the General Partner and the SLP, to the setting up of a reserve
       reasonably necessary    for any contingent, conditional, or unmatured liabilities or obligations of the     Partnership;
       provided, however, that said re$erves shall be for the pupose of disbursing for the payment of any of the
       aforementioned contingencies and, at the expiration of such period as the SLP and the General Partner shall deem
       advisable, for the purpose of distributing the balance remaining thereafter as provided for hereinafter.

                         (c)       To the payment of any accrued but unpaid Investor Services Fees and to any             other
       amounts owed to the ILP, the SLP, or any Affiliates thereof.

                         (d)       To the ILP, an amount equal to the Exit Taxes and any amounts due to the ILP pursuant
       to Section 7.7(h) with respect to tax    consequences resulting from forgiveness of the Seller Loan and/or GP
       Predevelopment Loan.

                         (e)       To the Developer as payment of the Defened Development Fee until payment in full,
       second, to the repayment   of the GP Predevelopment Loan, and third, to the repayment of the Seller Loan;

                       (0     To the payment of any accrued but unpaid Partnership Management Fee (including any
       unpaid amounts cumulated from prior years) and to any other amounts owed to the General Partner (or to the


                                                                  24
       48374545-8969.4




CONF   I DENT IAL                                                                                PLAINTIFFS-OOOOB484
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 30 of 187




     Guarantors as reimbursement or repayment of advances made to satist/ General Partner obligations under this
     Agreement), including repayment of Subordinated Loans.

                        (g)      Finally, any remaining Net Cash Proceeds shall be distributed    70Vo   to the ILP, 0.0l%o to
     the SLP and89.997o to the General Partner.

              4.6. Revaluation of Partnership Propertv. Upon the occurrence of (i) a contribution of money or
     property to the Partnership (after the Closing Date) by a nsw or existing Partner as consideration for an interest in
     the Partnership, (ii) a distribution of money or property by the Partnership to a retiring or continuing Partner as
     consideration for an interest in the Partnership, or (iii) the liquidation of the Partnership, the respective Capital
     Accounts of all Partners shall be adjusted to reflect a revaluation of Partnership property on the books of the
     Partnership in the following manner:

                        (a)      Such adjustments must be based on the fair market value of the property on the date       of
     adjustment;

                       (b) The adjustments must reflect the manner in which the unrealized income, gain, loss or
     deduction inherent in such property (that has not been reflected in the Capital Accounts of the Partners previously)
     would be allocated among the Partners under this Article IV if there were a taxable disposition of such property for
     such fair market value on the adjustment date;

                       (c) Thereafter, the Capital Accounts ofthe Partners are adjusted in accordance with Treasury
     Regulation Section 1.704-1(bx2xiv)(g) for allocations to them of depreciation, depletion, amortization and gain or
     loss, as computed for book purposes, with respect to such property; and

                        (d)     Thereafter, the Partners' distributive shares of depreciation, depletion, amortization and
     gain or loss, as computed for tax purposes, with respect to such property shall be determined so as to take account of
     the variation between the adjusted tax basis and the book value of such property in the same manner as under
     Section 704(c) of the Code and the Treasury Regulations thereunder and Treasury Regulation Section 1.704-
     l(bx4xi).

               4-7. Consent to Allocations and Distributions. Each Partner expressly consents to the methods set
     forth in this Article IV for determining the allocations and distributions of Net Profit, Net Loss, Net Profit From
     Sale, Net Loss From Sale and Distributions.

              4.8.      Allocations and Distributions Within a Class.

                        (a)     Allocations and Distributions Among Limited Partners. Whenever Net Profit or Net
     Loss, Net Profit From Sale, Net Loss From Sale or any item of income, gain, loss, deduction or credit is allocated or
     an item of cash is distributed to a class of Limited Partners, without regard to the capital account balances of the
     members of such class, such Net Profit, Net Loss or item shall be allocated or distributed to all members of such
     class bf Limiled Partners (treating for purposes hereof the ILP and SLP as separate classes of Limited Partners) in
     proportion to the amounts of their respective Capital Contributions.

                        (b)     Allocations and Distributions Amons General Partners.      If   there should be at any time
     more than one General Partner, any Net Profit or Net Loss, Net Profit From Sale, Net Loss From Sale or any item of
     income, gain, loss, deduction or credit shall be allocated and each item of cash shall be distributed, between or
     among the General Partners as a class, pro rata in accordance with the ratio of the percentage interests of the
     members of such class, as set forth on Exhb{2.

              4.9.      Miscellaneous.

                      (a) Guaranteed Pavments. Notwithstanding anything to the contrary in this Article IV, to the
     extent that any amounts which are paid or accrued to a Partner for services or for the use of capital by the




                                                               25
     4837-4545-8969.4




CONFI DENTIAL                                                                                   PLAINTIFFS                OOOO84B5
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 31 of 187




       Partnership are treated as distributions of Partnership income to the Partners receiving such payment, an equal
       amount of gross income of the Partnership shall be specially allocated to such Partner.

                          (b)     Tax Elections. Except as otherwise expressly provided in this Agreement, any federal,
       state or local tax elections relating to such allocations shall be made by the General Partner with the Consent ofthe
       ILP in such manner as will be most advantageous to the ILP so long as such elections are not materially inconsistent
       with the purposes of the Partnership as set forth in this Agreement.

                          (c)      Creditors. Except as otherwise expressly provided in this Agreement, a creditor who
       makes any loan to the Partnership, including any nonrecourse loan, shall not have or acquire at any time as a result
       of making such loan any interest in the profits, capital or property of the Partnership other than as a secured creditor
       if such loan is secured by Partnership assets.

                          (d)   Imputed Interest. In the event that there is a determination that interest on any loan
       between a Partner and the Partnership is imputed at a rate higher than the rate actually charged on such loan, the
       excess income or deduction of the Partnership attributable to such imputed interest shall be allocated solely to that
       Partner to whom or from whom such loan was made.

                          (e)     Special Allocation of Operating Defijit Oblieation. If (1) the General Partner advances
       funds to the Partnership pursuant to Section 6.5(d) or otherwise advances funds to or makes loans to the Partnership
       for purposes of paying operating expe[ses of the Partnership or, if the Partnership incurs losses from extraordinary
       events which are not recovered from insurance, or if funds are advanced from the Operating Reserve Account, the
                if
       amount, any, of funds contributed to such reserve by the General Partner or its Affiliates or otherwise
       (collectively, 'Op"""ti"e Deficit  OHig         ') in respect of any Partnership taxable year, and (2) the Accountants
       determine that the ILP will likely have an adjusted Capital Account deficit in any year during the Credit Period in
       excess of the sum of the ILP's share of Partnership minimum gain plus any amount of its negative Capital Account
       that the ILP has agreed to restore, then, to the extent of such projected excess deficit Capital Account, the
       calculation and allocation ofNet Profit and Net Loss pursuant to Section 4.1(a) shall be adjusted as follows: first, an
       amount of deduction attributable to the Operating Deficit Obligations consisting of operating expense deductions
       and not cost recovery deductions shall be allocated to the General Partner, and, second, all remaining deductions and
       all gross revenues shall be allocated as provided in Section4.l; provided thatthe General Parmer shall be specially
       allocated an amount of gross income (before Net Profit and NetLoss are computed under Section 4.1) equal to the
       amount of any principal repayment in any year of a Subordinated Loan or any repayment or return of a General
       Partner Capital Contribution (but in no event shall the ag$egate amount of gross income allocated pursuant to this
       clause exceed the aggregate amount of deductions or losses allocated to the General Partner under this Section
       4.9(e)).

                          (0        Distributions In-Kind. With respect to assets distributed in kind to the Partners in
       liquidation or otherwise, (1) any unrealized appreciation or unrealized depreciation in the values ofsuch assets shall
       be deemed to be Net Profit From Sale and Net Loss From Sale realized by the Partnership immediately prior to the
       liquidation or other disnibution event, and (2) such Net Profit From Sale and Net Loss From Sale shall be allocated
       to the Partners in accordance with Sections 4.3 and 4.4, and any property so distributed shall be treated as a
       distribution of an amount in cash equal to the excess of its fair market value over the outstanding principal balance
       of and accrued interest on any debt by which such property is encumbered. For purposes of this Section 4.9(0,
       "unrealized appreciation" or "unrealized depreciation" shall mean the difference between the fair market value of
       such assets, taking into account the fair market value ofthe associated financing (but subject to Section 7701(9) of
       the Code), and the Partnership's adjusted basis for such assets as determined under Treasury Regulation
       Section 1.704-l(b). This Section 4.9(f) is intended to provide a rule for allocating unrealized gains and losses upon
       liquidation or other distributions, and nothing contained in this Section 4.9(0 or elsewhere herein is intended to treat
       or cause such distributions to be treated as sales for value. The fair market value of such assets shall be determined
       by an appraiser to be selected by the General Partner and the SLP. Any dispute as to the fair market value shall be
        submitted to a committee composed of three (3) MAI or SRE appraisers, one chosen by the General Partner, one
       chosen by the SLP, and the third chosen by the other two so chosen. The proceedings of such committee shall
       conform to the rules of the American Arbitration Association, as far as appropriate, and its decision shall be final
        and binding upon the parties hereto and any successor General Partner.



                                                                  26
       4837-4545-8969.4




CONF   I DENT IAL                                                                                 PLA]NTIFFS                 OOOOB486
                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 32 of 187




                           (g)     Additional Interest. To the extent that interest is imputed on the unpaid balance of
       Development Fee, but is not paid, the deduction attributable t<t such unpaid interest shall be allocated to the General
       Partner.

                         (h) Reportable Transactions. The Partnership and its Partners shall be permitted to disclose
       to any and all Persons, without limitation of any kind, the "tax treatment and tax structure" (as defined in Treasury
       Regulation Section 1.6011-4(c)) of the transaction contemplated by this Agreement and all materials of any kind
       (including opinions or other tax analyses) relating to such tax treatment and tax structure. The General Partner will
       promptly notify the Partners of any "reportable transaction" under Treasury Regulation Section l.60ll-4 in which
       the Partnership shall engage. The General Partner hereby notifies the other Partners that the transactions provided
       for in this Agreement may constitute a "reportable transaction".

                          (i)      Special Allocation With Respect to Donations. Grants and Similar Items. Any taxable
       income of the Partnership resulting from the receipt of donations, contributions (including income arising from
       recharacterization of any Capital Contribution, debt or financing), grants, substantial modification, cancellation or
       forgiveness of any Partnership indebtedness, subsidies and similar items will be allocated lNVo to the General
       Partner. Further, in the event any financing provided to the Project is recharacterized as a grant and required for
       federal income tax pwposes to be recognized as taxable income, any income arising from such characterization shall
       be allocated to the General Partner and the General Partner agrees to cause the Accountants to prepare and file
       federal and state income tax returns that are consistent with this allocation provision. The General Partner agrees to
       recognize the allocation of income from any grant on its respective federal and state income tax returns, and the
       General Partner and Guarantors jointly and severally agree to indemnify and hold the ILP harmless from the
       reduction in tax benefits and the income tax consequences attributable to any recharacterization ofany financing as a
       grant and any income that is required to be allocated to the ILP or loss in tax benefits sustained by the ILP as a result
       of any grant, this special allocation notwithstanding. Such special allocation of income to the General Partner
       related to grants includes, but is not limited to, an allocation of income for state franchise or income tax purposes,
       and the indemnification obligation set forth herein shall be construed to encompass any adverse state franchise or
       income tax consequences of allocation of income to any Limited Partner.

                          0)        Distributions. Except as otherwise provided in this Agreement, each Partner shall look
       solely to the assets of the Partnership for all distributions and for such Partner's share of Net Profit or Net Loss and
       shall have no recourse therefor (upon dissolution or otherwise) against the General Partner or the Limited Partners,
       except, however, that this limitation shall not impair the right of the Partnership to enforce its rights against a
       General Partner or a Limited Partner. No Partner shall have any right to demand or receive property other than
       money upon dissolution and termination of the Partnership.

                                                            ARTICLE V

                                    PURCHASE OF LIMITED PARTNERS' INTERESTS

                  5.1.   Right To Resuire Repurchase. The Limited Partners shall have the right to require the General
       Partner to purchase the ILP's and the SLP's respective interests in the Partnership upon the occurrence of any one of
       the   following events:

                         (a) Agenc), or Lender Disapproval. At any time after the Closing Date, any Agency or
       Lender does not grant consent, if such consent is so required, to an amendment of this Agreement intended to
       transfer the ILP's or SLP's interest in the Partnership and/or admit the SLP or its designee as a substitute or
       additional General Partner pursuant to this Agreement.

                           (b)    Construction. Any ofthe following construction-related conditions shall be triggered:

                           (l)    Construction-related work on the Project does not occur for more than a thirty (30)
       consecutive day period;

                           (2)    507o Construction Completion shall not have occurred by      May 1, 2015; or


                                                                  27
       4837 -4545-8969.4




CONF   I DENT IAL                                                                                 PLA]NTIEFS_OOOO8487
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 33 of 187




                        (3)    Placement in Service shall not have occurred by December 31, 2015; or

                     (4) Final Construction Completion shall not have occurred by the earlier of (i) the date by
    which construction completion is required by any Lender, as such date may be extended in accordance with the
    Permitted Loan documents, and (ii) the Completion Date.

                        (c)    Financine. Prior to Stabilized Occupancy, any ofthe following shall have occurred:

                        (l)    a default shall have been declared by any Lender which default shall not have been cwed
    within any applicable cure period;

                        (2)   a non-judicial foreclosure ofthe Project has been completed orjudicial proceedings shall
    have commenced to collect on any Permitted Loan or a foreclosure proceeding shall have commenced with respect
    to any mortgage and such proceedings shall not have been dismissed within sixty (60) days; or

                      (3) any financing commitment of any Lender or Agency to provide a Permitted Loan or any
    rate lock relating thereto shall expire or be in default, modified, terminated or withdrawn and not reinstated or
    replaced within sixty (60) days with comparable terms which shall have received the Consent of the SLP and, if
    required, the approval ofany other Agency or Lender.

                        (d)    Stabilization.

                        (l)    Stabilized Occupancy has not occurred by the two (2) year anniversary          of    Final
    Construction Completion;

                        (2)    Achievement of monthly Breakeven Operations for a three (3) consecutive month period
    has not occurred by the one (1) year anniversary
                                                  ofFinal Consffuction Completion; or

                        (3) Mortgage Loan Commencement has not occurred by the earlier of (i) the date required in
    the Permitted Loan documents, including any Permitted Loan commitment, and (ii) the 36-month anniversary of the
    date of this Agreement.

                        (e)    Noncompliance WithJax Credit Requirements. Any of the following Tax Credit-related
    requirements shall be triggered:

                        (l)    [Reserved].

                        (2)  107a Test Certification shall not have occurred by the earlier of (i) the date required by
    the Tax Credit Agency and (ii) twelve (12) months after the Carryover Allocation is executed by the Tax Credit
    Agency and evidence thereof shall not have been delivered to the SLP within thirty (30) days of the earlier of said
    dates;

                       (3) Placement In Service has not occurred by the earlier of any date required by the Agency
    or the Placement in Service Date and evidence thereof shall not have been delivered to the SLP within thirty (30)
    days of the earlier of said dates;

                        (4)     Cost Certification shall not have been delivered to the SLP within ninety (90) days of
    Placement in Service;

                     (5) 8609 Issuance shall not have occurred and evidence thereof shall not have been delivered
    to the SLP by December 3lst of the year following the first year of the Credit Period unless the delay is caused by
    the Agency and the General Partner is using commercially reasonable efforts to obtain the same;




                                                             28
     4837-4545-8969.4




CONFIDENTIAL                                                                               PLAINT]FFS_OOOOB48B
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 34 of 187




                       (6) a valid Extended Low Income Housing Use Commitment as required pursuant to Section
     42 of the Code has not been executed and recorded prior to December 3 l tt of the first year of the Credit Period and
     evidence thereof shall not have been delivered to the SLP within thirty (30) days of said date;

                        (7)        the Actual Tax Credit is less than 8OVa of the Forecasted Tax Credit (other than with
     respect to the first year ofthe Credit Period (so long as adjusters are paid as provided in Section 3.5); or

                        (8) The Partnership fails to meet the Minimum Set-Aside Test or the Agency Set-Aside or
     the rents charged to tenants in dwelling units designated to meet the Minimum-Set-Aside Test or the Agency
     Set-Aside Test fail to meet the Rent Restriction Test prior to the end of the first year of the Credit Period, or at any
     time thereafter through the Compliance Period the Partnership fails to cause 807o of the Low Income Units to meet
     the foregoing tests.

                      (0        General Partner or Guarantor Breach. Prior to funding the Final Installment, an Event of
     Default occurs and is notcured within any applicable notice or cure period.

                5.2. Pwchase Price. The purchase price of the Limited Partners' partnership interests shall be an
     amount equal to (i) all Capital Contributions previously paid by the Limited Partners to the Partnership, plus
     (ii) interest on such Capital Contributions at an annual interest rate of lOTo calculated from the date each Capital
     Contribution was paid through the payment date of the purchase price; plus (iii) the amount of costs and expenses
     incurred by any Limited Partner in connection with the repurchase; plus (iv) any amount the ILP is obligated to fund
     or repay under the Bridge Loan; less (v) the value of any Tax Credit previously allocated to the ILP and not subject
     to recapture, the value of which shall be the lesser of the Tax Credit Price or $1.00. The Partnership and General
     Partner shall also be obligated to provide a full release of the Limited Partners from any further obligation to make
     Capital Contributions and an indemnification against any claims of creditors of the Partnership.

               5.3. Notice. Within five (5) days of the occurrence of an event in Section 5.1, the General Partner shall
     give notice of the event to the SLP; provided that the delivery or receipt of such notice is not a condition to the
     effectiveness of the rights and remedies hereunder. No purchase shall be required until the ILP or the SLP shall
     have given the Partnership and the General Partner thirty (30) days' written notice demanding the repurchase. The
     full amount ofthe purchase price as set forth in Section 5.2 shall be paid by the General Partner to the ILP and the
     SLP at the conclusion of the thirty (30) day notice period. The Partnership hereby guarantees the obligation of the
     General Partner under this Article V.

                                                          ARTICLE VI

                              RIGHTS, POWERS AND DUTIES OF GENERAL PARTNER

              6.1 .      Powers. The General Partner shall be responsible for the management of the Partnership business.
     Subject to Section 6.2 and any other specific provisions contained in this Agreement, the General Partner shall have
     all authority, rights and powers generally conferred by law, including the authority, rights, and powers of a general
     partner in a partnership without limited partners, and shall have all authority, rights and powers which they deem
     necessary or appropriate to effect the purposes ofthe Partnership, including, but not limited to, the following:

                        (a)      To acquire, hold, selt, transfer, assign, lease or otherwise deal with any real, personal, or
     mixed property, interest therein or appurtenance thereto.

                        (b) To borrow money or incur any purchase money mortgage or similar obligations and, if
     security is required therefor, to mortgage or subject to any other security device any portion of the assets of the
     Partnership, including any assets acquired with the proceeds of such borrowing, to obtain replacements of any
     mortgage or other security device, and to prepay, in whole or in part, refinance, increase, modify, consolidate or
     extend any mortgage or other security device and including, specifically, the authority, right, and power to borrow
     money for working capital purposes to acquire, rehabilitate and operate the Project and to engage in related
     activities.




                                                                29
     4837-4545-8969.4




CONFI DENTIAL                                                                                   PLA]NTIFFS_OOOO8489
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 35 of 187




                        (c)    To   purchase,   at   Partnership expense,   liability and other insurance to protect   the
    Partnership business and property.

                        (d)    Subject to Section 6.8, to employ, contract and deal with Persons (including any Partner
    or Affiliate of any Partner) in connection with the management, operation, and disposition of the Partnership
    business and assets, on such terms as the General Partner shall determine.

                        (e)    To establish reserve funds pursuant to Section 6.5 to provide for future requirements of
    the Project.

                        (0    To bring or defend, pay, collect, compromise, arbitrate, resort to legal action or otherwise
    adjust claims or demands of or against the Partnership,

                        (g)   To pay as a Partnership expense any and all expenses associated with the formation ofthe
    Partnership and the development, construction and/or rehabilitation as applicable, organization, and operation of the
    Project.

                        (h)    To deposit, withdraw, pay, retain and distribute the Partnership's funds in a       manner
    consistent with the provisions of this Agreement.

                        (i)      To require in any or all Partnership contracts that the General Partner shall not have any
    personal liability thereon but that the Person conuacting with the Partnership shall look solely to the Partnership and
    its assets for satisfaction.

                        0)     To execute, acknowledge and deliver any and all instruments, including the Project
    Documents available at closing, to effectuate the foregoing.

                        (k)     To cause the Partnership to accept the grant of a security interest in the Partnership
    interests of the ILP and SLP pursuant to Section 3.6(a) and to assign those security interests to the Bridge Lender
    pursuant to Section 3.6(c).

           6.2. Restrictions on Authoritv of General Partner. The General Partner shall be bound by all Project
     Documents. In addition, without the prior Consent of the SLP, no General Partner shall:

                      (a) Dissolve or wind up the Partnership, or cause or permit the occurrence of any event that
     would have the foreseeable result of the voluntary or involuntary dissolution of the Partnership whether under this
     Agreement or otherwise.

                        (b)    Sell, exchange, lease (other than lease of dwelling units to individual tenants as required
     hereunder), mortgage, pledge or otherwise transfer any of the assets of the Partnership except for mortgages,
     assignments and pledges of collateral required with respect to the Permitted Loan.

                        (c)    Change the nature or purposes ofthe Partnership's business.

                        (d) Borrow money (except for the Permitted Loan closed on or before the date hereoi the
     Bridge Loan, the Seller Loan, the GP Predevelopment Loan, and the Subordinated Loans and other Partner loans
     permitted under this Agreement) or refinance, recast, modify or extend any loan to the Partnership or which affects
     or is secured by the assets of the Partnership, except that the General Partner shall have the right and power without
     such Consent to borrow additional funds on behalf of the Partnership to meet cunent cash needs of the Partnership,
     provided such amounts so borrowed that are outstanding at any given time under this clause (d) shall not exceed
     $10,000 and such amounts are not used to repay (i) any obligations owed to the General Partner, Developer or
     Guarantor or any Affiliate of any such Persons or (ii) any obligations which are to be paid by the General Partner,
     Developer or Guarantor or any Affiliate of any such Persons;




                                                                30
     4837-4545-8969.4




CONF] DENTIAL                                                                                 PLAINT]FFS                OOOO8490
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 36 of 187




                         (e)      Borrow from the Partnership or commingle Partnership funds with funds of any other
     Person.

                         (f)      Rent apartments in the Project in such a manner that the Project would not meet the
     requirements of the Minimum Set-Aside Test, the Agency Set-Aside Test or the Rent Restriction Test.

                         (g)      On behalf of the Partnership, (i) file or cause to be filed a voluntary petition in
     bankruptcy under the Bankruptcy Code        or (ii) file or cause to be filed a petition or answer seeking any
     reorganization, ilrangement, composition, readjustment, liquidation, dissolution or similar relief under any statute,
     law or rule,

                         (h)     Cause the Partnership to commence, settle, compromise, mediate or otherwise relinquish
     any claim (actual or prospective), or to release, waive or diminish any material Partnership rights in any litigation or
     arbitration matter involving a claim of in excess of $10,000, or to do so as to any claim regardless of amount against
     the General Partner, Guarantorn Developer, Builder or Property Manager or any Affiliate thereof.

                         (i)      Cause the Partnership to close or convert or refinance any loan, including any Permitted
     Loan.

                        (t)       Amend any Project Document, or permit any party thereunder to waive any provision
     thereof, to the extent that the effect of such amendment or waiver: (i) would be to eliminate, diminish, or defer any
     obligation or undertaking of the Partnership, the General Partner, the Developer or the Guarantor, or any of their
     Affiliates, that accrues, directly or indirectly, to the benefit of, or provides additional security or protection to, the
     ILP (notwithstanding that the ILP is neither a party to nor an express beneficiary of such provision or was not a
     Partner when such provision became effective), or (ii) might have a material adverse effect on the Project, the
     Partnership or the Limited Partners.

                         (k)      Except as provided in Section 3.6, pledge or assign any of the Capital Contributions of
     the   ILP or the proceeds thereof.

                         (l)      Following Final Construction Completion of the Project, construct any new capital
     improvements, or replace any existing capital improvements if construction or replacement would substantially alter
     the use or value of the Project.

                       (m) Acquire any real property in addition to the Property (other than easements or similar
     rights necessary or customary for the development and operation of the Project).

                         (n)     Cause the Partnership to make any loan or advance to any Person (other than accounts
     receivable in the ordinary course of business from Persons other than the General Partner and Affiliates thereof).

                         (o)      Permit the merger or termination of the Partnership.

                         (p)    Lease the Property in such a manner as to cause the Property or any part thereof to be
     treated as "tax-exempt use property" within the meaning of Section 168(h) of the Code.

                         (q)    Take any action or fail to take any action which would cause the recapture or reduction      of
     the Tax Credit under Section 42(g) of the Code.

                         (r)     Enter into any agreement (exclusive of the Project Documents entered into on or about
     the Closing Date or third-party service contracts for maintenance, Iandscaping, security and other service providers
     necessary to maintain operations of the Project with terms not exceeding one year, a tree maintenance agreement
     (anticipated to be for a term of five years) required for tree mitigation as required for the site plan permit, and
     agreements with cable, date, and phone providers (which are anticipated to exceed one year in term) which benefits
     or burdens (i) the Project or the Partnership, or its assets, or (ii) the property of a third party (including the separate
     property ofthe General Partner, Guarantor, or Developer, or their respective Affiliates).


                                                                 JI
     4837-4545-8969.4




CONF] DENT       IAL                                                                             PLA]NT]FFS                 OOOO8491
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 37 of 187




              6.3.    Single Purpose Entitv. The nature of the General Partner as being a "single purpose entity"
                         from its members, partners and/or shareholders, as applicable, is a material inducement to the
     separate and distinct
     ILP and SLP becoming Limited Partners of the Partnership and agreeing to make the Capital Contributions provided
     for in this Agreement. To ensure compliance with the restrictions on the General Parhrer, the General Partner
     represents, warrants and covenants as follows:

                       (a)      The General Partner has not and       will not engage in any   business other than being the
     General Partner of the Partnership.

                       (b)      The General Partner shall not enter into and has not entered into any contract or
     agreement with any Affiliate of the General Partner, the Developer or Guarantor, except upon terms and conditions
     that are substantially similar to those that would be available on an arm's length basis.

                       (c)      The General Partner has paid and shall continue to pay its taxes, debts and liabilities from
     its own assets as the same shall become due. No Affiliate of the General Partner has paid any debts or liabilities on
     behalfofthe General Partner other than those related to the Partnership or pursuant to the Guaranty as contemPlated
     herein.

                       (d)      The General Partner has maintained and shall continue to maintain books, financial
     records and bank accounts that are separate and distinct from any other Person.

                        (e) The General Partner has maintained and shall continue to maintain separate annual
     financial statements showing its assets and liabilities separate and distinct from those of any other entity; in the
     event the financial statements of the General Partner are consolidated with the financial statements of any other
     entity, the General Partner has included and shall continue to cause to be included in such consolidated financial
     statements: (i) a narrative description of the separate assets, liabilities, business functions, operations and existence
     of the General Partner to ensure that such items are readily distinguishable; and (ii) a statement that the General
     Partner's assets and credit are not availab-le to satisfy the debts of such other entity or any other person.

                       (f)      The General Partner has previously and shall continue to (i) hold itself out as an entity
                                                                         division or part ofany other Person; and (iii)
     separate and distinct from any other Person; (ii) not identify itselfas a
     correct any known misunderstanding regarding its separate status.

                       (g) The General Partner has and shall continue to conduct its business in its own name so as
     to avoid or correct any misunderstanding on the part of any creditor concerning the fact that any invoices and other
     statements of account from creditors of the General Partner are to be addressed and mailed directly to the General
     Partner, though this provision shall not prohibit such mail to be delivered to the General Partner c/o any other entity.

                       (h) The General Partner has and intends to maintain adequate capital for the normal
     obligations reasonably foreseeable in a business of its size and character and in light of its contemplated business
     operations.

                         (i)        The General Partner has not commingled and shall not commingle with any Person, any
     of its assets, funds or liabilities.

                       0)         Except as may be required under the Bridge Loan or a Permitted Loans, the General
     Partner has not and shall not (i) assume or guaranty the debts of any other Person in a manner that includes a
     pledge, encumbrance, transfer or hypothecation (whether by operation oflaw or otherwise) ofany assets or interests
     of the Partnership or, (ii) hold itself out to be responsible for the debts of another Person in a manner that includes
     the pledge, encumbrance, transfer or hypothecation of any assets or interests of the Partnership (whether by
     operation of law or otherwise), or (iii) otherwise pledge, encumber, transfer or hypothecate the assets of the
     Partnership for the benefit of another Person or permit the same to occur except as specifically provided in the
     Project Documents executed on or before the Closing Date, or (iv) hold the Partnership's credit as being available to
     satisfy the obligations of any other Person.




                                                                 32
     48374545-8969.4




CONFI DENTIAL                                                                                    PLATNTIFFS_OOOO8492
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 38 of 187




                       (k)     All transactions carried out by the General Partner have been and will be, in all instances,
     made in good faith and without intent to hinder, delay or defraud creditors of the General Partner.

              6.4.     lReservedl.

              6.5.     Duties. Covenants. Oblisations. Representations and Warranties. The General Partner hereby
     agrees to undertake thefollowing duties, covenants and obligations and further represents, wturants and covenants to
     the Limited Partners and to Tax Counsel that the following are presently true and will be true throughout the term of
     this Agreement, unless otherwise indicated:

                       (a) The General Partner shall devote to the Partnership such time as may be necessary for the
     proper performance of its duties. The General Partner shall cause the Partnership to promptly pay all Partnership
     debts when they become due and to perform all other Partnership obligations under all agreements and legal
     requirements ofany kind or nature to which the Partnership, the Project or the General Partner may be subject. The
     General Partner shall cause all accounts payable by tha Partnership to be paid within sixty (OO) Oayi of their
     respective due dates. Subject to this Agreement, the General Partner shall at all times act and exercise its discretion
     hereunder in a reasonable manner consistent with its fiduciary duties to the other Partners.

                         (b) During the term of the Partnership, the General Partner shall cause the Partnership to
     obtain and keep in force, at Partnership expense, the insurance described in Exhibit 6 or such higher standard or
     amount of insurance coverage required under the Project Documents. All policies evidencing such required
     insurance shall: (i) be issued by a company or companies acceptable to the SLP; (ii) include endorsements requiring
     at least thirty (30) days' prior written notice to the SLP of any cancellation, termination, premiums due, or reduction
     of coverage therein; (iii) not be written for a term of less than one (1) year; (iv) not permit a waiver of subrogation
     by the insured prior to a loss; and (v) not exclude coverage as a result of the presence of moisture and/or mold,
     unless either (A) separate coverage is obtained in form and substance acceptable to the SLP or (B) the General
     Partner provides evidence acceptable to the SLP that upon Final Construction Completion the Project will not be
     susceptible to moisture and/or mold issues.

                       (c)       The General Partner shall cause the Partnership to establish and maintain reasonable
     reserves to provide for working capital needs, Capital Expenditures, Operating Deficits and any other contingencies
     of the Partnership, and, at a minimum, shall:

                        (1) Commencing six (6) months after Placement In Service, cause the Partnership to deposit
     monthly an amount of not less than $20.83 per aparfinent unit into the Replacement Reserve Account, which amount
     shall be adusted annually to reflect a37o increase over the previous year's required deposit or such higher amount
     as may be required in any Project Document. The Replacement Reserve Account must be maintained in an account
     which shall be separate from the Partnership's operating account(s) in compliance with all Lender and Agency
     requirements. Pursuant to Section 10.9, the General Partner shall submit to the SLP for approval an annual budget
     of Capital Expenditures for the subsequent Fiscal Year. The SLP's approval of the annual budget of Capital
     Expenditures shall be considered Consent for the Replacement Reserve Account disbursements for the purposes and
     in the amounts identified on such approved budget. Any disbursements from the Replacement Reserve Account
     shall be subject to all Lender or Agency requirements, and any disbursement in excess of the amounts identified on
     the approved budget ofCapital Expenditures for such year shall be made only with the Consent or upon the direction
     ofthe SLP (except for any disbursements in the event ofan emergency and which is necessary to protect the safety
     of tenants or the structural and/or mechanical integrity of the Project, and the General Partner provides the SLP
     notice of such disbursement no later than the first business day following the emergency event). In no event shall
     disbursements be made from the Replacement Reserve Account for ordinary and customary repairs and maintenance
     that do not constitute Capital Expenditures without the prior Consent of the SLP. After each disbursement, the
     General Partner shall submit to the SLP the invoices showing: the item or service purchased; the purchase date; the
     quantity purchased and per unit cost; the total purchase amount and reason for the expenditure. If disbursements are
     made from the Replacement Reserve Account for items that do not constitute Capital Expenditures or in amounts in
     excess of the limits established hereunder without Consent of the SLP, the SLP shall have the right (in addition to
     other remedies under this Agreement, including, but not limited to, Section 7 .7(b)) to require the General Partner to
     place the funds held in the Replacement Reserve Account into an account that requires the signatures of both the
     SLP and the General Partner for anv disbursements.


                                                               JJ
     48374545-8969.4




CONFI DENT     IAL                                                                            PLAINTIFFS                OOOOB493
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 39 of 187




                         (2) The General Partner shall cause the Partnership to deposit into the Operating Reserve
       Account, at the time of the payment of the Third Installment, not less than the Operating Reserve Amount, which
       account shall be maintained in an account at PNC Bank, National Association in the name of the Partnership under
       the sole control of the SLP. The General Partner may reduce or eliminate any Operating Deficit prior to making an
       advance pursuant to Section 6.5(dxl) by requesting funds in the Operating Reserve Account but in no event shall
       any such funds be used while an Event of Default has occurred and is outstanding (unless the sole Event of Default
       is payment and expenditure of the funds for the Operating Deficit is otherwise permitted and would cure such Event
       of Default) or to pay any Development Costs. Disbursements from the Operating Reserve Account (including any
       interest earned thereon) shall be requested in writing by the General Partner to the SLP (except for any
       disbursements in the event of an emergency and which is necessary to protect the safety of the tenants or the
       structural and/or mechanical integrity ofthe Project, and the General Partner provides the SLP with notice regarding
       such disbursements no later than the first business day following the disbursement). The Operating Reserve
       Account shall be maintained until expiration of the Compliance Period at which time any remaining balance shall be
       disbursed as Net Cash Flow in accordance with Section 4.2. Any remaining balance in the Operating Reserve
       Account upon sale of the Project shall be disbursed as provided in accordance with Section 4.5.

                         (3)        The General Partner shall cause the Partnership to deposit, at the time of the payment of
       the Third Installment not less than $3,000,000 (the "RSRA Amount"), into the Rental Subsidy Reserve Account,
       which shall be maintained in an escrow account at PNC Bank, National Association in the name of the Partnership
       under the sole control of the SLP. The General Partner may reduce or eliminate an Operating Deficit resulting from
       the decrease or loss of funding under the HAP Contract (or any failure to enter into, a termination, an expiration or a
       Iapse of the HAP Contract (including a failure to renew)) (a "Loss Event") by expending funds in the Rental Subsidy
       Reserve Account prior to making an advance pursuant to Section 6.5(dX2), but in no event shall any such funds be
       used while an Event of Default has occurred and is outstanding or to pay any Development Costs. Disbursements
       from the Rental Subsidy Reserve Account (including any interest earned thereon) shall be requested in writing by
       the General Partner to the SLP, approval of which shall not be unreasonably withheld, conditioned or delayed. Any
       remaining balance in the Rental Subsidy Reserve Account shall be released, subject to the Release Restrictions
       (other than a Loss Event), in the priority set forth below, upon the first date upon which the Project is fully re-
       tenanted (if applicabte upon complete loss, termination, or lapse of the HAP Contract) and determination by the SLP
       that the Project will maintain a Debt Service Coverage of l20%o or greater through the Compliance Period (which
       calculation shall be performed in the same manner as for purposes of Stabilized Occupancy). Except as set forth in
       the foregoing sentence, the Rental Subsidy Reserve Account shall be maintained until expiration of the Compliance
       Period at which time any remaining balance shall be disbursed subject to the Release Restrictions (other than a Loss
       Event), in the priority set forth below. Any remaining balance in the Rental Subsidy Reserve Account upon sale of
       the Project shall be disbursed subject to the Release Restrictions (other than a Loss Event), in the priority set forth
       below. Notwithstanding the foregoing, if the Rental Subsidy Reserve Account has not otherwise been released as
       set forth above and beginning upon the last day of the eleventh year of the Compliance Period and each anniversary
       thereafter any balance remaining in the Rental Subsidy Reserve Account in excess ofthe amount as follows shall be
       disbursed in the priority set forth below:

                End ofyear   ll                                                 807o of the RSRA Amount


                End ofyear 12                                                   60Vo   of the RSRA Amount

                End ofyear 13                                                   40% of the RSRA Amount

                End ofyear 14                                                   20% of the RSRA Amount

                End ofyear 15                                                   UVo   of the RSRA Amount

       Any funds released hereunder shall be disbursed in the following priority: (A) first to fund any unfunded reserves of
       the Partnership, including, but not limited to the Operating Reserve Account and the Replacement Reserve Account
       and (B) then to the General Partner as a disuibution, but in no event shall any such funds be disbursed (i) while an
       Event ofDefault has occurred and is outstanding, (ii) if the balance of the Operating Reserve Account is below the
       Operating Reserve Amount (unless the SLP otherwise determines sufficient funds from will be available from other
       sources to fully fund the Operating Reserve Account to the Operating Reserve Amount, including through release of


                                                                 3;4
       48374545-8969-4




CONF   I DENT IAL                                                                                PLAINTIFFS_OOOOB494
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 40 of 187




     the Rental Subsidy Reserve Account funds, if necessary), (iii) if there is a Loss Event or (iv) if any amounts are due
     and owing to the ILP, SLP or any Affiliates thereof unless the General Partner has provided such amount will be
     paid upon any release (the "Release Restrictions").

                        (d)     (1)      The General Partner shall be obligated, without the requirement of notice or
     demand, to advance, or cause to be advanced by the Guarantor, all funds necess.lry during the ODG Period up to the
     ODG Cap (exclusive of any amounts funded from the Operating Reserve Account) in order to enable the Partnership
     to pay and satisfy Operating Deficits.

                        (Z) In addition to the obligations set forth in Section 6.5(dxl) and notwithstanding any
     limitations set forth therein, in the event of a loss or reduction of the rental assistance provided under the HAP
     Contract for any reason, including, but not limited to, a loss or reduction caused by (i) a failure to enter into, a
     termination, an expiration or a lapse of the HAP Contract (including a failure to renew), or (ii) a failure of HUD to
     fully fund the HAP Contract due to a loss or reduction of appropriations, and such loss or reduction results, in whole
     or in part, in an Operating Deficit, then the General Partner, for the period commencing on the Closing Date and
     ending upon the termination of the Compliance Period, agrees and guarantees to advance or cause to be advanced by
     the Guarantor, without the requirement of notice or demand by the Partnership, any Partner or orher party, an
     amount equal to the lesser of (i) the funds that would have been received under the HAP Contract with respect to the
     period of the Operating Deficit but for such loss or reduction of the rental assistance; and (ii) the amount of the
     Operating Deficit. If amounts are due under both (l) and (2) of this Section 6.5(d), advances made shall be treated
     as made first in satisfaction of the obligations under this paragraph until the obligations of this paragraph are
     satisfied in full and then in satisfaction of the obligations under Section 6.5(d)(1). Any amounts advanced under this
     paragraph shall not be credited toward the ODG Cap.

                       (3) All advances pursuant to this Section 6.5(d) shall be Subordinated Loans repayable
     without interest in accordance with the provisions of Section 4.2 and Section 4.5; provided, however, that if the
     Accountants or the SLP determine that such treatment as Subordinated Loans would prevent the ILP from being
     allocated 99.99% of Net Losses, Net Losses from Sale and/or Tax Credit, then the advances shall be treated as
     payment of damages for breach of warranty.

                      (e) The General Partner shall provide the Limited Partners, for purposes of seeking the
     Consent thereto, with a copy of any proposed new documents and/or any proposed amendment to any Project
     Document at least ten (10) days prior to the scheduled execution thereof. In no event shall any such documents be
     executed by or on behalfofthe Partnership without obtaining the Consent ofthe SLP as to the form and substance of
     such documents.

                         (f)     The Partnership is and will continue to be a duly organized limited partnership, validly
     existing under the laws of the State and has complied and will continue to comply with all filing requirements
     necessary for the protection of the limited liability of the Limited Partners. Upon execution of this Agreement, the
     only partners of the Partnership are the General Partner, the ILP and the SLP. The Partnership has not made, and
     will not make, an election to be taxable as a corporation. The General Partner will not take any action that would
     result in the Partnership being treated as a corporation under Code Section 7701 or as a "publicly traded partnership"
     within the meaning of Code Section 7704. The Partnership has properly elected the accrual method of accounting.
     The profits, gains, losses and credits for tax and book accounting purposes, cash flow from operations, and sale or
     refinancing proceeds will be allocated among the Partners as set forth herein. No Partner will make any capital
     contributions to the Partnership other than the capital contributions provided for in this Agreement. The Partnership
     (i) is not an investment company within the meaning of the Investment Company Act of 1940 (referred to herein as
     the "fu!") and (ii) is not relying on the exceptions contained in Section 3(cX1) or Section 3(cX7) of the Act in
     making such determination. In addition, at all times during the term of this Agreement, the Partnership (i) will not
     be an investment company within the meaning of the Act and (ii) will not rely on the exceptions contained in
     SeCtion 3(c)(1) or Section 3(cX7) of the Act in making such determination,

                       (g) The execution and delivery of all instruments and the performance of all acts heretofore
     or hereafter made or taken pertaining to the Partnership or the Project by each of the General Partner and Affiliates
     ofa General Partner have been duly authorized and the Partnership and the General Partner have active status for the
     right to transact business in the State, and the consummation of any such transactions with or on behalf of the

                                                               35
     4837-4545-8969.4




CONF] DENTIAL                                                                                 PLA]NTIFFS                OOOOB495
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 41 of 187




     Partnership will not constitute a breach or violation of, or a default under, (i) the organizational documents of such
     entity, (ii) any agreement by which such entity or any ofits property or assets are bound, or (iii) any law, regulation
     or court decree.

                      (h) No default, Event of Default or event which, with the giving of notice or the passage of
     time or both, would constitute a default, has occurred and is continuing under this Agreement or any of the Project
     Documents, and the same are in full force and effect. Neither the General Partner nor the Partnership is in violation
     of any Lender or Agency requirements.

                        (i)       The Partnership is not liable for any expense, debt, cost, liability, or other charge other
     than costs incurred in connection with the acquisition of the Property and construction and/or rehabilitation of the
     Project as reflected in the Project Budget and operating expenses arising in the ordinary course ofbusiness.

                      (t)      The General Partner, the Developer, lhe Guarantor, any partner, member or officer
     thereof (which officer has a Controlling Interest in any of the foregoing Persons) is not the subject of any
     governmental or private inquiry, proceeding or litigation, the outcome of which could be materially adverse to any
     such Person, the Project or the Partnership.

                         (k)   No Event of Bankruptcy has occurred, is pending or to the best of the General Partner's
     knowledge after due inquiry is threatened against the Partnership, the General Paftner, the Original Limited Partner,
     the Developer, or the Guarantor, and no event that would constitute an Event of Withdrawal has occurred with
     respect to any General Partner.


                       0)        To the extent not previously transferred, the General Partner hereby transfers and assigns
     to rhe Partnership all of the General Partner's (and its Affiliates) right, title and interest in and to the Project and in
     and to all Project Documents (excluding its right to receive payments and distributions in accordance with this
     Agreement and its Affiliates rights under the Seller Loan and the Developer's right to receive payment of the
     Development Fee).

                      (m) The General Partner shall provide to ttrl SLp written notice, within three (3) business
     days of the occurrence, of any event which would likely result in an Event of Default after passage of any cure
     period.

                         (n)     The General Partner and Guarantor collectively have and shall maintain an aggregate net
     worth exclusive of the General Partner's interest in the Partnership or any sums owed to the General Partner or
     Cuaranror by the Partnership equal to at least $5,000,000, of which at least $2,500,000 shall be liquid assets until
     Stabilized Occupancy and thereafter the minimum liquidity requirement shall be $2,000,000 and then until the ODG
     Period End Date and thereafter the minimum liquidity requirement shall be $1,000,000 throughout the Compliance
     Period.

                         (o)     There are no agreements relating to and no claims filed, pending or to the best of the
     Ceneral Partner's knowledge after due inquiry is threatened against or concerning the Partnership by any Person not
     an Affiliate of the ILP in regard to any syndication or the sale or issuance of any limited partner interest in the
     Partnership. The General Partner has or will have timely complied or will cause the timely compliance with all
     applicable securities laws in connection with the offer and sale of the Partnership interests in the Partnership to the
     ILP and SLP.

                         (p)   The General Partner has not received notice from the Internal Revenue Service that it has
     considered the General Partner or any Affiliate thereof to be involved in any abusive tax shelter and is not aware of
     any facts which, ifknown to the Internal Revenue Service, would cause such notice to be issued.

                    (q) No General Partner, Developer or Guarantor, nor any Affiliate of any of the preceding or
     any of the General Partner's, Developer's, or Guarantor's respective offtcers, directors, principals, members or
     managers:




                                                                  36
      4837-4545-8969.4




CONFI DENT       IAL                                                                             PLAINTIFFS_OOOO8496
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 42 of 187




                        (1) Has been convicted within the past ten (10) years of any felony or misdemeanor in
     connection with the purchase or sale of any security involving the making of a false filing with the Securities and
     Exchange Commission, or arising out of the conduct of the business of an underwriter, broker, dealer, municipal
     securities dealer or investment adviser;

                       (2) Is or has been subject to any order, judgment or decree of any court of competent
     jurisdiction, temporarily or preliminary enjoining or restraining, within the past five (5) years, such person from
     engaging in or continuing any conduct or practice in connection with the purchase or sale of any security or
     involving the making of a false filing with the Securities and Exchange Commission, or arising out of the conduct   of
     the business ofan underwriter, broker, dealer, municipal securities dealer or investment adviser;

                       (3) Is or has been subject to a United States Postal Service false representation order entered
     under Section 3005 of Title 39, United States Code, within the past five (5) years; or is or has been subject to a
     restraining order or preliminary injunction entered under Section 3007 of Title 39, United States Code, with respect
     to conduct alleged to have violated Section 3005 of Title 39, United States Code;

                          (4)   Has acted as underwriter ofany securities:

                        (5) Is covered by a registration statement which is the subject of any pending proceeding or
     examination under SectionS of the Securities Act of 1933, as amended (the "1933 Act'), or is the subject of any
     refusal order or stop order entered thereunder within the past five (5) years; or

                          (6)     Is covered by any filing which is subject to any pending proceeding under Rule 261 or
     any similar rule promulgated under the provisions ofSection 3(b) ofthe 1933 Act, or to an order entered thereunder,
     within the past five (5) years.

                        (r) No Partner in the Partnership will be a tax-exempt entity, and no Partner in the
     Partnership   will be controlled by a tax-exempt entity. Further, no portion of the Project will be leased to a
     tax-exempt entity.

                          (9    The recipient of the Partnership Management Fee is an accrual basis taxpayer for federal
     income tax purposes.

                       (t)      The General Partner has prepared its own financial analysis of the Project and is not
     relying on any financial analysis, projection or forecast prepared by the ILP or any Affiliate thereof of the costs
     associated with the development, construction and/or rehabilitation ofthe Project or the Project's operations, There
     are sufficient sources of Development Funds to complete the Project in accordance with the Plans and Specifications
     and the Project Budget. The General Partner has reviewed the Project Forecast and believes it to be correct in all
     material respects and is not aware of any facts that are inconsistent therewith.

                          (u)  The Partners and their respective Affiliates acknowledge that the Partnership interest of
     the ILP may be transferred to an Affiliate of the ILP or the SLP. In connection therewith, the ILP and the SLP may
     disclose to prospective investors in such Affiliate such information previously supplied to the ILP and/or its
     Affiliates about the transaction, the Parmership, tbe Project, the General Partner, each of the other Partners, the
     Developer, the Guarantor, the Property Manager and Affiliates thereof, and the Partners, the Guarantor, the
     Developer and Affiliates thereofhereby agree to supply such further information as reasonably requested in order to
     effectuate such a transaction. The Partnership, the Partners, the Developer, the Guarantor, and their Affiliates each
     further agree to promptly execute and/or provide such documents and agreements as may be reasonably necessary to
     facilitate and expedite such transfer, including any amendments and supplements to this Agreement, legal opinions,
     title policy endorsements and other Project Documents, and to otherwise cooperate with the ILP and the SLP in this
     regard. Specifically, and without limitation, the Partnership, the Partners, the Developer, and the Guarantor shall
     promptly execute an amendment to this Agreement and a Guarantor Acknowledgement and Consent in the form of
     the attached Exhibit 7, as such form may be revised as required by the Affiliate transferee (the "Tfansfef
     Amendmenf'); provided that such amendment that contains material terms beyond the form contemplated in
     Exhibit 7 shall be proposed in accordance with Section 7.6(a)(2) of this Agreement. The ILP shall bear its own out-


                                                              37
     4837-4545-8969.4




CONFI DENTTAL                                                                               PLAINT]FFS_OOOOB497
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 43 of 187




     of-pocket costs, expenses, fees, taxes and similar charges arising in connection therewith and further agrees to
     reimburse the Partnership, the General Partner, the Developer and the Guarantor for their reasonable out-of-pocket
     costs, expenses, fees, taxes and similar charges in connection therewith up to an ag$egate maximum reimbursement
     of (i) $2,500 for transfers to PNC Bank, National Association and/or any fund entity sponsored or managed by PNC
     Bank, National Association or its afflliates and (ii) $10,000 for transfers to any entity other than as referenced in (i).

                         (v) The Partnership owns a fee simple interest in the Project, and the Project is not subject to
     an option or right of first refusal except as provided herein or as required by the Tax Credit Agency and the
     Extended Low Income Housing Use Commitment. No title exception, other than the lien(s) securing the Permitted
     Loan or Seller Loan, constitutes a material lien, exclusion, exception, condition or stipulation or refers to rights, the
     existence or exercise of which could have a material adverse effect on the ownership, development, operation or
     value of the Project. There is no official action of any governmental authority, pending or to the best of the General
     Partner's knowledge after due inquiry threatened, which in any way would involve any intended public
     improvements, which public improvements may result in any charge being levied against the Project or any special
     assessment being levied against the Property, There is no existing, proposed or, to the best ofthe General Partner's
     knowledge after due inquiry, contemplated, plan to widen, modify or realign any street or highway contiguous to the
     Project. The General Partner shall promptly notify the SLP of any official actions or plans, if and as they arise. No
     Person or entity other than the Partnership and those Persons holding indirect interests through the Partnership holds
     any equity or ownership interest in the Project, No Person except the Partnership has the right to any proceeds, after
     payment of all indebtedness, from the sale, refinancing or leasing of the Project, and the Partnership, except to the
     extent protected by insurance and excluding any risk borne by the lenders, shall bear the risk of loss if the Project is
     destroyed, condemned or diminished in value. Other than specifically provided in this Agreement, a creditor who
     makes a loan to the Partnership shall not at any time have or acquire, as a result of making the loan, any interest in
     the profits, capital or property of the Partnership other than as secured or unsecured creditor. No restrictions on the
     Sale or Refinancing of the Project exist, other than restrictions under Section 42 of rhe Code, the Extended Low
     Income Housing Use Commitment and this Agreement, and no such restrictions shall be placed upon the Project
     without the Consent of the SLP. The Partners acknowledge that notwithstanding anything in this Agreement to the
     contftfy, any sale of the Project will be subject to the terms of the Extended Low Income Housing Commitment,
     including any rules, policies, or procedures promulgated by the Tax Credit Agency relating thereto.

                        (w)      No charges, liens, claims, covenants, conditions, restrictions, easements, rights of way,
     options, judgments, special assessments or encumbrances exist against the Project other than those which are created
     or permitted by the Project Documents or are noted or excepted in the Title. There is no reassessment (except for
     real estate property taxes), reclassification, rezoning, proceeding, ordinance or regulation (including amendments
     and modifications to any of the foregoing) pending or to the best of the General Partner's knowledge after due
     inquiry proposed to be imposed, by any authority or any public or private utility havingjurisdiction over the Project
     which would have a material adverse effect upon the use or occupancy of the Project. No special assessments have
     been levied or to the best ofthe General Partner's knowledge after due inquiry are proposed to be levied against the
     Project and the General Partner will promptly notify the SLP of any such actions if and as they arise. Except as
     previously approved by the SLP, the completion of the construction or rehabilitation of the Project will not require
     the dedication of any portion of the Project.

                        (x)      No event, proceeding, adverse action, commission, suit, arbitration, or claim, including,
     but not limited to, judicial, municipal or administrative proceedings, unlawful detainer or tenant evictions,
     collections, alleged building code, health and safety or zoning violations, employment discrimination or unfair labor
     practices, workers' compensation, personal injuries or property damages, is pending, has occurred, or, to the best of
     the General Partner's knowledge afte{ due inquiry, is threatened, the continuing effect of which could: (i) materially
     or adversely affect the operation ofthe Partnership or the Project; (ii) materially or adversely affect the ability ofthe
     General Partner or Guarantor to perform their obligations hereunder, under the Guaranty or under any other Project
     Document; or (iii) prevent Final Construction Completion or Mortgage Loan Commencement in substantial
     conformity with the Project Documents, unless any ofthe foregoing have been bonded against (or as to which other
     adequate financial security has been issued without recourse to Partnership assets) in a manner as to indemnify the
     Partnership against loss.

                       (y) Except as otherwise disclosed in writing to the SLP, the General Partner has no
      knowledge of (i) any opposition to the Project, or (ii) any investigation or inquiry of the Partnership, the General


                                                                  38
      48374545-8969.4




CONF] DENT      IAL                                                                               PLAfNTIFFS_OOOO849B
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 44 of 187




     Partner, the Developer, the Guarantor, or any partner, member or officer thereof, which has or may have a material
     adverse impact on the Project or the Partnership or which would result in a delay in the development of the Project.

                        (z) If the Property or Project is eligible for a property tax exemption, abatement, or other
     relief and such exemption or abatement requires periodic filings or reporting to the taxing authority, the General
     Partner shall cause the Partnership to timely file same and provide copies of such filings to the SLP within ten (10)
     business days of filing.

                         (aa) The Partnership has the primary obligation to pay all maintenance and operating costs,
     including all taxes levied upon, and all insurance costs attributable to, the Project. There are no service or
     maintenance contracts, warranties, guarantees or bonds which are or will be obligations of the Partnership or the
     Project, other than which the General Partner has provided to the Limited Partners upon the request of the Limited
     Partners (collectively, the "@@Qg$EglE"). All Service Contracts are or will be on an arm's-length basis with
     parties not affiliated with the General Partner, except as Consented to by the SLP. There is no current default of any
     of the Service Contracts. The Service Contracts have not been, and will not be, amended or modified excapt as
     permitted herein. All fees paid to the General Partner or any Affiliate thereof in connection with the Partnership   will
     be reasonable in amount for services actually performed.

                        (bb)     The fair market value of the Project currently exceeds, and throughout the term of the
     Permitted Loan is reasonably expected to exceed, the aggregate outstanding balance of the Permitted Loan. Each
     Permitted Loan has a fixed maturity date which is prior to the end of the anticipated economic life of the Project,
     and the Partnership is reasonably expected to be able to repay each Permitted Loan as it matures.

                        (cc)    The General Partner is not related in any manner to the ILP or the SLP, nor is the General
     Partner acting as an agent ofthe ILP or the SLP.

                        (dd)    Other than the Seller Loan lrnder and the Bridge Loan Lender, no Partner, nor any
     related person (within the meaning of Treasury Regulation Section l.'152-4(b)) of any Partner, has or will have any
     personal liability with respect to, or has personally guaranteed or will personally guarantee the payment of, the
     permanent phase of any Permitted Loan nor bears or will bear the economic risk of loss (within the meaning of
     Treasury Regulation Section 1.7 52-2) for the repayment of any permanent phase of a Permitted Loan.

                        (ee) If the SLP directs the General Partner to do so or if required by the Agency or Lender or
     by law or regulation, or if recommended by a licensed environmental engineering firm preparing a third-party report
     for the Project, the General Partner will promptly cause to be implemented on behalf of the Partnership a moisture
     management and control program for the Project that will comply with all applicable requirements and
     recommendations set forth in any applicable report obtained by the Partnership or Partners at any time (the costs and
     expenses incurred by any Limited Partner in connection therewith to be reimbursed by the Partnership on demand);
     provided, that to the extent of any conflicting requirements or recommendations among such reports, the General
     Partner and SLP shall reasonably agree as to the requirements and the recommendations that should be implemented
     based on the benefits compared to the cost thereof; provided, however, in the event the General Partner and SLP do
     not reach an agreement, the SLP shall be permitted to make the final determination, in its sole discretion, as to which
     recommendations shall be implemented.

                      (ff) The General Partner shall cause all leases of dwelling units to tenants to include a
     provision obligating such tenants to notify the Property Manager immediately of any suspected water leaks,
     moisture problems, or mold in dwelling units or common areas of the Project.

                        (gg)  The General Partner shall cause the Partnership to maintain tenant deposits in a separate
     account which must be used solely to hold tenant deposits as security for tenant rents and for no other purpose.

                       (hh) Except as otherwise required by the Declaration of Covenants, Condtions, and
     Restrictions entered into by the seller of the Project in connection with the redevelopment thereof (the
     "Declaration"), the community and common area portions of the Project will be held exclusively for use by tenants
     and the Partnership will not charge a separate fee for the use of tenant faeilities at the Project, and such tenant



                                                               39
     4837-4545-8969.4




CONFI DENTIAL                                                                                 PLAINTIFFS-OOOO8499
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 45 of 187




       facilities will be available on a comparable basis to all tenants. Notwithstanding the foregoing, upon the recordation
       of the Extended Low Income Housing Use Commitment, the General Partner shall cause the Declaration to be
       terminated of record pursuant to Section 3.7 of the Declaration. The General Parmer shall cause the Partnership to
       provide any supportive services as required by the Project Documents and all services provided to tenants will be
       optional and will not be required as a condition of occupancy.

                            (ii)  The General Partner agrees that the Partnership shall not obtain any financing which
       requires the approval of HUD    until such HUD 2530 approval is obtained from HUD. If the Partnership intends to
       obtain HUD assistance or insurance or any other type of financing that necassitates the filing of a Form 2530
       Previous Participation Certificate with HUD, the General Partner shall so notify those Partners from which
       information is required for such Certificate and shall provide adequate information to such Partner to enable it to file
       any additional documents with HUD.

                        (tj) The General Partner shall notify the ILP and invite a representative of the ILP to attend
       any groundbreaking, ribbon-cufting or other public relations ceremony relating to the Project. To the extent
       requested by the ILP, the General Partner shall cause the Partnership, at the ILP's cost, to display a sign on the
       Property during construction/rehabilitation which clearly states the name of PNC as the arranger of equity funds for
       the Project. The sign shall be erected in a prominent place on the site within 10 days of receipt by the General
       Partner of the PNC image and directions. The General Partner aglees to remove such sign or reference to PNC if
       requested. The General Partner hereby gives permission to the ILP and any Affiliate lender of the Limited Partners
       to issue press releases and advertising relating to the equity commitment and the ILP's participation in the
       transaction; provided that the General Partner reviewed and approved any press release or advertising that references
       the General Partner or its Affiliates. Such media and marketing materials may include, among other things, photos,
       information about the location of the Project, the number of units, the amenities associated with the Project and the
       terms of the equity commitment.

                            (kk)  If the SLP directs the General Partner to do so, the Partnership shall elect out of any/all
       available bonus depreciation under the Code; provided that the foregoing shall not include cost segregation analysis
       done by the Accountants as previously disclosed to the Limited Partner.

                 6.6.       LimitationonLiability:Indemnification.

                         (a) Except as provided in Section 6.6(b) and Section 6.6(d) below, the General Partner shall
       be indemnified by the Partnership, and shall have no liability to the Partnership or to any Partner for any loss
       suffered by the Partnership, for any losses, judgments, liabilities, expenses and amounts paid in settlement of any
       claims sustained by the General Partner in connection with the proper performance of its obligations under this
       Agreement in its capacity as a General Partner (and not in any other capacity, whether as Developer or otherwise),
       provided that (l) the General Partner, in good faith, determined that such course of conduct in its capacity as a
       General Partner was in the best interest of the Partnership, and (2) the matters for which the General Partner is
       seeking indemnification were not the result of or otherwise did not directly or indirectly arise out of or in connection
       with (A) any negligence or misconduct on the part of the General Partner or any Affiliate thereof, (B) any Event of
       Default, or any efforts to cure or mitigate any such Event of Default, (C) any removal of the General Partner
       pursuant to the exercise by a Limited Partner of its rights under Section 7.7 of this Agreement, (D) any exercise of a
       Limited Partner's right to demand repurchase under Article V herein, or (E) the performance or nonperformance of
       any of the General Partner's or any Affiliate's monetary obligations under this Agreement or any other obligation
       the General Partner or any Affiliate may have under this Agreement to pay any amounts to or on behalf of the
       Partnership or any Partner. Furthermore, without limiting the foregoing, the General Partner shall not be
       indemnified for any such losses, judgments, liabilities, expenses or settlement amounts unless and until (1) the
       General Partner becomes subject to a final and non-appealable order, judgment or ruling by a court of competent
       jurisdiction with respect to all matters with respect to which indemnification is being sought, (2) all such claims
       have been dismissed with prejudice on the merits by a court of competent jurisdiction in favor of the General
       Partner, or (3) a court of competent jurisdiction approves a settlement with respect to the General Partner fully
       covering all matters with respect to which indemnification is being sought; provided, to the extent it is reasonably
       likely that the General Partner will be entitled to reimbursement pursuant to the foregoing provisions, the General
       Partner may be reimbursed prior to such time by the Partnership for reasonable attorneys' fees and other reasonable
       costs in defending or pursuing the mafter unless such reimbursement would cause an Operating Deficit and provided


                                                                  40
        4837 -4545-8969.4




CONF   I DENT IAL                                                                                 PLAINT]FFS_OOOO85OO
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 46 of 187




     further, that in the event it is ultimately determined that the General Partner is not entitled to be indemnified as
     provided in this Section 6.6(a), it shall repay an amount equal to such attorneys' fees and other reasonable costs to
     the Partnership within thirty (30) days of such determination.

                         (b)      Notwithstanding Section 6.6(a), the General Partner shall not be indemnified for any
     losses, liabilities or expenses arising from or out of any alleged violation of federal or state securities laws unless
     (l) there has been a successful adjudication on the merits ofeach count involving alleged securities law violations in
     a manner favorable to the General Partner, or (2) such claims have been dismissed with prejudice on the merits by a
     court of competent jurisdiction as to the General Partner, or (3) a court of competent jurisdiction approves a
     settlement of the claims against the General Partner and such settlement concludes that the General Partner was not
     liable.

                         (c) The Partnership shall not incur the cost of that portion of any insurance, other than public
     liability insurance, which insures any party against any liability, the indemnification of which is herein prohibited.

                         (d) Without limiting any other indemnification obligations of the General Partner set forth in
     this Agreement, the General Partner shall indemnify, defend and hold harmless the Indemnitees from and against,
     and shall upon demand reimburse Indemnitees for any and all, losses, claims, liabilities, damages, injunctive relief,
     injuries to person, property or natural resources, costs, actions or causes ofaction, fines, penalties, judgments, taxes,
     charges, assessments, damages (including consequential damages suffered by a third-party claimant), costs and
     expenses (including reasonable aftorneys' fees and expenses), of every kind and nature whatsoever, whether direct
     or indirect, reaLized, suffered or incurred by or imposed upon any ofthe Indemnitees before, during or after the term
     of the Partnership, arising, accruing, relating to or in connection with (i) any Event of Default, or the existence of
     any circumstance which would give rise to an Event of Default following any required notice and expiration of any
     cure period, (ii) any representation, warranty or statement of the General Partner in this Agreement or in any
     document, certificate or schedule furnished or to be furnished to the Limited Partners pursuant hereto that contains
     any untrue statement of a material fact or omits to state a material fact necessary to make the statements or facts
     contained therein not materially misleading which has a material adverse effect on the Partnership, the Project or a
     Limited Partner, or (iii) any act or omission, including, without limitation, any negligence or misconduct, of the
     General Partner or any of its Affiliates which has a material adverse effect on the Partnership, the Project or a
     Limited Partner.

               6.7. Development Duties. Covenants and Oblisations. The General Partner shall promptly take all
     action which may be necessary or appropriate for the timely and proper development, construction and/or
     rehabilitation as applicable, maintenance and operation of the Project in accordance with the provisions of this
     Agreement, the Project Documents and all applicable laws and regulations. Specifically and without limitation the
     General Partner does hereby agree to undertake the following duties, covenants and obligations and fruther
     represents, w:urants and covenants to the Limited Partners the following:

                       (a) The General Partner shall provide in the Project Budget for a hard cost contingency
     exclusive ofany contingency line item set forth in the Construction Conuact ofat least SVo ofthe contract sum set
     forth in the Construction Contract for new construction or lD%o for acquisitior/rehabilitation. Use ofsuch hard cost
     contingency shall require the Consent of the SLP. Neither the General Partner nor the Developer shall authorize any
     change orders or make any changes in the Plans and Specifications except as provided in Section 10.7. All Builder
     fees will comply with the Tax Credit Agency limits and any amounts due over the limits will be the responsibility of
     the General Partner.

                         (b) The General Partner shall cause the Plans and Specifications to comply with all
     requirements    of the Agency, the Lender, each License and Permit issued in connection with the Project, all
     Governmental Regulations and all required recommendations in the Environmental Reports.

                       (c) Prior to the submission of any draw requests for vertical construction costs of the
     Project's buildings, the General Partner shall obtain from a surveyor licensed to practice in the state in which the
     Property is located, an updated ALTA Survey in form and substance reasonably acceptable to the SLP and the
     Construction Consultant and including the physical location of all utility easements (either of record or planned to be
     placed of record as required by the Plans and Specifications) and the building foundations and any zoning setback


                                                                41
     4837 -4545-8969.4




CONFI DENTIAL                                                                                  PLATNTTFFS_OOOO85O1
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 47 of 187




       requirements. Furthermore, the General Partner shall make all required building foundation adjustments which are
       necessary to cure any building setback violation and/or encroachments over easements and underground utility lines
       as evidenced by the updated ALTA Survey. The SLP shall have no obligation to approve a draw request for vertical
       construction costs related to any building until such time as the SLP has received and approved the updated survey
       in compliance with the above requirements and any defects or deficiencies in the foundations have been corrected in
       accordance herewith.

                         (d) The Plans and Specifications approved by the SLP listed on Exhibit 4 were used to obtain
       all permits to construct and/or rehabilitate the Project and were approved by all applicable authority. Neither the
       General Partner nor the Developer shall authorize any change orders or make any changes in the Plans and
       Specifications except as provided in Section 10.?.

                          (e) All material Licenses and Permits (including building permits) necessary for the
       ownership,  construction  and/or rehabilitation and development of the Project have been obtained or will be obtained
       in a timely manner (and will be maintained in full force and effect) by the Partnership. The Project will be
       improved, constructed, and developed to completion substantially in accordance with (l) all such Licenses and
       Permits (and all required certificates of occupancy shall be obtained upon completion of any such improvement,
       construction or development on or ofthe Project), (2) all Governmental Regulations, (3) accepted standards ofgood
       materials and workmanship, (4) all material covenants, conditions, restrictions, assessments and agreements of any
       kind or nature affecting the Project, including any in any existing documents, (5) the Plans and Specifications, and
       (6) the terms of this Agreement. Any conditions to any Licenses and Permits have been satisfied or will be satisfied
       upon Final Construction Completion.

                           (0        The Partnership is not in violation of any zoning or similar regulations applicable to the
       Project. From and after Final Construction Completion, the Project will not endanger public health or                     the
       environment, and     will conform with all   applicable zoning, building, health, fire and environmental rules,
       regulations, ordinances or requirements of all governmental authorities havingjurisdiction over the Project. There
       are no violations of any Governmental Regulations, and there will be no such violations (not promptly addressed
       and corrected) for the term of the Partnership. The General Partner has received no notices with respect to any
       violations of federal or state law or municipal ordinances or orders or requirements of any governmental body or
       authority within whose jurisdiction of the Project is located. If the General Partner receives such notices, it will
       promptly so notify the Limited Partners.

                         (g) Final Construction Completion shall occur by the Completion Date. Upon Final
       Construction  Completion,  there will be no physical or mechanical defects or deficiencies in the condition of the
       Project which would materially and adversely affect the Project or any portion thereof. Upon Final Construction
       Completion the Project will be free from infestation by termites or other pests, insects, animals or other vermin and
       is free from mold or mildew, and the General Partner will undertake all commercially reasonable efforts to keep it
       so. Upon Final Construction Completion, the Project will be connected to and served by water, solid waste and
       sewage disposal, drainage, telephone, gas as applicable, electricity and other utility equipment facilities and services
       required by law, which will be (i) adequate for the proposed use and operation of the Project, (ii) installed and
       connected pursuant to valid permits, and (iii) in compliance with all material Governmental Regulations: No fact or
       condition exists which would result in the termination or impairment in the furnishing of the foregoing.

                          (h) To the best of the General Partner's knowledge after due inquiry, there are no defects or
       conditions of the soil that would have a material adverse effect upon the construction and/or rehabilitation,
       development, use, occupancy or operation of the Project. The soil condition of the Property is such that it will
       support all of the improvements located or to be located thereon for the foreseeable life of the Project, without the
       need for unusual or new subsurface excavations, fill, footings, caissons or other installations, other than such
       excavations, fill, footings, caissons or other installations contemplated    in the Plans and Specifications   and   in   the
       Project Budget.

                           (D         The General Partner agrees to diligently pursue remediation of any construction related
        issues prior to expiration   ofthe warranty period under the Construction Contract.



                                                                    A'
        4837-4545-8969.4




CONF   I DENT IAL                                                                                 PLAINTIFFS                     OOOO85O2
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 48 of 187




                      0)      The General Partner hereby unconditionally guarantees to the Partnership and the
    Limited Partners the due and punctual performance of all of the obligations under this Section 6.7 and all obligations
    of the Developer under the Development Agreement. Furthermore, the General Partner and Developer hereby
    unconditionally jointly and severally agree to promptly pay any Development Costs to rhe extent available
    Development Funds are insufficient to pay such Development Costs when due (such obligations are referred to
    herein as the "Development Completi                   '). Prior to making any payment, the Ceneral Partner may
    require the Developer to defer payment of any outstanding balance of the Development Fee to the extent:
    (1) Development Funds would otherwise be available to pay such Development Fee at the time of the occurrence of
    a Development Completion Obligation but for the Development Fee then due, and (2) the SLP determines that there
    is a reasonable expectation that the Deferred Development Fee (as increased) can be paid by the l3d anniversary of
    Final Construction Completion. Nothing contained in the preceding sentence shall create any duty or obligation on
    the part ofthe ILP fo advance capital or fund any Installment prior to the satisfaction ofall conditions thereto.

             Any funds paid by the General Partner or Developer to satisfy a Development Completion Obligation (not
    including a deferral of Development Fee pursuant to the preceding paragraph) may be reimbursed to the General
    Partner or Developer, as applicable, from excess Development Funds which thereafter become available on or
    before the Final Determination is made in accordance with Section 6.7(k) below. Any amounts paid by the General
    Partner or Developer (not including deferral of Development Fee) in connection with this Section 6.7O that are not
    reimbursed from Development Funds shall be accounted for as an indemnity payment to the Partnership and shall
    not be reimbursable or credited to the Capital Account of any Partner or may be treated as a Subordinated Loan
    repayable in accordance with Article IV only with the pdor written Consent of the SLP.

                      (k) Prior to funding the Final Installment, the SLP shall make a final determination (the
    'Elnal leternfnadon") regarding all amounts the General Partner and/or Developer are obligated to pay pursuant
    to this Section 6.7. Notwithstanding the above, in the event the Partnership is, or becomes, obligated to pay (i) any
    cost properly characterized as a Development Cost which is incurred after the Final Determination is made and/or
    (ii) any Development Cost which is not properly reflected on the Partnership records on the date of the Final
    Determination, then the General Partner and Developer shall immediately pay to the Partnership an amount equal to
    such additional Development Costs and such amounts shall be treated as Subordinated Loans repayable pursuant to
    Sections 4.2 and 4.5 of this Agreement.

                      0)      It is expressly acknowledged that any failure of the General Partner or the Developer to
    fully perform obligations under this Section 6.7 (following a fifteen (15) business day notice and cure period for
    monetary defaults) constitutes adequate grounds for the removal of the General Partner pursuant to Section 7.7 and
    that any failure of the Developer to fully perform its obligations under this Section 6.7 or the Development
    Agreement (subject to a fifteen (15) business day notice and cure period) constitutes grounds for the immediate
    termination of the Development Agreement by the General Partner or the SLP, any provision of the Development
    Agreement notwithstanding. Further, upon the removal of any General Partner pursuant to Section 7.7 or the
    withdrawal of any General Partner pursuant to Article IX, the new General Partner and the SLP shall have the option
    to immediately and without further cause terminate the Development Agreement, any provision of the Development
    Agreement notwithstanding, as well as any other contract between the Partnership and any Affiliate of the removed
    or withdrawing General Partner. All amounts due to be paid in accordance with Section 6.8 and/or the Development
    Agreement are subject to offset and reduction in accordance with the terms of this Agreement; provided that the
    General Partner or the Developer has failed to fully perform the obligations under this Section 6.7 after expiration of
    the cure period set forth above.

              6.8. Development and Other Fees. Except as specifically provided in this Agreement, the General
    Partner, the Developer, the Guarantor and all Affiliates thereof shall not be entitled to receive any salary,
    compensation or other fees paid by or on behalfofthe Partnership, and any prior agreement, document or instrument
    purporting to create any obligation to pay the same shall be expressly superseded, amended and/or terminated to
    reflect only the following fees and compensation:

                       (a)     Development    Fee. The Partnership shall       accrue and pay    a   Development Fee of
    $5,175,000 (or such other amount pernitted by the Agency and ILP) to the Developer for services set forth in rhe
    Development Agreement. The Development Fee shall be capitalized to the depreciable basis of the Project and
    earned in accordance with the Development Agreement. The Development Fee is anticipated to be paid from the


                                                              43
    4837-4545-8969.4




CONFTDENTTAL                                                                                 PLA]NTIFFS                OOOO8503
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 49 of 187




    available proceeds of the following Installments or otherwise at the time of the payment of such Installments after
    payment of all other Development Costs and amounts owing to the Limited Partners then due:

                               INSTALLMENT                                     AMOUNT

                               First Installment                                $283,500
                               Third Installment                               $1,456,869
                               Final Installment                                $467,453

                               TOTAL                                           $2.W.n3_

     The Development Fee is subject to reduction, offset or application in accordance with the terms of this Agreement.
     The Developer acknowledges that payment of the Development Fee, whether payable under this Agreement or the
     Development Agreement, is subordinate in all respects to any obligations owing to (i) the ILP and/or SLP pursuant
     to this Agreement and the Guaranty, and/or (ii) any third-party creditor of the Partnership. The Developer shall not
     assign its right to receive the Development Fee to any party without the prior Consent of the SLP. Any unpaid
     balance of the Development Fee after payment of Final Installment (the "Deferred Dwelopment Fe") shall bear
     interest at 6Vo per annum and shall be paid in accordance with Article IV, but in no event lator than the 13t'
     anniversary of Final Construction Completion; in the event that any portion of the Deferred Development Fee
     remains unpaid on the 13* anniversary of Final Construction Completion, such amount shall be paid by the
     Partnership on said date from the proceeds of the additional Capital Contribution made by the General Partner
     pursuant to Section 3.1. Any cost savings in the Project Budget (including contingency) upon Final Determination
     (not including cost savings paid to the Contractor pursuant to the Construction Contract) may be applied to payment
     of Development Fee so long as there are no outstanding Development Costs or uncured Events of Default under this
     Agreement. To the extent of any conflict or inconsistency between the provisions of the Development Agreement
     and this Agreement, the provisions of this Agreement shall control.

                        (b)    Investor Services Fee. The Partnership shall pay to the ILP an annual cumulative fee
     equal to $8,650 per year, commencing with the year in which the first unit in the Project is occupied (the "Investor
     Services Fee"). The Investor Services Fee shall be payable pursuant to Section 4.2 and Section 4.5 and shall be
     increased annually by 3Vc.

              The Investor Services Fee shall be paid for the following services: (l) monitoring the General Partner's
     reporting ofoperational results ofthe Project in the periodic reports required under this Agreement and other books
     of account of the Partnership; (2) reviewing the audited financial statements and tax returns prepared by the
     Accountants; (3) performing an annual review and physical inspection of the Project; (4) reviewing the annual
     operating budget and projected rental rates for the Project for each fiscal year during the term of this Agreement;
     (5) reviewing rhe occupancy/rental report for the Project; and (6) reviewing all other information available to the
     Partnership requested by the Limited Partner with respect to the Project.

                        (c) Partnership Manasement Fee. The Partnership shall pay to the General Partner an annual
     cumulative fee equal to $34,600 per year, commencing in the year in which the first unit in the Project is occupied
     (the 'Partnership Managem '). The Partnership Management Fee shall be payable pursuant to Section 4.2
     and Section 4.5 and shall be increased annually by 3Vo. The Partnership Management Fee shall be for managing the
     affairs of the Partnership, which duties and responsibilities include: (1) the administration, management and
     direction of the business of the Partnership; (2) the monitoring of the management and operations of the Project and
     the making of recommendations with respect thereto; (3) the supervision of the Property Manager; (4) the
     maintenance of books and records of the Partnership; (5) the safekeeping and use of all funds and assets of the
     Partnership, including the maintenance of bank accounts; (6) the furnishing of all reports required by this
     Agreement; (7) consultation with and coordination ofthe activities ofattorneys, Accountants and other professionals
     for the benefit of the Partnership; (8) the development and maintenance of favorable community relations between
     the Partnership and various social and community organizations; and (9) the maintenance of effective
     communication and necessary coordination with all governmental bodies having jurisdiction over the Project.

                      (d) Incentive Management Fee. The Partnership shall pay to the General Partner an annual
     non-cumulative fee only to the extent of available funds pursuant to Section 4.2 of the Partnership Agreement (the


     4837-4545-8969.4




CONFI DENTIAL                                                                               PLAINTIFFS                OOOOB5O4
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 50 of 187




       "lncendve fVlanaee              ') equal to llvo of Operating Revenue for such year for ensuring the satisfaction of
       eachof thefollowing: (1) the timely preparation and delivery of all financial and other reports required by this
       Agteement and by each Lender and Agency; (2) the performance ofall compliance and monitoring covenants, duties
       and responsibilities pertaining to the Tax Credit; and (3) the performance of an annual review and physical
       inspection of the Project by the ILP by providing reasonable assistance to the ILP or its designee in performing such
       review. As used in this Agreement, a "non-cumulative fee" means that if funds are not available to pay such fee in a
       given year, then the fee for such year does not accrue and will not be subsequently paid, and a "cumulative fee"
       means if funds are not available to pay such fee in a given year, then the fee for such year will accrue and will be
       subsequently paid when funds are available.

                         (e)     Incentive Lease-Up Fee. The Partnership shall pay to the General Partner the Incentive
       Lease-Up Fee pursuant to the terms set forth in Section 4.2 of this Agreement.

                 6.9.    EnvironmentalMatters.

                           (a) Environmental Reoresentations and Warranty. To the best of the General Partner's
       knowledge after due inquiry and based upon review of the Environmental Reports, except as disclosed in the
       Environmental Reports, no Hazardous Substance was ever or is now stored on, transported to or from, or disposed of
       on the Property except to the extent any such storage, transport or disposition was at all times in compliance with all
       laws, ordinances, and regulations pertaining thereto and fully disclosed to the SLP. All operations or activities upon,
       or use of, the Project, or any portion thereof, by the Partnership, or, to the best of the General Partner's knowledge,
       by any tenant or occupant ofthe Project or any portion thereof, are, have been and will continue to be in compliance
       with all Governmental Regulations, including, without limitation, all Environmental Laws as now or at any time
       hereafter in effect relating to the generation, handling, manufacturing, treatment, storage, use, transportation,
       spillage, release, leakage, dumping, discharge or disposal (whether accidental or intentional) of any toxic or
       hazardous substances, materials or wastes, including, but not limited to, Hazardous Substances, the violation of
       which Governmental Regulations and Environmental Laws would have a material adverse effect, and no person has
       engaged in or permitted any dumping, discharge, disposal, spillage or leakage (whether legal or illegal, accidental or
       intentional) of Hazardous Substances, at, on, in or about, the Project or any portion thereof, which would have a
       material adverse effect on the Project or the Property. Except as disclosed in the Environmental Reports, there is not
       present upon the Project, the Property, or any portion thereof, any asbestos, or any sffuctures, fixtures, equipment or
       other objects or materials containing asbestos. To the Ceneral Partner's knowledge, there is not any radon present
       on, in or about the Project or any portion thereof, in an amount sufficient to create a material hazard or violate local
       Governmental Regulations relating to radon. No General Partner, Affiliate of a General Partner or Person for whose
       conduct any General Partner is or was responsible has ever received notification from any federal, state or other
       governmental authority of (i) any potential, known, or threatened release of any Hazardous Substance from, at, or to
       the Project or (ii) the incurrence ofany expense or loss by any such governmental authority or by any other Person
       in connection with the assessment, containment or removal of any release or threat of release of any Hazardous
       Substances from, at or to the Project. If any proceeding, inquiry or notice is commenced or received, the General
       Partner will promptly so notify the Limited Partners.

                         (b)      Environmental Covenants and Obligations. The General Partner shall (i) not store
       (except in the ordinary course of business and in compliance with all laws, ordinances, and regulations pertaining
       thereto), dispose, dump, leak, treat, or discharge or permit the storage, disposal, treatment, dumping, leakage,
       seepage or discharge of any Hazardous Substance at the Project; (ii) neither directly nor indirectly transport or
       arrange for the transport of any Hazardous Substance (except in compliance with all laws, ordinances, and
       regulations pertaining thereto), and (iii) provide the ILP and the SLP with written notice (l) upon any General
       Partner obtaining knowledge of any potential or known release, or threat of release, of any Hazardous Substance at,
       from or to the Project; (2) upon any General Partner's receipt of any notice to such effect from any federal, state, or
       other governmental authority; and (3) upon any General Partner's obtaining knowledge of any incurrence of any
       expense or loss by any such governmental authority in connection with the assessment! containment, or removal of
       any Hazardous Substance for which expense or loss any General Partner may be liable or for which expense or loss
       or lien may be imposed on the Project.

                         (c)     Environmental Indemnification. The General Partner hereby agrees to defend, indemnify
       and hold harmless the Indemnitees from and against, and shall upon demand reimburse Indemnitees for, any and all


                                                                 45
       48374545-8969.4




CONF   I DENT IAL                                                                                PLA]NTIFFS                OOOOB505
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 51 of 187




       losses, claims, liabilities, damages, injunctive relief, injuries to person, property or natural resources, costs, actions
       or causes ofaction, fines, penalties,judgments, damages (including consequential damages suffered by a third party
       claimant) and expenses (including reasonable attorneys' fees and expenses) of every kind and nature whatsoever that
       are caused (whether before, during or after the term of the Partnership) by any or all of the following:

                          (1) a thxeatened release or release of any Hazardous Substance at, on, to, from, in, under,
       affecting or otherwise related to any portion of any of the Project, whether foreseeable or unforeseeable, regardless
       of the source of such threatened release or release or when such release occurred or when its presence is discovered.
       The foregoing indemnity includes, without limitation, all costs in law or in equity of removal, remediation of any
       kind, and disposal of such Hazardous Substances, all costs of determining whether the Project is in compliance with,
       and causing the Project to be in compliance with, all applicable Governmental Regulations and Environmental
       Laws, all costs associated with claims for damages to persons, property, or natural resources, and the Indemnitees'
       reasonable attorneys' and consultants' fees and court costs in connection with the foregoing. This indemnity shall
       include the costs to the Indemnitees of removing and reducing the levels of any Hazardous Substance (i) to the
       levels required by Environmental Laws if permissible levels of such substancbs have been established by
       Environmental Laws, and (ii) to the extent necessary so that the Project is fit for its originally intended use, as
       determined by Indemnitees' consultant, if permissible levels have not been specifically established by applicable
       Environmental Laws. The foregoing indemnity also shall include all costs incurred by the Indemnitees necessary to
       restore the Project or otherwise enable the Project to be fit for the originally intended use; and

                          (2)      the enforcement of this environmental indemnity.

                  6.10.   Partnership Manaser and Tax Matters Partner,

                          (a)      Partnership Manager. The General Partner is hereby appointed the Partnership Manager.
       In the event that the General Partner is comprised of more than one Person, the General Partner shall in writing
       appoint one of the Persons who is a General Partner as the Partnership Manager, subject to approval by the SLP.
       Such Partnership Manager shall exercise all the rights, powers and duties of the General Partner hereunder, and the
       other General Partner shall not exercise the same. Notwithstanding the foregoing, in the event the SLP or its
       designee becomes a substitute or additional General Partner in accordance with this Agreement, the SLP or its
       designee shall automatically and without further action become Partnership Manager and any designation or
       delegation ofsuch function to any other General Partner shall be null and void. In no event shall the designation of
       the SLP as rhe Partnership Manager be revoked or terminated by any General Partner without the Consent of the
       SLP.

                          (b)      Tax Matters Partner.

                          (1)      The General Partner is hereby designated the Tax Matters Partner. The Tax Matters
       Partner shall take no action in its capacity as such without the Consent ofthe SLP, other than such action as the Tax
       Matters Partner may be required to take by law. The Tax Matters Partner shall comply with the responsibilities set
       forth in Sections 6221 tltrough 6234 of the Code and in doing so shall incur no liability to the other Partners. The
       Tax Matters Partner shall be reimbursed for any expenses reasonably incurred in connection with the preparation for
       or pursuance of administrative or judicial proceedings, subject to the Consent of the SLP as to the amount of the
       expenditure. Notwithstanding the foregoing, in the event the SLP or its designee becomes a substitute or additional
       General Partner in accordance with this Agreement, the SLP or its designee shall automatically and without further
       action become the Tax Matters Partner and any designation or delegation of such function to any other General
       Partner pursuant to this Section shall be null and void. In no event shall the designation of the SLP as the Tax
       Matters Partner be revoked or terminated by any General Partner without the Consent of the SLP and ILP.

                        (2) The Tax Matters Partners shall not enter into any extension of the period of limitations
       for making assessments on behalf of the ILP or the SLP without first obtaining the Consent of the affected Limited
       Partner.

                          (3)   The Tax Matters Partner shall not bind any Limited Partner to a settlement agreement
       without obtaining the written concurrence of such Limited Partner. For purposes of this subsection, the term
       'Cgglg4gql aSreemen!" shall include a settlement agreement at either an administrative or judicial level. Any

                                                                   46
       483?-4545-8969.4




CONF   I DENT IAL                                                                                   PLA]NTIFFS                 OOOOB506
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 52 of 187




       Partner who enters into a settlement agreement with respect to any Partnership items (within the meaning of Section
       6231(a)(3) of the Code)) shall notify the other Partners of such settlement agreement and its terms within thirty (30)
       calendar days from the date of settlement.

                            (4) The Tax Matters Partner agrees that it will choose the United States Tax Court for
       litigation of all tax issues involving the Partnership, unless the Tax Matters Partner obtains the Consent of the ILP or
       the SLP to litigate in another forum.

                          (5) The Tax Matters Partner shall keep the Limited Partners advised of any dispute the
       Partnership may have with any federal, state or local taxing authority (a 'Taf-DiS@"), and shall afford the
       Limited Partners the opportunity to participate directly in the negotiation of the Tax Dispute, to the extent permitted
       by law and shall not settle a Tax Dispute without the Consent of the SLP. If, at any time, the Limited Partners desire
       to accept a settlement offer or other proposed resolution of a Tax Dispute, and the General Partner does not, then the
       Limited Partners shall either (i) permit the General Partner to continue protesting the adjustment at issue in the Tax
       Dispute; or (ii) advise the General Partner that the Limited Partners elect to resolve the Tax Dispute as proposed by
       the taxing authority, in which case the General Partner shall facilitate the resolution of the Tax Dispute favored by
       the Limited Partners; provided, if the Limited Partners elect this clause (ii), the General Partner shall resolve such
       Tax Dispute or may continue protesting the adjustment at issue in the Tax Dispute if the General Partner has a
       reasonable basis to do so and only after the General Partner deposits in an account at PNC Bank, National
       Association (which account shall be subject to a pledge agreement and account control agreement in favor of the
       SLP) an amount reasonably determined by the SLP which is sufficient to resolve the Tax Dispute as favored by the
       Limited Partners and cover additional costs and/or damages that may occur from the continued protest. Upon a
       resolution of such Tax Dispute amounts in the reserve shall first be applied to satisfy obligations of the Tax Dispute,
       and to the extent obligations of the Tax Dispute are in excess of the reserve amount the General Partner shall pay all
       such amounts to the Partnership as damages for breach of warranty, provided if there is excess amounts in such
       reserve after resolution and satisfaction of the Tax Dispute as confirmed in writing by the SLP, such amounts shall
       be returned to the General Partner. Legal fees incurred in connection with any Tax Dispute shall be paid by the
       Partnership.

                          (6) If an Event of Withdrawal occurs with respect to the General Partner designated as the
       Tax Matters Partner, the Partnership shall, subject to the requirements of Section 6.10(b), designate a successor Tax
       Matters Partner in accordance with Treasury Regulation Section 3O1.6231(a)(7)-l or any successor Regulation. The
       Partnership shall notify the Internal Revenue Service of the designation of a successor Tax Matters Partner for such
       year as well as for all prior years that the withdrawn General Partner was serving as Tax Matters Partner. In
       addition, at any time the SLP or an Affiliate thereof becomes a General Partner of the Partnership, the Partnership
       shall designate the SLP or its Affiliate as the successor Tax Matters Partner in accordance with the Treasury
       Regulation Section 301.6231(a)(7)-l or any successor Regulation. The Partnership shall then notify the Internal
       Revenue Service of the designation of the successor Tax Matters Partner for such year as well as for all prior years
       that neither the SLP nor an Affiliate thereof was serving as Tax Matters Partner.

                          (7) The provisions of this Section 6.10 shall survive the termination of the Partnership or the
       termination of any Partner's interest in the Partnership and shall remain binding on the Partners for the period of
       time necessary to resolve with the Internal Revenue Service or the United States Department of the Treasury any
       and all matters regarding the United States federal income taxation of the Partnership.

                6.1l.    PropertyManager.

                           (a) The Partnership shall enter into a Property Management Agreement with the Property
       Manager pursuant to which the Property Manager will manage, operate and maintain the Project on a day-to-day
       basis and rent the apartment units in the Project in compliance with all of the regulations, requirements and
       restrictions of the Lender, the Agency and any other regulatory agency. The Property Manager shall perform the
       services set forth in the Propeny Management Agreement and in consideration therefor the Partnership shall agree to
       pay to the Property Manager a monthly management fee in an arnount not to exceed 2.727o of gross rents collected
       for the preceding month, as approved by HUD. Any increase in said fee will require the Consent of the SLP, as well
       as the consent of any Lender and Agency, whose consent shall be required. The General Partner and Property
       Manager hereby agree and acknowledge that the Partnership's budgeted line item in any year for "management fee"


                                                                 ,ti1
       48374545-8969.4




CONF   I DENTTAL                                                                                 PLATNT]FFS_OOOOB5O7
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 53 of 187




     shall not be increased without the prior written Consent of the SLP. In addition, in the event the Property Manager
     is an Affiliate of the General Partner, Developer or Guarantorn the Property Manager agrees to defer its fee and
     payment of any operating expenses (including, but not limited to, administrative expenses, salaries, fees expenses,
     reimbursement of costs or allocation of overhead) of the Property Manager and/or any Affiliate thereof to the extent
     necessiuy for the Partnership to prevent either (i) the occurrence of an Operating Deficit or (ii) a default under any
     Permitted Loan. Such defenal of payment in accordance with the preceding sentence shall not be taken into account
     for purposes of any limit or cap established in Section 6.5(d).

                          (b)   The Property Manager shall submit to the Partners the necessary periodic reports with
     respect to the operations of the Project, as described in Section 10.7. The Property Manager shall comply with all
     Environmental Laws pertaining to lead-based paint, including, but not limited to, the regular maintenance,
     inspection, risk assessment, remediation and notice to tenants. The Property Manager further agrees to implement
     regular property management maintenance, inspection, risk assessment, and remediation efforts to address moisture
     and/or mold issues occurring with respect to the Project or any dwelling unit. Each tenant's lease shall contain an
     affirmative covenant on the part of the tenant to report moisture, mold and/or leaks to the Property Manager and the
     Property Manager shall promptly address and remediate any such issues.

                      (c) The Property Management Agreement shall be for a one (l) year term (which may
     include automatic renewals) and shall be terminable upon thirty (30) days' notice from the General Partner to the
     Property Manager without cause, and shall also be terminated immediately at the request of the SLP upon the
     occurence of any of the following.

                          (l)   an Event of   Bankuptcy with respect to the Property Manager;

                          (2)   the Property Manager shall commit misconduct or negligence in its conduct of its duties
     and obligations as the Property Manager;

                       (3) the Property Manager is cited by any Lender or Agency for a violation or alleged
     violation ofany applicable rules, regulations, covenant or requirements, including, but not limited to, noncompliance
     with the Minimum Set-Aside Test, the Rent Restriction Test, the Agency Set-Aside Test or any other Tax
     Credit-related provision and such violation is not cured within any applicable cure or gtace period;

                      (4) the Partnership has not achieved by the one (1) year anniversary of Final Construction
     Completion monthly Breakeven Operations for a three (3) consecutive month period or thereafter the Project fails to
     maintain Breakeven Operations on a monthly basis unless the General Partner and/or Guarantor is otherwise
     advancing funds to pay Operating Deficits;

                       (5) the Property Manager fails to submit to the ILP or the SLP any periodic reports required
     under Sections 10.7(b), 10.7(cXl), l}.7(c)(2), 10.7(cX3) and 10,10 within the time periods required for two (2)
     consecutive time periods for each applicable report and the SLP has given notice to the Property Manager and the
     General Partner in accordance with Section 10. I l;

                          (6)   the Property Manager leases a unit to a tenant who does not meet the income limitations
     under the Minimum Set-Aside Test or Agency Set-Aside Test, as applicable, or charges rents in excess of allowable
     renrs for such units untess the foregoing relates to tenant fraud and the Property Manager is diligently working to
     correct the same;

                      (7) if the Property Manager is a General Partner or an Affiliate of any General Partner or the
     Developer, the Project shall be subject to a substantial building, fire or safety code violation which shall not have
     been cured within six (6) months after notice from the applicable agency, other than with respect to safety code
     violations which must be cured within thirty (30) days of any such notice;

                          (8) if the Property Manager is a General Partner or an Affiliate of any General Partner and an
     Event ofDefault has occurred pursuant to Section 7.7 which is not cured within any applicable cure or grace period,




                                                               48
      4837 -4545-8969.4




CONFI DENT TAL                                                                                PLA]NTIFFS_OOOOB5O8
                    Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 54 of 187




        or   if   the Property Manager is the Developer or an Affiliate of the Developer and the Development Agreement is
        terminated by the Partnership; or

                             (9)    if the Property Manager is an Affiliate of the General Partner and there is any change in
        the identity or control ofany General Partner.

                          (d) The selection or appointment of the Property Manager, or a replacement or successor
       thereto, shall be subject to the Consent of the SLP. In the event the SLP and the General Partner cannot mutually
       agree to a successor or replacement Property Manager, the General Partner shall cause the Partnership to appoint the
       Property Manager selected by the SLP. The Partnership shall not enter into any future management arrangement
       unless such arrangement is terminable without penalty upon the occurrence of the events described in this
       Section 6. I 1.

                      (e) Any personnel to be employed in the management of the Project will be employees of the
       Property Manager, and not the Partnership, and will be hired, paid, supervised and discbarged by the Property
       Manager.

                             (0   The terms of the Property Management Agreement and any modifications or amendments
       thereto (including any extension of the term) shall be subject to the prior Consent of the SLP.

                             (g)
                              The Property Manager agrees that if it becomes subject to an Event of Bankuptcy that it
       will not
              oppose the General Partner's proceedings in bankruptcy court to accomplish a termination of the Property
       Management Agreement.

                          (h) Upon 24 hours prior notice by the ILP, the SLP or its agents, the Property Manager shall
       provide access to the Project to the requesting Partner or its agent in order to make a physical inspection of the
       exterior, the common areas and all units in the Project. Such inspections shall take place during normal business
       hours unless otherwise agreed to between the SLP and the Property Manager be generally conducted on an annual
       basis and shall include the right to review the operating, maintenance and tenant records, as well as an interview of
       on-site staff and their supervisors.

                             (D   Upon written notice from the ILP and/or SLP that an Event of Default has occurred under
       the Partnership Agreement and the election by the Limited Partners to exercise the rights set forth in Section 7.7(g),
       the Property Manager shall comply with the instructions from the SLP regarding all Project accounts, including
       deposits and withdrawals from such accounts.

                In the event of any conflict between the provisions of the Property Management Agreement and this
       Agreement, the provisions of this Agreement shall govern. The General Partner shall either (i) cause the provisions
       of this Section 6.1 I to be included in the Property Management Agreement or (ii) cause the Property Manager to
       acknowledge the provisions of this Section 6.1 I in writing in a form satisfactory to the SLP.

                          0)       For purposes of this Section 6.1 I only, each General Partner hereby grants to the SLP an
       inevocable (to the extent permitted by applicable law) power of attorney coupled with an interest to take any action,
       including the right to cause the Partnership to terminate the Property Management Agreement with the Property
       Manager and to execute and deliver any and all documents and instruments on behalf of such General Partner and
       the Partnership as the SLP may deem to be necessary or appropriate in order to effectuate the provisions of this
       Section 6.1 1. The SLP agrees to refrain from exercising such power of attorney until the earlier of an Event of
       Default or the failure by the General Partner to terminate the Property Manager as provided in this Section 6.1 t .

                     6.12.Transactions With Lenders. Agencies and Affiliates of the SLP or the ILP. The Partnership may
       secure loans, credit facilities and financial services from PNC Bank, National Association ('!NC-Eann") and other
       Affiliates of the SLP, the partners of the ILP or their respective Affiliates. The General Partner acknowledges that
       its decisions to cause the Partnership to deal with PNC Bank, other Affiliates of the SLP, the partners of the ILP or
       their respective Affiliates shall be made based upon the General Partner's good faith determination that such
       dealings are in the best interest of the Partnership and in accordance with the General Partner's rights and powers



                                                                 49
       4837 -4545-8969.4




CONF   I DENT IAL                                                                              PLAINTIFFS-OOOOB5O9
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 55 of 187




     under the terms of this Agreement. The General Partner and the Developer each acknowledge and agree that the
     SLP, the ILP and their respective partners and Affiliates shall have no liability to the Partnership, the General
     Partnern or the Developer, as a result of any such loans, credit facilities, and other financial services and that none of
     the obligations of the General Partner, the Partnership, or the Developer to the SLP, the ILP and their respective
     partners and Affiliates shall be excused, limited or otherwise adversely affected as a result ofany such loans, credit
     facilities or other financial services. The General Partner, the Developer and their Affiliates each further
     acknowledge and expressly agree that the SLP, the ILP, PNC Bank and their respective partners and Affiliates may
     (i) share or disclose information with or to PNC Bank and other Affiliates of the SLP, the ILP, its respective partners
     and their Affiliates, investors, proposed investors, their agents and representatives, regulators and Agencies' and
     (ii) discuss matters related to the Project and Partnership and share or disclose information with Lenders, parties to
     Project Documents, prospective lenders, the Tax Credit Agency and other regulatory agencies, and any such
     disclosures and discussions are expressly permitted and agreed to and shall not constitute a breach of any duty or
     obligation, fiduciary or otherwise, owed to the Partnership, the General Partner, the Developer, or any Affiliate
     thereof by the SLP, the ILP, their respective partners and Affiliates, or PNC Bank.

              6.13. Applied Amounts. Any amounts due by the General Partner hereunder which are not paid within
     fifteen (15) business days after demand is made therefor shall bear simple interest, from the due date therefor
     through the date of payment (including payment through application of Applied Amounts as set forth herein), equal
     to rhe lesser of (i) the Prime Rate plus 4Vo or (ii) the maximum permissible interest rate. In the event that the
     General Partner shall fail to make any payment required pursuant to this Agreement, within fifteen (15) business
     days after demand is made therefor, then, in addition to any other remedies at law or in equity which may be
     available to the ILP, the General Partner shall be obligated to cause the Partnership to utilize amounts payable to the
     General Partner, the Developer and the Guarantor and their respective Affiliates under Section 4.2, Section 4.5,
     Section 6.8, Section 6.1l, the Development Agreement, the Affiliate Loan, the Property Management Agreement (if
     the Property Manager is an Affiliate of the General Partner, the Guarantor or the Developer) and the other Project
     Documents (the "Applid-Arop$') to meet the obligations of the General Partner. Such utilization of Applied
     Amounts constitutes payment and satisfaction of the corresponding amounts with the proceeds thereof being applied
     to such obligations of the General Partner, and the obligation of the Partnership to make such payments is deemed
     satisfied to the extent thereof. Each of the General Partner, the Developer, the Guarantor and the Property Manager
     if an Affiliate of the General Partner, the Guarantor or the Developer covenant and agree that the General Partnern
     the Guarantor, the Developer, the Property Manager, if applicable, and all Affiliates of the General Partner, the
     Guarantor and the Developer will recognize as income any Applied Amounts for federal and state income tax
     purposes. Notwithstanding the foregoing, failure to make any payment required under this Agreement shall be an
     Event of Default, the provisions for collecting such outstanding amounts through the mechanism of Applied
     Amounts notwithstanding.




                                 RrGHrs           r'' *:;;:"J';IMITED                PARTNER'
                                           ^o."
               7.1.      Limited Assessment. Except as may otherwise be provided under applicable law, the Limited
     Partners shall not be bound by, or personally liable for, the expenses, liabilities or obligations ofthe Partnership and
     no Limited Partner shall be required to make any Capital Contributions (including if such Limited Partner becomes a
     general partner pursuant to the terms of this Agreement) other than the Capital Contributions required to be made by
     such Limited Partner pursuant to this Agreement. The Partnership shall indemnify and hold harmless the SLP and
      the ILP, and their Affiliates, employees and representatives, from and against all losses, liabilities, damages,
     judgments, settlements and expenses (including legal fees) incurred as a result of actions against such Limited
      Partners in their capacity as partners of the Partnership. The indemnification provided herein is in addition to and
      not a limit on any other right of contribution or indemnity by the Partnership or General Partner which otherwise
      might exist in favor of any of the Limited Partners.

             7 -2.     No Right To Manage: Right To Inspect. Except as specifically provided in this Agreement, no
     Limited Partner shall take part in, or interfere in any mannei with, the mahagement, control, conduct or operation of
     the Partnership, or have any right, power or authority to act for or bind the Partnership. Notwithstanding the
     foregoing limitation, the Limited Partners and their respective employees, agents and consultants shall have the right
     upon 24 hours prior notice to the General Partner to access all of the books and records of the Partnership and the


                                                                 50
      4837-4545-8969.4




CONFI DENT       IAL                                                                             PLAINTIFFS                 OOOO85lO
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 56 of 187




       Project, and physical access to the Project including all buildings and improvements thereof. These rights may be
       exercised by the Limited Partners at any time, though the Limited Partners shall endeavor to conduct such inquiries
       and inspections on weekdays between 9:00 a.m. and 5:00 p.m. Furthermore, the Limited Partners shall have the
       right, without the Consent of the General Partner, to contact, make inquiries of, and receive information from any
       third party directly or indirectly engaged by, or which have contracted with, or which are considering contracting
       with or becoming engaged by, the Partnership, or the General Partner or Property Manager on behalf of the
       Partnership, including, without limitation, any Lender, the Agency or Property Manager. All physical inspections of
       the Project and inquiries made to third parties by the Limited Partners in accordance with this paragraph shall not
       constitute a breach of any fiduciary or other duty that may be owed by the Limited Partners to the Partnership or to
       the General Partner. The General Partner shall cooperate with any request made to a third party and, if requested,
       shall aid the Limited Partners in identifying, contacting and obtaining any information from a third party in
       accordance with this Section 7.2.

                7.3. Priority. No member of any class of Limited Partners shall have priority over any other member
       of such class of Limited Partners, either as to the return of Capital Contributions or as to Net Profit, Net Loss, Net
       Profit From Sale, Net Loss From Saloor Distributions, unless otherwise specifically provided herein.

                7.4. Death. Disability. etc. of a Limited Partner. The Partnership shall not be dissolved by the death,
       insanity, adjudication of incompetency, bankuptcy, insolvency or withdrawal of any Limited Partner; by the
       assignment by any Limited Partner of its Partnership interest; or by the admission of a Substitute Limited Partner or
       a Supplemental Limited Partner.

                7.5. Meetinss. A meeting of the Partners may be called by any Partner. Meetings of Partners may be
       held in such place mutually agreed upon by the Partners. Meetings may be held via teleconference.

                 7.6.     Proposal and Adobtion of Amendments Generally.

                         (a) Amendments to this Agreement to reflect the addition or substitution of a Limited
       Partner, the designation of an additional or successor General Partner, or the removal or withdrawal of a General
       Partner shall be made at the time and in the manner otherwise provided herein. Any other amendments to this
       Agreement may be proposed in the following manner:

                        (1) By the General Partner, who shall give to the Limited Partners via written notice the text
       of the proposed amendment, and if requested by the SLP, other information to evaluate the terms of the amendment
       which may include an opinion of counsel to address any state law or federal tax matters associated with such
       proposed amendment; or

                         (2) By either the ILP or SLP, who shall submit to the General Partner via written notice the
       text of the proposed amendment, and if requested by the General Partner, other information to evaluate the terms of
       the amendment which may include an opinion of counsel to address any state law or federal tax matters associated
       with such proposed amendment.

                          (b)      Amendments proposed pursuant to Section 7.6(aXt) above, subject to the provisions of
       Section 7.7, shall be adopted if the Consent of both the ILP and the SLP is obtained thereto. Amendments proposed
       pursuant to Section 7.6(a)(2) above shall be adopted if approved by the General Partner, which approval shall be
       deemed to have been obtained if, after thirty (30) days from the date the proposal is received by the General Partner,
       neither the SLP nor the ILP has received via written notice notification of the General Panner's objection to the
       proposal. Each General Partner hereby grants to the SLP an irrevocable (to the extent permitted by applicable law)
       power of attorney coupled with an interest to execute and deliver any amendment to this Agreement which is
       proposed pursuant to Section 7.6(a)(2) and which the General Partner is deemed to have approved pursuant to the
       immediately preceding sentence. Notwithstanding anything to the contrary contained herein, the Partners agree not
       to amend this Agreement without the prior written consent of the First Mortgage Lender prior to Mortgage Loan
       Commencement, if the effect of such amendment is to affect the Capital Contributions of the ILP or the amount,
       timing or conditions to the funding of such Capital Contribution Installments; provided however, that the application
       of the provisions of Section 3.5 in accordance with the terms thereof shall not be deemed an amendment to this
       Agreement, which shall not be unreasonably withheld.

                                                                 51
       4837-4545-8969.4




CONF   I DENT IAL                                                                               PLAINTIFFS                OOOO8511
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 57 of 187




                            (c)     The General Partner shall, within a reasonable time after the adoption of any amendment
       to this Agreement, make any official filings, recordings and publications required or desirable to reflect         such
       amendment.

                            (d)     Any amendment to admit a Substitute Limited Partner shall be adopted if compliance
       with the conditions  specified in Section 8.2 shall have been satisfactorily achieved by the Person to be substituted or
       added, and, if a Limited Partner is to be substituted, by the assigning Limited Partner or its attorney-in-fact.

                            (e)     Amendments to reflect the designation ofan additional or successor General Partner shall
       be adopted   ifthe conditions specified in Section 7.7 andlor Article IX shall have been satisfactorily achieved and the
       amendment shall have been signed by such additional or successor General Partner.

                         (0        Subject to Section 6.3, amendments for the removal or withdrawal of a General Partner,
       ifthe business of the Partnership is continued, shall be adopted if the conditions specified in Section 7.7 andlot
       Article IX, as applicable, shall have been satisfactorily achieved and the amendment shall have been signed by the
       successor General Partner and/or the SLP General Partner.

                 7.7.     Special Riehts of the Ligdted Partners. Upon tlre occurrence of an Event of Default (as defined
       below)  that has not been timely cured as permitted herein, the SLP shall have the right, but not the obligation, to (i)
       cause itself or its Affiliate to be admitted to the Partnership as an additional General Partner as provided in
       Section 7,7(b), and/or (ii) remove each General Partner as provided in Section 7.7(c). Each General Partner hereby
       makes, constitutes, and appoints the SLP, with full power of substitution, the true and lawful attorney of, and in the
       name, place and stead of, such Partner, with power from time to time to take all action and do all things necessary or
       appropriate to implement and carry out the provisions of this Section 7.7. Such appointment shall constitute a Power
       of attorney coupled with an interest, shall be irrevocable, shall survive the death, incompetence or dissolution of any
       Partner and shall be binding on any assignee of all or any portion of the Partnership interest of any Partner. Each
       Partner agrees that the SLP or any Person it causes to be admitted as a General Partner pursuant to Section 7.7(b)
       and/or Section 7.7(c) may withdraw as a General Partner (while retaining its rights as the SLP, if applicable) without
       the consent of any Partner other than the ILP and SLP.

                 Notwithstanding anything to the contrary in this or any other agreement, neither the SLP nor its designee
       (in their respective capacities as an additional or replacement General Partner) shall assume or otherwise become
       liable for any of the removed General Partner's payment or indemnification obligations to the Partnership and its
       Partners, Lenders, or other creditors, or any of the representations, warranties, duties, covenants or obligations
       attributed to the General Partner in this Agreement unless specifically agreed to in writing. Nothing in this Section
       7.7 shall reduce or otherwise limit the rights, remedies or other actions available to the Partnership, the ILP and/or
       the SLP against the removed General Partner or the Cuarantor.

                            (a)      An "Event of Defau!!" shall be the occurrence at any time of any one or more of the
       following    events unless expressly waived in yvriting by the SLP in its sole discretion;

                            (1)      20Vo   or more of the anticipated Low Income Units in the Project shall not be in
       compliance with Section 42 of the Code;

                            (2)   The Partnership fails to achieve Final Construction Completion by the Completion Date
       or fails to achieve Placement in Service by December 31,2015;

                            (3)  An Event of Bankruptcy occurs with respect to any General Partner, the Developer or
       Guarantor or an Event of Withdrawal occurs with respect to any General Partner;

                          (4) A General Partner, the Guarantor or the Developer or any Affiliate thereof has, in
        connection with the Partnership or the Project, performed an act or failed to perform any act constituting fraud,
        misconduct, negligence (unless such negligence is cured within fifteen (15) business days of notice thereo|, a
        violation oflaw, a breach offiduciary duty (unless such violation or breach (except for deceit or dishonesty) is cured




                                                                     52
        4837 -4545-8969.4




CONF   ] DENT IAL                                                                                   PLAINTIFFS_OOOOB512
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 58 of 187




       within fifteen (15) business days of notice thereofl, misappropriation or comingling of funds, dishonesty or
       misrepresentation or nondisclosure of material facts;

                          (5)      Any event with respect to which the ILP and/or the SLP become entitled to exercise any
       right or remedy under Article V;

                          (6)     Any default or breach by a General Partner (whether in its capacity as a General Partner
       or in any other capacity), the    Guarantor or the Developer and/or any of their Affiliates of any covenant,
       representation, warranty, duty or obligation under this Agreement, the Guaranty, or any Project Document which is
       not cured within any applicable hotice or cure period;

                          (7)      Any default under any Permitted Loan is declared which is not cured within                  any
       applicable notice or cure period;

                      (8) A failure of the General Partner to (i) enforce the terms of the Property Management
       Agreement and/or the Construction Contract within five (5) days of a request from the SLP, (ii) cause the
       Partnership to terminate the Property Manager as provided in Section 6.1 I or (iii) cause the Partnership to terminate,
       upon the request of the SLP, the Project Architect or, as provided in Section I 0. I l, the Accountant;

                          (9) Any violation or noncompliance by the Partnership, the General Partner, the Developer,
        the Guarantor and/or their respective Affiliates with any applicable law, statute, ordinance, code, rule, regulation,
       judgment, order, ruling, condition or other requirement of a statutory, regulatory, administrative, judicial or quasi-
       judicial nature or any other legal or governmental requirement of whatever kind or nature that has or is likely to
       have an adverse effect on the ILP, the SLP, the Tax Credit, the Project or the Partnership as the SLP may determine,
        and such violation or noncompliance is not (or is unlikely to be) cured in all respects within the earlier offifteen (15)
        business days or such time period allowable under the applicable laws or regulations;

                          (10)     The failure to obtain the Consent of the SLP and/or ILP where such Consent is required
       under the terms of this Agreement;

                          (1 l)    Any General Partner shall have conducted its own affairs or the affairs ofthe Partnership
       in such a manner as would (i) cause the termination of the Partnership for federal income tax purposes, or (ii) cause
       the Partnership to be treated as an association taxable as a corporation for federal income tax purposes;

                        (12) Any (i) failure to maintain the net worth and liquidity covenants required pursuant to
       Section 6.5(n) and/or (ii) material adverse change in the financial condition of the General Partner, the Developer
       and/or the Guarantor;

                          (13)     The occurrence     of a Reporting Default, unless the Reporting Default is            cured in
       accordance with Section 10.11;

                          (14)     The criminal conviction of the General Partner, the Developer or the Guarantor or any
       Affiliate thereoffor fraud or any felony; or

                          (15)     At any time after Stabilized Occupancy, Breakeven Operations is not attained during any
       six (6) month period, unless the General Partner and/or Guarantor is otherwise advancing funds to pay                   any
       Operating Deficits.

                The SLP shall determine in its sole discretion whether any Event ofDefault has occurred and whether such
       default has been eured or is likely to be cured within any grace period allowed within this Agreement upon
       expiration of which the SLP may exercise its rights set forth in this Section 7.7.

                With respect to any Event of Default set forth in Section 7 .7 (a)(l) and Sections 7 .7 (a)(5) through 7 .7 (a)(8),
       Section 7.7(a)( 10) and Section 7 .7 (a)(12) and to the extent that such default is capable of being cured, the General
       Partner shall have the greater offifteen (15) business days or the cure period provided in any Project Document to



                                                                   53
       4837-4545-8969.4




CONF   I DENT IAL                                                                                   PLAINTIFFS_OOOO8513
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 59 of 187




       cure such default upon receipt of notice from the SLP or any party to a Project Document if the Event of Default
       pertains to a Project Document (all notice/cure periods to run concunently). Any cure of any default by a Limited
       Partner whether by the acceleration of capital, advance of money, consent to release funds from reserves or
       otherwise shall not constitute a cure of any Event of Default, nor shall such actions on the part of the Limited
       Partners relieve any General Partner, Guarantor or Developer of its respective obligations under this Agreement, the
       Guaranty, or the Project Documents.

                If an Event of Default is not cured within any applicable cure period or is not susceptible of being cured,
       then in addition to all of the other rights and remedies under this Agreement, including the right to remove a General
       Partner pursuant to this Section 7.7, the SLP shall have the right, but not the obligation, to terminate or assign
       without penalty all contracts or agreements entered into between the Partnership and any General Partner, the
       Developer or the Guarantor and/or their Affiliates who were engaged to provide services to the Partnership or the
       Project and each Partner hereby consents to any such action. If the foregoing provision is held to be invalid by any
       court of competent jurisdiction or if such terminated Persons seek recovery against the Partnership or the Limited
       Partners in connection with such termination, then the General Partner (excluding the SLP or its designee ifit elects
       to become an additional or substitute General Partner) shall indemnify the Partnership and its Partners from such
       expenses or liabilities. All amounts then owing to the General Partner, the Developer and/or the Guarantor and/or
       their Affiliates at the time of termination or assignment shall automatically be assigned to the SLP without the
       necessity ofany further action.

                           (b) If, after an Event of Default that is not timely cured as set forth herein, the SLP elects to
       admit itself or its designee as an additional General Partner ('St p-Cenerat pa"t"e""), such admission shall occur
       automatically and without further action by any Partner upon the giving ofnotice thereofby the SLP to the Partners,
       and each of the Partners hereby agrees and consents in advance to the foregoing admission, including the
       designation of the SLP General Partner as Partnership Manager and Tax Matters Partner pursuant to Section 6.10.
       Upon admission of the SLP General Partner it shall have all power and authority of the General Partner under this
       Agreement (including, without limitation, all right to deposit to, withdraw from and otherwise control all Partnership
       bank accounts) and no other General Partner shall have any such right. Notwithstanding its admission to the
       Partnership, the SLP General Partner shall not undertake or assume, or be deemed to have undertaken or assumed,
       any obligations or liabilities imposed on the General Partner, the Developer and/or the Guarantor pursuant to this
       Agreement, the Guaranty, the Development Agrcement or the Project Documents, and/or those which arise in any
       .other manner with respect to the Partnership or the Partners.

                 The economic rights interest of the SLP as the SLP shall continue unaffected by the new status of the SLP
       or its designee as a General Partner.

                         (c) If, after an Event ofDefault that is not timely cured as set forth herein, the SLP elects to
       remove a General Partner, then such removal shall occur automatically and without further action by any Partner
       upon the giving of notice thereof by the SLP to the Partners. Upon the removal of the General Partner, each of the
       following shall occur automaucally:

                           (l)    The removed General Partner's Partnership interest shall be sold to the SLP or its
       designee for an amount equal to the lesser of (i) $100, or (ii) the amount of the removed General Partner's Capital
       Account, less any damages incurred by the Partnership in connection with the General Partner's removal;

                           (2)     Any and all rights and powers of the removed General Partner under this Agreement and
       the Project Documents shall transfer automatically to the SLP or its designee, including the designation of the SLP
       or its designee as Partnership Manager and Tax Matters Partner pursuant to Section 6.10;

                          (3) The removed General Partner shall pay any and all damages suffered by the Partnership
       relating to each Event of Default; and

                           (4)    Any and all rights and claims the General Partner or any of its Affiliates may have
       against the Partnership    forfees, repayment of any loan (specifically excluding the Seller Loan and GP
       Predevelopment Loan), and other payments owed by the Partnership shall terminate, inclusive of those payments,
       Distributions and fees that have been assigned pursuant to the terms of this Agreement.

                                                                 54
        4837-4545-8969.4




CONF   I DENT IAL                                                                               PLA]NTIFFS                OOOOB514
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 60 of 187




                            (d) All of the General Partner's and Guarantor's obligations and liabilities under this
        Agreement (including all indemnification obligations) shall survive such General Partner's whole or partial loss of
        powers, removal or withdrawal from the Partnership for any reason whatsoever, whether under this Section 7.7 or
        otherwise, and such General Partner shall not be excused to any extent from the payment or performance thereof,
        except that the removed General Partner shall not be liable for any liabilities and obligations first arising after the
        effective date of such removal or withdrawal unless such liabilities or obligations are: (i) a result of an event
        occurring before such removal or withdrawal or the event giving rise to such removal or withdrawal; (ii) a
        reasonable consequence of such removal or withdrawal; (iii) a contractual obligation entered into prior to the
        effective date of such withdrawal or removal even though the time for performance or satisfaction of such obligation
        may not have yet occurred (including, without limitation, making capital contributions to enable the Partnership to
        pay Affiliate Loans or Deferred Development Fee); and/or (iv) atfibutable in any part to events occurring prior to
        the effective date of such withdrawal or removal. The General Partner shall fully indemnify and hold harmless the
        Partnership, the ILP, and the SLP (and its designee in regards to this Section 7.7, if applicable) from any and all
        losses, judgments, liabilities, expenses and amounts paid in settlement of any claims sustained, to the extent that any
        such liabilities and expenses relate to, arise from, or are attributable to claims, actions, omissions or events occurring
        in whole or in part prior to the date of the whole or partial loss of powers, removal or withdrawal from the
        Partnership for any reason whatsoever, whether under this Section 7.7 or otherwise.

                          (e) Effective prior to the date of the removal or withdrawal of the General Partner, such
       General Partner shall be obligated to make a Capital Contribution to the Partnership in the amount of the then
       outstanding balance of any Affiliate Loan with said Capital Contribution to be paid by the Partnership (subject to the
       rights of other creditors of the Partnership and the application of Applied Amounts pursuant to Section 6.13) to the
       satisfaction of the Affiliate Loan; provided, however, that if (l) such loans are secured by a mortgage and (2) Tax
       Counsel concludes that such loans "should" or "will" be included in the computation of the ILP's minimum gain,
       then the General Partner shall not be obligated to make a Capital Contribution immediately prior to the effective
       date of the removal to satisfy the outstanding balance of the Affiliate Loan but the General Partner hereby
       acknowledges and agrees that any Affiliate Loan shall, in the sole and absolute discretion of the SLP, be subject to
       offset by any amounts owed by such removed General Partner, Developer, or Guarantor or Affiliates thereof to the
       Partnership. The balance, if any, remaining to be paid with respect to an Affiliate Loan shall be subordinate in all
       respect to amounts needed to induce a replacement General Partner to assume the role thereof and the disribution of
       Net Cash Flow and Net Cash Proceeds shall be adjusted accordingly to accomplish such purpose.

                         (0       The parties hereto acknowledge and agree that this Agreement is a contract under which
       the SLP and the ILP are excused from accepting performance from a General Partner, the Developer, and/or the
       Guarantor (or from their respective assignees, receivers or trustees) in the event that the General Partner, Developer,
       and/or Guarantor is granted relief under the Bankuptcy Code. The parties agree that the effect of Section 7.7(b) and
       Section 7.7(c) is to make this Agreement subject to the exceptions to assumption and assignment of contracts set
       forth in Sections 365(c)(l) and 365(e)(2) of the Bankruptcy Code and the General Partner (i) shall not seek any
       assumption or assignment of this Agreement without the Consent of the SLP and the ILP; and (ii) will not oppose
       any application or motion to enforce the provisions of the foregoing Section of the Bankruptcy Code, even if rhe
       effect of such motion or application is to remove the General Partner from its position; provided, however, that such
       removal shall be pursuant to the provisions of this Section 7.7.

                If removal of the General Partner is as a result of the occurrence of an Event of Bankruptcy, and, in the sole
       discretion of the SLP, the exercise of the rights and remedies under this Agreement would require permission of a
       bankuptcy court or other court of applicable jurisdiction, then the General Partner, for good and valuable
       consideration, the receipt and sufficiency of which is hereby acknowledged, agrees not to oppose any action that the
       SLP, or any other Partner acting with the approval of the SLP, may take to obtain relief from any automatic stay
       imposed by Section 362 of the Bankruptcy Code or other similar statute, law or rule under which the General
       Partner is provided relief from its creditors, in order to exercise the rights and remedies available under this
       Agreement.

                In the event that the General Partner files a petition for relief under the Bankruptcy Code in ajurisdiction
       other than a venue agreed upon by the parties in Section 13.12, the SLP may seek from the bankruptcy court with
       jurisdiction over said petition a change of venue to a bankruptcy court (and division,         if   applicable) in a district



                                                                   )f
       48374545-8969.4




CONF   ] DENT IAL                                                                                  PLA]NTIFFS-OOOO8515
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 61 of 187




     located in a venue set forth in Section 13.12, and each Partner and the Partnership hereby agree not to oppose or
     object to such application or motion.

                        (g)     Upon the occurrence of an Event of Default (or an event which, with the giving of notice
     or passage of time or both, would constitute an Event of Default), prior to exercising any other rights available to the
     SLP in this Agreement, the SLP may, but shall be under no obligation to (l) require that all Partnership and Project
     accounts be transfened into bank accounts held for the benefit ofthe Partnership which accounts shall require dual
     signatures for payment or ffansfer from all such accounts (one of which must be a representative of the SLP),
     (2) direct the Property Manager (or replacement or successor thereto) to deposit all income from the Partnership and
     the Project into the accounts described in the preceding clause (1) and/or (3) require the prior written Consent ofthe
     SLP to the payment or disbursement of any Partnership or Project funds.

                        (h) Notwithstanding anything to the contrary contained herein, upon the removal or
     withdrawal of the General Partner, the Seller Loan and GP hedevelopment Loan shall not be transferred but shall be
     subject ro offset as determined by the SLP. In addition, notwithstanding anything in Section 4.2 or Section 4.5
     herein, any payments toward the Seller Loan and GP Predevelopment Loan otherwise owed pursuant to Section
     4.2(c) or Secrion 4.5(e) shall be subordinated and only paid immediately following payment of all amounts under
     Section 4.2(g) and/or Section 4.5(f), as applicable herein. Furthermore, in the event the Net Cash Proceeds are
     insufficient to repay the Seller Loan and GP Predevelopment Loan upon a sale of the Project the balance of such
     loans shall be forgiven and, notwithstanding any provision to the contrary contained in this Agreement, the original
     General Partner and Guarantors jointly and severally agree to indemnify and hold the ILP harmless from the
     reduction in tax benefits and the income tax consequences attributable to any cancelation or forgiveness of such
     Partnership indebtedness and agree such obligation survives the removal/withdrawal of the General Partner
     notwithstanding anything to the contrary herein.

              7.8.      Extraordinarv Limited Partner Expenses.

                        (a)    Any and all costs and expenses incurred by or on behalf of the ILP and/or the SLP in
     connection with protecting and/or enforcing their respective rights and remedies against the Partnership, the General
     Partner, the Developer or the Guarantor or any Affiliate thereof with respect to this Agreement or any Project
     Document whether or not the General Partner is removed, withdrawn or otherwise, including, without limitation,
     attorneys' and/or other professionals' fees and expenses, shall be paid by the General Partner on demand whether or
     not a legal action is actually commenced. In the event that it is ultimately determined by a court of competent
     jurisdiction that no basis exists for actions taken by the ILP and/or the SLP in connection with the exercise of its
     rights and remedies against the General Partner, the ILP and/or the SLP will not be entitled to be reimbursed for
     expenses under this Section 7.8 and they hereby agree to repay all amounts paid by the General Partner pursuant to
      this Section 7.8 together with costs and expenses incurred by the General Partner relating to the same.

                       (b) The Partnership shall pay (or the General Partner shall pay if the Partnership has
     insufficient funds), on demand, any and all costs and expenses incurred by or on behalf of the Limited Partners,
     including reasonable attorneys' fees (which may include a new, updated, or revised tax opinion), in connection with
     any of the following: (l) Project or Partnership financing that is documented or otherwise closed anytime after the
     Closing Date, including the conversion of any forward-committed permanent loan that is made by a Lender other
     than PNC Bank, National Association and its Affiliates; (2) any Project refinancing or amendment of any Permitted
     Loan; or (3) any amendments to this Agreement or such other amendments to the Project Documents requiring the
     Consent of the Limited Partners (but excluding those relating to a transfer of the interest of the ILP, or such other
     amendments required or requested for the benefit ofthe SLP or ILP). In addition, the Partnership shall pay (or the
     General Partner shall pay if the Partnership has insufficient funds), on demand, an administrative fee of $2,000
     payable to the SLP in connection with the foregoing except for financing with respect to (l) which was
     contemplated on the Closing Date.

               7.9. Limited Partners as Lenders. Subject to provisions of this Agreement with respcct to related party
     loans, a limited partner of the ILP, including, without limitation, a bank, insurance company, or other financial
     institurion (such limited partner being referred to, for purposes of this Section 7 .9 only, as a "&fg4gg"), at any
     time may make, guarantee, own, acquire, or otherwise credit enhance, in whole or in part, a loan secured by a
     mortgage, deed qf trust, trust deed, or other security instrument encumbering the Project owned by the Partnership


                                                                56
     4837-4545-8969.4




CONFI DENT      IAL                                                                             PLAINTIFFS-OOOO8516
                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 62 of 187




       (for purposes of this Section 7.9 only, any such loan being refeued to as a 'ttloftgege             Lg!"). Under no
       circumstances will a Mortgagee be considered to be acting on behalf or as an agent or the alter ego of such ILP. A
       Mortgagee may take any actions that the Mortgagee, in its discretion, determines to be advisable in connection with
       a Mortgage Loan (including in connection with the enforcement of a Mortgage Loan). By acquiring an interest in
       the Partnership, each Partner acknowledges that to the extent permitted by applicable law no Mortgagee owes the
       Partnership or any Partner any fiduciary duty or other duty or obligation whatsoever by virtue of such Mortgagee
       being a limited partner in the ILP. Neither the Partnership nor any Partner will make any claim against a Mortgagee,
       or against the ILP in which the Mortgagee is a limited partner, relating to a Mortgage Loan and alleging any breach
       of any fiduciary duty, duty of care, or other duty whatsoever to the Partnership or to any Partner based in any way
       upon the Mortgagee's status as a limited partner of the ILP.

                 7.10.    Sale: Purchase Option and Right of First Refusal.

                          (a)      Purchase Option. For a period of twelve (12) months immediately following the end of
       the Compliance Period for the last building in the Project (the "Qption Period"), the General Partner (if it is then
       serving as general p.utner of the Partnership) will have an option to purchase the Project (the "Assgloption") or the
       Limited Partners' entire interest in the Partnership (the "Interest Option"). Notwithstanding the foregoing, the
       Option Period with respect to the Interest Option shall begin six (6) months immediately following the end of the
       Credit Period for the last building in the Project; provided, however, to the extent the Interest Option is exercised
       prior to the expiration of the Compliance Period, the General Partner shall provide a bond or collateral in favor of
       the ILP and/or SLP in an amount covering l00Vo of the recapture risk, adjusted annually, in form and substance
       satisfactory to the ILP and SLP.

                            (l)     The purchase price of the Project (the "IfgigS!-EgIgbg.-Ugg") if acquired pursuant to
       the Asset Option shall be the greater of: (A) the fair market value of the Project, and (B) the sum of one dollar
       ($1.00) plus (i) the amount of the outstandingdebt secured by deeds of trust or mortgages on the Project and any
       other obligations of the Partnership, including, but not limited to, any loans from any Partner or any of their
       affiliates plus (ii) an amount sufficient to enable the Partnership to distribute cash to the Limited Partners pursuant to
       the liquidation provisions of the Partnership Agreement in an amount equal to the sum of (a) the amount of Exit
       Taxes payable by the Limited Partners in connection with the sale and receipt ofany corresponding cash and (b) any
       amount owed to the Limited Partners under any provision of this Agreement (including all Adjustment Amounts
       owed under Section 3.5, inclusive of amounts payable only pursuant to Article IV of this Agreement), to the extent
       that such amounts are not otherwise paid from the proceeds of (A). The Project Purchase Price shall be payable by
       the General Partner by taking the Project subject to the existing debt (but only to the extent permitted by all
       Lenders), and ifnot permitted by any Lender, or ifthe purchase price exceeds such debt, the Project Purchase Price
       (or the balance thereof) shall be payable in readily available funds which shall be distributed pursuant to the
       liquidation provisions of the Partnership Agreement.

                           (2) The purchase price of the Limited Partners' Partnership interest (the "Inle&lt_brchase
       Price")   ifacquired pursuant to the Interest Option shall be the sum of: (A) the fair market value of the Limited
       Partners' Partnership interest and (B) the amount of Exit Taxes payable by the Limited Partners in connection with
       the sale and receipt ofany corresponding cash and any amount owed to the Limited Partners under any provision of
       this Agreement (including all credit adjustments owed under Section 3.5, inclusive of amounts payable only
       pursuant to Article IV of this Agreement), to the extent such amounts are not otherwise paid from proceeds of (A).
       The Interest Purchase Price shall be paid to the Limited Partners at closing in cash, unless otherwise mutually agreed
       to by the parties hereto. The fair market value pursuant to (A) above shall be the amount the Limited Partners would
       receive in liquidation of the Partnership if the Project were sold for fair market value on such date.

                           (3) The fair market value of the Project pursuant to Section 7.10(aX1) and/or Section
       7J0(a)(2) shall be determined by mutual agreement of the parties or, in the absence of such agreement, as follows:
        the General Partner and the Limited Partners shall select a mutually acceptable appraiser who shall determine the
        fair market value ofthe Project. In the event the parties are unable to agree upon an appraiser, the General Partner
        and the Limited Partners shall each select an appraiser. Ifthe difference between the two appraisals is within 107a
        of the lower of the two appraisals, the fair market value shall be the average of the two appraisals. If the difference
       between the two appraisals is greater than l}Vo of the lower of the two appraisals, then the two appraisers shall
       jointly select a third appraiser. If the two appraisers are unablejointly to select a third appraiser, either the General

                                                                  57
       4837-4545-8969.4




CONF   I DENT IAL                                                                                 PLAINTIFFS OOOO85l7
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 63 of 187




    Partner or the Limited Partners may, upon written notice to the other, request that the appointment be made by the
    American Arbitration Association or its designee. If the third appraisal is less than either of the first two, then fair
    market value shall be the average of the two lowest appraisals. If the third appraisal is greater than the first two,
    then fair market value shall be the average of the two highest appraisals. If the third appraisal falls between the
    previous two appraisals, the fair market value shall be the value established by the third appraisal.

                       (4) The General Partner and the Limited Partners shall share the cost equally ofany appraiser
    jointly selected or shall pay the costs of the appraiser they each select and shall share the cost equally of any third
    appraiser. Any appraiser selected pursuant to this section shall be an MAI appraiser with at least five (5) years of
    experience in valuing income-restricted multifamily rental property. In determining the fair market value of the
    Project, the appraisal shall take into account (among other factors) any title restrictions and the requirement that the
    Project remain dedicated for the use of low income households pursuant to any restrictions under any loan
    agreements or regulatory agreements and shall additionally take into account any bond or collateral provided by the
    General Partner to the ILP and/or SLP for recapture risk, if any, as set forth in Section 7.10(a) above.

                         (5) The closing pursuant to the purchase option shall occur within ninety (90) days after the
    Limited Partners' receipt of the General Partner's written notice of exercise of a specified option (such closing date
    may occur after the Option Period, provided that the Limited Partners receive such notice on or before the last day of
    the Option Period). As a condition to closing, the General Partner shall remain the General Partner and obtain all
    consents from any lessor, governmental agency and holder of a mortgage or deed of trust on the Project, or other
    person or entity whose consent to a sale is required. Except as provided above with respect to appraisal costs, all
    costs associated with the sale of the Project (or the Limited Partners' Partnership Interest) to the General Partner,
    including, without limitation, any transfer taxes, title policy premiums, recordation costs and costs related to the
    assumption of the underlying loans, shall be shared by the General Partner and the Partnership in accord with local
    custom. The Partners acknowledge that notwithstanding anything in this Agreement to the conuary, any sale of the
    Project will be subject to the terms of the Extended Low Income Housing Use Commitment and any rules, policies
    or procedures promulgated by the Tax Credit Agency relating thereto, including but not limited to any requirements
    for a right of first refusal to a qualified non-profit organization.

                        (b)    Limited Partner Right To Require Sale.

                        (1)       The General Partner shall be obligated to consider any reasonable offer by the Limited
     Partners to purchase    the Project, or any reasonable third-party offer communicated to the Limited Partners or to
     resyndicate rhe Limited Partners' interests in the Partnership. In addition, at any time after the end of the Option
     Period, the SLP may, at its sole discretion, require the General Partner to cornmence marketing the Project with a
     broker selected by the General Partner approved by the SLP. If the Partnership, General Partner or SLP receives a
     bona fide wriuen offer to purchase the Project which the Limited Partners desire to have the Partnership accept, then
     the SLP shall send notice to the General Partner that the SLP desires the Partnership to accept the offer. Within
     sixty (60) days of its receipt of any such notice, the General Partner must notify the SLP of the General Partner's
     decision either to accept such offer on behalfofthe Partnership or to refuse such offer. Ifthe General Partner elects
     to accept such offer, the General Partner shall be required to proceed promptly to close such Fansaction in
     accordance with the terms of the offer unless otherwise instructed by the SLP at any point prior to the closing of
     such transaction. If the General Partner refuses the offer, the General Partner shall be obligated to purchase all of
     the Limited Partners' interests in the Partnership within ninety (90) days for a purchase price equal to the amount of
     Net Cash Proceeds which the Limited Partners would have been entitled to receive pursuant to Section 4.5 hereof if
      the sale of the Project had been completed under the terms of the refused offer.

                        (2)     [Reserved].

                        (c)      Limited Partner Put. Notwithstanding anything to the contrary contained herein, the ILP
     and SLP shall have the right exercisable in their sole and absolute discretion to put their re$pective interests in the
     Partnership at any time following the end of the Credit Period to the General Partner or its designee for a price equal
     to the sum of the following: (i) one thousand and No/lOOths Dollars ($1,000.00); (ii) the Limited Partners' costs and
     expenses incurred in connection with the transfer of their interests in the Partnership; and (iii) all amounts due and
     owing to the Limited Partners. Such transfer shall be made pursuant to an assignment and assumption agreement
     reasonably acceptable to the Limited Partners (which will address such matters as mutual release of the Partners and


                                                               58
     4837-4545-8969.4




CONF] DENTIAL                                                                                  PLAINTIFFS                OOOO8518
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 64 of 187




     Guarantors (subject to ongoing obligations for recapture a set forth below)) and indemnity of the Limited Partners
     from and after the effective date of such assignment and assumption and, if during the Compliance Period, the
     continuation and ratification of the guarantees of the General Partner and Guarantors for Tax Credit recapture in
     accordance with Section 3.5 and certain ongoing compliance reporting obligations with respect to the Tax Credit).

                        (d) Special Considerations Applicable to Future Developments. To the extent a General
     Partner or the Developer or any Affiliates thereof (the "Proposed Developer") plan to develop a low income
     housing tax credit project within three (3) miles of the Project, the ILP, or its designee, shall have the right of first
     refusal for thirty (30) days beginning on the date the ILP, or its designee, receives the bid package for such
     development with a tax credit award issued by the Agency to commit in writing to become the tax credit investment
     limited pafiner (or member) of such proposed project (with terms of such investment being consistent with those set
     forth in this Agreement and pricing based on that paid by PNC for similar transactions in the past 12 months), and
     the Proposed Developer shall negotiate in good faith to allow such opportunity to invesq provided, however, such
     right of first refusal shall expire if no agreement is reached within such thirty (30) day period. In addition, the
     Proposed Developer shall not take any action with respect to the development of any Tax Credit rental housing
     within three (3) miles of the Project without the Consent of the SLP, which shall not be unreasonably withheld,
     delayed or conditioned.

                                                         ARTICLE     VIII
                                           TRANSFER BY LIMITED PARTNERS

               8.1.      Comoliance With Securities Laws. No Partnership interest has been registered under the
     Securities Act of 1933, as amended, or under any state securities law. Except as set forth in this Article VIII, a
     Limited Partner may not transfer all or any part of its Partnership interest. Any transfer shall be in compliance with
     applicable federal and state securities laws. A transfer, for purposes ofthis Agreement, shall be deemed to include,
     but not be limited to, any sale, transfer, assignment, pledge, creation of a security interest or other disposition, other
     than a pledge or creation of a security interest contemplated under the terms of this Agreement; provided, however,
     that no transfer shall be deemed to have occurred for purposes ofthe restrictions on transferability under this Article
     VIII, as a result of any change in the partners of the ILP.

               8.2.      Transfer and Substitution. The ILP and/or the SLP may transfer or assign all or any part of its
     interest in the Partnership to an Affiliate of the ILP without the consent of any other Partner. Any transferee of such
     Limited Partner's interest shall promptly execute any documents reasonably necessary to effect the transfer in order
     to become a Substitute Limited Partner. The General Partner shall cooperate as requested by the transferor Limited
     Partner in facilitating such transfer.

              Transfers to non-affiliates of the Limited Partners prior to payment of all Installments owed by the ILP will
     require General Partner consent, which consent shall not be unreasonably withheld. A transferor of a Limited
     Partner interest may give its transferee the right to become a Substitute Limited Partner without the consent of any
     other Partner only after the transferee (a) adopts and approves in writing all the terms and provisions of this
     Agreement then in effect; and (b) assumes the obligations, if any, ofthe transferor to the Partnership. Any transfer
     in contravention of this Article VIII shall be void and ineffectual and shall not bind the Partnership. In the event of a
     proposed transfer of the SLP's or ILP's interest to a non-Affiliate of such Limited Partner, the General Partner shall
     not be required to make ariy material revisions to this Agreement or any ancillary documents and such Limited
     Partners shall reimburse the General Partner, Guarantor, and/or the Partnership for their reasonable out-of-pocket
     expenses incuned with respect to the transfer as provided herein.

               8.3.     Status of Transferee. A transferee of a Limited Partner interest in the Partnership who is not
     admitted   to the  Partnership as a Substitute Limited Partner shall be entitled to receive only that share of
     Distributions, and the return of Capital Contribution, to which its ffansferor would otherwise have been entitled with
     respect to the interest transferred, and shall have no right to obtain any information on account ofthe Partnership's
     transactions, to inspect the Partnership books or to vote with the Limited Partners on any matter. However, if a
     transferee and transferor jointly advise the General Partner in writing of a transfer of a Limited Partner or other
     interest in the Partnership, the Partnership shall furnish the transferee with pertinent tax information at the cnd of
     each Fiscal Year.


                                                                59
     4837 -4545-8969.4




CONFI DENTIAL                                                                                   PLA]NTIFFS                 OOOO8519
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 65 of 187




               8.4.     SLP Consent. From and after the Closing Date, no Limited Partner shall be admitted to the
     Partnership without the Consent of the SLP which Consent shall be in the SLP's sole discretion.

                                                           {,RTICLEIX

                                        CHANGES AMONG GENERAL PARTNERS

               9.1.     Withdrawal.

                        (a)      Each of the following acts shall constitute an   "Hg[tg[l!!!fue!":
                       (l)      Without the prior Consent of the SLP, the voluntary or involuntary (including, without
     limitation, by operation of law) sale, disposition, transfer, conveyance, assignment, relinquishment, withdrawal, or
     other event (removal, pledge, hypothecation, creation ofPartnership security interest not otherwise permitted by this
     Agreement, etc.) of the General Partner's interest in the Partnership or any Controlling Interest in such General
     Partner or of an interest which results in a new Person holding a Controlling Interest in such General Partner;

                        (2)    The death, adjudication of incompetency or other circumstance the result of which Rene
     O. Campos is no longer supervising the Project on behalf of the General Partner unless within ninety (90) days after
     such event a proposed successor and/or replacement shall have received the Consent of the SLP;

                        (3)      Without the prior Consent of the SLP, the voluntary or involuntary dissolution        of   a
     General Partner;

                        (4)      Without the prior Consent of the SLP, an Event of Bankruptcy with respect to any
     General Partner or with respect to the holder ofany Controlling Interest in any General Partner; or

                        (5)      The SLP's removal of the General Partner as General Partner of the Partnership.

                        (b)      Upon the occurrence of an Event of Withdrawal, such General Partner shall automatically
     cease   to be a Partner of the Partnership and, unless expressly waived in writing by the SLP at the time of the
     withdrawal and by specific reference to this provision, in addition to any and all other legal remedies which may be
     pursued by the Partners, shall automatically and without notice or action ofthe Partners, relinquish to the SLP or its
     designee,thefollowing,collectively,the..BgI!@':
                        (1)      such General Partner's entire economic interest in the Partnership;

                     (2) all unpaid fees, distributions, loans, profits or other amounts actually or allegedly due and
     owing by the Partnership and its Partners to such General Partner, the Developer, or any other Affiliate of such
     General Partner: and

                        (3)      any and all other rights, interests, credits, advantages, preferences, opportunities,
     priorities or other benefits arising from or relating to, in whole or in part   (l)   or (2) herein.

               Further, to the extent the Developer is an Affiliate of the withdrawn General Partner, the Developer shall
     relinquish all of its economic interest in the Partnership and the Project, including, but not limited to, the right to
     receive any Development Fee payable pursuant to Section 6.8 and/or the Development Agreement, and the same
     shall be included as Relinquished Interests.

               The Relinquished Interests shall be automatically transferred to the SLP or its designee and shall thereafter
     be fully and freely assignable and/or transferable in whole or in part (subject to applicable law) by the SLP (no
     Consent from any other Partner being required). The withdrawn General Partner shall remain liable for any and all
     duties and obligations such General Partner had under this Agreement even after their Partnership interest has been
     transferred to the SLP, its designee or any subsequent transferee, provided that the withdrawn General Partner shall




                                                                  60
     4837-4545-8969.4




CONF] DENT      IAL                                                                                    PLAINT]FFS_OOOOB52O
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 66 of 187




     not be liable for any duties and obligations arising subsequent to the withdrawal of the withdrawn General Partner
     and solely attributable to events occurring after the withdrawal of the withdrawn General Partner.

              Except as otherwise required by law, the SLP or its designee shall have the right, but not the obligation, to
     automatically be admitted as a General Partner upon the occurrence of such Event of Withdrawal without any
     further notice or action other than filing any required amendment to a document on file with the State and each
     remaining Partner hereby expressly consents to such transfer and to the admission of the SLP or its designee as a
     General Partner,   .




                        (c) Moreover, if the Partnership is required by law to recognize a transfer of a General
     Partner's Partnership interest not otherwise Consented to by the Limited Partners, the transferee shall not have the
     rights of a Partner, and the Partnership interest transferred shall be strictly limited to the transferor's rights to
     allocations and distributions as provided by this Agreement with respect to the transferred interest, if any, which
     allocations and distributions may be applied in the Partnership's sole discretion (without limiting any other legal or
     equitable rights of the Partnership) to satisfy in whole or in part the debts, obligations, or liabilities for damages, of
     whatever kind or nature, that the transferor or transferee of such interest may have to the Partnership, including,
     without limitation, any such debts, obligations, or liabilities for damages arising under or pursuant to this Agreement
     or any other Project Documents.

                g.2.  Oblieation To Continue. Upon the occurrence of an Event of Withdrawal as to a General Partner,
     each remaining General Partner, if any, shall have the right and obligation to continue the business of the
     Partnership, employing its assets and name, all as contemplated by the Partnership Act. Within thirty (30) days after
     they obtain knowledge of the occurrence of an Event of Withdrawal as to a General Partner, the remaining Persons
     who comprise the General Partner, if any, shall notify the SLP and the ILP of such Withdrawal.

              9.3. Withdrawal of All General Partners. If, following the occurrence of an Event of Withdrawal as to
     a General Partner, there is no remaining General Partner, the ILP and the SLP may elect to reconstitute the
     Partnership and continue the business ofthe Partnership by selecting a successor General Partner. Ifthe ILP and the
     SLP elect to reconstitute the Partnership pursuant to this Section 9.3 and admit the designated successor General
     Partner, the relationship among the then Partners shall be governed by this Agreement.

                9.4.   Interest of General Partner After Permitted Withdrawal. In the event the SLP has Consented to an
     occwrence    of an Event of     Withdrawal as to a General Partner (for the purposes of this Section 9.4, the
     'Witnarawine Genera                 '), and except as otherwise provided in Section 7.7, the Withdrawing General
     Partner hereby covenants and agrees to transfer to the remaining General Partner, ifany, to an SLP General Partner
     or a successor General Partner selected in accordance with Section 9.3, as the case may be, such portion of the
     Partnership interest of the Withdrawing General Partner as such remaining SLP General Partner or successor
     General Partner may designate, such transfer to be made in consideration ofthe payment by the transferee ofeither
     the agreed value of such Partnership interest or, if such value is not agreed to, the fair market value of such
     Partnership interest as determined by a committee of three qualified real estate appraisers, one selected by the
     Withdrawing General Partner, one selected by the transferee and the third selected by the other two appraisers so
     chosen. The portion of the Withdrawing General Partner's Partnership interest designated to be transfened in
     accordance with the provisions of this Section 9.4 shall be sufficient to ensure the continued treatment of the
     Partnership as a partnership under the Code and as a limited partnership under the Partnership Act and, for the
     purposes of Article II, shall be deemed to be effective as of the date of the Event of Withdrawal, but the Partnership
     shall not make any Distributions to the designated transferee until the transfer shall have been made. Any holder of
     any portion of the Partnership interest of a Withdrawing General Partner which is not designated to be transfened to
     the remaining or successor General Partner pursuant to the provisions of this Section 9.4 shall become a
     Supplemental Limited Partner, (i) with the same share of the Net Profits, Net Loss, Net Loss from Sale, Tax Credit,
     Net Cash Flow, Net Cash Proceeds and other Distributions to which the holder of such Partnership interest was
     entitled when held as a General Partner interest, (ii) which shall not participate in the votes, approvals or Consents of
     the Limited Partners hereunder and (iii) to the extent required by the SLP, this Agreement shall be amended in form
     and substance satisfactory to the SLP, to reflect the forgoing. The admission of any successor or additional General
     Partner shall be subject to any required Consent of any Lender or Agency and to the Consent of each of the ILP and
     thE SLP.



                                                                 61
     4837-4545-8969.4




CONFI'DENT]AL                                                                                   PLAINTIFFS_OOOO8521
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 67 of 187




                 9.5.    SLP Consent. Except as provided in Sections 7.7(b) and 9.3, from and after the Closing Date, no
       General Partner shall be admitted to the Partnership without the Consent of the SLP, which Consent shall be in the
       SLP's sole discretion and until such Person shall have agreed to be bound by this Agreement (and assume the
       obligations of a General Partner hereunder) and by all Project Documents to the same extent and under the same
       terms as each other General Partner.

                                                            ARTICLE X

                                   ACCOUNTING, RECORDS & F'INANCIAL REPORTING

                10.1. Books and Records. The General Partner shall keep the Partnership's accurate and complete
       books and records, which shall include the list of names and addresses for all Partners, this Agreement, any and all
       amendments to this Agreement, all loan documents and all first-year tenant and income certifications and lease
       documents that support the initial qualified basis. Such books and records shall be kept at the Partnership's principal
       office or at the Project or at the Property Manager's office and shall be maintained in accordance with sound
       accounting practices, the Partnership Act, and any applicable requirements of the Lenders and Tax Credit Agency
       through the later of (a) six (6) years following the expiration of the Compliance Period, or (b) the Termination Date,
       and such books and records shall be open to inspection and examination by any Limited Partner or its duly
       authorized representatives at all reasonable times upon 24 hours notice to the General Partner. All books and
       records pertaining to the first year of the Credit Period, including, but not limited to, supporting documentation for
       tenant eligibility as Qualified Tenants shall be kept in fireproof storage at the Partnership's principal office or at the
       Project or at the Property Manager's office for the period described in the preceding sentence.

                For any loan closings or conversions that occur on or after the Closing Date, the General Partner shall cause
       complete transcripts and binders (including all signatures and recording information) to be sent to the SLP within
       thirty (30) days of such closing. Such transcripts and binders may be sent on any standard electronic storage
       medium in lieu of paper documents.

                1O.2. Books of Account. The General Partner shall ensure that the Partnership's books of account are
       kept and maintained safely, accurately, completely, and on the accrual basis'

                 10.3.      Fiscal Year. The Fiscal Year shall be the calendar year (twelve (12) calendar months ending on
       December 3l st annually).

                10.4. Special Basis Adiustments. In the event of a transfer of the ILP's Partnership interest or in the
       event of a transfer by a partner or member of the ILP of such partner's or member's interest in the ILP, the
       Partnership shall elect, upon the request of the ILP, to adjust the basis of Partnership property pursuant to Section
       754 of the Code. Any adjustments under Section 743 of the Code resulting from such Section 754 election shall
       affect only the successor in interest to the transferring ILP or the transferring partner(s) or member(s) of the ILP.
       Each Par:ner will furnish to the Partnership all information necessary to give effect to any such election.

                 10.5. Bank Accounts. The Partnership shall establish and maintain an operating (checking) account for
       the Project's daily routine operations in an FDlC-insured account. Withdrawals from such account shall be made
       only in the regular course of business on such procedures deemed prudent by the General Partner, subject to the
       requirements of Articles IV and VI of this Agreement. Other accounts and reserves of the Partnership shall be
       established and maintained as specified in Section 6.5.

                10.6. Accountants. The Accountants shall prepare the audits, tax returns and other documents required
       herein and as required by the Lender and Agency. The General Partner shall furnish a copy of the accounting
       services agreement to the SLP which shall include the Accountant Addendum'

               10.7. Construction Draws. Audits. Tax Filings and Compliance. The General Partner shall cause to be
       prepared and delivered to the SLP and ILP the following information and reports, all in form and substance
        satisfactory to the SLP:




                                                                   62
        4837 -4545-8969.4




CONF   I DENT IAL                                                                                  PLAINT]FFS-O OOO8522
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 68 of 187




                           (a)   Construction Matters and Reportine.

                         (l)       Construction Consultant. The General Partner shall timely cooperate with (and cause the
       Builder, Project Architect and Property Manager to cooperate with) the Construction Consultant in the fulfillment of
       the Construction Consultant's inspection and reporting services conducted for the benefit of the Limited Partners
       and Lender (as applicable).

                         (2) Construction Draws. a 'eS!@_UIaw" shall be any request for the use of
       Development Funds occurring after the Closing Date until Final Construction Completion, and any request of
       Development Funds or casualty insurance proceeds for construction-related activities occurring after Final
       Construction Completion. The General Partner shall provide to the SLP a copy of each and every Construction
       Draw, regardless of whether the ILP's Capital Conffibution is a requested source of funding for such Construction
       Draw. The General Partner shall send each Construction Draw to the SLP at the same time it is sent to any other
       Partner, Lender, Agency or other source of Development Funds. Construction Draws may be submitted no more
       frequently than once per calendar month and may not include costs which have previously been reimbursed. Upon
       receipt by the SLP of a complete Construction Draw submission (see below), the SLP shall have ten (10) business
       days to review and either Consent and/or comment upon the Construction Draw. If the SLP issues comments on the
       Construction Draw that require action by other parties, the General Partner shall cause such actions to be taken as
       requested by the SLP within thirty (30) days of the SLP making such comments, and the General Partner shall
       receive the Consent of the SLP prior to the General Partner's submittal of any further Construction Draws.

                                 At a minimum, Construction Draws must include the following:

                                 (i)      A reconciled sources and uses Project Budget in form and substance satisfactory
                                          to the SLP and reflecting all   Development Funds and Development Costs
                                          detailed on a line-item basis:

                                 (ii)     An AIA document G702 and G703 or similar HUD form for all construction
                                          costs, signed by the General Partner and Builder, accompanied by all change
                                          orders (discussed below), and certified by the Project Architect;

                                 (iii)    A completed inspection report from the Construction Consultant approving              the
                                          work completed and costs requested on the G702 and G703 or similar HUD
                                          form;

                                 (iv)     Receipts, invoices and other supporting documents for any "soft" costs that are
                                          outside of the Construction Contract:

                                 (v)      A   date-down endorsement to the owner's Title Policy           (if not   available in the
                                          State, then a limited   title search will be acceptable); and

                                 (vi)     For the first draw following completion of all building pads or foundations, a
                                          foundation survey for any newly constructed improvements as described in
                                          Section 6.7(c).

                                 Other items the General Partner may be required to furnish to the SLP with the
                                 Construction Draw include, but are not limited to, copies of contracts and insurance
                                 policies for subcontractors, lien waivers, invoices related to purchases of consffuction
                                 materials, soil compaction testing results, concrete foundation cylinder test results and
                                 such other documentation as may be requested pursuant to Section 10.9.

                           (3)    Change Orders. Without the prior Consent of the SLP, neither the General Partner nor
       the Developer shall authorize the Partnership, the Project Architect or the Builder to make any change to the Plans
       and Specifications or modification of or reallocation of any budgeted line item (either within or outside of the
       Construction Contract) that would:



                                                                  63
        4837-4545-8969.4




CONF   I DENT IAL                                                                                 PLAINTIFFS                    OOOOB523
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 69 of 187




                                 (D         expend or reallocate funds on any line item in the Project Budget in excess of
                                            (A) for any single line item, the lesser of $75,000 or LlVo of the original Project
                                            Budget amount for such line item, or (B) $250,000 in the aggregate when
                                            combined with all prior or current changes; and/or

                                 (ii)       diminish the quality of materials, finishes or workmanship of the Project, or
                                            cause a change in the Project amenities from those set forth in the Project
                                            Documents.

                        Upon receipt by the SLP of any such change order reguest, the SLP shall have ten (10) days to
                        review and either issue Consent, denial, or comment upon the requested change. The General
                        Partner shall provide a copy of the fully executed change order to the SLP within ten (10) days of
                        receiving such Consent.

                        If at any point, the General Partner or the Developer believes that there is a probability that the
                        funds approved by the SLP for any line item of the Project Budget will be insufficient to ensure
                        completion in accordance with the Project Documents or the Project is or will be Out-Of-Balance
                        or any change order may have an adverse effect on the Project Budget, then the General Partner
                        and/or the Developer shall immediately provide written notice thereof to the SLP and there shall
                        be no payment of Development Fee until such time as the Project is back on schedule and budget,
                        as determined by the SLP.


                        (b)      Tenant Files and Compliance

                     (1) The General Partner shall provide a copy of each initial tenant file and shall cooperate
    with and assist (and shall cause the Property Manager to so cooperate with and assist) in the initial tenant file
    review, and shall cause the Property Manager to promptly cure any deficiencies in tenant files or practices and
    procedures identified during the initial tenant file review. Neither such reviews nor the existence of the right to
    make such reviews shall relieve the General Partner of its obligation (or constitute a defensg against breach of such
    obligation) to maintain the Project in compliance rvith all rules and requirements under the Code and of the Tax
    Credit Agency.

                        (2)      The General Partner shall cooperate with and assist (and shall cause the Property
     Manager to so cooperate with and assist) the SLP in making periodic reviews of the Partnership's tenant files for the
     purpose of assessing compliance with respect to the Property's leasing practices under the Code and the
     requirements of the Tax Credit Agency. During each review, the General Partner and the Property Manager shall
     make available to the SLP (either at the office of the Property Manager during regular business hours or, if so
     requested by the SLP, by sending photocopies to the SLP) all or a portion of the tenant files and leasing practices
     and procedures ofthe Property. Such reviews (or sending ofphotocopies) shall occur within three (3) business days
     following written notice by the SLP to the General Partner. The SLP expects to make reviews periodically during
     initial leasing of the Property and thereafter on an annual basis, but shall have the right to make more frequent
     reviews in its reasonable discretion. Neither such reviews nor the existence of the right to make such reviews shall
     relieve the General Partner of its obligation (or constitute a defense against breach of such obligation) to maintain
     the Property in compliance with all rules and requirements under the Code and of the Tax Credit Agency. The
     General Partner shall cause the Property Manager to cure all deficiencies in tenant files or practices and procedures
     identified by the SLP as a result of such reviews.

                         (3)     If     applicable, the General Partner shall furnish    to the SLP copies of any and all
     documentation required by any Agency in order to establish or reestablish tenant eligibility (for example, USDA-RD
     Form 1944-8).

       .                 (4)   Ifrequested by the SLP, the General Partner shall furnish to the SLP copies ofany and all
     documentation      reestablish tenant eligibility resulting from the annual recertification of tenants, which
                        to
     documentation shall be a tenant recertification. As long as no Event of Default has occurred and remains uncured,
     the SLP will make such requests no more frequently than once per Fiscal Year.



                                                                  64
     4837-4545-8969.4




CONEI DENTIAL                                                                                     PLAINTTFFS OOOO8524
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 70 of 187




                          (c)       Financial and Operatins Reoorts. As further described below, the following financial and
        operating reports shall be required during the periods described. Each reference to an "audit" shall mean an annual
        audited financial statement prepared by the Accountants in full compliance with GAAP. Each reference to
        "certified" means the Person who is the subject of the statement shall certify in writing to the Limited Partners that
        the information is current, accurate, and complete.

                          (1) Partnership. The General Partner shall cause the Partnership to submit to the SLP, the
        following reports and information :

                                   (i)      "Tax Credit Qualification Schedule" to be submitted monthly and not more than
                                            five (5) days in arrears cornmencing when the first unit in the Project is occupied
                                            and continuing until the l00%o Ocaryancy Date is achieved; once the 1007o
                                            Occupancy Date is achieved, such report shall be submitted quarterly within
                                            thirty (30) days of the end of the applicable quarter until the Termination Date.
                                            The "Tax Credit Qualification Schedule" shall report for each apartment unit the
                                            following information: unit number, tenant name, number of bedrooms,
                                            household size, initial move-in date, current lease expiration date, tenant annual
                                            gross income, the tenant rent contribution, and the approved utility allowance,
                                            together with the total number of Low Income Units qualified and the overall
                                            occupancy of the Low Income Units.

                                   (ii)     "Occupancy Report and Rent Roll" to be submitted monthly and not more than
                                            five (5) days in arrezus commencing when the first unit in the Project is occupied
                                            and continuing until the lOOTo Occupancy Date is achieved; thereafter, such
                                            report shall be due monthly within twenty five (25) days of the applicable
                                            month-end until Stabilized Occupancy is achieved; once Stabilized Occupancy
                                            is achieved, such report shall be submitted quarterly, within thirty (30) days of
                                            the end of the applicable quarter until the Termination Date. The "Occupancy
                                            Report and Rent Roll" shall contain the following information: the total number
                                            of units in service, the number of physically occupied and vacant units, and all
                                            known move-ins and move-outs (including dates). The rent roll must provide all
                                            information customarily included in this type of report in the industry, and must
                                            also specify which units are receiving Section 8 rental assistance or the like (and
                                            state both the total collected rent and the amount of rent paid by the tenant),
                                            which units are designated Low Income Units, and the utility allowance for each
                                            Low Income Unit.

                                   (iii)    "Income Statement and Balance Sheet" to be submitted monthly within twenty
                                            (20) days of the applicable month-end commencing when the first unit in the
                                            Project is occupied and continuing until Stabilized Occupancy is achieved and
                                            thereafter, such report shall be submitted quarterly, within thirty (30) days of the
                                            end of the applicable quarter until the Termination Date. The General Partner
                                            and/or Property Manager shall prepare a month-end Income Statement and
                                            Balance Sheet on the accrual basis for each calendar month: the Income
                                            Statement shall include the account detail described in Section 10.9, and the
                                            Balance Sheet shall be supported upon request of the SLP by bank and/or
                                            brokerage statements for cash accounts not held in PNC Bank, National
                                            Association.

                                   (iv)     "Quarterly Status Reports" to be submitted quarterly within thirty (30) days of
                                            the end of the applicable quarter commencing when the first unit in the Project is
                                            occupied and continuing until the Termination Date. The "Quarterly Status
                                            Repofis" shall be in form and content acceptable to the SLP and shall contain
                                            the information requested in Bxhibit 10, attached hereto, as such Quarterly
                                            Status Report may be amended or modified from time to time by the SLP.



                                                                  65
       48374545-8969.4




CONF   I DENT IAL                                                                                PLAINTIFFS                 OOOOB525
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 71 of 187




                               (v)        "Partnership Audit" for each Fiscal Year to be submitted annually by March l"
                                          of the succeeding Fiscal Year; provided, however, to the extent the Partnership
                                          does not have operating income in such Fiscal Year, a modified report
                                          acceptable to the SLP which includes certification of each Partnership account
                                          shall be permitted. The Accountants shall prepare a draft of the Partnership's
                                          audited financial statements in accordance with the Accountant Addendum (the
                                          'Pgrtnership Audi!"). The General Partner shall cause the Accountants to send
                                          a complete copy of the Partnership Audit directly to the SLP within the time
                                          period described in the preceding sentence. The General Partner shall cause the
                                          Accountants to finalize and resend the Partnership Audit within five (5) business
                                          days upon receiving Consent thereto from the SLP.

                               1vi)       "Partnership. Tax Returns" for each Fiscal Year to be submitted annually by
                                          Februarv 15'ofthe succeedins Fiscal Year. The General Partner shall cause the
                                          Accouniants to send directly io the SLP a complete draft of the Partnership's
                                          federal and state tax returns for the previous calendar year and all accompanying
                                          schedules, which must include the K-ls presented on a tax basis and any state
                                          analogs thereto. The tax returns must be prepared by the Accountants in
                                          compliance with the Accountant Addendum. The General Partner shall not file
                                          such tax return until the SLP shall have given Consent to the specific documents
                                          for filing.

                        (2)    General Partner. The General Partner shall submit to the SLP, the following reports and
     information:

                               (i)        "Certified Annual Financial Statements"      for   each General Pafiner    to   be
                                          submitted annually by March 1" commencing with the Fiscal Year in which the
                                          Closing Date occurs and continuing thereafter until the Termination Date. Such
                                          statements shall include sufficient details about the accounts underlying those
                                          shown on the statements, together with a balance sheet and reasonable
                                          supporting documentation as the SLP may request, which may include, but is
                                          not limited to, copies of bank and/or brokerage statements, promissory notes,
                                          and payment schedules for receivables.

                               (iD        "Certified Schedule of Contingent Liabilities" for each General Partner to be
                                          submitted annually by March 1" commencing with the Fiscal Year in which the
                                          Closing Date occurs and continuing thereafter until the Termination Date.

                        (3)    Guarantor. The General Partner shall cause each Guarantor to submit to the SLP, the
     following reports and information:

                               (i)        "Certified Annual Financial Statements" for each Guarantor to be submitted
                                          annually by June 1" commencing with the Fiscal Year in which the Closing Date
                                          occurs and continuing thereafter until the Termination Date. For a corporate
                                          Guarantor, such Annual Financial Statement shall be an Audited Financial
                                          Statement and for each individual Guarantor, such Annual Financial Statement
                                          shall be certified. Such statements shall include sufficient details about the
                                          accounts underlying those shown on the statements, together with a balance
                                          sheet and reasonable supporting documentation as the SLP may request, which
                                          may include, but is not limited to, copies of bank and/or brokerage statements,
                                          promissory notes, and payment schedules for receivables.

                                (ii)      "Certified Schedule    of Contingent    Liabilities" for each Guarantor to      be
                                          submitted annually by June 1" or within sixty (60) days of request by the SLP
                                          commencing with the Fiscal Year in which the Closing Date occurs and
                                          continuing thereafter until the Termination Date.

                                                                66
     4837-4545-8969.4




CONFI DENT     IAL                                                                            PLAINT]FFS_OOOO8525
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 72 of 187




                                    (iii)    "Schedule of Real Estate Owned" for each Guarantor to be submitted annually
                                             by June l"t or within sixty (60) days of request by the SLP commencing with the
                                             Fiscal Year in which the Closing Date occurs and continuing thereafter until the
                                             Termination   Date. Each required schedule of real estate owned shall be
                                             prepared using a form similar to that accepted by the Limited Partners on or
                                             before the Closing Date.

                            (d)     Proiected Distributions. By October    l" of each Fiscal   Year, the General Partner shall
        send to the SLP an estimate prepared by the General Partner or the Accountants of each Limited Partner's respective
        share of Distributions, Tax Credit, Net Cash Flow, and Net Profit or Loss and, if applicable, Net Profit from Sale,
        Net Loss from Sale and Net Proceeds from Sale, of the Partnership for income tax pu4roses for the current Fiscal
        Year.

                           (e) Tax Credit Reportins. In addition to the other reporting requirements set forth in this
        Agreement, the General Partner shall send to the SLP copies of any material correspondence or filings sent to or
        received from any Lender, Agency or governmental authority pertaining to the Partnership or the Property,
        including, but not limited to, the following items:

                            (l)     A   copy of any Tax Credit monitoring report forwarded to the Tax Credit Agency,
        including, but not limited to, any certification in accordance with Treasury Regulations 1.42-g and any other annual
        Tax Credit compliance certificate which makes representations as to the status of Tax Credit compliance of the
        Partnership or the Project, or to the extent such a compliance certificate is not required by the Tax Credit Agency, an
        annual statement representing the status of Tax Credit compliance in a form acceptable to the SLP;

                            (2)     Copies of any notices pertaining to Governmental Regulations or Environmental Laws,
        notices of any default by the Partnership under any Project Document, any site inspection reports from any Lender
        or Agency, notices of any noncompliance on Form 8823 or similar forms, or notices of default in payment of any
        Permitted Loan, taxes, interest or any other obligation; and

                        (3) Copies of any Real Estate Assessment Center (REAC) inspection reports received with
       respect to the Partnership or the Project as well as any notices from HUD, including, but not limited to, any
       management review findings, Section 8 HAP contract inspections, and/or notices pertaining to HUD regulatory
        agreements,   if any.

                           (D Lender & Asencv Reportine. With respect to any correspondence or filings sent by or on
       behalf of the Partnership to any Irnder, Agency or governmental authority, final drafts of such correspondence or
       filings shall be submitted to the SLP at least fifteen (15) business days prior to the required submission or filing date
       thereof, and the General Partner shall obtain the Consent of the SLP prior to submitting or filing the same, except as
       otherwise permitted in Section 3.5(a)(6) and Section 3.5(a)(12): provided, however, that any such submissions or
       filings that are already required to be submitted to both the SLP and the Lender, Agency or governmental authority,
       as applicable, under this Agreement shall be subject to the timeframes set forth in the applicable provisions of this
       Agreement.

                  10.8.     Insurance. Prior to the expiration date for each Partnership insurance policy required to        be
       maintained pursuant to Exhibit 6 and Section 6.5(b), the General Partner shall deliver (or shall cause its insurance
       agent to deliver) evidence of a comparable new or replacement insurance policy to the SLP by certificates of
       insurance on ACORD forms (ACORD 28 version 20O3l1O for casualty; ACORD 25 for general liability) and
       evidence of premium payment. Upon request by the SLP, the General Partner shall also provide a copy of any
       insurance policy, including all endorsements thereto, bound by the General Partner on behalfofthe Partnership.

                10.9. Operating and Capital Expenditure Budgets. By November I" of each Fiscal Year, the General
       Partner shall deliver to the SLP an annual operating budget of revenues and expenses for the Partnership for the
       following Fiscal Year that shall include all operating revenues and expenses applicable to the Project, including the
       following accounts detailed in the Accountant's Addendum. By November l" of each year, the General Partner
       shall send to the SLP a budget of Capital Expenditures for the subsequent Fiscal Year which shall include a


                                                                  67
        4837-4545-8969.4




CONF   I DENT IAL                                                                                PLA]NTIFFS_OOOO8527
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 73 of 187




       description of the item or service, anticipated date of purchase or completion of service, total cost, reason for
       expenditure and anticipated source of funds (e.g., operations or replacement reserves).

                  10.10. Other Management Reporting. Miscellaneous. Within ten (10)          days after each of the following
       becomes available to the Partnership, the General Partner shall send to the SLP:

                          (a)    a copy of any updated, renewed or new Project management plan, including any new or
       revised operating and maintenance plan for environmental conditions;

                          (b) notification ofany fact which has or may have a material adverse effect upon the Project,
       the Partnership, the General Partner, the Limited Partner or Guarantor, or which could matedally and adversely
       affect Distributions of cash or allocations of profits, losses or Tax Credit to any Limited Partner, or any other such
       matters as may be material to the existence or operation ofthe Partnership, its business or the Project, including, but
       not limited to, events adversely affecting habitability, safety, occupancy or the use and enjoyment ofthe Project by
       tenants;

                         (c) copy ofany notice ofaudit, inspection, management or financial review report, inquiry or
       investigation of the Partnership or Project by the Tax Credit Agency or other regulatory body and copies of all
       subsequent correspondence with respect to such audit, inquiry or investigation;

                         (d) any update of applicable utility allowances for the computation of maximum-allowable
       Tax Credit rents paid by the tenants; and

                          (e)      not more than ten (10) business days after the later of(i) the real property tax due date, or
       (ii)the date the real property taxes are paid, written evidence in a form acceptable to the SLP that the real property
       taxes for the Project have been paid.

                  10.11. Reoortins Defaults.

                          (a)       Ifthe General Partner fails to deliver, or cause to be delivered, to the SLP the documents
       required by Section 10.7(a), Section 10.7(c), Section 10.7(e), Section 10.7(f) or Section 10.9 within the time periods
       set forth in said Sections, or fails to perform (or cause to be performed) any requirement made under Section
       10.13(b) (individually and collectively, a'Beporti$ Defau!g'), the General Partner and/or Cuarantor shall, upon
       receipt of an invoice from the SLP and assuming that no Limited Partner has caused such delay, pay as damages the
       sum of $100 per day per report due pursuant to Section 10.7(c), commencing on the first day after the date the report
       was due and ending on the date the report in question is received by the SLP (the "Bgpgfgigs Damageg"). No
       notice or warning of such reporting delinquency shall be required and, if notice or warning is given by the SLP, such
       notice shall not affect the date the report in question was due or the amount of Reporting Damages owed to the ILP.
       If the General Partner and/or Guarantor fail to pay, any amount of such Reporting Damages not so paid shall be
       deducted against such Section 4.2 andlor 4.5 payments or distributions otherwise due to the General Partner, the
       Guarantor and/or their Affiliates. Further, all Partners hereby expressly consent to the exercise by the SLP of
       collecting payment of such Reporting Damages from any Capital Contributions to be funded by the ILP and/or from
       Partnership reserves.

                          (b)     If a Reporting Default   occurs with respect to Section 10.7(c) and such default is not cured
       within fifteen (15) days, the SLP may by written notice instruct the General Partner to change the Accountants, and
       the General Partner shall cause the Partnership to promptly terminate the Partnership's engagement of the
       Accountants and appoint a replacement acceptable to the Limited Partners. If the SLP notifies the Partnership that
       the Accountants are to be replaced, and if within thirty (30) days of such notice the General Partner fails to cause the
       Partnership to replace the Accountants with a firm satisfying the terms of the preceding sentence, then the SLP shall
       appoint replacement Accountants of its own choosing. All Partners hereby grant to the SLP a special power of
       attorney, irrevocable to the extent permitted by law, coupled with an interest, to so appoint replacement Accountants
       and to do anything else which in the view ofthe SLP may be necessary or appropriate to accomplish the purposes of
       this Section 10.11. The General Partner shall immediately furnish to such replacement Accountants all
       documentation and other information necessary to prepare such statements, returns, forms and reports.



                                                                  68
       4837-4545-8969.4




CONF   I DENT IAL                                                                                 PLAINTIFFS                 OOOOB52B
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 74 of 187




                       (c) Any failure of the Partnership and General Partner to provide documents or other
     information required according to Section 10.7 to the ILP and/or the SLP for two (2) consecutive periods for each
     applicable report by the due dates therefor and the General Partner shall not have cured such default within ten (10)
     business days following notice thereof from the ILP or the SLP, shall constitute grounds for the removal of the
     Property Manager pursuant to Section 6. I   l.
              10.12.     Elections.

                         (a)      With respect to all depreciable assets for which cost recovery deductions are permitted,
     the Partnership shall, so far as permitted by the provisions of the Code, depreciate its residential rental property, site
     improvements and personal property costs, respectively, over 27.5 years (straight-line), 15 years (1507o declining
     balance) and 5 years (200Vo declining balance). For purposes offinancial accounting in accordance with generally
     accepted accounting principles, the Partnership shall depreciate its residential rental property, site improvements and
     personal property costs, respectively, over 40 years, 20 years and l0 years.

                         (b)      Subject to the provisions of Section 10.4, all other elections required or permitted to be
     made by the Partnership under the Code shall be made by the General Partner in such manner as will, in the opinion
     ofthe Accountants and the SLP, be most advantageous to the ILP but shall not create additional obligations on the
     part of the General Partner.

              10.13.     General Terms and Provisions of Article X.

                         (a)    Expenses. All books, records, reports and other such duties and obligations of the
     Partnership, General Partner, Guarantor and their Affiliates set forth in this Article X shall be completed in form and
     substance reasonably acceptable to the SLP, and the costs related thereto shall be an expense of the Partnership
     unless otherwise stated therein.

                         (b)    Other Requests of the SLP. In addition to the stated requirements of this Article X, the
     General Partner shall be required to provide any other information or documentation reasonably requested by the
     SLP related to the Project, the Partnership or its Partners. The General Partner shall cause any applicable Person to
     cooperate as necessary in order to fulfill any such requests of the SLP, and such cooperation includes access to and
     cooperation of their respective employees, agents, representatives, books and records during normal business hours.

              10.14. Compliance With Other   Interested Parties. The requirements of this Article X are specific to the
     needs and requirementsof the Limited Partners. If the reporting requirements herein are different than requirements
     imposed by any Lender or Agency, compliance with the requirements of this Agreement does not nullify the
     obligation of the Partnership, the Partners and their Affiliates to comply with the distinct and enforceable
     requirements ofeach Lender and Agency.

                                                          ARTICLE XI

                                            TERMINATION AND DISSOLUTION

              1   1.1.   Dissolution. The Partnership shall be dissolved upon the earliest to occur of the following:

                         (a)      An Event of Withdrawal with respect to a sole General Partner, unless the Partnership is
     continued in accordance with Section 9.3:

                         (b)      The Termination Date; or

                         (c)    The Sale of the Project other than pursuant to a contract of sale in which the purchase is
     to be paid over a period ofmore than one (1) year.

              In no event shall the Partnership terminate if such termination would result in a violation of any law,
     regulation or regulatory agreement to which the Partnership is bound.


                                                                 69
     48374545-8969.4




CONFI DENT]AL                                                                                   PLAINTIFFS                 OOOO   8529
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 75 of 187




                11.2.      Distribution of Assets, Upon dissolution of the Partnership, the General Partner (or, if there is no
       General Partner then remaining, such other Person(s) designated by the Limited Partners or the Person(s) designated
       by the court in ajudicial dissolution) shall take full account ofthe Partnership's assets and liabilities, shall liquidate
       th" urrrB as promptly as is consistent with obtaining the fair value thereof, and shall apply and distribute the
       proceeds therJfrom, after payment of the debts and obligations of the Partnership (including fees and any interest
       bwed to the Partners), in accordance with the Capital Account balances (after taking into account all adjustments to
       Capital Accounts). In the event that a General Partner has a negative balance in its Capital Account following the
       liquidation ofthe Partnership or such General Partner's interest therein, after taking into account all Capital Account
       ud.lutt       for the Partnership taxable year in which such liquidation occurs, such General Partner shall pay to the
                "ntt in cash an amount equal to the negative balance in such General Partner's Capilal Account (unless
       Partnership
       applicable State laws do not require such payments from a General Partner upon liquidation of the Partnership)'
       Suctr payment (if required) shallbe made by the end of such taxable year (or, if later, within ninety (90) days after
       the dataof such liquidation) and shall, upon liquidation of the Partnership, be paid to recourse creditors of the
       Partnership or distributed to other Partners in accordance with the positive balances in their Capital Accounts.




                Upon liquidation of the Partnership, the ILP shall not be obligated to restore any deficit balance in its
       Capital Account. However, if an allocation of Net Losses, or any item thereof, to the ILP would cause the ILP to
       have a Capital Account deficit in excess of its share of Partnership Minimum Gain plus its share of Partner
       Nonrecourie Debt Minimum Gain in any Fiscal Year, the ILP may elect in its sole discretion by written notice (the
       ..DBg-Notice") to the Parrnership to obligate the ILP to restore a negative balance in its Capital Account in
       u.*rOu* *lth the prior paragraph up to the amount specified in such DRO Notice; provided, however, the ILP's
       obligation to restore any d!ficit balance in its Capital Account shall be adjusted at the end of each year, following
       delivery of the DRO Notice, ro an amount equal to the lesser of (a) the dollar amount set forth in the DRO Notice, or
       (b)the difference between (i)the ILP's deficit Capital Account balance at the end of such year and (ii)any
       i{lnimum Gain then allocable to the ILP. The DRO Notice automatically shall be deemed to constitute a duly
       adopted amendment to the Partnership Agreement without any further action by any party. Such DRO Notice must
       be defivered to the Partnership on or before the last date on which such DRO Notice will create a valid restoration
       obligation for the Fiscal Years(s) for which it is intended to be effective under the provisions of Sections
        l.T0?-l16x2xii)(c), 1.704-l(bX2XiD(h), or any other applicable section(s) of the allocation regulations under
       Section 704 of the Code. Nothing contained herein shall obligate the ILP to issue a DRO Notice.

                Notwithstanding anything to the contrary contained herein, any fee payments, loan repayments, return of
       capital or distributions otherwise payable or distributable to the General Partner or any Affiliate thereof under
       S;tions 4.2,4.5, and/or I 1.2 shall be paid to the ILP to the extent of any unpaid amounts (including accrued interest
       thereon) owed under Section 3.5, and shall be treated as being first paid or distributed to the General Partner, and
       then paid by the Partnership on behalf of the Oeneral Partner to the ILP.

                 If at the time of liquidation the General Partner or other liquidating Person(s) shall determine that an
       immediate sale of part or af of the Partnership assets would cause undue loss to the Partners, the liquidating
       person(s) may, in oidet to avoid loss, either defer liquidation and retain all or a portion ofthe assets or distribute all
       o, u pottion ofthe assets to the Partners in kind. In the event that the liquidating Person(s) elect to distribute such
       assets in kind, the assets shall first be assigned a value (by appraisal of a professionally qualified appraiser) and the
       unrealized appreciation or depreciation in value ofthe assets shall be allocated to the Partners' Capital Accounts' as
       if such asseiJhad been sold, in the manner described in Article IV, and such assets shall then be distributed to the
       Partners as provided herein.

                                                            ARTICLE XII

                                                     AGENCY REGULATIONS

                 In addition to the obligations and commitments contained in this Agreement and so long          as any of the
        Agency obligations or commitments is in effect, the General    Partner covenants  to act in accordance with the Project
        Documents and    to cause the Partnership to comply   with the rules imposed by  the  Tax  Credit Agency, to the extent
        such rules or requirements do not conflict with the requirements under Secdon 42 of the Code.


                                                                    70
        4837-4545-8969.4




CONF   I DENT IAL                                                                                   PLAINTlFFS_OOOOB53O
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 76 of 187




                                                            ARTICLE     XIII
                                                          MISCELLANEOUS

                   13.1. Notices. Notices to any Partner shall be sent to the address(es) of that Partner set forth in
       Exhibit 2. Any Partner may require notices to be sent to a different address by giving notice thereof to all of the
       other Partners. All notices or other communication required or permitted hereunder shall be in writing, and shall be
       deemed to have been given on (i) the third (3d) day after deposit in the United States mail, postage piepaid, (ii) the
       first (1't) day after deposit with Federal Express or similar overnight delivery service, or (iii) delivery if delivered
       personally.

                 13.2.   Entire Agreement. This Agreement constitutes the entire agreement among the parties and
       supersedes any  prior agreement or understanding among them respecting the subject matter of this Agreement. In
       addition, nothing in this Agreement is meant to nor shall be deemed to, create an agency relationship between the
       Limited Partners.

                 13.3. Joint and Several Obligations. If there shall be more than one General Partner at any time, the
       obligations of the General Partner hereunder shall be the joint and several obligations of each Person comprising the
       General Partner. Except as provided herein, such obligations shall survive the removal of, or an Event of
       Withdrawal by, a General Partner from the Partnership.

                13.4. Consents and Approvals. Unless otherwise expressly provided to the contrary in this Agreement,
       under any circumstance in which a provision of this Agreement requires or otherwise contemplates the approval,
       con$ent, election, requirement or determination of the ILP or the SLP with respect to any matter, such approval,
       consent, election, requirement or determination shall be at the sole discretion of the ILP or the SLP, as the case may
       be, and shall be effective only if given or made in writing.

                13.5. Headings. All Article and Section headings in this Agreement are for convenience of reference
       only and are not intended to qualify the meaning of any Article or Section.

                13.6. Certain Provisions. If the operation of any provision of this Agreement would contravene the
       provisions of the Partnership Act, or would result in the imposition of general liability on the Limited Partner, such
       provision shall be void and ineffectual.

               13.7. Saving Clause, If any provision of this Agreement, or the application of such provision to any
       Person or circumstance, shall be held invalid or unenforceable, neither the remainder of this Agreement nor the
       application   of    such provision   to Persons or circumstances other than those as to which it is held invalid or
       unenforceable shall be affected thereby.

                13.8. Pronouns and Plurals. All pronouns and any variations thereof shall be deemed to refer to the
       masculine, feminine, neuter, singular, or plural as the identity of the Person or Persons may require.

                 13.9. Binding Aereement. This Agreement shall be binding upon, and inure to the benefit of, the parties
       hereto, their successors, heirs, legatees, devisees, assigns, legal representatives, and personal representatives, except
       as otherwise provided herein.


                13.10. Remedies Not Exclusive. The General Partner and Guarantor acknowledge and agree that the
       ILP's and/or SLP's exercise or restraint from exercising their respective rights and remedies under any provision
       hereof shall in no way impair, impede, modify, or delay the duties, obligations, or liabilities of the Partnership,
       General Partner or Guarantor under any other provision of this Agreement.

                 13.I l. Counterparts. This Agreement may be executed in several counterparts, and all so executed shall
       constitute one agreement, binding on all the parties hereto, even though all parties are not signatories to the original
       or the same counterpart. Any counterpart which has attached to it separate signature pages, which altogether contain
       the signatures of all parties whose signature thereon are required, shall for all purposes be deemed a fully executed



                                                                   7l
       4837-4545-8969.4




CONF   ] DENT IAL                                                                                PLATNTTFFS_OOOO8531
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 77 of 187




     instrument. Delivery of a manually executed counterpart to this Agreement or delivery of a copy of such manually
     executed counterpart by email or facsimile transmission shall each constitute effective delivery of such counterpart.
     Any party delivering a copy of such manually executed counterpart of this Agreement by email or facsimile
     transmission shall promptly thereafter deliver the manually executed counterpart, provided that any failure to do so
     shall not affect the validity of the copy of the manually executed counterpart delivered by email or facsimile
     transmission.

               13.12. Governine Law. Jurisdiction    and Venue. This Agreement shall be governed by and construed in
     accordance with the Iaws of the State, exclusive of its conflict of laws principles. Each of the undersigned
     irrevocably (i) agrees that any suit, action or other legal proceeding arising out of this Agreement or any of *le
      transactions contemplated hereby shall be brought in the courts of either the State of Texas or the Commonwealth of
     Pennsylvania; (ii) consents to thejurisdiction of each such corut in any suit, action, or proceeding; and (iii) waives
      any objection which he or it may have to the laying of venue of any such suit, action or proceeding in each of such
     courts. Each ofthe undersigned expressly aglees that the right to remove any suit, action or other legal proceedings
     arising out of this Agreement or any of the transactions contemplated hereby to federal court has not been waived.
     Each of the undersigned waives any right it may have to assert the doctrine of forum non conveniens or similar
     doctrine with respect to any such suit, action or proceeding in each ofsuch courts and such provisions are intended
     to be mandatory and not permissive thereby precluding the possibility of any such suit, action or proceeding in any
     jurisdiction other than as specified in this paragraph.

               13.13. No Third-Partv Beneficiary. No creditor or other third party having dealings with the Partnership,
     other than the Bridge Lender, shall have the right to enforce the right or obligation of any Partner to make Capital
     Contributions or loans or to pursue any other right or remedy hereunder or at law or in equity, it being understood
     and agreed that the provisions of this Agreement shall be solely for the benefit of, and may be enforced solely by,
     the parties hereto and their respective successors and assigns. None of the rights or obligations of the Partners
     herein set forth to make Capital Contributions or loans to the Partnership shall be deemed an asset of the Partnership
     for any purpose by any creditor or other third party, other than the Bridge Lender, until such Capital Contribution is
     made or loan is advanced nor may such rights or obligations be sold, transferred or assigned by the Partnership or
     pledged or encumbered by the Partnership to secure any debt or other obligation ofthe Partnership or ofany ofthe
     Parrners, other than the Bridge Lender. Without limiting the generality of the foregoing, a deficit Capital Account of
     a Partner shall not be deemed to be a liability of such Partner nor an asset or property of the Partnership,


                                             ISIGNATURE PAGE TO FOLLOW]




                                                               72
      4837-4545-8969.4




CONF I DENT     IAL                                                                           PLAINT]FFS_OOOOB532
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 78 of 187




                 IN WTTNESS WHEREOF, the parties hereto have executed this Agreement as of the date first above
         wrinen, and declare under penalty of perjury that they have examined the foregoing Amended and Restated
         Agreernent of Limited Partnership, and, to the best of their knowledge and belief, it is true, conect and conrplere.

                                                                      CENERAL PARTNER:

                                                                      2013 Travis Oak Creek CP, LLC



                                                                               By:



                                                                      ORIGINAL LIMITED PARTNER:



                                                                                      -Campos,
                                                                            Rene O.              ind;f idually


                                                                      DEVELOPER (for the purposes of acknowledging and
                                                                      agreeing to this Agreehent and not as a partner):

                                                                      2013 Travis Oak Creek Developer, Inc.



                                                                                By,




          4837-4545-8969 4




CONF   I DENT fAL                                                                                     PLAINTIFFS                OOOOB533
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 79 of 187




         srArE   or'Tb.Y/+S        .         )
                                             ,, D,

         couNrY     or bs.cLt4r=             )



                This instrument was acknorvledged before me on the d?^y of lvtay, 2014 by Rene O. Campos, as
         (a)Manager of 2013 Travis Oak Creek CP, LLC, the General Partner, (b)the Original Limited Partner, and
         (c) President of Travis Oak Creek Developer, Inc', the Devel


                                                              Nothry Publ
                               REED A STANOLY
                             My Commission Expitrs            My Commission Expires:
                                 April 23, 2018




          4837-4545-8969.4




CONF   I DENT IAL                                                                      PLAINTIFFS_OOOOB534
          Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 80 of 187




       ILP:

       PNC BANK. NATIONAL ASSOCIATION


       Byl


       SLP;

       COLUMBIA HOUSING SLP CORPORATION




       "r,
        -  /r/*:t(.?,&fu
                    piliae'tt-
               w.ndy B"dq     siniot%i




       STATE Of     Y-e.    '\.r"?,     '
       COLNTY gg          Y.-ffprsanJ

               This instrumenl rvas acknorvledged before me on the .3,3 day of May, 2014 by Wendy 8. Bade, as Seuior
       Vice President of (a) PNC Bank, National Association, and (b) Columbia Housing SLP Corporation.




                                                         My Commission   Expites:/SQlf--




       4837-454s-8969.4




CONFI DENTIAL                                                                              PLAINT]FFS_OOOO8535
          Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 81 of 187




                                      PROPERTY MANAGER ACKNOWLEDC VTENT

                The undersigned Propeny Manager for the Project acknowledges and agrees to be bound by the terms of
      Sections 6. I l, 6. l3 and 10.7 of the Anrended and Restated Agreement of Limited Partnership of 2013 Travis Oak
      Creek, LP, dated as of May 23,2014 (the "Aggemenl"), and, additionally, if and to the extent the undersigned
      property Manager is an Affiliate of a General Partner of the Partnership, then the undersigned Property Manager
      also acknorvledges and agrees to be bound by the provisions of the Agreement which specifically reference and
      relate to the Property Manager.

               Capitalized terms used but not defined shall have the meanings set forth in Article II of the Agreement,

                                                                 PROPERTY MANAGER:


                                                                 EUREKA MULTIFAMILY CROUP, L.P.

                                                                                       ily Group GP, Inc.




       48374545-8959.4




CONFI DENT]AL                                                                                    PLAINTIFFS               OOOOB536
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 82 of 187




                                             SCHEDULE TO
                                     AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP


                         Term                                     Description
     Accountants                   CohnReznick LLP
     Architectural Contract        The Standard AIA Form Agreement between Owner and Architect dated
                                   July 15, 2013, entered into by and between the 2007 Travis Heights, LP
                                   and the Project Architect, as assigned to the Partnership on or about the
                                   date hereof.
     Bridge Loan                   The loan obligation incurred by the Partnership from PNC Bank, National
                                   Association (the "Bridge Lender") in the maximum principal amount of
                                   $11,425,000 on such terms and conditions which shall have received the
                                   Consent of the SLP.
     Builder                       Weis Builders. Inc.
     Carrvover Allocation           $2,000,000 per annum
     City Mortgage Loan             The mortgage loan to the Partnership from the Austin Housing Finance
                                    Corporation (the "e!8-Mg4ggre_!S4g!eS") in the maximum principal
                                    amount of $2,000,000, to be secured by a mortgage or deed of trust and
                                    on such terms and conditions as are set forth in the documents related
                                    thereto (collectively, the "Citv Mortease Lo-an Do         '), all of the
                                    terms of which shall have received the Consent of the SLP.
     Completion Date                March l" 2016
     Construction Consultant        Betzler and Comoany
     Construction Contract          The Standard AIA Form of Agreement between Owner and Contractor
                                    dated May 21, 2014, by and between the Partnership and the Builder
                                    which provides for a guaranteed maximum price of $32,703,003, in form
                                    and substance acceptable to the SLP. The Construction Contract must be
                                    secured by lOOTo payment and pertbrmance bonds in form and substance
                                    acceptable to the SLP from a bonding company reasonably acceptable to
                                    the SLP.
     Delivery Percentages           2015            29.82Vo
                                    2016-2024        lOUVo
                                    2025            1007o less first vear Dercentase
     Developer                      2013 Travis Oak Creek Developer. Inc.
     Development Agreement          Development Agreement dated on        or about the date hereof by    and
                                    between the Partnership and the Developer.
     Environmental Reports          The phase I environmental report prepared by Terracon Consultants, Inc.
                                    dated March 28,2014; the geotechnical report prepared by ECS Texas,
                                    LLP dated April 3. 2014.
     First Mortgage Loan            The mortgage loan to the Partnership from PNC Bank, National
                                    Association (the "First Mortsage Lender") in the maximum principal
                                    amount of $27,300,000, to be secured by a mortgage or deed of trust and
                                    on such terms and conditions as are set fonh in the documents related
                                    thereto (collectively, the "First Mortgage Loan Documents"), all of the
                                    terms of which shall have received the Consent of the SLP.
     Forecasted Tax Credit          2015             $596.279
                                    2016,2024        $l,999,800
                                    2025             $   l,403,521




     4837 -4545-8969.4




CONFI DENTIAL                                                                      PLAINTIFFS_OOOOB537
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 83 of 187




       GP Predevelopment Loan      lhe loan to the Partnership from the General Partner in the maximun
                                   rrincipal amount of $1,000O00, for payment of certain predevelopment
                                   rxpenses, on such terms and conditions as are set forth in the documentr
                                   elated thereto (collectively, the "GP Predevelooment Loan Documents")
                                   rll of the terms of which shall have received the Consent of the SLP.

       HAP Contract                The 20-year Housing Assistance Payments Contract executed by HUD, as
                                   assigned to (or assumed by) the Partnership, providing rental assistance to
                                   170 Low Income Units in the Project with an effective term through June
                                   1.2434.
       ODG Can                     $3,080,542
       Ooeradns Reserve Amount     $ 1.529. 143
       Orieinal Asreement          Asreement of Limited Partnership dated January 3,2013.
       Original Certificate        Certiticate of Limited Partnership filed with the Secretary    of   State of
                                   Texas on Januarv 3. 2013.
       Permitted Loan              Collectively, the First Mortgage Loan and the City Mortgage Loan,        as
                                   described in this Schedule.
       Place of Business           3001 Knox Street, Suite 400
                                   Dallas, TX75205
       Placement In Service Date   December 31. 2015
       Project Architect           Craycroll McElroy Hendryx LLC (or Bercy Chen Studio LP, with respect
                                   to the Proiect pavilion only)
       ProDerty Manager            Eureka Multifamilv Grouo. L.P.
       Registered Agent            2001 Agency Corporation
                                   14160 Dallas Parkway, Suite 800
                                   Dallas. TX75254
       Seller Loan                 The mortgage loan to the Partnership from the 2007 Travis Oak Creek,
                                   LP (the 'Sg[cr._I€!t!gt") in the maximum principal amount of
                                   $7,330,000, to be secured by a mortgage or deed of trust and on such
                                   terms and conditions as {ue set forth in the documents related thereto
                                   (collectively, the "Seller Loan Documents"), all of the terms of which
                                   shall have received the Consent ofthe SLP.
       Tax Credit Price            $0.9350




       4837 -4545-8969.4




CONF   ] DENT IAL                                                                   PLAINTIFFS                   OOOO8538
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 84 of 187




                                                              EXHIBIT    T


                                                REAL PROPERTY DESCRIPTION

       The property is that which is listed in the Title Policy.




                                                               EXHIBIT   I
       4837-4545-8969.4




CONF   I DENT IAL                                                            PLAINTIFFS   OOOO8539
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 85 of 187




                                                           EXHIBIT   2

                            PJ,RTNERS' CAI'ITAL CONTRIBUTIONS AND INTERESJS.

                                                        As of May 23,2014

                                                                                     Percentage Interest
     General Partner                            Capital   Contributiols              in Class of Partners

     2013 Travis Oak Creek GP, LLC                          $100                                               Vo

     3001 Knox Street. Suite 400
     Dallas. TX 75205


                                                                                      Percentage Interest
     SLP                                        Capital   Contributions              in Class of Partners

     Columbia Housing SLP                                  $10                               IOOVo
     Corporation
     l2l S.W. Morrison Street, Suite 1300
     Ponland, Oregon 97 204-31 43

                                                                                                        Percentage
                                                                                                          Interest
                                                   Agreed-to                        Capital
                                                                                Paid-In                 in Class of
     LP                                       Capital   Contribution            Contribution*            Partners

     PNC Bank. National   Association             $18,698,130                     $2.804.720                IOOVo
     l2l S.W. Morrison Street, Suite 1300
     Portland, Oregon 97 204-3 | 43

     *Paid-in Capital Contribution as of the date of this Exhibit 2. Future Capital Contributions are subiect to adjustment
     and are due at the times and subject to the conditions set forth in the Agreement to which this Exhibit 2 is attached.




                                                            EXHIBIT   2
      4837-454s-8969.4




CONFI DENT       IAL                                                                          PLAINT]FFS                OOOO854O
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 86 of 187




                                                                  EXHIBIT 3



                                        GENERAL PARTIYER'S FUNDING CERTIFICATE


       For [draws subsequent to closing for First] lSecond] [Third] [Final] Installment. lMust be on Partnership
                                                                   letterheadl

     srArEoF                              I
                                          , ss.
     COUNTYOF                             )



                                                                  AFFIDAVIT

                I,      Rene O. Campos, as Manager         of the Ceneral Partner defined below, being first duly sworn on   oath,
     depose and say that:
                                                  [to be included in each Affidavit delivered]

                I   .        I am the Manager of3 Travis Oak Creek GP, LLC (he ' Genera!-partnef"), a Texas limited
                                                     201
     liability company and the sole general partner of 2013 Travis Oak Creek, LP    (the'P@gg[jg"), a limited
     partnership organized and existing under the laws of the State ofTexas.

                2.           I am fully familiar with all of the   General Partner's and the Partnership's business and financial
     atTairs, including, without     limiting the generality of the foregoing, all of the matters herein described.

              3.        This Affidavit is made and delivered for the purpose of, among other things, inducing the
     Columbia Housing SLP Corporation and PNC Bank, National Association (collectively, the "Ligqj!gC_bq") ro
     fund their respective Capital Contribution Installments to the Partnership in connection with the development of that
     certain project known as Oak Creek Village (the "Proiect").

                4.           The representations and warranties contained herein and in the Partnership's Amended             and
     Restated Agreement of Limited Partnership of the Partnership (the "Agreement") are true and correct, in          all material
     respects, and are not in any way misleading.

                5.     The covenants contained in the Agreement that were to have been performed and completed by
     the date of this Affidavit have been fully and completely performed, as of this date, except as otherwise Consented
     ro in advance by the Limited Partners, in writing.

                 6.     No default, breach or violation of the terms of the Agreement or any of the Project Documents on
     rhe part   ofthe General Partner or the Partnership has occurred and is uncured as ofthis date.

                7.           Neither the General Partner nor the Partnership is in default of any obligation relating to the
     business of the Partnership or the Project, as of the date hereof, and all obligations of the General Partner and the
     Partnership will be satisfied when due.

               8.       No actions or proceedings ofany kind or nature are pending or to the best ofthe General Partner's
     knowledge threatened against the General Partner or the Partnership, except as may be described in an exhibit
     attached hereto and made a part hereof. Such actions or proceedings are fully covered by insurance or, if adversely
     determined, would not have a material adverse effect on the General Partner's, or the Partnership's, as applicable,
     ability to pay when due any amounts that may become payable in respect of the Agreement or in connection with the
     Project, or to continue with the development and operation of the Project.




                                                               EXHIBIT3-Page l
     4837-4545-8969.4




CONFI DENT          IAL                                                                              PLA]NTIFFS_OOOO8541
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 87 of 187




              9.      As of the date of this Affidavit, the General Partner (a) is solvent; (b) is able to pay its debts as
    they mature; (c) has capital sufficient to carry on the businesses in which it is engaged; and (d) has assets the present
    fair saleable value of which is greater than the amount of its liabilities. The Ceneral Partner will not be rendered
    insolvent by performing the currently foreseeable obligations on its part to be pertbrmed in respect of the Project, or
    by conducting the transactions contemplated under the Agreement.

               10.       All insurance requirements of the Agreement have been met   and satisfied   in all respects.

            I l.    As ofthe date ofthis Affidavit, all ofthe conditions and prerequisites for funding the [subsequent
    construction draw for Firstl lSecond] [Third] [Final] Installment, as set fonh in the Agreement, have been fully
    and completely performed and all representations and warranties contained in the Agreement are true and correct
    and not in any way misleading.

               12.       There have been no changes to the Plans and Specifications except as permitted in the Agreement.

               13.       As of the date of this Affidavit, the Guarantor meets the minimum net worth and liquidity
     requirements as set forth   in Section 6.5(n) of the Agreement.

               14.     There has been no material adverse change in the Project or the Partn€rship since delivery of the
     last Funding Certificate.

               The foregoing matters are certified and agreed to by the undersigned General Partner as of the date of this
     Certilicate, and you may rely hereon in consummating your investment in the Project/Partnership or in advancing
     your Capital Contribution Installment. All certitications made herein shall constitute representations and warranties
     of the undersigned. In the event of any material and adverse inaccuracy in any of the tbregoing certitications, or
     failure to perform any of the foregoing agreements, the Limited Partners shall be entitled to any and all remedies
     under the Partnership Agreement and applicable law, including remedies fbr breach of warranty, representation, or
     agreement, and the undersigned shall defend and indemnify the Limited Partners against any liability or damages
     thereliom.

               Capitalized terms used but not defined herein shall have the meaning given them in the Agreement.

                                           CENERAL PARTNER:

                                           2013 Travis Oak Creek GP. LLC
                                           a(n) Texas limited liability company

                                           By:
                                                     Rene O. Campos, Manager



     Sworn to before me on
     this      day of
                          ,20-
          -
     Notarv Public




                                                        EXHIBIT 3 -Page?
      4937-4545-8969.4




CONFI DENT       IAL                                                                            PLAINTIFFS OOOO8542
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 88 of 187




                                          EXHIBIT4

                                  PLANS AND SPECIFICATIONS




                                          EXHIBIT4
       4837-4545-8969.4




CONF   I DENT ]AL                                              PLAINTIFFS      OOOO8543
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 89 of 187



     i\{r;'   I   .1, 201   +                                            Exhibit 6(A" - List                   clf Documents
                                                                                                                     III!
                                                               Oak Cteck Village Phase         I
                                                                  2324 \Yilson Street
                                                                  Austin,'Iexas      7870'l



                     f)ocurnent Tvnc       Labeled        f)esctiption                                             f)atcd
                     SITE                  01 0F 11       DU   RWOOD STREET IMPROVEM ENTS                              03.06.14
                                           02 0F 11       GENERAL NOTES                                                03.06,14
                                           03 0F 11       EXISTING CONDITIONS AND DEMOLITION PLAN                      03.05.14
                                           04 0F 11       SITE PLAN AND EROSION/SEDIMENTATION
                                                          CONTROL PLAN                                                 03.06.14
                                           05 0F 11       GRADIN6 AND TEMPORARY TRAFFIC CONTROL
                                                          PLAN                                                         03.06.14
                                           06 0F 11       DRAINAGE PLAN                                                03.06.14
                                           07 aF     tt   WATER LINE PROFILE PLAN                                      03.06.14
                                           08 0F 11       GENERAL DETAILS                                              03.06,14
                                           09 0F 11       GENERAL DETAILS                                              03.06.14
                                           10 0F 11       GENERAL DETAILS                                              03.06.14
                                           11   0F 11     TEMPORARY TRAFFIC CONTROL DETAILS                            03.06.14
                                           oior qt        COVER SHEET                                                   03.11.14
                                           020F 47        GENERAL NOTES                                                 03.11.14
                                           a3   0t   47   EXISTING CONDITIONALS & SITE DEMOLITION PLAN                  03.11.14
                                           a4 0F 47       UTILITY DEMOLITION AND RELOCATION PLAN                        03.11.14
                                           05 0F 47       OVERALL SITE PLAN                                             03.11.14
                                           06 0F 47       SITE PLAN TABLES   &   NOTES                                  03, 11.14

                                           a7 oF 47       BUILDING ELEVATIONS PLAN                                      03.   1 1.     14
                                                                                                                        03.            14
                                           08 0F 47       DETAILED SITE PLAN     -   NORTH                                    1   1.

                                                                                                                        03.1 1.14
                                           09 0F 47       DETAILED SITE PLAN     -   SOUTH
                                           lo oF     47   DIM ENSION CONTROL PLAN                                       03.11.14
                                           tt   oF 47     PAVING PLAN                                                   03.11.14
                                           t20F      47   OVERALL UTILITY PLAN                                          03.11.14
                                           13 0F 47       DETAILED UTILITY PLAN _ NORTH                                 03.1 1.14

                                           t40F      47   DETAILED UTILITY PLAN _ SOUTH                                 03.11.14
                                           t5 0F 47       EXISTING DRAINAGE AREA PLAN                                   03. 11.14

                                           t6 0F     47   PROPOsED DRAINAGE AREA PLAN                                   03.11.14
                                                                                                                        Aa 11          1A
                                           t7 oF     47   OVERALL GRADING PLAN
                                           t8 0t 47       DETAILED GRADING PLAN          _ NORTH                        03.11.14
                                                                                                                        n2 11          1/1
                                           BAF47          DETAILED GRADING PLAN          -    SOUTH
                                           2A At 47       OVERALL STORM DRAIN PLAN                                      03.11.14
                                           270F 47        DETAILED 5IORM DRAIN PLAN                -   NORTH            03.11.14




                      Page      I   ofli



CONF] DENT              IAL                                                                               PLAINTIFFS_OOOO8544
                    Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 90 of 187



                                                                Exhibit              6cA"   - List of Documents
      f,.1
             r',   1.1,2il14


      t                                                                                                  IITT
                                      22 0F 47   DETAILED STORM DRAIN PLAN - SOUTH                         03.1    1.    L4
                                      23 0F 47   DETAILED STORM DRAIN PLAN            -   WEST             03.11.14
                                      24 0F 47   BIOFILTRATION POND PLAN                                   03.11.14
                                      25 0F 47   BIOFILTRATION POND DETAILS PLAN                           03.11.14
                                      26 0F 47   EROSION AND SEDIMENTATION CONTROL PLAN                    03.11.14
                                      27 AF 47   GENERAL DETAILS                                           03.11.14
                                      28 AF 47   GENERAL DETAILS                                           03,:11. L4

                                      29 AF 47   CENFRAL DETAILS                                           03.11.14
                                      30 aF 47   GENERAL DETAILS                                           03.1 1.14
                                      3t oF 47   CENERAL   D ETAILS                                        03.71.14
                                      32 AF 47   GENERAT DETAILS                                           03.11.1.4
                                      33 0F 47   GENERAL DETAILS                                           03.11.14
                                      34 0F 47   GENERAL DETAILS                                           03.11.14
                                      35 0F 47   GENERAL DETAILS                                           03.11.14
                                      36 0F 47   TEMPORARY TRAFFIC CONTROL PLAN                            03.11,14
                                      37 0F 47   TEMPORARY TRAFFIC CONTROL PLAN DETAILS                    uJ.    l l.   14

                                      38 0F 47   TEMPORARY TRAFFIC CONTROL PLAN DETAILS                    03.11.14
                                      39 0F 47   TEMPORARY TRAFFIC CONTROL PLAN DETAILS                    03.11,14
                                      40 aF 47   TEMPORARY TRAFFIC CONTROL PLAN DETAILS                    03.11.14
                                      4t oF 47   LANDSCAPE DEMOLITION PLAN                                 03.11.14
                                      42 0F 47   LANDSCAPE PLAN                                            03.11.14
                                      43 0F 47   BIOFILTRATION POND LANDSCAPE PLAN                         03.11.14
                                      44 0F 47   LANDSCAPE NOTES & DETAILS                                 03. L1.14
                                      45 QF 47   EROSION & SEDIMENTATION CONTROL                 DETAILS   o?1l14
                                      46 AF 47   SUBDIVISION PLAT                                          03.11.14
                                      47 0F 47   PARKING GARAGE PLAN                                       03. I 1.14

                      ARCHITECTURAL   A0.00      COVER PAGE                                                04. L5. L4

                                      A0.01      DATA SHEET                                                04,15.14
                                      A0.02      FIRE RESISTANCE RATED ASSEMBLY PtAN                       04.15.14
                                      A0.03      FIRE RESISTANCE RATED ASSEMBLY DETAILS                    04.    Ls.l-4
                                      A0.04a     LIFE SAFETY PLAN     _   LEVELS 5   &6                    04.15. 14
                                      A0.04b     LIFE SAFETY PLAN     -   LEVELS 2   &3   EX]T DJSCHARGE
                                                 LEVE L5                                                   04.15.14
                                      A0.06      GA.F.R.R, ASSEMBLY GA.RC #2601 & UL U9O5 1.-HR
                                                 F.R.R. TEXT                                               1.2.16.13
                                      A0,07a     UL 1528 1-HR F,R.R. FLOOR/CEILING ASSEMBLY
                                                 TEXT                                                      12.16.13
                                      A0.07b     UL 1528 1-HR F.R.R. FLOOR/CEILING ASSEMBLY
                                                 TEXT                                                      -tz.   rb.1J




                      Page2of1l




CONFI DENT              IAL                                                                  PLAINT]FFS_OOOO8545
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 91 of 187



                                                              Exhibit              66la^
                                                                                           " - List   of Documents
                                                                                                           rr:l
                                 A0.08     UL 1528 1-HR F,R.R. FTOOR/CEILING ASSEMBLY
                                           TEXT                                                             12.16.13
                                 A0.09     UL M5OO 2-HR F.R.R. FLOOR/CEILING ASSEMBLY
                                           TEXT                                                             12.16.13
                                 A0.10     UL U3O1 2-HR F.R.R. ROOF ASSEMIJLY TEXT                          12.16,13
                                 A0.11.a   UL U3O5     l.HR   F.R.R. WALL ASSEMt]LY TEXT                    r z. rb.   t5
                                 A0.11b    UL U3O5 1.HR F.R.R. WALL ASSEMBLY TEXT                           12. 16.13

                                 A0,12     UL U341 1.HR F.R.R.ROOF ASSEMBLY TEXT                            12.16.13
                                 A0.13     UL U356 1.HR F.R.R. WALL ASSEMI]LY'TEXT                          12.16.13
                                 A0.14     UL V455 _ sYSTEM B 2.HR F.R.R. TEXT                              12.16.13
                                 A0.15     UL LISTED F.R.R A55EM[]LY                                        04.15.74
                                 A1.01a    ARCHITECTURAL SITE PLAN             -   NORTH END & SITE
                                           PLAN   *   SOUTH PORTION                                         04.15.14
                                 A1.01b    ARCHITECTURAL SITE PLAN             -   SOUTH END                04.15.14
                                 A1.01c    PHASING PLAN        & C.O.A. REQUIREMENTS            FOR A
                                           TCO                                                              04.t5.74
                                 A2.00a    6ARAGE PLAN        *   LEVEL   61                                04.15.14
                                 42.00b    GARAGE PLAN        _   LEVEL G2                                  04.15.14
                                 A2.00c    GARAGE PODIUM DRAINAGE PLAN AND DETAILS                          04.15.14
                                 A2,00d    PODIUM PAVER PLAN                                                04.L5.L4
                                 A2.01     1 BEDROOM ADAPTABLE FLOOR AND RCP PLANS                          04.15. 14
                                                                                                            iA 1l        1A
                                 42.O2     2 BEDROOM ADAPTABLE FLOOR AND RCP PLANS
                                 A2.02a    2 BEDROOM ADAPTABLE FLOOR CANTILEVER                             04.15.14
                                 A2.03     3 BEDROOM ADAP'TABLE FLOOR AND RCP PLANs                         04.15.14
                                 A2.03a    3 BEDROOM ADAP'IAIJLE FLOOR CANTILEVER                           04.15.14

                                 A2.04     4 BEDROOM ADAPTAtsLE FLOOR AND RCP PLANS                         04.15.14
                                 A2.05     1 BEDROOM  - tsF FLOOR AND RCP PLANS                             04.75.14
                                 A2.06     2 BEDROOM - t}F FLOOR AND RCP PLANS                              04.15.14
                                 A2.07     3 BEDROOM - BF FLOOR AND RCP PLANS                                04.15.14
                                 A2.08     4 IJEDROOM - BF FLOOR AND RCP PLANS                               04,15.14
                                 43.01     RESIDENTIAL UNIT INTERIOR ELEVA'TIONS                             04.15.14
                                 A3.02     RESIDEN IAL UNIT INTERIOR ELEVATIONS                              02.20.14
                                 43.03     RESIDENTIAL UNIT INTERIOR ELEVATIONS                              04. 15.14

                                 A3.04     RESIDENTIAL UNIT INTERIOR ELEVATIONS                              04.15. 14
                                 A4.01     BUILDING FLOOR PLANs &TYP, PLAN DETAILS                           04,15.14
                                 44.02     BUILDING FLOOR PLANS & TYP, PLAN DETAILS                          04.15.14
                                 44.03     BUILDING FLOOR PLANS &'IYP. PLAN DETAILS                          04.L5.14
                                  A4.04    BUILDING FLOOR PLANS & TYP. PLAN DETAILS                          u4. L5.     l4
                                 44.05     BUILDING FLOOR PLANS & TYP. PLAN DE'TAILs                         04.15. 14
                                 A4.UE)    BUILDING ROOF PLANJS & TYP. PLAN DETAILS                          u4.   r),   14




            P:rg,e 1l r.lf 1 l




CONE   I DENT IAL                                                                             PLAINTIFFS           OOOOB546
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 92 of 187



                                                                    Exhibit              c6A"    - List of Documents
        i\lry   13,201,1


                                                                                                                   !ttl
                                        44.06a      BUILDING ROOF PLANS & TYP. PLAN DETAITS                          04.15,14
                                        44,06b      BUILDING ROOF PLANS & TYP. PLAN DETAILS                          02.20.14
                                        A5.01       S.E. AND   N.W. EXTERIOR ELEVATIONS & RELATED
                                                    DETAILS                                                          02.20.14
                                        A).U1.      5.E. AND N.W.INT. COURWARD EXTERIOR
                                                    ELEVATIONS                                                       42.20.14
                                        A5.03       5.W, AND N.E. EXTERIOR ELEVATIONS                                02.20.L4
                                        A6.01       BUILDING SECTIONS AND DETAILS                                    04. 15, 14

                                        46.02       BUILDING SECTIONS AND DETAILS                                    04.15.1-4
                                        A6.06       ENLARGED STAIR SECTIONS & DETAILS                                04.L5. L4
                                        A5.07       ENTARGED ENCLOSED STAIR SECTIONS AND
                                                    RELATED DETAILS                                                  12.16.13
                                        A6.08       ENLARGED ELEVATOR A SECTIONS AND RELATED
                                                    DETAILS
                                        A7.01       DOOR   & DOOR HARDWARE sCHED. &               RELATED
                                                    DTLS                                                             04.15.14
                                        A7.02       WINDOW SCHEDULE AND RELATED DETAILS                              04.15.1.4
                                        A8.01       ENLARGED COMMUNITY BUILDING FLOOR PLANS                          04.15.14
                                        A8.02       ENLARGED COMMON AREAS                -   ROOF DECK PLANS         04.15.14
                                        A8.03       ENLARGED COMMON AREAS                                            02.20.14
                                        A8.04       ENLARGED COMMON AREAS                                            04.15.14
                                        A8.06       ENLARGED STAIR PLANS           &   DETAILS                       02.20.14
                                        A8.07       ENLARGED STAIR PLANS & DETAILS                                   04.15. 14
                                        A8.08       ENLARGED STAIR PLANS           &   DETAILS                       04.15.14
                                        A8.09       ENLARGED STAIR PLANS & DETAILS                                   02.20. 14
                   S TRUCTURAL          s0.00       STRUCTURAL COVER SH EET                                          12.19,13
                                        s0,01       STRUCTURAL DESIGN CRITERIA                                       12.19.1.3
                                        50.02       CONCRETE SPECIFICATIONS                                          04.L5.1"4
                                        s0.03       CONCRETE SPECIFICATIONS                                          12.19.13
                                                                                                                     t/   tq   t<
                                        s0,04       ELEVATED POSTTENSION SLAB NOTES
                                        s0.0s       GENERAL SPECI FICATIONS                                          12.19.13
                                        s0.06       GENERAL SPECIFICATIO NS                                          12.79.13
                                        50,07       GEN ERAL SPECIFICATIO NS                                         12,19.13
                                        s1.10       OVERALL FOUNDATION PLAN                                          02.20.74
                                                                                                                     at   4^   la
                                        s1,10A      FOUNDATION PLAN        -   A                                     t2-t3..L5

                                        s1.10AN     FOUNDATION PLAN                                                  a2.20.14
                                        51.10AS     FOUNDATION PLAN                                                  02.20.74
                                        51.108      FOUNDATION     -   B                                             04.I5.14
                                        5   1.10C   FOUNDATION _ C                                                   02.20.r4
                                        s1.100      FOUNDATION     -   D                                             04.15.14


                                                                                                               iffiTtrFIl

                  P:rge    4 crf   11
                                                                                                               iffi
CONF   I DENT IAL                                                                                 PLAINTIFFS-OOOOB547
                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 93 of 187



        \tr1' t.t, :ltll.l                                   Exhibit (6A" - List of f)ocuments
                                                                                                                          IIII

                                   sL.10E     FOUNDATION     -   E                                                          12.19.13
                                   s1.118     POST TENSION    CABLE PLAN *              B                                   42.20.L4
                                   s1.11D     POST TENSION CABLE PLAN               _   D                                   02.20.14
                                   s.111E     POST TENSION CABLE PLAN               -   E                                   12.19.13
                                   s2.00      OVERALL LEVEL 2 FORMING PLAN                                                  02.20.I4
                                   52.00A     LEVEL 2 FORMING PLAN          -A                                              12.1"9.13

                                   s2.00AN    LEVEL 2 FORMING PLAN                                                          o2.zo.t4
                                   s2.00As    LEVEL 2 FORMING PLAN                                                          04.r5.t4
                                   s2,008     LEVEL 2 FORMTNG PLAN          .   B                                           :1.2.19.13

                                   52.00c     LEVEL 2 FORMING PLAN          -C                                              07.24.L4
                                   s2.01      OVERALL LEVEL 2 ELEVATED P.l"PLAN                                             02.20.r4
                                   s2.01A     LEVEL 2 ELEVA"I'ED P.T. PLAN              -   A                               12.19.13
                                   s2.01AN    LEVEL   2 ELEVATED P.T. PLAN                                                  02.20.14
                                   52,O1AS    LEVEL 2 ELEVATED       P.]"   PLAN                                            a2.za.t4
                                   s2.018     LEVEL 2 ELEVATED P.T. PLAN                -   B                               12.19.13
                                   s2.01c     LEVEL 2 ELEVATED P.T. PtAN                -   C                               oz.'20.t4
                                   s2.02      OVERALL LEVEL 2 ELEVATED REINFORCING PLAN                                     o2.2A.V
                                   s2.02A     LEVEL 2 ELEVATED REINFORCING PLAN                      -   A                  12.19.13
                                   s2.02AN    LEVEL   2 ELEVATED REINFORCING PLAN                                           02.20.L4
                                   52.02A5    LEVEL 2 ELEVATED REINFORCING PLAN                                             02.20.t4
                                   s2.028     LEVEL 2 ELEVATED REINFORCING PLAN                      -   B                   12.19.L3
                                   s7.ozc     LEVEL   2 ELEVATED REINFORCING                    PLAN -   C                  02.20.L4
                                   s2.10      OVERALL LEVEL 3 ELEVA'I'ED FORMING PLAN                                       02.zo.t4
                                   s2.104     LEVEL 3 FORMING PLAN _ A                                                       12. r.9.13

                                   52.10AN    LEVEL 3 FORhTING PLAN                                                         04.15.14
                                   52, 1OAS   LEVEL 3 FORMING PLAN                                                          04.15.14
                                   s2.108     LEVEL                -
                                                      3 FORMING PLAN            B                                            12.19. L3

                                   52.10C     LEVEL 3 FORMING PLAN -            C                                            04.15.14
                                   52.11      OVERALL LEVEL 3 P.T. PLAN                                                      02.20.L4
                                   s2.11A     LEVEL 3 ELEVATED P.T. PLAN - A                                                 L L. LJ.   T5

                                   52.11AN    LEVEL3 ELEVATED P.T. PLAN                                                      02.20.14
                                   sz.11A5    LEVEL 3 ELEVATED P.T, PLAN                                                     02.24.r4
                                   s2.118     LEVEL 3 ELEVATED P.T. PLAN - B                                                 12.19.13
                                   s2.11C     LEVEL 3 ELEVATED P.T. PLAN - C                                                 Q2.20.t4
                                   s2.t2      OVERALL LEVEL 3 ELEVATED REINFCIRCING PLAN                                     02.2Q.t4
                                   52.I24     LEVEL   3 ELEVATED REINFORCING PLAN - A                                        12.19.13
                                   52.12AN    LEVEL 3 ELEVATED REINFORCING PLAN                                              02.20.14
                                   52.12A5    LEVEL 3 ELEVATED REINFORCING PLAN                                              02.20.14
                                   s2.12B     LEVEL 3 ELEVATED REINFORCING PLAN                      -   B                   12.19.13


                                                                                                             :ff!
                                                                                                             'IllaJl-tl
                                                                                                             :illll5lrl
                                                                                                             'rlild-rl
                                                                                                               - I I a r         r I ra
                                                                                                             ig-r-i
                                                                                                             |latttilttt=|b-tl
                     Pagc5t:,f11




CONF   I DENT IAL                                                                                   PLAINTIFFS_OOOOB548
                    Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 94 of 187



        'Ii,Ia.r
                   1i,2014                                       Exhibit 6(4" - List of Documents
         I
         I                                                                                                T:IE
         I

         I

                                       s2.72C    LEVEL 3 ELEVATED REINFORCIIIG PLAN              _    C    02.20.t4
                                       53.10A    STUD LAYOUT PLAN        -   A                             12.19.13
                                       s3.10AN   STUD LAYOUT PLAN                                          02.20.14
                                       53.10AS   STUD LAYOUT PLAN                                          07.20.t4
                                       s3.108    STUD LAYOUT PLAN        _   B                             42.24.74
                                       s3.10c    STUD LAYOUT PLAN -C                                       02.20.74
                                       s3.10D    STUD LAYOUT PLAN - D                                      0?.20.14
                                       s3.10E    STUD LAYOUT PLAN * E                                      12. 19.13

                                       54.108    FLOOR   &   ROOF FRAMIN6 PLAN          -   LEVEL 3        04. 1 5. 14
                                       s4.10D    FLOOR   & ROOF FRAMING PLAN _              LEVEL 3        04.15.14
                                       s4.10E    FLOOR   &   ROOF FRAMING PLAN          -   LEVEL 3        1   2.19.13
                                       54.20A    FLOOR & ROOF     FRAMING PLAN _ LEVEL 4                   12.79.73
                                       54.Z0AN   FLOOR & ROOF     FRAMING PLAN _ LEVEL 4                   04.15.14
                                       s4.20AS   FLOOR & ROOF     FRAMING PLAN          -   LEVEL 4        04.1s.14
                                       s4.208    FLOOR & ROOF     FRAMING PLAN          -   LEVEL 4        04.15.14
                                       s4.20c    FLOOR & ROOF     FRAMING PLAN          *   LEVEL 4        02.20.74
                                       s4.20D    FLOOR & ROOF     FRAMING PLAN -            LEVEL 4        04.75.74
                                       s4.208    FLOOR & ROOF     FRAMING PLAN - LEVEL 4                   r.2.19.13
                                       s4.21A    FLOOR & ROOF     FRAMING PLAN - LEVEL 5                   12.19.13
                                       54.21AN   FLOOR & ROOF     FRAMING PLAN - LEVEL 5                   04.15.74
                                       54.21AS   FLOOR & ROOF     FRAMING PLAN - LEVEL 5                   04.75.74
                                                                                        _                  di . 1<
                                                                                                           va       1^
                                       54.2 18   FLOOR & ROOF FRAMING            PLAN       LEVEL 5             rJ. r+
                                       s4.21C    FLOOR & ROOF FRAMING            PLAN -     LEVEL 5        02.20.74
                                       s4.21D    FLOOR & ROOF FRAMING            PLAN -     LEVEL 5        04.15.14
                                       s4.z1E    FLOOR & ROOF FRAMING            PLAN -     LEVEL 5        1? 10 11
                                       54.ZZA    FLOOR & ROOF FRAMING            PLAN   _ LEVEL 6          1) 1q 1?
                                       S4.22AN   FLOOR & ROOF     FRAMING PLAN        - LEVEL 6            07.20.74
                                       s4.22AS   FLOOR & ROOF     FRAMING PLAN        - LEVEL 6            04.15.14
                                       s4.228    FLOOR & ROOF     FRAMING        PLAN - LEVEL 6            12.19.13
                                       s4.22C    FLOOR & ROOF     FRAMING        PLAN - LEVEL 6            02.20.14
                                       s5.10A    BRACING PLAN    -   A                                     L2.79.73
                                       55.104N   BRACING PLAN                                              02.20.74
                                       s5.10AS   BRACING PLAN                                              02.20.14
                                       s5.108    BRACING PLAN _      B                                     02.20.14
                                       55.10C    BRACING PLAN _ C                                          0?.24.14
                                       55.10D    BBACING PLAN _ D                                          02.20.14
                                                                                                           1? 1q 1?
                                       s5.10E    BRACING PL,AN   -   E

                                       56.10A    ROOF FRAMING PLAN                                         12.19.13
                                       S6.10AN   ROOF FRAMING PLAN                                         0?.29.74




                     l)agc 6 of   11




CONF   I DENT IAL                                                                               PLA]NTIFFS       OOOOB549
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 95 of 187



     Ih.v l.t,   2014                                 Exhibit            (6A" -
                                                                                    List of Docurnents         I
                                                                                                               t


                                                                                              tllil
                              s6.10AS    ROOF FRAMING PLAN                                      Q2.20.14
                              s6.108     ROOF FRAMING PLAN                                      02.20.14
                              s6.10c     ROOF FRAMING PLAN                                      02.74.14
                              s6.100     ROOF FRAMING PLAN                                      02.20.74
                              s6.10E     ROOF FRAMING FLAN                                      12.19.13

                              57.01      FOUNDATION DETAILS                                     04.t5.74
                              s7.07      FOUNDATION DETAILS                                     12,19.13

                              57.03      FOUNDATION DETAILS                                     02.20.I4
                              s7.10      ELEVATED POST TENSION DETAI L5                         1   2.19.13

                              s7.1 1     ELEVATED POST TENSION DETAILS                           12.19.13

                              s7.12      ELEVATED POST TENSION DETAILS                           rz. lJ.15

                              s7.13      STUD RAIL SCHEDULES
                              S7   tt4   COLLIMN, RCB & SHEARWALL SCHEDULE
                                                                                                 '12.19.13
                              57.20      ELEVATED CONCRETE DETAILS
                              s7.2t      ELEVATED CONCRETE DETAILs STEEL BASE PLATE              t2.79.r3
                              s8.00      ROOF UPLIFT SECTIONS                                    12.19.13

                              s8.01      ROOF UPLIFT SECTIONS                                    12.19.13

                              58.02      ROOF UPLIFT SECTIONS                                    12.19.13

                              58.10      TYPICAL 2 STORY G.T. UPLIFT DETAILS                     12.19.13

                              58,11      TYPICAL 3 STORY G.T.   U   PLIFT DETAILS                72.19.13

                              5ts.IL     TYPICAL 4 STORY G.T, UPLIFT DETAILS                     12.19.13

                              s8.20      TYPICAL FRAMING DETA! L5                                !2, rJ, L5
                              58.2r.     TYPICAL FRAMING DETAILS                                 12.19.13

                              58.40      FLOOR FRAMING DETAILS                                   04.15.14
                              58.41      FLOOR FRAMING DETAILS                                   04.15.14

                              s8.42      FLOOR FRAMING DETAILS                                   04.15.14
                              58.43      sTAIR LANDING FRAMING                                   04.15.14
                              s8,50      ROOF FRAMING DETAILS                                    47.20,74

                              58.60      WOOD SHRINKAGE DETAIL                                   12.19.13

                              s9.01      2 STORY ANCHORAGE ELEVATIONS                            12.19.13

                              59.02      3 STORY ANCHORAGE ELEVATIONS                            J.Z..LY.1J

                              59.03      4 STORY ANCHORAGE ELEVATIONS                               12.79.13

                              s9.04      SHEARWALL SCHEDULE         &   DETAILS                     12.19.13

                 MECHANICAL   M0.01      MECHANICAL COVER SHEET                                  04.15.14
                              M1.01      MECHANICAL PLAN - PARTIAL 64RAGE PLAN                   01.06,14
                              M1.02      MECHANICAL PLAN - PARTIAL GARAGE PLAN                      01.06.14
                               M1.03     MECHANICAL PLAN. PARTIAL GARAGE PLAN                       04.15.14
                               M2.01     MECHANICAL PLAN . THEATER & MAINTENANCE
                                         AREAS                                                      04.75.74




                 PlgcT uf11




CONF] DENT         IAL                                                              PLAINTIFFS_OOOO855O
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 96 of 187



      i\'ht l
                ',
                     li;l   I                                              Exhibit ('A" - List of Documents
                                                                                                                   ilIlr
                                        M2.02          MECHANICAL PLAN . FITNESS AREA                                04.15.14
                                        M2.03          MECHANICAL PLAN - FITNESS AREA                                04.I5.L4
                                        M2.O4          MECHANICAL PLAN         -   LEVEL 6                           04.t5.14
                                        M2.10          MECHANICAL PLAN. PARTIAL ROOF                                 44.L5.L4
                                        M2.tt          MECHANICAL PLAN - PARTIAL ROOF                                04.15.14
                                        M2.12          MECHANICAL PLAN - PARTIAL ROOF                                04.15.14
                                        M3.01          MECHANICAL PLAN _ UNIT PLANS                                  02.20.t4
                                        M3.02          MECHANICAL PLAN         -   UNIT PLANS                        02.20.14
                                        M3.03          MECHANICAL PLAN _ UNIT PLANS                                  02.20.14
                                        M3.04          MECHANICAL PLAN         -   UNIT PLANS                        02.20.14
                                        M3.05          MECHANICAL PLAN _ UNIT PLANS                                  02.20.14
                                        M3.06          MECHANICAL PLAN         -   UNIT PLANS                        02.20.t4
                                        M4.01          MECHANICAL DETAILS                                            01.06. r.4
                                        M5.01          M ECHANI CAL    S   PECI FICATIONS                            01.06.14
                     ELECTRICAL         E0.01          ELECTRICAI COVER SHEET                                        04.L5.14
                                        E0.02          SITE KEY PLAN                                                 01.06.14
                                        E0.03          SITE LIGHTING PLANI                                           01.06.14
                                        E0.04          SITE LIGHTING PLAN                                            ut,ub. -14
                                        E0.05          SITE PHOTOMETRIC PLAN                                         01.06. L4
                                        E0.06          SITE PHOTOMETRIC PLAN                                         01.06.14
                                        E1.01          ELECTRICAT BUILDING 1AW          - LEVEL 2 PLANS              04.15.14
                                        cr.vz          ELECTRICAL BUILDING 1AW          - LEVEL 3 PLANS              n4 1\ 1d
                                        E   J..iJ5     ELECTRICAL BUILDING 1AW             *   LEVEL 4 PLANS         04,15.L4
                                        E1.04          ELECTRICAL BUITDING lAW             -   LEVEL 5 PLANS         44,$.t4
                                        E1.05          ELECTRICAL   BUILDING lAE _         LEVEL       2 PLANS       04.15.t4
                                        E   t.utl      ELECTRICAL   BUILDING 1AE _         LEVEL 3 PLANS             04.15.14
                                                                                                                     n4 1C   1A
                                        EI.O7          ELECTRICAL BUILDING          1AE_ LEVEL 4 PLANS
                                                                                    1AE-               5 PLANS       nA 1E   1A
                                        E1.08          ELECTRICAL BUILDING                     LEVEL
                                                                                                                     nt 1c 11
                                        Et-.09         ELECTRICAL BUILDING 1BW          -      LEVEL   3 PLANS
                                        E7.LO          ELECTRICAL BUILDING 1BW   _             LEVEL   4 PLANS       04,t5.14
                                        ra 11
                                        cl.lf          ELECTRICAL   BUILDING 1BW _             LEVEL   5 PLANS       04.75.1.4
                                        E7.L2          ELECTRICAL   BUILDING lBW *             LEVEL 6 PLANS         04.15.14
                                        E   1.13       ELECTRICAL BUILDING 1BW          -      LEVELS 3, 4   &5
                                                       PLANS                                                         04.15.14
                                        tr1                                                                          U4. IJ. 14
                                              1   .4
                                                       ELECTRICAL BUILDING 1.BE        -   LEVEL       3 PLANS
                                        E1.15          ELECTRICAL BUILDING 1BE _ LEVELS 3 & 4 PLANS                  04.I5.14
                                        E1.L6          ELECTRICAT BUILDING 1BE - LEVEL 4 PLANS                       04.1.5. L4
                                        Et.L7          ELECTRICAL BUILDING lBE        5-    LEVEL       PLANS        04.t5.L4
                                        El". L8        ELECTRICAL BUILDING 1BE_ LEVELS 5 & 5 PLANS                   04.15.14




                     P;rge 8    of l1                                                                             ffi
CONFI DENTIAL                                                                                            PLA]NTIFFS_OOOO8551
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 97 of 187



     htry   1.1,2tt14                                                    Exhibit ((4" - List of Documents
                                                                                                   tItI
                                   E1.19             ELECTRICAL BUILDING 1BE            -    LEVEL   6 PLANS     04.15.L4
                                   E1.20             ELECTRICAL ROOF PLANS                                       04.1s.14
                                   Et.2t             ELECTRICAL ROOF PLANS                                       04.15.14
                                   E2,01             ELECTRICAL PARKING GARAGE PLANS                             04.15.14
                                   E2.O2             ELECTRICAL PARKING GARAGE PLANS                             04.15.14
                                   E2.03             ELECTRICAL PARKING GARAGE ENLARGED PLANS                    04.r5.14
                                   EZ.O4             ELECTRI CAL TH EATER/MAi NTENAN CEITRASH
                                                     ROOMS PLANS                                                 04.15.14
                                   E2.05             ELECTRICAL FITN ESs/COMMU NITY ROOM5 PLANS                  04.15.14
                                   E2.06             ELECTRICAL ROOF DECK                                        04.15.14
                                   E5.U.t            TYPICAL UNIT PLANS                                          44.$.14
                                   E3.02             TYPICAL UNIT PLANS                                          02.20.14
                                   E3.03             TYPICAL UNIT PLANS                                          42.20.74
                                   E3.04             TYPICAT UNIT PLANS                                          02.20.14
                                   E3.0s             TYPICAL UNIT PLANS                                          07.20.74
                                   E3,05             TYPICAL UNIT PLANS                                          02.70.t4
                                   E4.01             ELECTRICAL SERVICE RISER DIAGRAMS                           04.15.14
                                   ce+.u   z.        ELECTRICAL SERVICE RISER DIAGRAMS                           04.15.14
                                   E4.03             ELECTRICAL SERVICE RI5ER DIAGRAMS                           04.t5.t4
                                   E4.O4             ELECTRICAL SERVICE RISER DIAGRAMS                           04.15.14
                                   E5.01             ELECTRICAL LOAD SUMMARIES AND PANEL
                                                     SCHEDULES                                                   04.15.14
                                   E5,02             ELECTRICAL LOAD SUMMARIES AN D PANEL
                                                     SCHEDULES                                                   04.!5.t4
                                   E5.03             ELECTRICAL LOAD SUMMARIE5 AND PANEL
                                                     SCHEDULES                                                   04.15.14
                                   E5,04             ELECTRICAL LOAD SUMMARIES AND PANEL
                                                     SCHED     U LES                                             04.15.14
                                   tt).U   L         ELECTRICAL        SP ECI   FICATI ON5                       01.05.14
                                                     LOW VOLTAGE HAND DRAWN SITE SCHEMATIC-
                                                     POE-AT&T                                                    NO DATE
                                                     POE   -   GRAhJDE HAND DRAWN ON OVERALL SITE                 SIGNED
                                                     PLAN                                                        03.1.1.14
                                                     POE   -   TIME WARNER                                       02.2L.t4
                VOICE VIDEO DATA   U-L-Z) LJF   Zf   VOICE VIDEO DATA                                            03.t7,t4
                PLUMBING           P0.01             PLUMBING COVER SHEET                                        04.t5.L4
                                   rU.V L            PLUMBING SITE PLAN                                          04.t5.14
                                   P0.03             PLUMBING SITE PLAN                                          04.15.t4
                                   P1.01             PLUMBING BUILDING 14 _ W LEVEL 2 PLANS                      u4.LJ.!4
                                   P].02             PLUMBING BUILDING ].A _ W LEVEL 3 PLANS                     04.15.14




                ['rge9ofil




CONFIDENTIAL                                                                                            PLAINTIFFS_OOOO8552
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 98 of 187



        i\'tuy 13,201.1                                      Exhibit '(N' - List of Documents
                                                                                                 tltr
                                   t,L.uJ     PLUMBING SUILDING ].A _ W LEVEL 4 PLANS             04.15.14
                                   Pt.o4      PLUMBING BUILDING    1A_W       LEVEL5 PLANS        04.15.14
                                   P1.0s      PLUMBING BUILDING    14- E LEVEL 2 PLANS            04.15.14
                                   P1,06      PLUMBING EUILDING    1A- E LEVEL 3 PLANS            04.15.14
                                   P1.07      PLUMBING BUILDING 1A - E LEVEL 4 PLANS              04.15.14
                                   P1.08      PLUMBING BUILDING 1A _ E LEVEL 5 PL,ANS             04.15.14
                                   P   1.09   PLUMBING BUILDING 18    - W LEVEL 3 PLANS           04.15.14
                                   P   1.10   PLUMBING BUILDING    18-W LEVEL4 PLANS              04.15.14
                                   P   L.11   PLUMBING    BUILDING 18-W IEVEL5 PLANS              04.15.14
                                   I r.Lz     PLUMBING    BUILDING 18 - W LEVEL 5 PLANS           04.15.14
                                   P1.13      PLUMBING EUILDING 1B - E LEVET 3 PLANS              04.15.14
                                   P1.14      PLUMBING BUILDING 1B _ E LEVEL 3 & 4 PLANS          04.1s.14
                                   P   1.15   PLUMEING BUiLDING 1B - E LEVEL 4 PLANS              04.1s.14
                                   P1.16      PLUMBING BUILDING 18 _ E TEVEL 5 PLANS              04.   ls.14
                                   PT.L7      PLUMBING BUILDING    18-    E   LEVEL5 & 6 PLANS    04. L5.14
                                   P   1.18   PLUMBING BUITDING 18    -   E TEVEL 5 PLANS         o4.ts.14
                                   P   1.19   PLUMEING BUILDING 18 _S LEVEL 3, 4 & 5 PLANS        u4.   r).l.4
                                   P2.01      PARTIAL GARAGE LEVEL G1                             04.15.14
                                   P2.O2      PARTIAL GARAGE LEVEL G2                             04. 15.14
                                              COMMUNITY AND FITNESS ROOMS                         04. 15. 14
                                   P3.02      BUSINESS CENTER AND CLASSROOM                       04.15.14
                                   P3.03      MAINTENANCE/SPLASH      WATER AND VENT              04.15.14
                                   P3 04      BREAKROOM AND TOILET WASTE AND VENT                 44.$.14
                                   P4.01      UNIT PLANS PLUMBING                                 04.15.14
                                   P4.02      UNIT PLANS PLUMBING                                 04.15.L4
                                   P4.03      UNIT PLATJS PLUMBING                                04.I5.14
                                   P5.01      PLUMBING SCHEDULES                                  04.15,14
                                   P5.02      PLUMBING DETAILS                                    04.LS.L4
                                   P5.03      PLUMBING DETAILS                                    01.06.14
                                   P6.01      PLUMBING AND FIRE SUPPRESSION
                                              SPECIFICATIONS                                      o-1AA1A

                                   P7,0t      TYPICAL STACK DETAILS                               04.15.14
                                   P7.02      TYPICAT STACK DETAILS                               04.15.14
                                   P7.03      TYPICAL STACK DETAILS                               04.r5.L4
                                   15F        ONE BEDROOM INTERIOR FII.JISH SCHEDULE         -
                 INTERIOR DES'6N              FINISHES                                            03. 19. 14
                                   1SH        ONE BEDROOM INTERIOR FINISH SCHEDULE _
                                              HARDWARE                                            03,19.14
                                   l5l-       TWO BEDROOM INTERIOR FINISH SCHEDULE -
                                              FIN ISHES                                           03. L9. 14




                 Pagc 10 of   11




CONF   I DENT IAL                                                                     PLAINTIFFS_OOOO8553
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 99 of 187



        Itl.ry I i),   2(l   I'l                                               Exhibit ((A,' - List of I)ocuments
                                                                                                                            ITIT

                                                   2SH        TWO BEDROOM INTERIOR FINISH SCHEDULE                  -
                                                              HARDWARE                                                       03.19.14
                                                   35F        THREE BEDROOM INTERIOR FINISH SCHEDULE                    *
                                                              FINISHES                                                       03.19.14
                                                   3SH        THREE BEDROOM INTERIOR FINISH SCHEDULE                    -
                                                              HARDWARE                                                       03.19.14
                                                   4SF        FOUR BEDROOM INTERIOR FINISH SCHEDULE                  _
                                                              FINISHES                                                       03.19.14
                                                   4SH        FOUR BEDROOM INTERIOR FINISH SCH,EDULE                 -
                                                              HARDWARE                                                       03.19.14
                                                   AC-SFH     AUDITORIUM.CLASSROOM INTERIOR FINISH
                                                              SCHEDULE    -   FINISHES   -   SCHEDULE   -   HARDWARE         03.19.14
                                                   BFM-SF     BUSINESS   CTR-FITNESS.I\4AIL _ INTERIOR          FINISH
                                                              SCHEDULE    -   FINISHES                                       03.19.14
                                                   BFM.SH     BUSINESS CTR-FITNESS.MAIL          _ INTERIOR      FINISH
                                                              SCHEDULE    _ HARDWARE                                         03.19.14
                                                   I(ML-SF    PU BLIC KITCHE    N-MANAGER-LEASING OFFICES               -
                                                              INTERIOR FINISH SCHEDULE          * FINSHES                    03.19.14
                                                   KML-SH     PUBLIC KITCHEN.MANAGER-LEASING OFFICES                    -
                                                              INTERIOR FINISH SCHEDUtE. HARDWARE                             03.19.1_4
                                                   PRR-SFH    PUBLIC RESTROOMS INTERIOR FINIsH              -   SCHEDULE

                                                              - FINISHES - SC,HEDULE . HARDWARE                              03.19.14


                       COLOR        SCHEME         1-2 OF 2   OAK CREEK VILLAGE      -   PHASE   1*   COLOR SCHEME
                                                              PER BCS                                                        04.01.14


                        PROJECT         MANUAL                PROJECT    MANUAL FOR OAK CREEK VILLAGE _
                                                              PHASE 1                                                        12.16.r-3


                                                              6EOTECH NICAL ENGI NEERING REPORT                              04.03.14
                        GEOTECHNICAL




                         Pagc      ll   c,f   11




CONF   I DENT IAL                                                                                            PLAINTIFFS_OOOO8554
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 100 of 187


                                                                                                                                                     ---t
             13.2014                              Exhibit ('E"         -   Contactofs Clarifications and Exclusions                                     !


                                                                                                                                         rllr
                                                                    Errrelta Develnpnrent
                                                                  Oak Creek Village Phrrse        I
                                                                        Austin, 'l'ex'.r^s

              DIVISION              2: Sicework

                   1. .lternovrl of all above gracle items idenrit'ied in fhe plans suclr as existing l'uiklinp, I.ra1'emer]t,
                                        s'alls iderrtified in F,rhil>it ,\ do<:utnents.
                             .qiclen'alks, :rrrcl
                  2. Rerrror':rl :rnd clisposrl t.rf :rrry buricd sr-ruc:turcs, clebris or ffash uot currently idenrificd in E:{hibit
                      .\ clocurnelts is not itrciude d.
                  "1. ,\n allot'ance pet Ltlibit F is iocludcd for shoting "11{ q1xi1111inirrg dre stnrcrure in the existing
                             lcasing r.rffice alouncl rhe l-roilers.
                  4. ("ost assor:iated s.ifh rree relot:ations is lly orvner.
                  5. -\n alLrs'ance per Lxhib.it F is i:rcluded for a tenrpor:rrg sedirnent basin snucnue.
                  6. Building pnd constrtction is prcparcd pcr thc Gcotcch proriclccl by I-CS clateci :\pril -1, 2()14.
                  i. ,\lI sitc cltv utilities are clirect budecl or ilr concluit (r:r:ncrete enclsernent nr:r in.cluciecl).
                  ,'J. ;\n 'lllol'ance per h,shibit [i is includecl for         existing utrlit1' modi[i:arit.rns uI electrical, gas, u,aler
                             ancl itrigarion.
                  9.         I)r-wafering of sire is not i.ocluciecl.
                  l{-1.      Ali
                             e.xisting on-site mrrterrll-s are consideced to be "unresuicfutl rc-use".
                   t    l.
                        Parking lot surprng is includcd with r"lr.eel stops.
                   12. Al1 cr:ncrete i'lanvr:rh shall rec.eive brr:cxn ilnish.
                   li. (loncrere pavets ol pedestals are inclucled fcr.r the c:t-:rriclors, splasb pad iincl roof top der'}i.
                   l.l. Site ri:t:rirring walls are inclrrclt:rl as a stone gt:avitv rvrll with e tlusaic p;ltters.
                   i-i. .,\n r\llow;rncc p"r Eshibit F is included for site furorshings.
                   16. .\ 6' peiltecl \i,rou.qllt iron picliec fence :rloog Wilson lSue et and the norrh propcr:ry linc al.:ng
                        Phase I is included.
                   17. Pedestal pever providecl at the splash pad area and corridc:rs of':u:ea (A) & (() I'or a total r-rf 6,220s{
                        |eclestal pavets and l{exican beaclr rocl< aie ncrt intlucled in the r:ourt yarcl of'arc;r (,\) & (C);
                             acc:cptecl     !"8.
                  18. "l-re-e pruning of csisrjng uees to reruajn is nr:t inclucled.
                  19. L:rndscapingmd irigation pcr iaodscapc drarvingshcctti                      "12   of 47   tst thc   civil plans.

              Division 3: Concrete

                             Intel;tal concrete \vntetProotlnll acLnknrre tbr the concrete is lot included.
                             Buildrng .slirb on lyrde is brs.:d on a 4'" posr-rension sleb rvidr gr:rde belnrs t-rr.'cr rr '[L) rnil polv for
                             rrcrs B & D.
                  3          .\rea ,\ & ( j irrludes i-nterior colunrr:s supporlecl on piers t'irh r rrrirr iength of S'lnd         a spreird
                             lirr^rrirrg   iirt
                                             rhe b;rsetrrent \\:rlls.
                  4.         The gat:rge sl'rlr ,-rrr gracle is a 5" sleb ovct 6" c.rf roc:k rvith #4 bars rt 1.5" c).c.e.\rr.
                  5.         1'he courtyirrci nrea of che elevafed podirur: slab is 6nished stith slopes to drains
                  6.         'l'he courTard arcr r:f tirc clcvated pr:diun slab includcs a 2" tr-rpping shb.
                   .-
                             .1/4" cemenririous urrderlayrnellt ilooringhvi\{axson (ir: eclwrl),2.1 rrrix clesign s'idr a 2,000psi
                             wirlr s,rund m:tI under rll harcl suriace areas is irclrrc]ecl at, the rvr.rr:cl elevirted l]r"rr.r's.
                  8.         [-.evcl J r-rf rt'eas,\ & C in<:ludcs 8" r-rf F,PS Lrr-rat<l r',,ith drilled piet holcs anrl a 2" gypsr.rm tr:pping.
                  ).         I [inimunr of. 1-l i 2" pca gtauel rnir coocrete fi.rr the balconics trnd breezen'avs vid: a drain br.xrd
                             and 60 n:il rvrlterprnr:ftni;. -.\il conclcte toppinp,; shall reccir,-c broom f-rnish.




CONF   T   DENT   IAL                                                                                                PLA]NTIFFS                     OOOOB555
          Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 101 of 187



     N'Iay 13, 2014
                                            Exlribit c(8" - Contractor's Clarifications                                     ernd   Exclusions
                                                                                                                                         IIIT
           Div ision 4: I\'fasorrtv

                 i.       Ctr.:l.Ll   clcv:rtot sbafts are incluclccl.
                 2.       C\{U stair shafts :uc ioclndcd il ihc gatagc ,rrrd at        sreir   A rrordr to   drer   6th lcvel.

            Division 5: Steel

                 l    .                    of C-chennci metal str.ingcts with ptecast treacls and closed risers are incluclecl
                          180 dep,rce stairs
                          t'ithprccast conclcte tlcad.c
                2.        42" ligh guardreil.F'idr punched circles tluough plateti tr:atcrial js inciudcd rt stahs, balconics and
                          t'.ctrridot's.
                3.        Guarcl tails ;rlong l<.'rv parapcts arc not includccl.
                4.        Allst'.rils, handrails and guardrail are pre-prinred and freltl pairrtcrl.

            Division 6: \Voocls & Plrrstics

                l. Lumber is priced pcr culTcnt "Rrnclom Links" rnatket corclitions
                2. Sruds - Jx4 ck 216, gr,rdc ,rtrd spccics pcr strucrrual c{csign.
                3. Triates - 2x4 & 36, gracle arrcl spccies pcr strucnual clcsien.
                4. lx4 .t lx6 fressnre uearecl plate on tlr firsr floor.
                5. Itatliant Barrier Rc'ol Dccking: 4x8 - 23132" OSI] tor fht roof xrcils.
                b. Floor Deckrls: 4xS - 23,i 32" T&G OSII.
                 . Esrcrior shcrdriag ,rnd shar rvrlLs: 15/31" OSB at UL356 :rnd 5./8" dens ghss irt LlL305
                 -;
                                                                                                                                         assernblies.
                lJ. Prctabdcared rool, tLror tnrsses pcr t:arrufacnrrcr's dcsign,
                 -q. l-lnit inredor uirn is based  on NII)F rnatcrial f<rr rlrc ?" casing besc llud wiudow stools.
                 10. Theater. (ilassroc'nr, Ot-fice, I-,easurg, Breali room ancl comn)on area rri.nr lal:or ancl matcrial
                     lll<-rrvlnce pet Exhibit F is included.

            Division 7: 'I'hetrnal & l\'foisture Protection

                 1.       ,\nic (R-38) iibergLass l>att insulation in the 'rttic attlrched ro roof dcck
                 2.       F.xt. \VaLls: R19 l:atts rrnfhced.
                          Par:W \ihlls: R'l 1 batts fbr sound rltenutiorr.
                 .t.      Itctoiing includes r 60railTPO membrlne over nrechanjcal artlchcd 1" polyiso irrsulation                       s'/   a

                          ?0yr    verranti.
                 5.       r\ tluicl applied eir batriet      sysrcm is irrcluded.
                 (r.      .\tr :rir bnrriel is not incluclecl ar rLe roof let derail q/-.\t1.03.
                 "i
                    .     Firc str.rpping pcr cotlcs & govclning ruthotity.
                 8.   Pr:lr'5nrard tlnelersed belr:w gracle rvnterproot-inq sysr.ern is inclucled as lriindsicle w;tl.cr1:root-tng of
                      g:uagc nalls.
                 ().  Polyguarcl total flow dr:dn sysccrn in licu of bclorv gradc drain tilc systcr:r is incluclcd.
                  10. Podiunr cleck'*'aterproofing system includes drlirr bonrcl arrd a 6{lmil watcrpr:oofrng nlernbraflc
                      toPPrrlg.

            I)ir.ision 8: l)gors &           \S"indr:rws


                 t.       Lirrit entrl.' cloor:s are included as a iilat slat: fi{ctal lrrsularcd doors.
                 2.       Intcrior doors are      e l"let siab hollou; core herdboar:cl prehung unit.
                 3.       .Pr,:l-ide 3tt68 h<:llorv corc berlrr-rorn cloors at (r\) urrit in lierr <.rl'lraln clcir-u's; accePrrcl \iE
                 +.       Pr,x"idc hollos' core urir bcdro,:n d.rq1s in licu of solicl corc dor-ttsl acctptctl \'-E
                                                                                                                        t/, screcns
                 5.       Single hung enci horj.zontal slidingl thcrnral brcak aiunrinum'vinclows rvith
                 (;       lire   rrrred windov's    u:e  jncindecl lor ail windows    fbciL:g arrcl ad,iaccrrt !o  bt:cczt:



            Prge 2 .:f 5




CONFI DENT]AL                                                                                                         PLAINTIFFS_OOOOB556
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 102 of 187


                                                                 ((E)t
      itl:ry 13, ?iti4                          Exhibit                    - Contrarctor's Clarrifications                   rrnd Exclusions



                   ,-    Dgor harcln':rre is lucluclcd             :rs   grrde 3 hlrd',r'ate lry RHP os Kr",ichsct.
                   8.    \ranity nrirrors ure inclutlecl,

             Dir''isir:n 9: Firrishes

                   1.    EIt'iS is includecl for l(l1orit of the huilcling            c.r   leri<;r sl*in.
                   2-    I)ryrvr'll matcrial.
                                a) 5/'8" lire-resistart tvpc -'-Y'glpbo'.rrd on tir-c tirtcd rv:rlls.
                                b) 5/lJ" moisnrrc rcsismnc gypbo,rrcl ar rubs surronnd, bath u,alls ancl ceili4g, traslr tootn and
                                     fire riser roorns.
                                c) 57'8" tire-resistanf. urpe "(1" on R(l ch:rnncl at cr:ilirrgs.
                   3.     [,rrit sh<.rrver rurcl rub surttltncls are 6" x 6" scr:ri-gloss tile rr,'rdr bul]nr:sc cdE,c in lieu of 12" s
                         l{'itandarcl tilel accepted \iF,
                   .1.   \'inyl plru:k v'or:d look flooring 6" x 36" :r 6r:ril is inclucled in hitchens, beths, living r()()ms,
                         bccir:oours ancl closcts             in lieu c,f specified material.
                   5.    Iqterior painring is based on fypical apertinent srendartls; sclni-gloss on rujlhvord & tloors,
                         kitclen.V baths rvalls ancl ceiling; all olhcr stullces rvill be tlat.
                   6.    I-.lxtcrior ehstourcric accelt paintis included pcr dre (iolor Schcn:c datcd: tl.l..fll.2014 providecl bv
                         Bclcr'(^lhcn Srudio.

              l)ivisiorr   1.0:    Special Cr:rrditions

                   I,    Siqnage        is by owter.
                   :.    '.['oilct p:utititrns arc not includcd.
                   i.    Firc cxtinsuishers includcd in csch lritchen & prodded per builcling cocle.
                   .i.   ,\lailboxes rrnd parcel boxcs rs pcr rppiicrilrle coclcs.
                   5.     frl:repoles xte not incluclccl.
                   (r.    R'.rth accessories Fer pla[ ioclude:
                           r          'l'owcl   b:rr.
                           r          'I oilct papcr holdcr.
                           r          Shos'er Rocl.
                           o          l\.{irrorecl rneclicinecal)incts

              Divisiorr 1 l: Equiprnent

                    l.   lJlack and Stainless star:clarci nlrert.nrsnl grade riirplianccs in licrr rtf :rppli:urce package speciiied;
                         acceptcri \"8.
                              r 2tltl9 \S'llirlpor:l 181'F-{ SS - WSIIXEG}I\i'S
                                  '      30" FS Raosc Fllcc Coil Slf Ctn SS " \X'rFC3 lLlSit\S
                                  .      1..i cu fr. ,\'ficroutavc Hcroc], Non Sensot- \\iNtH3ltll7,\S
                                  r      l)ishu'ashu - \\,DF310P-\-\S
                                  t      li'hirlpool 1$ cu.ft. XL SS - \{,ltfl:i8'1'FYS (.\DA)
                                         3ti' pS Ita'p;c lllcc (.]oil j:'roni (.-loqirc,ls SS \\'111(.:-i'l0S(]AS   (jD,\)
                               a         1.6 cu.   tt. Oourtlcrtc4r 1\licro*'a..'c Oven - \\lllc.3f)516 \S (\D,\')
                               I         f)ishwasht r' - \IT)F550S,\,\S (.\DA)
                   2.    Steckccl        fi:ont lr:ad rv:tsher anc{ tlryer in licu of conbo rveshcr & drycr lppliancc; :rcccptccl   \Ti
                               I         2?"    I.cirl Flo.v - Fllcc Alpha - \X,'ED?0I-IEB\{I
                                  .      2'i"   l-r]-   - :\$lra I'i"\R - Wl\\i70HH,lJ\\t
             Division      12:        Funrishings




CONF] DENTIAL                                                                                                          PLAINT]FFS_OOOO8557
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 103 of 187



       r\Iay i.1,2r)14
                                            Exhibit ((8"         - Contractor's              Clarifications ernd Exclusiclus
                                                                                                                                      rlll

                    l.     Resident kirchcns, vanities and oft]ce brc.rk room caservork uppcr, lon'cr & vanity cabilcts atc the
                           Itrlia cabinet lirre nith esi'rresso turish rnd staud.rrd h:rtdwrre in lieu of rhe t\Iorrza cabinet iine
                           finur l\las[er wood cratt; accepred Vl:
                           liull extensicrrr dr:rterguicles irnd nragnetic (:xtthes fcrr the callinets trc not inclucle-<.1:
                           ?cm eased edge ()roup I Grurite tops at kitcherrs aod r.anitics arc iucludcc{ in licu o[ Quartz toPs;
                           acccptcd v[
                   1.      2" fau-r wood horizorttalrrrini trlirrds orr rvirrdot's and lratio dt:ors.

              f)ivision      13: S1>ccial    Corrslructiort

                   1.       File alaun systenr pet IBC) rcquircmerrts.
                   ?.       Unic sccuricy prc-wirc is not includcd; Accepred V l:1.
                   .1.      Pte-wire crf- firtute conrrolled access :rllttwance per Fishibit F is incluclecl.
                    4.      ,\ colt-tol,lcd iccess sysrcm to the sitq br.riiding.s (if tlp !'.arnge. G nc.rt inclnded.
                    5.      ,\ splasb pad allorvance pet Exhibit F is inchided'
                    6.      Abetcrrrcnt of dre existing stllrclucs is lrr orvnct,

              l)ivision      14:    Conveying Systerns

                    l.      Elecuic traction elevators in l,rcations per plrns rvidr starrdard calr furishes ;rte included.
                    2.      l'rrsh cltrtc rvith sound darnping coating included.
                    i.      Traslr c<,rnpactor and carts rfe hy on'ler.

               Division      151 I\'f   eclranical

                    l. \FP:\ l-i fte sprilklet systeDr u,'idr st:rndpipes arrd boosrer pun:p is irrcluded.
                    2. Residerrtial t'hite sprinkler heads u'ith u'hitc cscntcheons are ilcluded.
                    -i. Sprlrk1cr ptotcctions oi drc attic rrrd floor lntsscs is includcd.
                    4. l\r(l s'asre atrd venr pipirrqis included.
                    5. C.P.\'.C. domestic water piping is includcd'
                    6. \\."ashing rnachioe clrain paos ale not iscluclecl'
                    7. Plumi:inil fLrnrres provided per MEP plans dared: 01.i)(r.2014 in iieu of ID schedtrle; acccptcd \iE
                    8. 'Iimcrs tbr thc rvatcr hcatcrs axc trot itrcludcd.
                    9 Inclividual renrore read dornestic {'ater meters in rhe units are ltrrt ilcluded. PLunbing tbr hrcure
                            rnerers is included.
                     10. Gamlp lnd courtyard alggh dnins :lre ini:luded
                     11. InsuLrtion of rr'irter s):slerrrs is per mirlimum codc rcquirerrcrlcs only.
                     t?. 'fhe servet eiector punrp is rrr.)t ilrcltlded.
                     1 3. Flach unit includes individual prtl.qtattrrnalrle thennostats.


                     l,i. Split DX l.t\i,\(;sysrerns I:r, (]oodrnan wirh ccxrderrsers'locefed on the. rnitf.             SF.F,R. rar.ings Pe-r 1.rlans.

                     15. ,\nri-microbial duct boarcl w'ith flex duct tbr al] sr"rpplv cluctinq is irrclucled'
                     16. Carage r,'errtilation systc.rn wich CC)21INC)2 tle.tccti<.xr s)-stctns is nclucled.
                     17. 5Lj cfil barh exhagst vented hr:rizorrrally co exte rior wall Fans aJe m(rurrted orr the batluoom
                         rvalls io licu of drc ccili:r.q.
                         t8. Ductingoithe   kirchen venr-:l-hood is incjuded.
                         19. HV,\C allr:tance per F,xhibit F- included fbr officg )ease, ltleak tc,om and           Il)F t':oms




                Pagp 4     of   6




CONF   I DENT fAL                                                                                                PLAINT]FFS                         OOOO855B
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 104 of 187



     t--
     |
     tT-
         \{ay   I _1,2014
                                                  Exhibit ((8"             - Conttar.ctor's Clarr{fi.cations arnd                         ;;;";";-l
                                                                                                                                               IIIE
     rl
     ti
                 Division [6: F,lecttical

                       1.       Sitc rrenching aud condrrit for pr.imrrv eler:trical sen'ice with a rna-x distarne af "100' is irrcludeci.
                                (lorrdrrr:tors t<: be [urnishecl arrcl itrstel]ecl hy utilitv provider.
                      ?.        Sit'e ttenchir:g, cc,nduit, conclttclors tor: secr.rnciarv clectrit:al selvice nre inciuded.
                      3.        C()st associacerl rvjth en "In Netrvork" svsteur by Au"rin Ener.c'y is not included.
                      4         Sub-feecle r:s are alunri:runr cable sized per code and not in condnit.
                      .i.       Ik:mcx cable for rll branch md lighting circuits Lr all buildings is ilcluded.
                      (r.       Snxrhe cietectors are IlOvrvith batcerr, backrrp.
                      7.        I-tnit secur:it1- pre-rvire is not incirrdetl; tcceptecl VE
                      8.        ,\liowance per Lxhibit F tbt pte-wite of ftinrre access conftol locationsl accepced                    VE
                      9.  .{-llowance per Erhibit Ir tor CCIf il 4locaticus; rccepred \iE
                      10. 'iVo (2) conduit to IDIr roonrs irl licu of tlrree (3) concluir: :rcceprecl \rlj
                      11. Llnit low rtrltage coaduit is rrot irrcludecil accentecl \'rE
                      12. Site lighting is irrcluded urilizing rvall packs, 3ea perking lor light poles ancl -ier pedesuian light
                                lrollenls.
                      13.,{llowanceperEshibitFisinclucledforstrncruredrvirefor]honc,D;rtaandC-tI\,'.
                       Il. I)rv ldlity rrnclerg5rouncl conduit allowance per Ush.ibit lr inclucled.
                       15. tiquiprnerrtirrrhenririncc,tnnllruiclrti()nandseconeltryrr)()rnsisllvtlreserviceprolider.

                 General Notes:

                      l.        G\'{P does not includc Weis Brrildcts or its subconrractc,rs achicving any specif-rc rvork f<rrce
                                goals/requirerrrents, vage requirernerrls, or participatiou g,oalsT'requ.iremeilts (srrch as those
                                related to clisad',antageci or minorir.v trrvned busirresses).
                                Cost ;rssr:r:iaied rvith the Lanclscepe,i Hatclscape plens by Bercv (lhen is nor inclrrde.d; no plans
                                nrovicled.
                                ilost associated 11,ifi Jr'r plrrg i1sp".6ons for tbe tequireurents of the Austi:r Green Buiklirrg
                                Program :lre r.ot included.
                                Offsite (livil pemrit, Onsite Civil pernrit, Buildi.rrg pernrits, impact [ees, and utilitv pnrvicler fees
                                :rrrcl costs will be paid direcr\, bl'owner.
                      :).       Ji;rffic cr:rntrol and trade perrnits costs are incluclecl.
                      6.        Cost asuociated rvith the shrrtdorvn and rev,rorli o[ tbc cxisting chi]led warer and boiler svstcrns a.r'e
                                by o*'ner.
                      l         IrayrnenI arrcl Perforrmnce b<lrds is ilcluded.
                      rl        lJuilclers Risk irrsurerrce is irrclucled.
                      9         (lorttrirctrrt's crrnrtollecl insulirnce prc'g'arn is incluclecl. \:$reis Builders rvill   l-rc   responsible for ail
                                cleductibles.
                      10.       All rvnrrarrdcs for l;rbor, rnateriat aod cqruprucnr arc tbr otle ycar from sul:stantial cornpledon
                                exccpt v'hcn maoufacturer's standard walrant\r for materjai end/or equipmeilt is greater.
                      It. Ali testing s,ill [re perforrned rrnd directlv paicl ii.rr l:./ the orvner:.
                      t2. The s't'.lrk does nr,t inchrd.e an;; FF& E items i.e. irrrnitrrre, televisi<:rrs, cornpulers' telephones, frx
                          tnachirres, photocopiers, ot oifLce ecluiptuenf of arrv sort.
                      IJ. Cdntractor l+rafantees tc"r build, Fef the pl,ros and specifications. In drii::e sc;, Corrltactor docs nor
                            qrnrantee specifi.c S'I'C or IIC souad rating;s.
                      t1. GtrIP is l:asccl on a crlttinuous builci out lrom thc notir:e to proceecl.
                      15. \lhter proofing, pedestal pavers ancl }lexican llg1ch rr:ck is ncrt ilcluclecl iL area Ij & f) corriclr-rts.
                      t (). Cily Cor:rment No. 2 plans date.l ll,+.15.2014 ale inr:lrrdecl es an alk:wanr:e pef F',xhil-tit Ij lirl the

                                follo*'ing   s   cop e   c-.h n   rrges;




                Pagc      .5   o[ti                                                                                                                     !
                                                                                                                                                        I
                                                                                                                                                        I

                                                                                                                                                        I




CONF I DENT         IAL                                                                                               PLAfNT]FFS_OOOO8559
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 105 of 187



        llay ti,2(ll'{                       Exhibit ((E"           - Contractods             Cladfications and Exclusions
                                                                                                                          trtf
                                         =fetnpo.rarv  tlncc fr-rr- levcls Gl nnd G2 ,.rf the parking g:ifitge.
                                  b,     Conctete curb on dre podiunr deck located at dre Nordr erl1p.
                                         1J" tall x 8" s'ide pedcstal footing basc ,:f coluurn rralls.
                                  tt.    Additional tz'r" glllrsum top1:iue on holly boarri,
                                         Stair shafi (A) torver irrcrease,l length acirlirir',nrl 31t.
                                  I.     Trash room atca t\) llu cr;nrLnrction,
                                         .\Dr\ open sbclvcs in BIi traits.
                                  1.
                                         Itoofbridgc cxtcosion lcvcl 6 roof3.
                                  t.     Windorv oi:ening control Llevices.
                                  t.     F'ixed (C) t'inclorvs in lieu of olrerable ($) n'inrlnrvs
                                         Ram rloor'xr thenter lt:'catiort.
                                         Stafu shati /1A) p<ldium level arltled';r wtll nnd ilo<.rr.
                                  I
                                  l.
                                  r11    Comrnon rvail beween btrildilg:\ ct C revisctl I-l-L essenrbly LIL375.
                                  n-     South facirrgu'all o[lruilciingi] & D added I.IL rsselrhlv LtL30t.
                                   I-iL.ltl 1 :rsserrrl.rlv rev iser'l-
                                  (.).

                                  p.Starr (,\) Sh,rtt u'ail LIL9tl5 rerisecl.
                                   tlcinrnrunifl ceiling def-ured to be ncw IJLNIS$) assenrbl';.
                              T.   Scctrndar-r'rvccp.s add ro podiunn lcvcl clcck drains.
                                   l)ublic resrrorlms added in rnairrtenauce alea. llrsiuess cetlter 3ud
                                   classtoom afeas.
                              t.   H\iAC revisions and aildition to cl:rsstootn, fitness, arrtl l.rtsiness ccnter'
                              u.   ,\clded oil separitors aocl sanitarl'server in]ecror.
                                   Floor dnirrs ancl rrp prinrcr addccl Lr txash rocr1ts and cxistir:g comnron bath.
                              \t'. fikror drains and uap prirrrers in unit restroorn ate excluded.
                              x.    Fire deparrnrent c6rnnecf,inns on the rooli lre incltrded per code rnirrir:ruru.
                              -t'. Lorv    l'requenc:y sotrnd fire alanns are irrcluclecl.
                              z. F,lectrical fixtures an.l circitit tevisions.
                     17. Fqhrre cor:rmunify paviliorr stl.trcrures ancl illassocirrted grecn space terfures l<-icared in tlre
                         sr udreast corncr r:fdevelopruent rtc not includcd.




                Page ri rrf   6




CONF   I EENT IAL                                                                                                 PLA]NTIFFS     OOOO856O
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 106 of 187




                                                           EXHIBIT   5

                                               AGREEMENT OF GUARANTY

              THIS AGREEMENT OF GUARANTY ("Guaranty") is made as of the 23rd day of May, 2014, by the
     undersigned (whether one or more, referred to as the "Guarantor'), for the benefit of 2013 Travis Oak Creek, LP, a
     Texas limited partnership (the "!artnersh!p'), and PNC Bank, National Association, a national banking
     association, and Columbia Housing SLP Corporation, an Oregon corporation (collectively, the "Limited
     Partners"), which are limited pnrtners in the Partnership governed pursuant to the Amended and Restated
     Agreement of Limited Partnership of the Partnership dated as of the date hereof (the "Asreemenf') for the purposes
     of acquiring, developing, owning and operating a multifamily residential rental apartment project (the 'BfgiSSg')
     located in the State of Texas (the "State"), and where 2013 Travis Oak Creek GP, LLC, a Texas limited liability
     company (the "Ggng!-p31!g''), is the general prutner and 2013 Travis Oak Creek Developer, Inc., a Texas
     corporation, is the developer of the Project (the   '@!gpg").
              NOW, THEREFORE, in consideration of the foregoing recitals and other valuable consideration,             the
     receipt and sufficiency of which is hereby acknowledged, the Guarantor, for the benet'it of the Partnership and the
     Limited Partners, hereby irrevocably and unconditionally guarantees and agrees as follows:

              l.       Reliance. The Guarantor agrees and acknowledges that this Guaranty is given to induce the
     Limited Partners to invest in and become limited partners in the Partnership. Absent execution and delivery of this
     Cuaranty, the Limited Partners would not have invested in the Partnership as limited partners and would not have
     agreed to make capital contributions to the Partnership. The Guarantor acknowledges that Guarantor was and will
     be directly benefited by the Limited Partners becoming limited partners in the Partnership.

              2.        Cuaranteed Oblisations. The Guarantor hereby unconditionally, jointly and severally guarantees
     to the Partnership and the Limited Partners the tull and prompt payment, performance, observance, compliance, and
     satisfaction of all obligations, covenants, representations, and warranties on the part of the General Partner to be
     paid, performed, observed, complied with, or satisfied with respect to the Agreement, as and when due. The
     Guarantor also unconditionally, jointly and severally guarantees to the Partnership and the Limited Partners full
     prompt payment, performance, observance, compliance and satisfaction                of all   obligations, covenants,
     representations, and warranties on the part of the Developer to be paid, perlbrmed, observed, complied with, or
     satisfied with respect to Section 6.7 of the Agreement and with respect to the Development Agreement. All
     obligations of the General Partner and the Developer herein guaranteed are referred to as the "Guaranteed
     Oblieations."

               3.       Guarantv of Payment. The guaranty made hereunder is of payment and not of collection, and
     Guarantor waives any right to require that any action be brought against the General Partner or any other Person
     liable for performance or payment of any of the Guaranteed Obligations or that resort first be had to any other
     security therefor.

              4.        Effect of Pavment bv Guarantor to Partne_rship and/or Lindted Partners. No payment by the
     Guarantor to the Partnership and/or the Limited Partners under the terms of this Guaranty shall constitute a Capital
     Contribution, loan, or advance to the Partnership or change in any interest of any of the Partners in the Partnership,
     except as expressly provided for under the terms ofthe Agreement. The Cuarantor shall not have any rights in or to
     the Partnership or its assets as a creditor or a Partner by virtue of any payments made hereunder,

              5.       Continuing Guaranty. This Guaranty shall be unconditional, continuing, absolute and irrevocable,
     and shall continue until all Cuaranteed Obligations have been fully performed, paid, and satisfied, and shall not be
     affected or impaired by: (a) any modification, extension, or amendment of the Agreement or any other agreement
     now or hereafter executed by the Partnership, the General Partner, or a Limited Partner, or any of them; (b) any
     modification, extension   of time for the payment of,     forbearance, settlement, release, surrender, exchange, or
     discharge of any Guaranteed Obligations, any collateral therefor, or any party liable or to become liable, primarily,
     secondarily, or otherwise, with respect to any Cuaranteed Obligations (herein 'Other ObtigSrs"); (c) payment of
     additional Capital Contributions by the Limited Partners after default or the release of any security after default


                                                         EXHIBIT5-Page    I
     4837-4545-8969.4




CONFI DENTTAL                                                                                 PLAINT]FFS_OOOOB561
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 107 of 187




       whether material or otherwise; (d) death, dissolution, or insolvency of the Partnership, the General Partner, the
       Guarantor, or any Other Obligors; (e) release of the Ceneral Partner, or any Other Obligors from the performance or
       observance of any of the Cuaranteed Obligations, arising by operation of law or otherwise, whether made with or
       without notice to the Guarantor; (f) the fact that the Partnership and/or the General Partner may or may not be
       personally liable under the Agreement or the Project Documents to pay any money judgment; (g) any act done,
       suffered, or lett undone by a Limited Partner, the Partnership, or the General Partner or the Developer relating to the
       Agreement, the Project Documents, this Guaranty, or any other instrument or thing, including, without limitation,
       any delay or failure on the part of the Partnership or Limited Partners in exercising any right, power or privilege
       under the Agreement, this Guaranty, or any other instrument or document executed by the Partnership, the General
       Partner, the Developer or any Other Obligors; (h) any failure to give any notices of acceptance, notices of default, or
       other notices; (i) the execution of any guaranty by any personal corporation, parhership, or other entity relating to
       the Agreement, the Project Documents or otherwise; () any sale, transfer, pledge, surrender compromise, realization
       upon, release renewal, extension, exchange, or other hypothecation of any kind of this Guaranty, all or any part of
       the Agreement, and all or any part of any security or collateral given to secure any of the obligations thereunder;
       (k) any tailure, invalidity, or unenforceability ol or any defect in, the Agreement or any security or collateral given
       to secure any ofor all the obligations thereunder; (l) any change in the manner, place, or terms ofpayment of, or any
       change or extension of time of payment of, or any renewal of alteration in any of the Guaranteed Obligations, any
       security therefor, or any liability incurred directly or indirectly in respect thereof; (m) the Limited Partners' exercise
       or forbearance from exercising any rights or remedies against the Partnership, the General Partner, the Developer or
       Other Obligors, or any other act, or failure to act in any manner, which may deprive the Cuarantor of any rights of
       subrogation, contribution, or indemnity against the Partnership, the Ceneral Partner, the Developer, or any Other
       Obligors; (n) any change in any of the Partners of the Partnership; or (o) any removal of any General Partner of the
       Partnership; provided; the obligations of the Cuarantor shall not extend to provisions for which the General Partner
        is not liable under the Agreement.

                6.       Direct Liabititv. The liability of the Guarantor hereunder is direct and unconditional and may be
       enlbrced without requiring the Limited Partners or the Partnership, as the case may be, first to exercise, enforce, or
       exhaust any right or remedy against the Partnership, the Developer or any General Partner, or against any Other
       Obligors. Upon any default by the Partnership or the General Partner or the Developer or Other Obligors relating to
       any obligation under the Agreement, the Limited Partners may, at either of their option, proceed directly and at once
       against the Guarantor to collect the full amount of the Cuarantor's liability hereunder, or any portion thereof,
       without tirst proceeding against the Partnership, the General Partner, the Developer, any Other Obligors, or any
       person, corporation, partnership, or other entity.

                 7.       'Waivers. The Cuarantor hereby waives: (a) presentment, demand, protest, and notice of
       acceptance, notice of demand, notice    of protest, notice of dishonor, notice of default, notice of nonpayment, and all
        orher notices to which the Guarantor might otherwise be entitled; (b) any and all claims or defenses relating to lack
        ofdiligence or delays in collection or entbrcement, or any other indulgence or forbearance whatsoever with respect
        to any obligations relating to the Agreement, the Project Documents, or the Guaranteed Obligations and any def'ense
        which the Guarantor may have by reason of any defense which the Partnership. any General Partner, the Developer
        or any Other Obligors may have against the Limited Partners, other than payment, satisfaction, and performance of
        the Guaranteed Obligations; (c) notice of any advances or Capital Contributions made under the Agreement or
        Project Documents; (d) any right, title, or interest in, or claim to, whether by subrogation or otherwise, any collateral
        or assets of the Partnership, the Developer or the General Partner, or Other Obligors until all Guaranteed Obligations
        have been fully paid, satisfied, and performed; and (e) any defense or claim relating to the marshaling of assets or
        any requirement to proceed against any parties or collateral in any particular order; and (0 all other suretyship
        defenses, rights, and claims.

                 8.        Costs and Attorne), Fees. The Cuarantor agrees, in addition to the liability for the Guaranteed
        Obligations, to reimburse the Limited Partners and the Partnership for all costs and expenses, including reasonable
        attorney fees, which the Limited Partners or the Partnership, as the case may be, may incur (a) in the collection of
        any amounts owing under this Guaranty, the Agreement or any part thereof, (b) for the enforcement of this
        Guaranty, the Agreement or any term, agreement, covenant, provision, obligation, or duty arising thereunder, (c) in
        the realization of any collateral obligation or duty hereunder, and/or (d) in connection with any bankruptcy or
        similar proceeding wherein the Partnership, the General Partner, the Guarantor, or any Other Obligors are the
        "debtor". In the event of litigation or other proceeding in connection with this Guaranty, the Limited Partners shall

                                                         EXHIBIT 5 -Page2
        48374545-8969.4




CONF   I DENT IAL                                                                                  PLAINTIFFS_OOOO8562
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 108 of 187




     be entitled, in addition to all other sums and relief, to reasonable attorney fees, costs, disbursements, including all
     such fees, costs, and disbursements incurred both at and in preparation for trial and any appeal or review, said
     amount to be set by the courts before which the matter is heard. Notwithstanding the foregoing, the ILP and the SLP
     shall not be entitled to any reimbursement hereunder in the event of a determination by applicable authority rhat the
     ILP or the SLP acted wrongfully or negligently in its collection efforts hereunder, and such acts had a material
     adverse impact on the undersigned.

              9.        S*ltute of Limitations: BankruptcJ. The Guarantor shall remain liable with respect to           the
     payment, performance, observance, compliance, or satisfaction of the Cuaranteed Obligations or any part thereof
     irrespective of whether a recovery upon the same may have been barred by any statute of limitations. Any payment
     made on any obligations under the Agreement that may thereafter be required to be refunded, as a preference or
     otherwise, under any state or federal law shall not be considered payment for purposes hereoi nor shall it have the
     etTect of reducing the amount of the Guaranteed Obligations or the liability of the Guarantor hereunder.

              10.       Actions Regarding Other Obligors. The Guarantor hereby represents and warrants that              the
     Guarantor was not induced to give this Guaranty by the fact that there are or may be Other Obligors, or by the fact
     that there may be other collateral securing the Guaranteed Obligations. No election to proceed in one form of action
     or proceeding or against any party, or on any obligation, shall constitute a waiver of the Limited Partners' or
     Partnership's, as the case may be, right to proceed in any other form of action or proceeding or against any other
     parties. Without limiting the generality of the foregoing, no action or proceeding by the Limited Partners or the
     Partnership, as the case may be, against the General Partner, Developer or any Other Obligors, shall serve to
     diminish the liability of the Guarantor hereunder except to the extent that the Limited Partners or the Partnership, as
     the case may be, realizes payment by such action or proceeding, notwithstanding the effect ofany suit or proceeding
     upon the Guarantor's rights ofsubrogation orcontribution against the Partnership, the Ceneral Partner, Developer or
     such Other Obligors. The Limited Partners and the Partnership, as the case may be, shall, at its option, have the
     right to join the Partnership, the General Partner, the Developer, the Guarantor, and any Other Obligors, in any
     action or proceeding related to the Guaranteed Obligations.

               Il.     Investieation. The Cuarantor delivers this Cuaranty based solely upon the Guarantor's own
     independent investigation of the financial condition of the Partnership, other Cuarantors, Developer, the Other
     Obligors, and the Ceneral Partner and in no part upon any representation or statement of the Limited Partners with
     respect thereto. The Guarantor is in a position to and does hereby assume full responsibility for obtaining any
     additional information concerning the financial condition of the Partnership other Guarantors, the Other Obligors,
     the Developer and the General Partner as the Cuarantor may deem material to Guarantor's obligations hereunder,
     and the Cuarantor is not relying upon, nor expecting the Limited Partners to furnish, any information in the Limited
     Partners' possession concerning the financial condition of such parties. The Guarantor agrees that the Guarantor
     hereby knowingly accepts the full range of risks encompassed within this Guaranty, which risks include, without
     limitation, the possibility that the Partnership, the General Partner, the Developer, other Guarantors and/or Other
     Obligors may incur additional obligations for which the Guarantor may be liable hereunder after the financial
     condition of the Partnership, the Developer, other Cuarantors, Other Obligors and/or the General Partner, or ability
     to pay their lawful debts when they are due has deteriorated, and the Guarantor understands that the amount of the
     obligations may be increased or decreased and the ratio of obligations to collateral, if any, may be changed
     adversely to the Guarantor. This Guaranty will be effective when delivered to the Partnership and the Limited
     Partners without need for acceptance or any other formality.

               12.       Representation and Warranty of Financial Condition. The Cuarantor hereby represents and
     warrants that all financial statements of the Cuarantor heretofore delivered to the Limited Partners by or on behalf of
     the Guarantor are true and correct in all material respects and fairly present the financial condition of the Guarantor
     as of the respective dates thereof, and remain true and corect and not in any way misleading, as of the date hereof.
     The Guarantor agrees to provide by June l" of each year a cefiified financial statement of the Guarantor as of the
     end of the Partnership's previous Fiscal Year, including, but not limited to, a balance sheet and income statement
     with supporting schedules or exhibits. The Guarantor also agrees to provide at any time upon the request of any
     Limited Partner bank statements and brokerage statements, together with any other appropriate documentation
     evidencing to the satisfaction of such Limited Partner the liquidity of the Guarantor for the purposes of Section
     6.5(n) of the Agreement. The Guarantor hereby expressly agrees to the release of such financial information by the



                                                      EXHIBIT5-Paee3
     4837-4545-8969.4




CONFI DENTfAL                                                                                  PLAINTIFFS                OOOO8563
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 109 of 187




       Limited Partner to their Affiliates, agents and representatives, partners of the Limited Partners and proposed
       investors of the Limited Partners.

               13. Partnership's and Limited Partners' Riehts. The Partnership and/or any Limited Partner may, at
       any time and from time to time, with or without the consent of, or notice to, the Guarantor, and without incurring
       responsibitity or liability to the Guarantor or impairing or releasing the obligations of the Guarantor hereunder:

                           (i)     change the manner, place, or terms    of performance or payment of, or renew,      replace,
                extend,    or otherwise modify any document now or     hereafter creating, securing, or governing the
                disbursement of any of the Guaranteed Obligations (including, without limitation, the Agreement) other
                than this Guaranty;

                          (ii) sell, exchange, release, surrender, realize upon, or otherwise deal with, in any manner and
                in any order, any property by whomsoever and whenever pledged to secure, or howsoever securing, any of
                rhe Guaranteed Obligations or any liability (including, without limitation, any of those hereunder) incurred
                directly or indirectly in respect thereof or hereof, or any offset there against;

                           (iii)    exercise or refrain from exercising, for any period of time whatsoever, any rights against
                the Ceneral Partner, the Developer, other Cuarantors or Other Obligors (including, without limitation, the
                Cuarantor) available to the Partnership by law or under any document now or hereafter creating any ofthe
                Guaranreed Obligations, any other security theretbr, or any liability (including, without limitation, any of
                those hereunder) incurred directly or indirectly in connection therewith or herewith (including, without
                limitation, failing to attempt to collect any of the Guaranteed Obligations);

                           (iv) settle or compromise any of the Guaranteed Obligations, any security therefor, or any
                liability (including, without limitation, any of those hereunder) incurred directly or indirectly in connection
                therewith or herewith;

                           (v)     accept any further security for payment of the Guaranteed Obligations in addition to this
                Guaranty; and

                           (vi)    perform such other acts as may be permitted under the Agreement.

                 14.    Subrosarion. Until the Guaranteed Obligations have been performed and paid in full, the
       Guarantor shall have no right of subrogation against the General Partner, the Developer, or any Other Obligor in
       connecrion with this Guaranty nor any right to participate in realization upon any security for any ofthe Guaranteed
       Obligations.

                 15.       Subordination. Any indebtedness of the General Partner, the Developer, or any Other Obligor to
        the Guarantor now or hereafter existing is hereby subordinated to the Guaranteed Obligations. Any                  such
        indebtedness of the General Partner, the Developer, or any Other Obligor to the Guarantor, upon written demand of
        the Partnership, shall be collected (by action or proceeding, if required by the Partnership) and received by the
        Guarantor in trust for the Partnership and shall be paid over to the Partnership on account of the Guaranteed
        Obligations without impairing or releasing the obligations of the Guarantor hereunder; provided, however, that
        while no default exists in the payment of the Cuaranteed Obligations, the Guarantor may apply to its own account
        any payments made to it on account of any indebtedness of the General Partner to the Cuarantor.

                 16.      Successors. This Guaranty shall be binding upon the Guarantor, the Cuarantor's heirs, personal
        representatives, successors, and assigns, and shall inure to the Limited Partners' benefit and to the benefit of the
        Limited Partners' successors and assigns, and to the benefit of anyone claiming title to any collateral sold by the
        Limited Partners pursuant to any rights, powers, and privileges it or they now have or may hereafter possess.

                  17.      Integration: Waiver. This Guaranty contains the sole and entire understanding and agreement of
        the parties herero with respect to the subject matter hereof, and supersedes all prior negotiations and understandings.
        Thii Guaranty may not be terminated or otherwise amended, changed, or modified, nor shall there by any waiver or


                                                         EXHIBIT5-Page4
        4837-4545-8969.4




CONF   I DENT IAL                                                                                PLA]NTIFFS                 OOOO8564
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 110 of 187




     estoppel by the Limited Partners or the Partnership, except by a written instrument signed by the Limited Partners
     and the Partnership. No waiver, express or implied, by the Limited Partners or Partnership of any default hereunder
     shall be deemed a waiver of any other or succeeding default hereunder.

              18.      Interpretatio-g. This Guaranty and the rights and obligations of the Guarantor shall be governed
     and construed in accordance with the internal laws of the State of Texas.' If for any reason any provision of this
     Guaranty does violate any such laws or is not fully enforceable in accordance with the terms and provisions hereof,
     this Cuaranty shall be limited or construed to comply with such laws and shall be enforced to the full extent
     permitted by such laws. If there is more than one Guarantor, the liability of each Guarantor shall be joint and
     several. Capitalized terms used in this Guaranty shall have the meanings specified herein or in the Agreement.

                19. Personal Jurisdiction and Venue. The Guarantor hereby submits to personal jurisdiction as
      provided in this Section l9 for the enforcement of this Guaranty and waives any and all personal rights to object to
      such jurisdiction for the purposes of litigation to enforce this Ouaranty. The Guarantor hereby consents to the
     jurisdiction of the courts of either the State of Texas or the Commonwealth of Pennsylvania or the courts of the
      United States of America for the District of Texas or the District of Pennsylvania, in any action, suit, or proceeding
      which any Limited Partner may at any time wish to file in connection with this guaranty or any related matter. The
      Guarantor hereby agrees that an action, suit, or proceeding !o enforce this Guaranty may be brought in any state or
      federal court in the State of Texas or the Commonwealth of Pennsylvania and hereby waives any objection which
      the Cuarantor may have to the laying of the venue of any such action, suit, or proceeding in any such court;
      provided, however, that the provisions of this Paragraph 19 shall not be deemed to preclude any Limited Partner
      from tiling any such action, suit, or proceeding in any other appropriate forum. The Guarantor hereby agrees that
      any process or notice of motion or other application to any such court in connection with any such action or
      proceeding may be served upon the Guarantor by registered or certified mail to or by personal service at the last
      known address of the Guarantor, whether such address be within or without the jurisdiction of any such court.

              20. Effect of Certain Events. Guarantor further covenants that this Guaranty shall remain and
     continue in full force and effect as to and notwithstanding any amendment of the Agreement, or transfer of rhe
     Interest of any Partner thereunder, or withdrawal or removal of any Partner thereunder, and that indulgences or
     forbearance may be granted under the Agreement, with or without notice to or further consent of Cuarantor, except
     as otherwise specifically stated in the Agreement.


              In conjunction with any sale, transfer or assignment by the ILP of all or any part of its Interest in
     accordance with the provisions of the Agreement, the ILP is hereby authorized to obtain updated UCC, judgment
     and tax lien searches and updated financial statements with respect to the Guarantor and the Cuarantor represents
     and agrees that it will take all actions reasonably necessary (or requested by the ILP) to cooperate with the ILP and
     facilitate the ILP's disposition of its Interest, provided that any such items shall be done at the ILP's expense. In
     addition, in conjunction with any such sale, transf'er or assignment, the ILP is hereby authorized, and the Guarantor
     hereby consents to the disclosure and/or release of the Guarantor's financial statements and any other information
     relating to the Guarantor which is relevant to such sale, transfer or assignment.

               2l.      Security Interest. In order to ensure the timely payment and performance by the Guarantor of the
     Cuaranteed Obligations, each Guarantor hereby grants to the Partnership and the Limited Partners a security interest
     in all of their respective right, title and interest in the Partnership, including any and all fees, distributions, and
     payments due or paid to the Guarantor or any of their Affiliates by the Partnership as fees, returns of capital,
     distributions, repayments of loans or advances or for any other purpose, together with any and all tax benefits and
     other property rights and distributions, and all of the proceeds and products thereof, all in order to secure the
     Guarantor's obligations hereunder. Each Cuarantor acknowledges and agrees that any amounts owed by the
     Partnership to a Guarantor is subject to offset and reduction in the event of the Cuarantor's failure to satisfy any
     Guaranteed Obligation. Further, the termination of the Development Agreement or removal of the General Partner
     for cause under the terms of the Agreement shall result in the termination of any payment or distribution obligation
     ofthe Partnership owing to any Guarantor regardless of whether such fee was fully earned prior to the effective date
     of the termination of the Development Agreement or removal of the General Partner.

              22.      Counterparts. This Guaranty may be executed in several counterparts, and all so executed shall
     constitute one agreement, binding on all the parties hereto, even though all parties are not signatories to the original


                                                      EXHIBIT5-Paee5
     48374545-8969.4




CONFI DENT]AL                                                                                  PLAINTIFFS_OOOOB565
          Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 111 of 187




    or the same counterpart. Any counterpart which has attached to it separate signature pages, which altogether contain
    the signaturesofall parties whose signature thereon are required, shall for all purposes be deemed a fully executed
    instrument. Delivery of a manually executed counterpart to this Guaranty or delivery of a copy of such manually
    executed counterpart by email or facsimile transmission shall each constitute effective delivery ofsuch counterpart.
    Any party delivering a copy of such manually executed counterpart of this Guaranty by email or facsimile
    transmission shall promptly thereafter deliver the manually executed counterpart, provided that any failure to do so
    shall not affect the validity of the copy of the manually executed counterpart delivered by email or facsimile
    transmission.

          23. WAIVER OF TRIAL BY JURY. THE GUARANTOR, THE PARTNERSHIP, AND THE
    LIMITED PARTNERS EACH HEREBY WAIVE ANY RIGHT TO A TRIAL BY JURY IN ANY ACTION OR
    PROCEEDING TO ENFORCE OR DEFEND ANY RIGHT UNDER THIS GUARANTY OR THE AGREEMENT
    OR RELATING THERETO OR ARISING FROM THE TRANSACTION WHICH IS THE SUBJECT OF THIS
    CUARANTY AND AGREE THAT ANY SUCH ACTION OR PROCEEDING SHALL BE TRIED BEFORE A
    COURT AND NOT BEFORE A JURY.

                                                 [Signature Page Follows]




                                                    EXHIBIT5-Page6
     4837 -4545-8969.4




CONF] DENTIAL                                                                               PLAINT]FFS               OOOO8566
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 112 of 187




                  This Guaranry has been executed and delivered effective as ofthe date first written above.


       GUARANTOR;


       2013 Travis Oak Creek Developer. Inc.




       Chula lnvestments, Ltd,
       a Texas limited partnership

       By:   c                    L.L.C., the sole General Partner

       By:*
       Name
       Title:




                                                         EXHIBIT 5 -Page7
       4817-4545-8969.4




CONFI DENT       IAL                                                                             PLA]NTIFFS    OOOO8567
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 113 of 187




                                                               EXHIBIT 6

                                                       REOUIRED INSURANCE


                                                             PNC Real Estate



       A.     GeneralRequirements
       All policies or documents evidencing the required insurance shall:
       l.     Be provided at least ten (10) days prior to equity closing to ensure adequate lead time for PNC to engage its
              consultant and receive its Final Insurance Due Diligence Report prior to closing; updates must be provided as
              required for each capital contribution.
       2. Be        maintained throughout        the term of the loan(s) and the term of                   ownership     for   all
              borrowers/owners/investment partners.
       3.     Clearly identify the property location or description on each certificate,
       4.     Be provided in the following form, with all forms and endorsements noted:
              .    Accord 25 - Ink-signed Certificate ofLiability Insurance
              .    Accord 28 (20[.3ll0 edition) - Ink-signed Evidence of Property Insurance
              .    A full copy of the policy when available
       5.     Name the Operating Partnership as the First Named Insured on each policy provided by the Owner, or on behalf
              of the Owner, and name the following entities as Additional Insureds on all policies required of any party under
              these guidelines (with the exception of auto liability , professional liability (E&O) and Workers' Compensation:
              .    ILPs and their successors and assigns,
              .    SLPs and their successors and assigns and
              .    All Additional Investors (the equity providers)
       6.     All liability insurance policies provided by parties other than the Owner shall name the Partnership and/or the
              enriries rhat comprise it as Additional Insureds. Prof'essional liability coverage shall indicate the Partnership as
              certificate holder
       7.     Binders may be accepted for a 30-day period only.
              .   Continuous binders are acceptable if issued by the insurance company's underwriter. Continuous binders
                  must be replaced with certificates or policies within 30 days of receipt.
              .   Facsimile copies are acceptable as temporary evidence of coverage. Hard copies must be promptly
                  delivered to contirm evidence.
       8.     Be issued/written by insurance carrier or carriers acceptable to the lender and investor and having:
              . A rating of A: Class VII or better (a couple of investors require A-lX or better) by A.M. Best's Key Rating
                   guide (note: rhe insurance company's NAIC number is needed in addition to their name), g
              . A rating of"A" or higher from Standard & Poor's'
       9.     Be written on a per occurrence basis (, prol'essional liability coverage and Environmental Impairment Liability
              including contractor's pollution legal liability insurance coverage, which may be written on a claims-made
              basis).
        10. Have a cancellation provision requiring the carrier to notify the parties (Partnerships, GP, ILP, SLP, Lenders
            and equity providers) at least thirty (30) days in advance,(10) days for nonpayment ofpremium, ofany policy
              reduction, cancellation, premiums due, any lapse expiration, material change, amendment or non-renewal intent.
              Notice should be advance written notice via certified mail return receipt requested.
        ll.   Be written for a term of not less than one year, with premiums prepaid and evidence of premium payment
              accompanying the binders and policies'

        The following requirements apply to Property policies:
        12. Name the Lender and its successors and assigns (collectively, the Lender) as Mortgagee and Loss Payee..
        13. Name the SLP and its successors and assigns as Loss Payee
        14, Containadeductibleorselfinsuredretention(SIR)notgreaterthan$10,000(exceptwhenaseparatewind-loss
            deductible applies, then the amount must not exceed 3Vo of the face amount of the policy).
        15. Builders Risk policies must be on a non-reporting basis.
        I   6. Not contain   any effective co-insurance provisions.




                                                            EXHIBIT6-Page       I
        48374545-8969.4




CONF   I DENT IAL                                                                                   PLAINTIFFS_OOOO8568
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 114 of 187




     I   7. Not use a blanket or package policy   unless   it provides the same or better coverage as a single property insurance
            policy, gg!:
            . All other projects    must be listed and identifiable in the policy and associated schedules. Note: The
                 Declaration page listing each appropriate Endorsement lForm and copies of each Form will be accepted as
                 evidence.
            .    Total coverage must be based on l00%o replacement value of all properties covered . Coverage limits other
                 than replacement cost are generally not acceptable and any variations from an amount less                  than
                 reBlacement cost must be pre approved by the SLP.

     B. fnsurance to be Maintained During Construction
     The following cov€rages must be maintained on all properties, on a per project basis, during construction and
     until permanent insurance is placed, and are required by all investors (unless noted) though amounts may
     vary.

     l      Owner's Commefcigl General Liabilitv and Excesdl]mbrella Liabilitv Insurance: Ceneral Partner shall
            cany, tbr the benefit of the Partnership and General Partner, covering the premises and operations by
            independent contractors, Commercial General Liability Insurance of the real estate development class against
            claims fbr bodily injury, personal injury and products and completed operations..

            .    Form should remain silent on assault    & battery, sexual assault and punitive damages (no exclusions or
                 limitations).
            .    Environmental Liability Insurance will be required for existing Apartment Complexes that are being
                 substantially rehabilitated.
            .    The minimum amount of primary coverage is $l million per occurrence / Xi2 million general aggregate and
                 contain a deductible no greater than $10,000.
            .    The minimum Umbrella./Excess Liability Insurance ranges from $4 million per occurrence and $4 million
                 general aggregate to $30 million per occurrence and $30 million general aggregate (depending on investor
                 and the guidelines shown below):

                     Garden Apts l-3 stories, SF, & other non-elevator buildings:
                         < 50 Units: $4 million as noted above
                         5l - 300 Units: $5 million
                         > 300 Units: $5 -$10 million, depending on location/conditions

                     Mid-ris9 Apartment Building (4-10 stories):
                         < 50 Units: $5 million as noted above
                         5 I - 300 Units: $5 -$ l0 million , depending on location/etc.
                         > 300 Units: $10 -$20 million, depending on location/conditions

                     High-rise Apartment Building (l l-40 stories):
                         I - 300 Units: $10 -$30 million , depending on location/conditions
                         > 300 Units: $30 million and above, depending on location/etc.

     2.     AII-Risk Builder's Risk Insurance: Insurance providing 1007o replacement cost coverage (including a 5%
            contingency), in an amount equal to the completed construction value plus personal property and shall include
            coverage for Soft Costs including l2 months Business Interruption (Loss ofRents) or actual loss sustained, loan
            interest, real estate taxes, architect's & engineer's fees, legal & accounting fees, insurance premiums, and
            advertising and promotional expenses. Additional coverage requirements are as follows:
            . If any of the units will be turned over and occupied prior to completion, policy shall include a Permission
                 for Partial Occupancy Endorsement.
            . No coinsurance or coinsurance offset by an Agreed Amount Endorsement
            . Ordinance & Law Coverage (See Section C. for coverage requirements).
            . The maximum deductible is $10,000 per occurrence.
            . Windstorm, earthquake, and flood exclusions are generally acceptable exclusions provided that a separate
                 policy is obtained for these risks. See Section C. for details regarding coverage requirements for these
                 separate perils.


                                                           EXHIBIT 6-Page2
     4837-4545-8969.4




CONFI DENTIAL                                                                                       PLA]NTIFFS_OOOO8569
                    Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 115 of 187




       3.       General Contractor's General Liabilitv and ExcesVUmbrella Liabilitv Insurance: The Ceneral Contractor
                shall provide the tbllowing insurance coverages:
                       A):TheGenera|Contractor(andeachprimecontractor
                having a direct contract with the Partnership) shall provide Commercial Ceneral Liability Insurance covering
                claims for bodily injury, property damage and personal injury arisirrg out of the Contractor' operations,
                independent contractors, and products/comPleted operations.
                .     Coverage limits of the construction exposure class shall be in an amount not less than $5 million combined
                                                        /
                      single limits (per occurrence per project aggregate). This requirement can be met through any
                      combination of primary and excess insurance, such as the standard $l million/ $2 million primary with $4
                      mitlion/ $4 million umbrella. If the primary coverage applies to other locations or activities, then the
                      primary aggregate must apply to each insured location separately.
                .     $l million per occurrence /$2 million general aggregate shall be required for prime contractors other than
                      the CC. If the primary coverage applies to other locations or activities, then the primary general aggregate
                      must apply to each insured project separately.
                      B) Pollution/Environmental Coverage Insurance: Providing defense and indemnity coverage for bodily
                injury, property damage and environmental investigation and clean-up costs for pollution conditions. Coverage
                 limits of the construction exposure class shall be in an amount not less than $l million combined single limits
                 (per occurrence/per location and in the aggregate).
                      C) Automobile Liabilitv Insurance: Commercial Automobile Liability with coverage for owned, hired,
                 and non-owned autos with no less than $l million combined single limit per occulrence.
                       O)                                                                         Coverage shall be in statutorY
                 amounts with Employers Liability limits of $l million bodily injury by accident tbr each accident, bodily injury
                 by disease for each employee and policy limit for bodily injury by disease ($500,000 fallback).
                       D@:TheConstructioncontractmustbesecuredbyoneofthe
                lollowing:
                .                                                      ( 157o) of the Construction Contract amount, or
                       A letter of credit in an amount not less than fifteen
                .           payment and pertbrmance bonds in a form and substance acceptable to the SLP, or
                        IOOVo
                .    Each major subcontractor, as identified by the SLP, being bonded in a form and substance acceptable to the
                     SLP.
       4.       Construction Manas6r's Commercial General Liabilitv Insurance                 (Ifaprlicable):   If
                                                                                                                a construction
                manager is utilized, Commercial Ceneral Liability Insurance is to be and the amount of coverage shall be no
                less than $500,000 combined single limits. $500,000 combined single limits Automobile Liability (including
                coverage for liability assumed under contract), statutory Workers' Compensation and $500,000 Employers'
                Liability shall also be maintained.
       5.       Architect's & Engineer's Professional Liabilitv / Errors & Omissions Insurance: Prot'essional Liability (E
                & O) Insurance shall be provided covering each prolbssional entity for the greater of $500,000 or l07o of the
                construction contrBct amount each claim and in the aggregate ($l million or l0%o for high-rises), in a form
                satisfactory to the Investor, Coverage shall remain in effect for three years from acceptance of the Project by
                Owner.
                .  Comprehensive General Liability insurance with a minimum of $500,000 in combined single limits shall be
                   provided.

       C.   Insurance to be Obtained Upon Completion (or on Existing Buildings) & Maintained Thereafter
       Commencing from the earliest of (i) Receipt of final Certificates of Occupancy for all buildings in the Property, (ii)
       Final Construction Completion or (iii) the lapse in Builders Risk Coverage; and continuing until no longer required
       by the SLP, the Partnership shall maintain the following insurance coverage:

           L        Generat Contractor's CommercialSeneral Liabilitv Insurance: General Contractor must continue to carry
                    Products and Completed Operations insurance for a minimum of three (3) years following completion of
                    construction.
           Z.       Architect's & Eneineer's Profsssional Liabilitv / Errors & Omissions Insurance: Each entity must continue
                    ro carry the same Professional Liability insurance coverage as required in 8.6 fbr a minimum of three (3) years
                    following completion of construction.
           3.       Owner,s Commercial General Liabilitv Insurance: The General Partner shall cause the Partnership to
                    continue to carry the same insurance coverages as required in B.l. with the following additional loss control
                    requirement to be implemented:


                                                                EXHIBIT6-Page3
           4837-4545-8969.4




CONF   T   DENT           IAL                                                                         PLAINTIFFS                OOOO857O
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 116 of 187




              .       Contains a deductible ofno greater than $10,000.
       4.     Property (Special Cause ofLoss Form) Insurance: Insurance on the project covering risks ofdirect physical
              Ioss.
              .    Such insurance shall be in an amount equal to I 007o replacement value of the property.
              .    The policy shall provide Replacement Cost coverage.
              .    The policy shall include an Agreed Amount Clause or Waiver of Coinsurance.
              .    The maximum deductible is $10,000 per occurrence (except when a separate wind-loss deductible applies,
                   then the amount must not exceed 3Vo of the f'ace amount of the policy).
       ).      Business fnterruption fnsurance - Loss of income insurance shall be carried in an amount equal to 12 months
              anticipated gross rental income tiom tenant occupancy (including any commercial portion) of the property plus
              Tax Credit..
       6.     Windstorm Coverage - If the Special Causes of Loss Form property damage insurance excludes wind-related
              events, a separate windstorm insurance policy shall be obtained for l00vo replacement cost ofthe property. The
              policy must include business interruption. The maximum deductible is 3%.
       7.     Flood - PNC Real Estate requires flood insurance if any property is, or planned to be located, in a Special Flood
              Hazard Area designated by FEMA as Zone A or V in an amount equal to the full replacement cost and 12
              months Business Income coverage. The maximum deductible lsZVo of the total insured value perbuilding. If
              this coverage amount is more than the maximum amount of insurance available under the National Flood
              Insurance Program, an excess tlood or difference in conditions policy may be required for the difference.
       8.     Earthquake - Where the Property is located in an area prone to seismic activity (zones 3 & 4) and has a PML
              greater than 20Vo, earthquake insurance is required tbr the life ofthe investment. Coverage must equal l00Vo of
              the full replacement cost, include Business Interruption, and have a maximum deductible of S%o-ll%o of the
              total insured value.
        9.    Ordinance and Law Coverage - Where the Property represents an non-contbrming use under current building,
              zoning, or land use laws or ordinances, insurance shall be obtained in the following amounts: * Loss of
              Undamaged Portion of the Building - Full replacement cost of the structure minus the local threshold; *
              Demolition Cost - Minimum of l07o of replacement cost; and * Increased Cost of construction - Minimum of
            lUVo otthe replacement cost.
        10. Extended Period of Indemnitv - Business Interruption (Loss of Rents) coverage shall be extended fbr              a
            minimum of three months after property is ready for occupancy following a casualty.
        ll.:RequiredwhereanycentralizedHvAcequipmentisinoperationat
              the Property or where the Property contains boilers or other pressure-fired vessels that are required to be
              regulated by the State as follows:
              . Boiler and Machinery Insurance shall be required for the full replacement cost of the building that houses
                      the equipment.
              .    Coverage against loss or damage from steam boiler explosion, electrical breakdown or mechanical
                   breakdown which can include refrigeration equipment, air conditioning equipment, various types of piping,
                   turbines, engine's pumps, compressors, electric motors, transtbrmers and other assorted types of apparatus
                   now or hereafter installed on the Property.
              . Coverage shall be extended to include Business Income.
              . Deductibles must be equal or lower than the deductibles on the Property Insurance Policy
        I2.   Property Managerts Insurance Requirements: Project Manager (i.e., the property management company)
              shall maintain and provide evidence of insurance for the following:
              . Worker's Compensation Coverage pursuant to statutory limits required by law.
              . Automobile Liability Coverage covering owned, hired and non-owned auto for limits no less than $lMM
                   combined single limited per occurrence for bodily injury, property damage and physical damage (collision
                      and comprehensive).
              . &lglitJ-Ed                                         of $ I million or six month's gross income.
                                   in an amount equivalent to the lesser
        13. Other Insurance (as needed);- Such other insurance in such amounts, and with such companies as the SLP
            may require, including but not limited to, insurance coverage covering wind, mudslide (as needed), acts of
            terrorism, toxic mold, fungus, moisture, microbial contamination, pathogenic organisms or covering other
            parties such as the Project Architect, the Builder, any other prime contractors, the construction manager, if
              applicable, and the Project Manager to the extent such insurance can be acquired on a commercially reasonable
              basis in the sole discretion of the SLP.




                                                            EXHIBIT 6-Page4
        4837-4545-8969.4




CONF   I DENT IAL                                                                                PLAINTIFFS                OOOO8571
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 117 of 187




                                                            EXHIBITT

                                            FORM OF TRANSFER AMENDMENT

                                                      FIRSTAMENDMENT
                                                                 TO
                                                  AMENDED AND RESTATED
                                        AGREEMENT OF LIMITED PARTNERSHIP OF
                                             2OI3 TRAVIS OAK CREEK, LP

                THIS FIRST AMENDMENT TO AMENDED AND RESTATED AGREEMENT OF LIMITED
       PARTNERSHIP (the "E!fS!-AE9g@9") of 2013 TRAVIS OAK CREEK, LP, a Texas limited partnership (the
       'Bartryrship"), is entered into etTective as of [DATE], by and among PNC BANK, NATIONAL ASSOCIATION,
       a nationat banking association (the "9rig!g!*JLP"), PNC REAL ESTATE TAX CREDIT CAPITAL
       INSTITUTIONAL FUND t#l LIMITED PARTNERSHIP, a [Delaware] limited partnership (the "Subg!i!g!g
       ILP"), and COLLIMBIA HOUSING SLP CORPORATION, an Oregon corporation (the "SLP"), and is
       ailinowledged by 2Ol3 Travis Oak Creek GP, LLC, a Texas limited liability company ("the        gggICLBg4!9I").

                Immediately prior to the etfective date hereof, the Partnership has been governed by that certain Amended
       and Restated Agreement of Limited Partnership of the Partnership dated as of May [#1,2014 (the "ACreemegg').
       The parties hereto now desire to modity the terms of the Agreement to acknowledge the withdrawal of the Original
       ILP as the ILP of the Partnership, to recognize the admission of the Substitute ILP as the sole ILP of the Partnership,
       and to otherwise modify the terms of the Agreement, as set forth below'

               NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which are hereby
       acknowledged, the parties hereto agree as follows:

                           (l)    Capitalized terms used but not defined herein shall have the meanings given to them in
       the Agreement.

                            (2) The Original ILP hereby: (i) withdraws as the ILP of the Partnership; (ii) acknowledges
       repayment in    full of all amounts owed to it by the Partnership and the other Partners; (iii) acknowledges that it has
       no f'urrher righrs as an ILP of the Partnership; and (iv) acknowledges the receipt of payment of I$AMOUNT] from
       rhe Substitute ILP on the date hereof and agrees that the amount paid by the Substitute   ILP to the Original ILP is t'air
       and adequate consideration for the Original ILP's interest in the Partnership.

                        (3) The Substitute ILP hereby: (i) is admitted as the sole tLP; (ii) adopts and approves all of
       rhe rerms of the Agreement  (as amended hereby); (iii) assumes the rights and obligations of the ILP under the
       Agreement; (iv) succeeds to the Capital Account of the Original ILP; and (v) has agreed to fund the remaining
       unpaid Capital Contribution obligations of the IlP in the amount of [$AMOUNT], as and when due under the
       Agreement, subject to adjustment and reduction as set forth therein.

                       (4) The Ceneral Partner hereby acknowledges and the SLP hereby consents to the
       withdrawal from the Partnership of the Original ILP and the admission to the Partnership of the Substitute ILP, as
       set forth herein.

                           (5)     [Reserved].

                           (6)     Exhibit 2 to the Agreement which is entitled "Partners' Capital Contributions             and
       Inreresrs" is hereby deleted in its entirety and replaced with Exhibit 2, which is entitled "Partners' Capital
       Contributions and Interests," attached hereto and incorporated herein by this reference'

                           (7)     This First Amendment may be executed in counterparts, each of which shall be deemed
        an original, but atl of which shall constitute one and the same instrument.




                                                         EXHIBITT-Page        1


        4837-4545-89694




CONF   I DENT IAL                                                                                 PLAINTIFFS_OOOO8572
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 118 of 187




                           (8)     Except as amended hereby, the Agreement is hereby ratified and confirmed and continues
       in full force and effect.

                                               [SIGNATURN PAGES FOLLOW]




                                                       EXHIBITT -Page2
        4837-4545-8969.4




CONF   I DENT IAL                                                                            PLAINT]FFS_OOOO8573
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 119 of 187




                IN WITNESS WHEREOF, the           undersigned have signed this First Amendment as of the dates set forth
       below their respective signatures.

       ORIGINAL     ILP:                                          SLP:

       PNC BANK, NATIONAL           ASSOCIATION                   COLUMBIA HOUSING SLP CORPORATION

       By:
                Name:
                Title:                                            By:
                Date:                                                      Name:
                                                                           Title:
       SUBSTITUTE ILP:                                                     Date:

       PNC REAL ESTATE TAX CREDIT CAPITAL
       INSTITUTIONAL FUND [#] LIMITED
       PARTNERSHIP

       By:      [PNC Real Estate Tax Credit Capital
                Fund [#], Inc., its general partner]


       By:
                Name:
                Title:
                Date:

       ACKNOWLEDGED BY:

       GENERALPARTNER:

       2OI3 TRAVIS OAK CREEK GP,            LLC

       By:
                 Name: Rene O. Campos
                 Title: Manager
                 Date:




                                                        EXHIBITT-Page3
        4837-4545-8969.4




CONF   I DENT ]AL                                                                             PLAINT]FFS              OOOO851 4
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 120 of 187




                                                          EXHIBIT 2

                              PARTNERS' CAPITAL CONTRIBUTIONS AND INTERESTS

                                                       As of [DATEJ

      General    Partner                          Capital                 Percentage Interest in Class ofPartners
                                               Contribution
      2013 Travis Oak Creek GP, LLC                                                        l00%o
      3001 Knox Street, Suite 400                  $100
      Dallas. TX75205

      SLP                                         eapital                 Percentage Interest in Class ofPartners
                                               Contribution
                  SLP
      Columbia Housing                                                                     lNVo
       Corporation                                  $10
      l2l S.W. Morrison Street, Suite 1300
      Ponland. OR 97204-3143
      Facsimile No: (503) 808-1301

                                                                                                            Percentage
                                                Agreed-to                  Remaining                           Interest
                                                 Capital Paid-in Capital Capital                             in Class of
      LP                                       Contribution Contribution* Contribution**                      Partners

      PNC Real Estate Tax Credit  Capital [$AMOUNT] [$AMOUNT] I$AMOUNTI                                        l0O%
       Institutional Fund [#] Limited
       Partnership
      l2l S.W. Morrison Street, Suite 1300
      Portland, OR 97204-3143
      Facsimile No: (503) 808-1301

     + Amount rellects the paid-in Capital Contribution as of the date of this Exhibit 2, including any amounts
     contributed by the withdrawing Original ILP, to whose Capital Account the Substitute ILP has succeeded as of the
     date hereof.

     **Future Installments of Capital Contribution are subject to adjustment and are due at the times and subject to the
     conditions set forth in the Amended and Restated Asreement of Limited Partnership to which this Exhibit 2 is
     attached.




                                                    EXHIBITT -Page4
     4837 -4545-8969.4




CONFI DENTIAL                                                                              PLAINTIFFS_OOOO8575
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 121 of 187




                                  GUARANTOR ACKNOWLEDGEMENT AND CONSENT
                       TO FIRST AMENDMENT TO THE AMENDED AND RESTATED AcREEMENT OF
                                           LIMITED PARTNERSHIP OF
                                          2OI3 TRAVIS OAKCREEK, LP

               The undersigned Guarantors (i) acknowledge that pursuant to the Agreement of Guaranty, dated as of May
       l#1,2014 (the "Gg48"), they have guaranteed the performances of the Guaranteed Obligations (as defined in the
       Guaranty) to 2013 Travis Oak Creek, LP, a Texas limited partnership (the "Partnershirr"), Columbia Housing SLP
       Corporation, an Oregon corporation (the "SLP"), and PNC Bank, National Association, a national banking
       association; (ii) acknowledge the terms of the First Amendment, effective IDATE] (the "Firs!-Ag@!"), to
       Amended and Restated Agreement of Limited Partnership of the Partnership attached hereto, dated IDATEI (the
       'gIiCigg$Cr"emgEg); (iii) acknowledge that from and atler the effective date of the First Amendment, the
       beneficiaries under the Guaranty are the Partnership, the SLP and PNC Real Estate Tax Credit Capital Institutional
       Fund [#] Limited Partnership; and (iv) confirm that the Cuaranty remains in full force and effect as the same may
       have been modified pursuant to the First Amendment.

                  This Acknowledgement and Consent to First Amendment has been executed and delivered effective as of
       t                    ,201_1.


       GUARANTOR:

       2013 Travis Oak Creek Developer, Inc.,
       a Texas corporation


       By:
       Name:                O. eampos
       Title:-Rene
               Preside$


       Chula Investments. Ltd.,
       a Texas limited partnership


       By: Chula Management, L.L,C., its general partner

       By:
       Name:        Rene O, Campos
       Title:
                -Malascr
       Name:       Rene O. Campos
       in his individual capacity as
       guarantor




                                                      EXHIBITT-Page5
        4837 -4545-8969.4




CONF   ] DENT ]AL                                                                            PLAINTIFFS_OOOOB576
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 122 of 187




                                         E)GIBIT    8

                                     PROJSCTFORECAST




                                          H(HIBIT   8
        48374545-8969,4




CONF   ] DENT ]AL                                              PLA]NT]FFS_OOOOB577
                                                                                                                                                                      t-r
                                                                                                                                                                      LO
                                                                                                                                                                      @
                                                                                         [r'ir:-{--
                                                                                                               ==f;ff.{ *ru+S"ct                                      O
                                                                                         |       |                    lt.!::        I           Qr*'-'            I   O
                                                                                         tq4*q -!L- . -J===L*'otGSl                                                   O
                                                                                         l"rir'-la  - |   l._ :  "*"1                                                 O
                                                                                         lll:ll
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 123 of 187




                                                                                         ll,ll:l
                                                                                         l:-' I I. i :-**'
                                                                                                                                                                            I
                                                                                                                                                                      v)
                                                                                              i I l--*';;:l-'-l
                                                                                                                                                                  i
                                                                                         l-- {-
                                                                                         l--     l:n'-l -*.*.1^i
                                                                                                                                                                      ttr
                                                                                                                                                                      Fl
                                                                                         I              j
                                                                                         |i'.|||rqF,jl.R*|
                                                                                                                      t|r           I          F,q+r{             |   H
                                                                                         t_Jtttb-.--r!ddl
                                                                                                                                                                      H
                                                                                         |rt.|||-H..r\'n.NI
                                                                                         ld..
                                                                                         |
                                                                                         Ill+r'|+.**1

                                                                                                        lllF"tu.{l
                                                                                                        |
                                                                                                        t.
                                                                                                                      l<.J
                                                                                                                      td-,
                                                                                                                                    I
                                                                                                                                    |      .$t,,q*
                                                                                                                                                  Hrdts*,
                                                                                                                                               *:-''*
                                                                                                                                                                  I
                                                                                                                                                                  |   z
                                                                                                                                                                      H
                                                                                         I|    |
                                                                                               t.                     l:'
                                                                                                                      |             |                             |
                                                                                          | -l                                                       r*'j',ir
                                                                                                                                    |
                                                                                                                      I             t                                 Fl
                                                                                          l:tj
                                                                                         lll.*..<-'*l   r                           I
                                                                                                                                                                      tu
                                                                                         I*,                          I                             'r-rd,        I
                                                                                         I.             j             lrq           t.*qF5:G'                     I
                                                                                         ldr            I             l             |                 ^Fr'.       I
                                                                                         llld.                                      ltrl
                                                                                         I              I             l..v          ts--'.4F."r*'                 I
                                                                                         I              I             irtt'                       rl..tq_
                                                                                          I             l,            t*c           I                             |
                                                                                         l.             l,            l-<'          lqhFrr'_rl'rh                 I
                                                                                         I              I             t-\           ,           s*$        -.,6   |
                                                                                         lll{,rl                                                            P'l
                                                                                         liler'l.qhl
                                                                                         Itt-/rt,#fr1
                                                                                         I              l             l\i           I                    Fr<.
                                                                                         lrl-.'4*dl
                                                                                         l*r..                                      ls:*rq4                       I
                                                                                         I              I                           i.-r4'.b+r                    I
                                                                                         t-r-)-'        |             :             I          rdrP-4i            I
                                                                                         Il:            lI            l*
                                                                                                                      l- ^          ||| r,''i b{tr.r
                                                                                                                                               -,*".              I
                                                                                                                                                                  I
                                                                                         I,
                                                                                         i II Il*-,- | *: e;;..1
                                                                                         I              l.            Lrq                           -.rltr        I
                                                                                         l:- ' t-,",,t
                                                                                                     |  : ",""{                                                   t
                                                                                         I              i             lv-           I                             I
                                                                                         l
                                                                                         I.
                                                                                                        l
                                                                                                        I
                                                                                                                      I
                                                                                                                      lh            I
                                                                                                                                       -i**{F'
                                                                                                                                    {...^   .r -**'
                                                                                                                                           d-^qFr
                                                                                                                                                                  I
                                                                                                                                                                  I
                                                                                         I              I             ln'.          t .*t'n          *rrF'\       |
                                                                                                        t             l-P,
                                                                                           .        t                 1,..,               r+"qr"-
                                                                                         r          I                 id"           I                             l
                                                                                         Itl.",-i+l
                                                                                         |:
                                                                                         i
                                                                                         t.
                                                                                         l.
                                                                                                    I
                                                                                                    !
                                                                                                    i
                                                                                                                      l"''
                                                                                                                      i.
                                                                                                                                    I                F-F'
                                                                                                                                                r: ri"*
                                                                                                                                                                  '
                                                                                         l.    |                      1..      ,., |l(-rr1         "4'-"
                                                                                                                                                                  l
                                                                                                                                                                  I
                                                                                         lll-"1**-l
                                                                                                                      | - | "--'-r*-'r'
                                                                                         i     I                      t.iil'        I
                                                                                         F--l
                                                                                         i-
                                                                                         '  |
                                                                                            I
                                                                                                                            ---
                                                                                                                      l" i .-.a${4r$.1
                                                                                                                                  -.-r..1
                                                                                         I.lttrI
                                                                                         l.--                         I             |
                                                                                                                                                                  |
                                                                                         i',;r' ,frii&q., ,l      tl' --         F,i*.t
                                                                                         r_!c.
                                                                                                        ''-5:93*-'-'--             ""' '
                                                                                         :-: :,.              - ----l*:-. "*!ffii3rr1
                                                                                                        '"'- *-   -
                                                                                                                                              *,-:::::"7
                                                                       Nvfivl3g NfHd3X
                                                                     **+'€v['5]l
                       Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 124 of 187




          3

          $                                 ':-!tIc
          5                                   I i -_:

          *




                                                                              "i'1|zr.a.1             ' i"            " i   iir!!qt!.i'i
                                                                                            ,,i.iii
                                                                                            -,114:i     A^.
                                                                                                             E-
                                                                                                                  1
                                                                                                                        I   till:j:::::a



                                                                                                                                      !$
                                       if i'iii'-trave i             '   ?tTrlii.rri;1
                                                                                r.. t !. i.iiii?rr4!i t. ?.= i
                                                                                                   aA!t?i                             $a    8r:                     i:J:i
                       ll
                       {i
                                       !F' q-=lli;er: !                  91rt
                                                                               ".z
                                                                                                F:
                                                                                                                        i   ti   3l

                       U


                                                     :                         i              iii            i                   -          i:
     iillr
                                                                                                                                       .r
                                                                                                                                 t    ,:a I
                            *i
                                                                                                                            , 3 ilii              tl
                                                                                                                                                           r       li
     I
                            ;l
                                        i
                                         i 1 rl
                                         JtiS
                                       -.1 t :r
                                                I1

                                                         ii,i:   i                                                          ;iiiiiil
                                                                                                                            ];5iF#t
                                                                                                                                                  ;1.
                                                                                                                                                  5li;-        I iit
               l$
                                       ii;? ii ti:l 1ijt2 i                   riiii,i,,;,iii,liiiiii                                              ,:!i
                                                                                                                                                  :iit         iaiJ
     .d
     lili ils
                   ;
                        F                                                                                                   ili:!!iI              it'          iir':
              ?l                                                                                                                                  rl
                                                                                                                                                  -l
     l!       Il
     l:       cl
                                                                                                                                                       t
     t;       tl                                                                                                                                       i




CONFI DENT                       IAL                                                                                                 PLAINTIFFS_OOOOB579
                   Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 125 of 187




     Ein

     11l1
     HH                                                                                                              -t-
                                                                                                                     \t

     l1     liil                                                                                                     :iq                          H
     t1t:                                                                                                            Il
                                                                                                                     1:
                                                                                                                     ,l
                                                                                                                                       5t
                                                                                                                     il                           FI

     flH
                                                                                                                     .l
                                                                                                                                       *l

                                                                                                                     li!.                         H
     f,H                                                                                                               I
                                                                                                                     Nf:
                                                                                                                     :1,:      ! i.1.!
                                                                                                                          Etir -
                                                                                                                      :ti .!.i i
     fli{                                                                                                            I
     id t-l
                                                                                                                       i,

                                                                                                                           I
                                                                                                                                                  it
                                                                                                                           I
     11 I'r
     t] tri                                                                                                            I
                                                                                                                           I
                                                                                                                               t
                                                                                                                       t.
     !il1
     UrJ                                                                                                             il; .i*           i;
     t*ttl
                                                                                                                       I
                                                                                                                               i   n'-            fl
                                                                                                                           I
                                                                                                                               i
                                                                                                                           I
     ,ri,
     gH
                                                                                                                           I
                                                                                                                                                  il
     fiil
     illi
     tdn
     lll
       r:l
     I   rll                                                                                                          {fl :1l
     | | tal
     I ttt
                                                                                                                      #fl                         tl
                                                                                                                                                  i
                                                                                                                      'i.,Ll
                                                                                                                                                       I


     illli                                                       t                                                    "li:hl                  ,   ''-l



      |1fl
     lsJll
                       "" ""1*.UgZl
                                                                                                                      {'il
                                                                                                                      li I
                                                                                                                           ;,itul
                                                                                                                                   I        E;g:i;l
                                4ZAr,
                             ^
     tiil                                                                                                             ellii'lliiflll
                   4 1 1 z r. 4 g   Q   t   a 1   y.   y4   L? *     1   \   4 !4   |I
                         " "'Ei E29.!.n.
                               r iilel      ,.         F -..2:

      HF]

      ii*
      il                                                                                                !
                                                                                                        t:
      It                                                                                 ;i            !i i-
      il                                                                                 :    r lr
                                                                                         i +r irt! I
                                                                                                       r:i!l
                                                                                                       :3iJl
                                                                                         :    !;t,
      lil'                                                                               S : !;lJ ;T   s*i   r;
      Iti     ?
      i8 l
      lit !
      l3l     l




CONF I DENT                ]AL                                                                                    PLAINTIFFS                               OOOOB5BO
                   Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 126 of 187




                                        tttq
         a
         t

                                        :1*:.i     "

             ;,i




                                        tili                                                                               t- i'3t''
                                                                                                                           * - ;t


                                        iii.i                                                                             'I'l'f;x
                                                                                                                              i
                                                                                                                           a        tF



                                                                                                                          s is.

                                 + r 11n !., * arr I I !:       1{.         . a.   a a   |   $   t {:      {i    t +v   a v$ Yd    tt I:5
                   ,t         'a !r'i'i3rii::ii
                              i4,'e                         '
                                                                                                        a+€t-*

                                                                    ::; iril".tli?:iiie*irEii!i:'-\
                                                                I: liil                                                                         i$Sgggtgr:'j
      iie
      tt iilr'il
                                rl
                              j -
                                      '; *1tF.:.:j:
                                      r - --
                                                                        :lrJr.:i]':t,iS;f*5S.lr;;
                                                                      ijl
                                                                                                                                            i   {{i!gri:i:l


      lt           U

      iill
                                                isi,i'iii,,,iii
                                                                                                                               !


      tl                                  ,)                                                                                   j

                                                                                                                               I                                               EI

      il:    1i
                                         it
                                         *1
                                                                                                                               !
                                                                                                                                                               fli.I
                                                                                                                                                                         iil,i[1,
      liti    ii
             It
             ,t-
                                         qa
                                        i.?     iitii i ii iiiriiijr,iiiii                                                                                     ?ii
                                                                                                                                                               cl!.)
                                                                                                                                                               al
                                                                                                                                                                     i   I?iiltzl
      l.! !!                                                          l''
      1". :l
      l'3                                                               i
                                                                                                                                                                $
                                                                                                                                                                l
                                                                                                                                                                              fl




CONFI DENT              IAL                                                                                                                           PLAINT]FFS         OOOOB5Bl
          Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 127 of 187




                           I




                                                                             dr
                                                                             3l-
                                                                                    r; ei   llrfl;
                                                                             !t             tl
                                                                             jt
                                                                             tlll
                                                                             :f{
                                                                                             tt
                                                                                            '.    16   *



                                                                             $
                                                                             il
                                                                                llIli
                                                                             t      ;       fl   ;,ti
                                                                             giiiriiiitii
                                                                             4l;ri:,!jlil&91
                                                                             *ii;li::jfr:,i!
                                                                       trt
                                                                       ta
                                                                       ltt
                                                                       l:-
                                                                       u


                                                           t:
                                                 Ir      itl
                    :r
                    .rt
                    2A
                    i:
                    !3 j
                          I
                                            ,
                                            5
                                                *i!   ; iiiii
                                                         1:



                                                iiii ;i iiiii
                                                                a_



                                                                        t
                                                                        I
                                                                        5




CONF   ] DENT IAL                                                    PLAINTIFFS                            OOOO85B2
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 128 of 187




        $:j
            I

            I
            I


            I
            I

            I


            I

            I




        I




                                                                                  i                  --il




                                           il
                                           tl        o; iii
                                                     i i'i i i ii
                                                                        .5
                                                                                        .   if   l
                    *'i i
                    il    I
                                           liI tr                       g
                                                                                      . ! ii:!.
                    ctl
                    III
                    ftl
                                                                                      i;iEiiili
                                                                                      S:!il+iit
                                                                                      riill;:lg
                    1"1
                t :tt
                L zl
                          ,
                              riii,iiiii   t?ti

                                           l3;
                                                    iiiiiiilir,ii;ii,i I i riii       ]l:iririii
                  tta
                I il                       il
                a tl
                     L,l




CONF   I DENT ]AL                                                                           PLAINTIFFS_OOOOB5B3
                     Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 129 of 187


                                                                                    Y.-
    |1il
                                                                         n4--\
                                                                         {t--*-}4-/
    lt!1
    l"il                                                                 IJ\
                                                                         It
                                                                         lt
    ill'l                                                                t.t
    f   lH,                                                              n
                                                                         il
                                                                         il
    llt'l                                                                1t
    ldN                                                                  lrl
    qH                                                                   ll
    il        ldl                                                        It
    I,i l.|                                                              l!l
    llld                                                                 il
                                                                         l*{
                                                                         t$
    ItH
                                                                         lt
                                                                         td
    Llfl                                                                 l:gl


    lllr                                                                 ii
                                                                         ]E
    il lt
                                                                          IH
    ilH
    I'il                                                                 IJ
                                                                          til
    illd                                                                  1t
    il|.l                                                                 L:i
                                                                          til
    tilJ
                                                                          l1
                                                                          ll
    iJ t]
        iil.l

    illi                                                                  il     i; i i
    !l
    :         l..l                                                               !ii i
                                                                          l1
        il[]                                                              U
        li;r j*l                                                          vl
                                                                          l:'l
                                                                          tt?
        '$ l*
        Llu
                                                                          il'

        I                                     Jal                i
        il                                    :l
                                              :l
                                              ?t                ttlrr
        l"l                                   L
                                                                riiii
        Iti
        l-t
        l:l ;
                F                             EI
                                              ql
                                                                iiiii
        lil     r:
        vt;
        t?l
        tzl
                ti                                 I




CONFI DENT]AL                                                           PLA]NTIFFS        OOOO8584
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 130 of 187




          ti
          r
          {

          I

         I
         I

     1




      I
      I


      I
          I

      I
      I
      t
     I
     t
      I
      I
      I

      I



     t
      I

      i
      I
      I

      i
      ,
      I
      i
      I

      ta
      It
      l<
      lv
      t!
      Itll
      IF
      lh
      IF
      IF
      t7
      t-
     i
      I
      I
      I
     I


     1


      I

     I



     I

     I
      I

      I




      I
     'l
     I
     I

     I
     j                                                       ii
                         {                                   il
     l.                  I
                         I                                 .li
                                                      Ir *lsl
                                                                       I

      t;                 1".
                        sl!                           I,!              [..
     ;g
                        +iE   i
                              E

                                                     "J,';
                                                           tsl3l
                                                     iF; :tg'
                                                           iae,
                                                                      El3   t
                        fi!i                         ti; i '4,!,
      i;                ilr" i                       :t;t
      t;
                                                            '11
                                                                      Iiii




CONFI DENT      IAL                                                PLAINTIFFS   OOOO85B5
        Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 131 of 187




                                   ,i
                                   *
                                                                      I
                          I        !                                  I
                                                                      i
                          I        E                                  !


                          I                                           I
               ,1
                                   z
               .{
                         rke
                                   2
                                   g ili
                                     $t
                                                                        l:
                                                                     llf :
                         :II !                                       ,:lE   I
               I                     lir
                                   t 5l
                                                                     lts  i
               ;i        ilf
                         zl-
                               I
                               -
                                         r-

                                        U;                           ll;" !
                I        il        c




CONFI DENT   IAL                                          PLAINTIFFS            OOOO8586
    (-)
    O
    zFI]
    H      |   :4lI ltr. ili)* fE l. I t
           i                                                                                                                                         rRl(:tl{c
    U      r
    L'l    I   a{    r.,d.'j:si_"-
                                           r{ls{{rtl$l,f::Hi0 il\{fi5rflLrd                     ]ilslt)Flt            SldlE
    zFl
                                              ...,.-rrxrE___!lt!Jl!s        --                   :rlgf:              !t.!rllE_
    H          tJlibl  (krttqn.r trs           id..Nt.Ul        t        -                  t                    t                                                                      G.[tAdtA:.illvrltlrd, lloti s(xrt]tr,, ftotttll         f ol rrF   ctEl.t.rmN
                 ii6  tLibu{t-"rlil
                  {&  lxrrktrrrl lF                    t.1^rl{ lI't
    t:            L$  i:t*nn,*l!t                                                                                                                    !r1s[]@ii;j
                  Ldr tr&'rl!irdl
                                                                                                                                                     lofFudtt.iDrhrlr.k   firrl..1r       l,l{'lrla     Y{rlili       q,rtr.tr       it,t{.hr          tl'[ri'i     utltlt.l
               fl|,6! Bs,i                         t tl,l(Ltil                                                                                       ( Frdil^.cdFrvFst    tildr.bl       Oe rrrb        r\{ (f         rLl.l
                                                                                                                                                     (8cbqr to ).ne,]a
                                                   Jl.ry                                                                                             .tr.rrer tu:h.olcd
                                                                                                                                                     (iwn'"oFs{ar$l:
               744                                 I tvltrrll            l-                 t-t.
                  t&rli{.*tl. F'-l{r.                       t4-g?-               l:   l(t        l({r,l(4:           ll*   trtr.                                             :rl.16
                                                                         _-

               ql.li\l,iPltU IritlI                t   !tt,rtnJ+l        t"                                      1-

               lBtr*lrtkabra                                 t {tu,                                  t (Si                  lDlct                     (,r6{rd,,<p..d,nrt II ;}A_I?n I i.,l.t-uil , tt-Z.r0ltl1 I l$$!rlF I tt6vt,)M;}.+H.?lt I tt-hq.|]Ull                        [_!11_t$
                                                                                                                                                     T;;r-1;i--*                r.l.n                                      rl.+tl,
                                                                                                                                                                                                sl{n        tf ltli                       }ui4l                                         t:.sri



               t I d\cu r:rFU trqil                         lt                       B                       r                     n
               . li r,ttt'                     r       erw" -                                    t4tii                .irt::.,_
                                                                              -gg!!__

               lrr-r F.f.'Ftrrr                             l] lc{               xrll.i              inl'.                  It:iFi

               @fi ll,r*,:*:-ffi'.]                                             -*r"-.-'._l:-1]                                        *ffiir.   I
                                                                                                                     -.,r




    FU
    t1
    }y
    H
    zH
    H
    r{
    h{
    a
I
                                                                                                                                                                                                                                                                                                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 132 of 187




    O
    O
    O
    O
    @                                                                                                                                                                                                                                                                          F.{GE   !?,fi
    CN                         lEtltOat cr.i       fdr(r{     [i"irLra
    @
    {
                           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 133 of 187




                       r-l
                               i I i 4!.i.i.i\#,? i ! t i i ii
                       ii i iii 1
                       ;...liiI!iE;t;tg?!                   "'     I
                       !l iJl                                      I
                       i.'.'l                                       I
                       It*l
                       ,   1r{iiliii:iii-i.q'                                                                                                                      tr$!                i.c        tq          axl*
                                                                   I                                                                                               isi                            sr
                                                                                                                                                                                                  'i"         l-rti




                       iii$i*' *lt*itf it;s
                                                        g   g}
                                                                 -'i
                                                                     fi
                                                                    !l
                                                                                                                                                       3
                                                                                                                                                       l-r
                                                                                                                                                       rnx
                                                                                                                                                       i ":
                       l,;ii*a'srrisiiti"''
                       rudl
                                                                                      I
                                                                                                                                                        . ji.
                                                                                                                                                           !;
                                                                                                                                                                                       r.
                                                                                                                                                                                       ::
                                                                                                                                                                                       ij = *                      Ei..
                                                iliri ll                          gl
                                                                                                                                                       ri il!
                       i;,*liliut-liiiii$1
                                           ' "l                                                                                                                                        ,!,t ,:
                                                                                                                                                                                               '
                                                                                                                                                                                                              Jl:r't




                                      ' itI il
               I
                       F:;["'---hr'r^n4
                                                                                                                                                                             i'
                       liiq:-t'i:;;iri7'?:" '                       li* '1                                                                                                   i

                       liJi+is!;;Ii.in!                             lr- .lil
                       ii! jl'r:.=z::z'-!f.'
               I
                                                                    llt      *
                       ,;i;;ilxtiriiliiii
               I
                                                                                                                                                                     a


                       '.'.
                                          i                                                                                                                                                 I


         :                                                                                                                                                                                  a:




         {
               .
                           ,   iil:: ::i   ;iiI*l iii: rr i{                                                                                                            g         ei                   i2
                                                                                                                                                                                                       T-
               l
                       lrll :::---:                                 I
                                                                                                                                                                          lr
                                                                                                                                                                        : ?t                       I
                                                  "' "=""'         =i
         ?:

         c             lirf                  ""                                                                                                                         :          ;I
         fr
               i.


                       [#:li,llliiri!                               llt'l'1i                   1l     ilrl                        q    i:Fii     ;sl   .l

                                                                                                                                                       'il
                                                                                                                                                                   al             IH
                                                                                                                                                                                  ill
                                                                                                                                                                                                       R
                                                                                                                                                                                                       t;.1               ;I

                       r*
                                                                                                                                                       -1




                                                                                                      jj'i
                                                                                                                                                                                                                               I
                                                                                                !                                                1i
                                                                                                                                  !              ll,               ;t
                                                                                                                                                                                  il!                             ;JZ -;-
                                                                                                                                                                                                                      iirnxi
                                                                                                                                                                                                                             ji
                       1
                        i!j!siiiiftii?'71 ii t                                                                                                   t3         I

                                                                                                                                                                   -i
                                                                                                                                                                                  lii                              t?
                                                                                                                                                                                                                   ti 2Ei ril
                       | ,lr,,"tJtr:i;i '
                                                                                                                                                             i
                                                                                               l"                                      dj.:r:(                     rl             lrl                               r
                                                                                                                                                                                                                  :,1 Krl:;i

                       iijl
                                                                        :
                                                                                                                                  l:             i;i   1:                                                         utt .tZta
                                                                                               {:
                                                                                                                           ='-                                                    ill                                 21t2tl
                                                                        I        rl                                                              i"l                 I




                       ::iiliriiillail*i '
                                                                                                                                                                    I
                                                                                                                                                                                                                      Ela!:
                                                                                                                                                                                  lii
                                                                                                t

                                                                    i" it4i                                                            iiili     '-l
                                                                    :i i
                                                                                  i
                                                                                                i
                                                                                                                                                                                  til
                       itui-                                       ji {-
                                                                                                I
                                                                                                                            f{r   h    i:i:r
                                                                                                                                                 i1
                                                                                                                                                 tl
                                                                                                                                                                                  lll
                           irj-'r- ';?.-ir--=--','.                                                                                                                               ilt
                       i'-1ll
                   I
                                                                                  I
                   I
                                                                                          L
                                                                                                                                                 tl
                       |{iltiitsi$!s{t$$sfsS,iil                                                                                                                                  ll,l li,
                   I                                                                                                                                                              I i:i
       tltl
                                                                                  i                                                                     :l
                                                                        1                                                                                                         I ..:l
                       lt5:r?t-iinrrx:i!;!r                                       ]                                                                                     I
                                                                                                                                                                        I
                                                                                                                                                                                  I lil          Ill


       ilr-l               !rirm':eleriiia"'"""""1i                                             i
                                                                                                      il
                                                                                                                    I

                                                                                                                    l
                                                                                                                            ii ,        ilii*
                                                                                                                                                                        1
                                                                                                                                                                                  tFt l!l
                                                                                                                                                                                                 tL iai


              il
                                                                                                                                                                         I


                       !                                                          I
                                                                                               II                   I
                                                                                                                            i,    ;!   ::;i!                                      It* l:!l:'l t:'       t<l

       t:l             L                          ,,,='.=--.h                     i
                                                                                                      d: Ii         t?
                                                                                                                           r:-:        +!ir!
                                                                                                                           jii; i ii!iii                   1!          I ill i!l
       hfl    'l                                                                                                                                                    J {tlI l;l
                                                                                                                    ._t

           li                                                                                  il'    .{;.          ir

           r ;i
                                                                            le   ri,                         :ii                                           'lii            Ir) i:i
       r:      ;l                                                .""1 il;                     !i|i
                                                                                                      i't    $g
                                                                                                                                                                    il                  ltj lrl Irt
                                                                                                                                                                                                t:t
                                                   ".= . ..
                                                                                                      :ir!   il I
                                                                                                                           !j
                                                                                                                                                                                  !l    i!l
                                                                                                                                                                                  t;t::l        l:l
       lr:     3i       l: __:J                                     j :,t                     i jl*   rl|    ili    lj__
                                                                                                                                                           ii,t!    1
                                                                                                                                                                                   'tg
                                                                                                                                                                                       l;i iii                                     *
                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                   fi
                                                                                                                                                                                                                                   'T




                                                                                                                                                                                                                                   ,




CONF   I DENT IAL                                                                                                                                PLAINTIFFS                                                               OOOO8588
    (-)
    L-,,
    zFI]
    H
                                                                                                                                                     HE   t   atry-&11'      r   ;4il   t\cgr1t
    F]     lEr=ffi,ffirffi
           ril4lsuss--
    zFl
           wr!.{llax r$q1s
    H      Itr*M n\rtS lqS{ l-€&ris                            r   ftfi
           \l'.laird i !r.tF L!tcrs f'{}b[$
           IrllliwFl{Ytml          -ll                             H(I       HJ            ar,
    tf     IXIRf+ut.cllrt.6l         . tl                          )..c      vl            :irJ

           n\sF l'\d.d{a.qf{       ;-lr                        atla         ,*oF;
               l!!'{t*{l tDsil,lAri(dfr(n trd L:'i                I            l,           I
                                                                                             I                             t                                                                                                          t1                                             t:
                                                                                          lllr                                      !{tll                                                                                                                                                                            !ll\a

           {lDsE (etrTrr. t{lsrilF:



           ontfa rlcoHc
                                                                    lurt      !'Jli         lt:v,              ltj>tt      l;,tl     Ll.a,lh lttvr              llal]                   ll,td:     n.xu        llntr      r:,i$       tr   ra.       ltrlt     [,F&       t].lnr     lr,l3,    rr.t-(l     tr,rtl      l!.ill
           #+ifi#i:s-                                --:r6i=.ffi"
           _lal'lxf$sl:Ij.1r!--i:.
           k


            lg$Eu!!gs--.-,.-1.!)l                                             t&Fil
                                                                            'ir..1\t l.r:t].liI          5   r.rrJ-tlr

            (,1'*{r.ilFC Urrf{tgl
            athitntdtlil aq+e                                                                                                                                                                                                                                                                             lN-tti
                                                                   6r,lt!    r$.{!\        lrl.!ll            .l..tJt     lN.l:6    rn!,!'\n   hiffi           Sl   l-lril                 I
                                                                                                                                                                                    r:6...rt      lal.1lt     illr\I     rl1.lrl     tql.s:      nrqbl:       ll9'l!!    {l'nrr     Mi,lri    .ri,t+i                il!^l:l
                                                                    r.:{l     -t\tt!        nl ui.r             n:.{.r     d,lr'}    arjx:      $r\l\            {'-lll              ;;..ni        i!Si:        ir.lra    U.{ll       t!.R:       *{3a}         ir.oR     xlilt      El.lrr    uJrrr       tllll     tlr{'r
            Il*hr;.!                                               n.u:      lri.!!!       Ntr34\             rl:.ttl     t}'.ctr   tll,r.:    r!\S!{          ll'rSl               lrl..nl       l.t ixs     ts:t!      rl:r.ll't   tQJ':r      l$lRl         rii.l$:   l:it!+     i.tl-{u   lf,l-iJ*    lrrji      tSJr!

                                                           '[|::!lts.q!ilt:!t.!,.l|uI.F|txt.u.j|d!.tHliti.!x'||l.\|dll|t.N:
            *6d&l      L,ffirr
            ff'Gdl I. r.nlri.rdha                                  l(.r1r     H.tt:         tr. Il   r         !! id<     ?:Jq       vlJlI                     hr lil:l                                       lthlui     lrrlll      llr.rll                  l){.r}-               Itt.llt   rriis       l!o^tr
            trlFlt - U*!aadt{t:1                                   ::.!tr     :l.tg         ;t,l!:             :;:le      }i.tst     i:.alr    il   +:n         It.aI                              tl,&t       {:.!|l     ff.{!l     rur,l(ri                 tlilrl     I k\lr*    tla tll   [;Jlti      t]t Fll    tl-rtn
            1.$4 tt t&.tbtex?                                      nt.rlt    t{t,+rrt                         tiu':d      Irr,ril   ft.pi1     rtl.::          :{l.tl               INJNT         llr$$       tlolra     l:*sl.r     l!t.tq      I   lrrlri   ri?.rS{    l5l.$l     tsl:tl    :u.6t.      t[.lll     H1,t4:
            ,sE*.t4Eltre.                                          ::iiti                   ;:,Fil'             il,ES     ;l,tJt     actrl     6l:llrl          t!t|1                             s!,ltr       rtjld      dtili       ni,tr,r                 tr:ir+     lr)C,!ra   r$^l{1    ll:Jll      :1.'.1t1   rlrtldl
                                                                      l3t

            r+tr&!a., qU" t4!ta Fzi. u.

            A,t;Eto:rn:tii't:f$4!gl!*"--.*------r,lug.*                                     l".trt             4qf,---i              .13:I--        r:l
    ru
    IJ
    }y      fdol Ct i*e.   f. L?r (.@!a{t                  t        r,rq 3 4,1t.1 , *.r:,t t *Nt t :.t:: l 1,r3r t :.11. t 7,?tr , *JtlI t                                                         t.:,.n t    trtr i      r3.l l ltn t l,l{t l ?"r1{ t                    t.tlt t lttt'fe t lr!t+ l ll.Nt l li,6ll
    H       tFdj{ r:ifiprlr\saEtl,                                 I1!.n   !4..i.. -!:,li1i iltth  1.,r!+. \td.    tt!n^   $4/f.i !2lvq                                                           tt.t Y.     Trai'       ttTt:i  kl*.i 1,!4t   ttLy+                     'lEL1; t'lF        tltllt  t16     !.IlFt
    z€
    r{
    r{
    Q
I
                                                                                                                                                                                                                                                                                                                                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 134 of 187




    O
    O
    O
    @
    CN                 Tiilt ratl Srril Fil Nrtl 0$l& r{                                                                                                                                                                                                                                                 ?r6ert.a
    @
    (o
                                                                                                                                                                                                                                                                                                                                                                                                                           O
                                                                                                                                                                                                                                                                                                                                                                                                                           O)
                                                                                                                                                                                                                                                                                                                                                                       rrdsstrtt*,f               viatll                   LO
                                                                                                                                                                                                                                                                                                                                                                                                                           c)
                                                                                                                                                                                                                                                                                                                                                                                                                           O
                                                                                                                                                                                                                                                                                                                                                                                                                           O
                                                                                                      q*{          q.)t                       at{                       !tlt{     iail.                         K.'                                                                                                                                                          rrtercrrt#urri                     dut
                                                                                                                                                                                                                                                                                                                                                                                                                           O
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 135 of 187




                                                                                                                                 fBr,                      v}ro                                                                                                                                                                                                           .rJ .r4 4.i J,, { F{t\ti              +J t
                                                                                                      srt          stl n         *4 ,l        .64          !x 4         SB        9r)    D                                                                                                                                                                                rq '{t'Fla\Jq}4rf.las
                                                                                                                                                           !ir. |                 !*l I
                                                                                                      *i l         :ill I        ail I        'dll                      $tr l
                                                                                                                                                                                                                                                                                                                                                                       -fiTn.gl6iifigirffi;                     rfm        a     I
                                                                                                                                                                                                                                                                                                                                                                                                                           hr
                                                                                                                                                                                                                                                                                                                                                                                                                           t!
                                                                                                                                                                                                                                                                                                                                                                                                                           H
                                                                                                                                                                                                                                                                                                                                                                                                                           E{
                                                                                                                                                                                                                                                                                                                                                                                                                           z
                                                                                                                                                                                                                                                                                                                                                                                                                           H
                                                                                                                                                                                                                                                                                                                                                                                         .64{ tl6l ,rvt                    F1
                                                                                                                                                                                                                                                                                                                                                                        rrrF {tllv!      *til1rnl. trllrlir                tu
                                                                                                                                                                                                                                                                                                                                                                           *nr     {./{trdr}      fr\'Fxr$
                                                                                                                                                                                                                                                                                                                                                                                                   Ftrh''V
                                                                                                                                                                                                                                                                                                       t(1r.,        t.{4                                                                        p4llfrtrt
                                                                      .na,              olli        ,**         *ar,          qiit         irr'.        t;t\t         &J.lt     ',r*           1:t   r.       i'{N\}      .r: fi         .rI t.        |i|':f
                                                                                                                                                                                                                                                                                                                                    tf'ts                                            iill I st$li$lFtrn,s'J
                                                                                                                                                                                                                                                                                                                                                                                            qr$    tr.ttl'rs't l{
                                                                                                                                                                                                                                                                                                                                                      5:rl                                                 4rl4*
                                                                      ,ir!r!t           \a1ttdt     plrtft      *n.,ft        'Flllrfl     as:ttIl      ,fftra/t      t4tfDtl   dJ'llt          tir'nh        rrasl       lia4l         llr't!,        .,d&d
                                                                                                                                                                                                                                                                                                                                  Jlii--         ur   rr;r   r                                   i:tat   ilffit,Inl
                                                                                                                                                                                                                                                                                                                                                                          drr, t. rtr{rliI&Y tS.\' rrsu
                                                                                                                                                                    I h;r} I !,!rr                         l s{i       r .lriil       t 4tt!t!    t l0t6:             t rrlfr t rtrr       t lit'1   t tl,'l      I 'sv       t                                                                  f.it$iil
                                                                      l.{if          t *{irt      t lr}Tr     , hr'{}       t Htrt       I i,Ltr      r !:til                                ! Brll
                                                                                                                                                                                                                                                                                                                    tril\                                                                      In:/tlil4t
                                                                      9d!f             tr(-li       r,tat       \all          4arl         rn. tr       nt',1         *,af,i: iillr            rtftl         */:r,r      Iitii          r!:l'N      la6l                Jr'14   tlt;         tllb
                                                                                                                                                                                                                                                                                                       "1,'|                                                                         lft lax\tiN ltslrnl^ll
                                                                                                                                                                                                                                                                                                                                                                                     rDlt{}t!a}3'11+!                  !
                                                                                                                                                                                                                                                                                                                                                                          NE    $!;1n,. ! lq u   U*ng'l/l$:lu
                                                                                                                                                                                                                                                                                             .          lhi tl                                                   dtiv.r:rr!.1     t*1tsd1n{t{ {ru vr:lll,J
                                                                                                                                                                                                                                                                                                                                                                                       I r! t)_tSs4r,rl;tltdl
                                                                     :F        i-r   r-rifiirl-lr+-Fii"                                                                                                                                                                                                                                                                 --;qrfifvi-lrFd"-1"-E
                                                                                                                                                                                                                                                                                                                                                                 *;{rnrr$ i luB* kr.ltt4{il r}u{l:ld}
                                                                      l.lytf           tgs'i        rlyf{ft     r'J.ilrt      triatr'r     dt'llil      tldt.ltl      ifdlo!    {a:hr           $r'tat       lta.th       ilE.ft         tnfij!        yrritt             rlitr.   rrLtu     st ss      l{jll\:     itltdt        r,t'tia                                                            -4t'&.tril
                                                                      f 'or1!rfr{ldrr lg$:tL!!-l:}j,-[]'t!,:it*]r:F:tt--l!tl.rrit                                     ii;-l+tr Ft'inill. er'r!'ti .tllts|l--gl!;ll-i!!-..:!ll*                                                                                                                                                          {1l6rr:i r[H ]t11"
                                                                                                                                                                                                                                                                                                                                                                                                         ?l{sl' !*l
                                                                                                                                                                                                                                                                                                                                                      !s{                                          f,xLl!.lt lqiltr
                                                                                                                                                                                       .@r---TiEi--,ri*-sljli5'il--r,{:.fsf--r---]'iltz                                                                                      i-iitu         '-                        -'--:ljEfiFiTfii*ilTF
                                                                                                                                                                                                                                                                                                                     dir                          --'            ri$ri ."r rrtr I i rllrf,lf.li; t?t4x1l.l!
                                                                     ffiffi---.i'i!r'=]iffi--ffi
                                                                      .til'.\)*t,'rr4t{Htul4|lrlu$l.lefrlft|\:,4|iL,t||4.|*|.'t51.i'1rt("iN|hti,i'll|'il|-li!..'|6,1E.i                                                                                                                                                                                                   !t jllafr{.tt...,      0l &'Alr+
                                                                          r{               4t           il          rl            ll             tl         rl           ll         tl               tr          nl               }           t                 rljttIl
                                                                                                                                                                                                                                                                                                       .*+i'il      yrtr.x        +iB61                                          at I ro{,ri t$lrttrt..rtid
                                                                                                                                                          *}q           *{"r      o,}l                 !                                                                                                                                                                                        r{tgrYtrSg
                                                                                                                                                          M^            qn,!      r.*l               i,'
                                                                                                                                                          hrf           v&{       tr$a                I                                                                                                                                                                                            tilr.xrts
                                                                                                                                                                                                                                                                                                                                                                                 ri.t*{!!rd-r*trs!!il
                                                                                                                                                                                                                                                                                                                                                                                                                           Ff
                                                                                                                                                          M4            titt      rlll               rt{
                                                                                                                                                          .d4n          brl l     .t I                 h          U
                                                                                                                                                                                                                                                                                                                                                                                                         rv'i
                                                                                                                                                          .6{
                                                                                                                                                          +rr)
                                                                                                                                                                        qEn
                                                                                                                                                                        *xn
                                                                                                                                                                                  d{
                                                                                                                                                                                  glM
                                                                                                                                                                                                       d
                                                                                                                                                                                                     *tl
                                                                                                                                                                                                                                                                                                                                                                                                                 Rrl       H
                                                                                                                                                          +/.ir,        s.td      cltl               @           nl:                                                                                                                                                                                                       H
                                                                                                                                                                                                                                                                                                                                                                                                                           z
                                                                                                                                                                                                                                                                                                                                                                                                                           t'l
                                                                     lh,ttlt
                                                                     I                                                                                                                                                                S.Jlj   tls?:t                                                                                                                                                                       o
                                                                     ltlcris-                                                                                                                                                                                                                                                                                                                                              H
                                                                                                                                                                                                                                                                                                                                                                                                                           tL'
                                                                                                                                                                                                                                                                                                                                                                                                                           z
                                                                                                                                                                                                                                                                                                                                                                                                                           U
                          Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 136 of 187
                                         .t:
                                          l.!    i*
                                          |":
                                          t"
                                                                                    :st4
                            t                    a+'
                                          l-t                                       =*2
                                                                                    Itr
                                          I
                                                 7z                                 :
                                          I

                            ;             l:
                                          la
                                                                                    ilr
                                                                                                          =
                                                                                    :-
                                          l'
                                          I
                                                 ii          1'                                      '    $"
                                          t:
                                          IJ                                        :
                                          I
                                          t
                                                 (:t         r                      ='i      :
                                          t:     +.T.

                                          l:
                                          I
                                                                                                     ,a
                            z
                                                 i:
                                                             j
                                                                                    3:i
                                                                                    :                     :
                                          t;
                                          I
                                         ,L--    I;'                      ' '
                                          ls'
                                                           ',!    "                                       :
                                          t!,

                                          I
                                                 3,:.',    '7.,           '
                                          le     aa          +                                            ';
                                          II
                                          f
                                          .t-
                                                  st' '+ -'                         n:.:.
                            n             Ir                                        J

                                          t-
                                          l-
                                                  it'"s"                                                              4-
                                                                                    :                     =
                                          I
            6                             t:      7t ' ' '!.'                                             l.          ts
                                          b:
            J
                                          li
                                          I

            e
                                         ,t,                                        r'*      a            ,,
            ,.              ,i

            t
            *                            .t_
                                          It
                                          It
                                                  i:'      'n
                                                             a
                                                                                    ;:,
                                                                                    F.t!
                                          t-:
                                          I

                                                 ,ii .':'
                                          I
                                         .1",
                                          tit:   a*t                                i'! t
                                                                                    :{*';
                                           tr
                                           I
                                           I
                                                  i-:F 'i:'
                                          t-                                        !R'
                            F.
                                          ri
                                         'i-      J2"
                                                  2!         l:
                                                             I
                                                                      '       :
                                                                              -.
                                                                                    ji53     -
                                          t:                 !                      :-
                                          I
                                          I
                                          lr      ;i3-
                                                  4:t
                                                           't'{               --
                                                                              t
                                                  7tts;i
                                          It
                                          I
                                         .t*
                                          lr.     ii'      'i.                2     !4       3
                                                                                    r.ii     I
                                          t.i
                                          I
                                          I
                                         .a
                                                  in ' ' ' gs ' ' ' ':l{
                                                  t:;
                                                                                    ;n :         ' t      r-'
                                          t::
                                                                                    :1
                                          t
                                          I
                                         '1"                                        {ji'
                                          I:                                  a
                                                                              '3
                            f                                                                                         t
                                           I                                                                                                  $
                                           I


                                         "l
                                         tt.                                  j;;                                     fi
      {l                                                                      :-
                                                                              t i            ir.i7             , i:                           a

                                                                              i =
      !!l                        I       iin                                                                   :r
      tJl                                 tt*                                                    A
                                                                                           : '.t
                                                                                                                                              ?
                                     T   il-
                                                                                             2 i i"
                                                 i:,;i:i 1 z1 irlii
      11                                          ,           ,i              !                                i: :
      t:
      li
                 il
                      I
                                     t   Jl!                  i .i i i i uiji :                                       !i
                                                                                                                      !!
      l!
      t-
      i,' ;{
      L---:l
                 :l:l
                 :l
                            ll
                            il           ;t{
                                         il:
                                         !l-
                                         l'ii
                                                  itii ii liriifiiiii?i
                                                  ii$:      iilii*iFiiiltr
                                                                                                                      ;I




CONFI DENT                 IAL                                                                                             PLAINT]FFS   OOOO8591
                                                                                                                                                                                                                                                                                                                                                                                                                       N
                                                                                                                                                                                                                                                                                                                                                                                                                       O)
                                                                                                                                                                                                                                                                                                                                                                         rl{rt}1a$Nlfr       -t}r{                     Lr)
                                                                                                                                                                                                                                                                                                                                                                                                                       @
                                                                                                                                                                                                                                                                                                                                                                                                                       O
                                                                                                                                                                                                                                                                                                                                                                                                                       O
                                                                                                                                                                                                                                                                                                                                                                                                                       O
                                                                                                                                                                                                                                                                                                                                                                                                                       C)
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 137 of 187




                                                                                                                                                                                                                                                                                                                                                                                                                       a     I
                                                                                                                                                                                                                                                                                                                                                                                                                       Eq
                                                                                                                                                                                                                                                                                                                                                                                                                       EEr
                                                                                                                                                                                                                                                                                                                                                                                                                       H
                                                                                                                                                                                                                                                                                                                                                                                                                       F
                                                                                                                                                                                                                                                                                                                                                                                                                       zH
                                                                                                                                                                                                                                                                                                                                                                                                                       Fl
                                                                                                                                                                                                                                                                                                                                                                                                                       Ol
                                                                                                                                                     in:-fiiiit--:Ei'.F--rr-,fiitT;T-nit'--iit-'                              'r[w------nr'-"'!Er-T,fi--T€i?-:*ll.--*rtii:--I{ll-
                                                                                                                                                                                                        lss\{t    rdlrrj        xrt!!ili     ratirrrtl   r.f*l:     ltault          ,l,tsl}       rsifil    r:ill!l)     rlnrMl:       lbllln!   'srlltfr      tlllal}
                                                                                                                              idllr        {.\lt                                 r.tilai   trdtL}
                                                                                                                                                                                                                                           --j]--rffir--..ir-_:lr_--_r3-
                                                                                                                                                                                                                                 rt\tlr       $t)*r      !i!*,1      {!r.r          4lta^!        ttls,l    !d>i}'}       rl'9r        ri*W"      iidr         't!i'a
                                                                                                                                                                                                                             I rrrrrrlt       lrr*l      sJ*tit.il\tr!              {$ntti        $trr\i{    slsti        s$tll        o\l{\\!   rrrtwll       {rul       ll u{
                                                                                                                                    rnss:rI*srrrrr       rtt
                                                                                                                                                                                                                                                                         \r...iLt    s{r                    Jrh$$*Friter.drlr,r'|\ii             r Frit.lvr6.'.4            tt|d:'"P'     {ttda''rBt      lt trA
                                                                         si   rrPst.r        I   s*rrFrwa       F r.r+.i*nt   Frrh.r rNr.R-\sri        ilar                                                                                                                                   'slrsf}:r
                                                                                                                                                                                                                                                                                                                        -Si'it--T--sii .;r--f-rl
                                                                                                                                                                                                                  r\rrril\ ::ll:ll
                                                                                                                                                                                                                  lli3:i      ,rtr.sl
                                                                                                                                                                                                                  fiTifi. ' " Fifi---,r
                                                                                                                                                                                                                                        :fi: rlE:*:$'
                                                                                                                                                                                                                                        +)tr            fiii; ;i:i
                                                                                                                                                                                                                                                   d lHEl            :*{   I i .ili, liii ilii-Li---eir',,r",      s*,rytr'qrff I
                                                                                                                                                                                                                  lirarlt'    ,tr*t     :lit -;iTr----aii'iii-------::i--
                                                                                                                                                                                                                                                !rrF'   riid,
                                                                                        .   "_         rrH
                                                                                                       r4F
                                                                                                                  iull
                                                                                                       r;.rfi_____:E?4
                                                                                                                  iflUl
                                                                                                                          -                                                                                      -#+-+jgt--+#l
                                                                                                                                                                                                                  ffi+iiHi:Hi_-+*i
                                                                                                                                                                                                                  {.rh:t      t*'{3
                                                                                                                                                                                                                                             -+#+--+t#"*-#+-
                                                                                                                                                                                                                                             --*iriH$'*i"--
                                                                                                                                                                                                                                                inartt
                                                                                                                                                                                                                                                tu(
                                                                                                                                                                                                                                                                   -i#i--
                                                                                                                                                                                                                                                                     ae
                                                                                                                                                                                                                                                                          *lm#.*.iJ- --i#l-*i{i
                                                                                                                                                                                                                                                                          -*m-,..i*l-"
                                                                                                                                                                                                                                                                    '.,trdtI      r";x
                                                                                                                                                                                                                                                                                       ---l-s!.., i{l--J .S. -jl.*,,,H;'"lIl--
                                                                                                                                                                                                                                                                                                  livi
                                                                                                                                                                                 tltri     ilah     |             \rf tlt       rrra^rr          wd      rM.j        rirtrl
                                                                                                   16rt
                                                                                             ' ---E?!i*i
                                                                                                                                                                                                                  It**++*li----X=+*'i*'-++-                                            +**--f"*--*t--';i3ffi                                                {--.q-- r-l'-"'Jl'l;:: --"
                                                                                            ".--..Trfrr*                      +4__*;
                                                                                                                              !-*G-                                                                                                                      lh'ilt
                                                                                                                                                                                                                                \$ta,            trr                 {r..1
                                                                                                                                i8l-.*--
                                                                                                                                                                                                                                                                                                            t_
                                                                                                                                                                          : l"             iiii |                         '* l*i:i . *.  I'rr
                                                                                                                                                                                                                                         |      .
                                                                                                                                                                                                                  . : *--g-'5i5"-t--*f.--1'-*l--T:-rxt'
                                                                                                                                                                                                                                                      Y,    rsi_ii          rli]i,,                                                                                                                                    Fl
                                                                                                                                                                                                                                                               .rc -_*i
                                                                                                                                                                                                                                                                    "--u-t
                                                                                                                                                                                                                                         t.. _-
                                                                                                                                                                                           i$-t' '               ,;-*-l--                                                 *q'1''lp'4 I
                                                                                                                                                                          1-"1:"*                                                        t' ,                                        i
                                                                                                                                                                          #-rr*'W+a,rrrra:wnzt;*-n-rl..-#,,r,t               ,*          1--;in:1s'1',ffi'r'-1#fm?rr "'+f- *i*--_*l                 c*,.1                                                                                                              H
                                                                         tt tr4, t $Jlta1 tnv \ LawA                                                                         l4urtdl, lltf;ltrt.ll nlttt.a l*tWL                 tt-'i4vr. *LrqtllA "trttlF."n $:.tW                              ,aAWr     l:>tl,r4trr .f,nrev.' n1'11'H rll&+! |                    |                                                ts
                                                                          ,*- _-,.,,urEr_              ,t
                                                                                                                                                                          *--L                                                                    ,. .^LE{{!-*"j^:t-|qt-.*,'-.                  " -lrrr-r:1                              -- \v?- t--.         .*_:-"*--_.
                                                                                                                                                                                                                                                                                                                          t t 8ft hattn@t ttftlrr afl latl ft t qlltit rtr 1fr&t lryilf rlli

                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                                                                                                       z
                                                                                                                                                                                                                                                                                                                                                                                                                       Lr1
                                                                     w8" --
                                                                     'ta,::!:--
                                                                     I

                                                                                                                                                                                 -*-i!2!-:--\J*l5L-ir2g!2-:!1llt"*1:'
                                                                                                                                                                                                                         r ttl& tll rq E l+4r*t*
                                                                                                                                                                                                                                                                                                                                                                                        --,'rf raq:tif   ,u-l   1sJ
                                                                                                                                                                                                                                                                                                                                                                                                                       H
                                                                                                                                                                                                                                                                                                                                                                                                                       tll
                                                                                                                                                                                                                                                                                                                                                                                                                       z
                                                                                                                                                                                                                                                                                                                                                                                                                       r)
    l^!

    zr.rl
    H                                                                                                                                 c.Fttr r&!mg              a #l!lH0*     rrtf    af,!fa L(lttts
    -F]     LM
            {gF
    zF.l
    H                                                                          r!?!      tr,!p-r        r.rflr       rr"3n           ttrin            rrrlJ           n."rl.           :rlat         tEF,            trt.4          vyt            rir.i:       yrrn          ,rrr,t      t&141          2*-rt1          ?alaa            *..14
                                         !)gilr       rr:.r        r.*9r                 *$             *..rtr           4:               rn               r,            it\t                 rr!         tr,              dri          &,              tt           n\            19          t4            ,.",              t   r
                                        {.!$.r9|!.rtt$nE\*!l,lpt:r{B!r|aa|RP|9!1tr|Uc+:|.|q'.|lst.].|!t.9'|''.}1e.llF.Y,l|,l'|'''|}rrl                                                                                                                        .-,rtlt}
                                         '.tlltft     i r4!r      :.rrtrrr. irB,H      :r{.rrrr       a.lt{t        rlHrrt:        itlrlh            atjk{           1-.,!a           !,!!*At       at'4{4         tl1!s          rrtlhr         :.rtro                     !,i1.*l      2lnqg         ,.1A.Yt          tJrgt           ,,t.we
                                           .lt.rrr      .n.!!r      arua..    .rit       tr1rn          t+lti        r.1r:\          t&ll             nzlry           #lrr              ltjlr        sllu            !rtl!         llt ru          Fjlt                       rit4        rrt..t         lrrt*           tn4.:            r4.ry
    tf      tFrrr     hr |qr   t'd
                                          !rli;        ;'*;          t:\E          lxi           Irs;         !\*r        un;             n.q            rt*;          :r.a              r*i            rrlrr        rrF;            rrs;          ri.*;         nr;          rt!.;          t d;         ,F              t\rt             ,r;
            ltddilirrSt,rniF
            {*    h.i                   r.4rrEl       \:ll$t      l3r(ll       t-"t.(!}

            -- +                                                                                                                                                                                                                                                                                                  #-7iiG-1-=:dr


                                                                    !!t.!i     r.te.il       |   rl1[l      ED.        tsrlG
                                                                  lllrl          r{rtr           ritfl!
            r.-ri :+F.o ?.".4,
            91wA./3.ttubtl
                                                      llrr.:s    t!.49:tr      rl{l,lq       rrsqF
                                             .ri            i!       rrar            i.ilr       i{-(                       *':,                                                                                                                    t.!u
                                        rlrRrit      t!ll&{l        arirlr
                                                                                                                         ,rt*                                                                                                                     ,r"tri




            yrzJu4ter+".rr*:tt3:L__*               | tl.ttttt | '.,',^\tj,:/"t|434t-"+'."                 1 rtr.:f t tt!"ra | '.51'4\, !..\v]tr-.t t\vrtr t xrlBii
                                                      t,3,trr                   i llrld       ( ttr l.r      ,1t.t.1    t.t:t,at        !,i9rir       ttsr{          r-rj!,r          rlqrrt         t.ts\lr}      tjhtrl         lr}l!{\        r.iFr.)      r.Jhii!       rtlrRr        Lilrr$       l.rr{:rl        l,t\'.!l         t.$\t.t
                                                             -       at lri        t:-.                        tlta1      t!.r'i          rt' tai                     :t.da            ttrrr!          t.t.{.        rttlrt         l!.I!          !\ d:       t.!tu          :lalrs        !\rrl        ltrlll          :s$!             *.r{
                                                      :r\nl        t'airr.                      (lttt         !..u              rtr            rv,      'i{.!tn\           [                ttr             llr           ttr
                                                                                                                                                                                                                          ltr             llr
                                                                                                                                                                                                                                          ll'          llr            pl           llt
                                                                                                                                                                                                                                                                                   |tt            {!             rrt
                                                                                                                                                                                                                                                                                                                 rl            Iri             dt
                                                                  tr.u..$      rr*tlrr       t.orri,        trj',-r    !;{t$
                                                                                                                          st$          t!ir1j.,      tr.!tlH        ilti\\a          t..r!E         t{lr{.!l      r,'it,er
                                                                                                                                                                                                                  r,'il,er       ,!alrs,        l1*r*r
                                                                                                                                                                                                                                                l1*r*t       rr.ltl\\
                                                                                                                                                                                                                                                             tt.ltl\\      rasrt!.r
                                                                                                                                                                                                                                                                           lasrt!.r      rllNl\!
                                                                                                                                                                                                                                                                                         tllNl\!       l!lFtll         R\t.rh          It,qr,*
                                                      .11|,a4                                                f,tirrr    :.|!tt                                                                                                                                                                                         :l\\r\t          l\tN
                                                                                                                                                                                                     :1.:rir       Fi*rntt        trrrri'        llrrrdr     rrr:r\1        lr{.rr{l     lFrlrr        !.l.irll




    FU
    H
    L'

    H
    zH
    H
    r{
    rrl
    a
I
                                                                                                                                                                                                                                                                                                                                                    Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 138 of 187




    O
    O
    O
    a'-\
    @
    CN                 ![*sir*&.r,wll
    (o
    (,
                                                                                                                                                                                                                                                                                          sfl
                                                                                                                                                                                                                                                                                          Ol
                                                                                                                                                                                                                                                                                          Lr)
                                                                     v'60 3?vd                                                                                                                                                                  f'! -nz-so lsssaloJ )iteis   leo sr^erl   @
                                                                                                                                                                                                                                                                                          O
                                                                                                                                                          I\'                                            il:Ll\t)l{l!ll
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 139 of 187




                                                                                  '}4bf'!t                            s   t tV'i,d rl(! ilNL                    :lr1'lY,t oJ J.;vt)'l
                                                                                     6tr'0il}'f      [                                                                  aJNV'1              V {r J.rl      :]fi   'l v.t.{     ).1
                                                                                                                                                                                                                                                                                          0
                                                                                                          $                                                                                                                                                                               ttr
                                                                                                                                                                                                                                                                                          h{
                                                                                     5r0t['0lri9-q$                          i{l tlv"{Ait{)d$(3:{fl,l..l1' Alund(tlld                                     :1{)    iltl'lvA                                                                H
                                                                                 mfl                      reffiF;'firfiilr1r''X;"rri'alrN                                                                                                                                                 ts
                                                                                     |   $8'tt'l{'91,                  {prrrr   l xnld r..l 'nird
                                                                                                                              sscl     'd:t{Ji r}${t:} ltrtudol:r"re6
                                                                                                                                                                   s-t$Q.)                                                                                                                z
                                                                                                                                                                                                                                                                                          H
                                                                                                                     ffitiir.t,[\'ttll"$t
                                                                                                                                                                                                                                                                                          Fl
                                                                                                                                                                                        ll;v(}tldJv l$0")                                                                                 Or
                                                                                 .-..ffi,*"
                                                                                  %iT'it*"
                                                                                                    -         --ti
                                                                                                              ": *.:*:r:.r
                                                                                                                             ttr.:t.l   {r-,
                                                                                                                                               ;ffi1a!*                                    ffi
                                                                                                                                               (tN:l f \j'ifr'l'lvA tJJ- Nvol {l!l l.v'llr.INl
                                                                                                                                                                                                                             |ffi
                                                                                    $s9'rri.$'sr          $                                                             :t.)NV'iYg                  .l   il:lil   I!.1{1.1.
                                                                                                                 rfis't'!$'rlt                                                                       f'lq;*.t -.)ru,1
                                                                                                                tlrit'tJ{tf'u                                                                       $tl:inv.{(l AtlJ
                                                                                                                 D{t'[aF         r                                                     Ir|6fl uollnQr.rturlJ dl)
                                                                                                                ?q9'r|lr'{                                                                         rl$N r)llJ!
                                                                                                                                                          JltptAurl ooil turunilt:rttt3.1 dtqs.lsuuu{l
                                                                                                                -s
                                                                                                                '*-Tm;i*t
                                                                                                                                                                     :1qr:it4*:t s.l$J{r:( rfi}si,+ul
                                                                                                                                         fvi.r-'utEfr{:n                    t.r   rv s:t::srivE rt:lit
                                                                                                  {i'if                      I l--I V:l I rl0 ("lN;lj!!4jL1.] **=n'ilrrolifr.fj"'rcrJAfi
                                                                                                                                                              A,l.]l I l.tO]l d l0 :lil I vA
                                                                                                                                                                                                                       "
                                                                                   I l.j'$    I           $
                                                                                  %fls'6                                                                                                                                        5
                                                                                    lllfi t le't          J                   {[50[) 1' I .ttl:ttr        u1   {$.t:rsr'; 'diil           f i']11    l0hl PJllllqtlli
                                                                                                                                                          ;o    i l'^ir J   t     -1   t^l{r'--iN,       iiH:   v}^{   I   rs,      I
                                                                                                                                                                                                                                                                                          F1
                                                                                                                                                                                  l"l)r-il       tl d dlt 3 I.{ ():}N !
                                                                                                                                                                                                                                                                                          H
                                                                                                                                                                                                                                                                                          H
                                                                                                                                                                                                                                    lllA Isar.J Ir:{}                                     z
                                                                                                                                                                                                                                                                                          t'l
                                                                                                    (er:oz)    ut      uvnl             do ilN:{ .t.v sts.[lvNY J,ggil                                                                                                                    -
                                                                                                                                                                  dl ':llJr.l :ft ) r-l.Eli t I Ili                                                                                       H
                                                                                                                                                                                                                                                                                          hJ
                                                                                                                                                                                                                                                                                          z
                                                                                                                                                                                                                                                                                          o
                                                                                                                                                                                                                                                                                          U
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 140 of 187
                                                                                                                                                             -,,I.               .

                            3$i ":                                                                                                                           ;.l i-I
                                                                                                                                                             1     .a.I


                                                                                                                                                             'i
                           Fu'{
                           F*s
                                      o
                                                                                                                                                             nl-l
                                                                                                                                                             -
                                                                                                                                                                         I

                           ,i${
                           is.
                                      *                                                                                                                      itl
                                                                                                                                                             a:,
                                                                                                                                                             *t          I



                           !:s        i
                           +*{
                                                                                                                                                             ;-l
                                                                                                                                                             - -t.
                           I$$        s
                                                                                                                                                             -- :"1

                                                                                                                                                             t.t.l
                           $$$        =
                                                                                                                                                             *t
                                                                                                                                                             i *'l


                           !$l        r                                                                                                                      1St
                                                                                                                                                             ;=l
                           g -.' ..                                                                                                                          __t.             .


                           .38$ r
                           Es{:                                                                                                                              ::1
                                                                                                                                                             'l
                           iuc
                                                                                                                                                             ;il
                                                                                                                                                               I
                                                                                                                                                             ::x"'
                           Egg        .                                                                                                                      ril         I




                               t{
                                                                                                                                                                             .
                                                                                                                                                             -     -l'
        {                  i          =                                                                                                                      ;il
        H
            !=
                                                                                                                                                             -t          I


                           s...,
        j   ;:E            t: -L      ..

        !   iiE
                           E$*
                                                                                                                                                             *l          I



            i ail          liI                                                                                                                               ;nl
        F   ; s!                      -                                                                                                                      ilcl
            !ET                                                                                                                                                          I


                           !r.        *
                                                                                                                                                             i cl
                           *!*
                                                                                                                                                                         I

            {$'g:l' -tlS .=                                                                                                                                  *$l
                           :€<

                                                                                                                '*s'Ei.'xiliix 'l
                                                                                                                                                                         I




                           +dir                                                                                 tzdij
                           ji;                                                                                                                               Irt
                                                                                                                                                                         t
                                                                                                                                                                         t
                    i      g.,"                                                                                 :!   :!
                                                                                                                'i", 7- :l                                   *3lE5
                                                                                                                        3 -' I- i
                    i. r   li$                                                                                               =.Ii
                    ;a I   i'r        '
                i-E{*lr:i :--                                                                                                                                .1    :t3
                                                                                                                                                                         I
                                                                                                                                                                             e
                           *.8: -
            iliit!;                                                                                             ad
                                                                                                                n n i        *;


                                                                                                                r,r. E: tr. ltt
                                                                                                                                        i4   ;:r:
                                                                                                                                             4*         i:

                                                                                                                                                             "l
                                                                                                                                                             lettt
                           +t{.
                                                                                                                -."          r1         11   rr     )
                                                                                                                                                             dr:l* :.
                                                                                                                                                             ;-l                      I'r.
                                                                                                                                                                                     ql-
                           ;.,,                                                                               'i:n'l:*'|-.E't:s5                             ^..t_           _       'l-
            -       E:     :{€
                           irt        -
                                                                                                                iq           a+_1.      -a

                           ='r
                                                                                                                x-           i-         i-   F'-i:      ; --t--
                                                                                                                                                          r: TIF             rr
                                                                                                                                                                                      t?..



                                                  \iutiv?
                                                  A4*-U
                                                                                                    '|   i.     Hit*
                                                                                                                                                                         I
                                                                                                                                                                         I
                                                                                                                                                                                      t
                                                                                                                                                                                      I
                                                  trltt.i
                                                                                                    1t          i:il
                                                                                                                g{at
                                                                                                                                                                   ls                 I
                                                                                                                                                                                      I
                                                  4=dd                                                                                                            J{?                 t-
                                                                      4+
                                                                                               ..{                                  {d
                                                                                                                                        g:
                                                                                                                                                               9t i                   l!
                         f ir
                                           ia                                                  !*
                                           1='i_                  i                     I
                  :i                                                           I                                                                                                      t.1
                                                                                                              {1Lj\,!                                        - +l J                    i"1
                                           =ddd                                aq
                                                                                                              \dfie
                                                                                                              =3e:a
                                                                                                                                                             i'*lJ           ;
            +i3rii!ti                      EfrfrE [
                                           zx         E     Ir'            x
                                                                                    $
                                                                                    d
                                                                                                                      *Hqi
                                                                                                                                  tsF
                                                                                                                                                             :slH?
                                                                                                                                                             !:tt
                                                                                                                                                             i:lij
                                                                                                                                                                              ;
                                                                                                                                                                                     EI?
                                                                                                                                                                                     :lt

            i 3!:;F ii:                    2ZzZrE
                                           lu
                                           o-
                                                      {                    F        3
                                                                                            '*Ilc
                                                                                                                      =sr!
                                                                                                                      it;3
                                                                                                                                                             Srli:
                                                                                                                                                                                     Tt4
                                                                                                                                                                                     $:




CONF   I DENT IAL                                                                                                                                            PLAINTIFFS_OOOOB595
                                                                                                                                                                                                                                                                                                                                                                                                                                                              (o
                                                                                                                                                                                                                                                                                                                                                                                                                                                              O)
                                                                                        t   | | 294,4
                                                                                                                                                                                                                                                                                                                                                                                                      r,rn.C{ ttsrfiJ{*l        N0 rtrq                       LO
                                                                                                                                                                                                                                                                                                                                                                                                                                                              @
                                                                                                                                                                                                                                                                                                                                                                                                                                                              O
                                                                                                                                                                                                                                                                                                                                                                                                                                                              O
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 141 of 187




                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                              ttr
                                                                                                                                                                                                                                                                                                                                                                                                                                                              trJ
                                                                                                                                                                                                                                                                                                                                                                                                                                                              H
                                                                                                                                                                                                                                                                                                                                                                                                                                                              ts
                                                                                                                     fril9{fr        ,r.'tr','t      tfrPvnt          *\tlit        a8
                                                                                                                                                                                            '\t;
                                                                                                                                                                                                    i,}tii(t}   t   au l.L'r          4tvll+              \ir'lirr           q4t?4t
                                                                                                                                                                                                                                                                             ?!t.t! r
                                                                                                                                                                                                                                                                                              r!a*i7i
                                                                                                                                                                                                                                                                                              l3!,ldi\
                                                                                                                                                                                                                                                                                                            ut,4t't        ,:!t€i\
                                                                                                                                                                                                                                                                                                                           ll,:.'6tr'l
                                                                                                                                                                                                                                                                                                                                              llilB'r
                                                                                                                                                                                                                                                                                                                                              lF rl,f
                                                                                                                                                                                                                                                                                                                                                             aa\4if9 ttitttt
                                                                                                                                                                                                                                                                                                                                                             taitp.t!". x,'rtr
                                                                                                                                                                                                                                                                                                                                                                                         I                                                                    zH
                                                                                                                                                                                    "               4qrqti          \7' tt                                1ilr'tl1ll                                        l$klla
                                                                                                                                                                                                                                      '?t\t,
                                                                                                                                                                                                                                                                                              pdll.                                                                                                                                         ttrJrDrz!']r
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Ff
                                                                                                                                                                                                                                                                                                            .glrr
                                                                       x.'lit                 lla llt                {i!ll
                                                                                                                                                                                                    *;rrtr
                                                                                                                                                                                                    r:ftrl |
                                                                                                                                                                                                                    !lri';,
                                                                                                                                                                                                                    tsli"alil
                                                                                                                                                                                                                                       tlayt
                                                                                                                                                                                                                                      l;tinlt
                                                                                                                                                                                                                                                      t.ant
                                                                                                                                                                                                                                                      '{frtl                 itr'rlr'i        J)ftil'l      fr!'<!r'{      iia?t}:a                                                                           ,]t trEqt   H.rr\t I !r4It{.|            n3     tu
                                                                                                                                                                                                                                                          tlllrr'i           ili{ir           {{,itll       tR'lLl         n;!s'
                                                                       i                                                                                                                                                                                                                                                                                                                                                  lr,tti.ryt..t        b4,aqt:,
                                                                        lt-lrftrnlg'til.llH!!r9t:tttr)Irt'$t-ll'itl{ttfrlSfl)lr'rrr.t,,trfrlrtJ'rsr[li:lryitlrl'tt{rrd'\alit''tlrtra't'litllrillit,{rri+fl_tt'l
                                                                                                                                                                                                                                                                                                                                                                                                                           'tt&:411t'r
                                                                       iri:il]        Itirit        r1'1\{            lr{i}i          rr$tr:i        :d }l{           !!r\a         l!l'!li                                                                                                                                                                                              _                                                lrlfjg{;l
                                                                       hutt          tr!.$                            trl.st          rljlr          htt*             tlii.         tslr            titits          litli             r$ri                 inls               l!{lr           ll{:l         !atl$          llt'll             lar"t          lii'li          l:n'il
                                                                                                    tlIil
                                                                       irl:r:|-itfIRtf4:-t|t.|ilr.xr!,riirl,lli|\tt}{t}.l9rll|fIt!.i.frlnll,tt.t,}a.!'!!.n!r||                                                                                                                                                                                                                                                             't't&:lllt+l
                                                                                      ,\i.w              rlrit       t.lr!           r{:T[          h\i!              gr'h          itttt           :i(!l           rldti             r$]\                ltilJ              llri             lfltt         li,tli         lqnl;              \a{lt          ':rill          ll',S       '                                                Iti|i!'ill
                                                                       srit
                                                                       iii.ic       r iii*.,
                                                                                                                                                     ri$s             N{id          rlrlt           rt{ li          tlslt             ltfrl           t!f:\                  ltlri            lai     la    lii'tf         r:iil              lri_ls         lrn     ll      ltr'"ri     '                                                ;tllb]bttnl
                                                                       |ll'{i}                rilvr      l$il        ;!r'rl          trr'r}
                                                                       iii.iuri'iiil..i"iiiv.'i.iirtnii.ii..riiiis..o.,.i.i,".i''ui'*ti*l:
                                                                       R**t                   fnr{!      ti|it       irr'f\          Ri.i}          flTJl             snr           l$rr            th'ii           Nri:r             l:tl{           rinrr                  lt\rt            lldlt         lt{if          lrttl              lt{lt          l.tf,a          tfnli                                                         t1:i31rih
                                                                       lili].x"s.il.;i;.ijs'iliiirri"l.i'.l.1iii;*+r:'l*r:ti'li.,r
                                                                      rff.f       16!.r $rt{           r}rsf rfi:t} rJ!*t                                             rtr'!}        tt{'lt          }iits           ildlr             t:ftJ           is{lr                  l!415 lidlf                    roitl          tl!_lr             lir:'r         tr6:!           ltn':}                                                        taua'tul\
                                                                      iil*tiii..i''3lr'r.r.r!llr'iritln.liiitil.L}fi!llwurr|..rqtl
                                                                                                                                                                      {rri&                         !!t]I                             tt*ti           rri]it                 ll{, li          tb lt         ll{lt          lia tl            lii l{         \i{li            lttll;      '                                                 ItIS'lt{l i
                                                                      *i.l                    iu {e      airit       Ftl(            lil lf         [$Ir                            ilriri                          lI\1.
                                                                      i'li:"ri.".',.rii'i.'ii".';'ltf;til.irnulltll$l|}|ls|ifnulis.Nir
                                                                                       ril}r            ttftt           :rfli        ttitr         ,!9ri              sir           ,$'!t           ll\i$           !ia;t\            rltill          .lnli                  rt\'[            ltirt         lit]'i         lt{'1f             lt\tli         ltitt           {!{'ti      '                                                 lg{littitt)
                                                                       ttl\t
                                                                       linl"t.";iii;.l;i;.li,"iriiirl:s'||.;tr}i!s!i}lis{IhFI[\N'{|'|$q.a||!trl\lt{.|
                                                                      rr4.rit                 tu$        fjr:l       lFl'id          rdfit          s:,k              frlitll       tr.\l\          t,iiti          !3ilt             ll{!t               llr'll             iadrl            risli         !sl{           ll4}t              lidlt          ii!i;           trali                                                         ;\-lll]Jilli
                                                                      !*ierrr :r;*'                      i,rr,tr     iri'iirr
                                                                                                                                     ratt!                                          ltiB                            ltf':{            rail!!          li\'l\                 lidll            lilll         lh:ll          tl-!r}             lt4     lt     lln     ll      t:{'l!      _                                                 JridF{H t
                                                                      rilnt           l!;'f!     ttflr        ft{'tt                                truL}             !FL,}                         F{1(
                                                                      !||t'dlrrri'rri|!.{}191.ei1rIrF.{{{|.tg.w|.!
                                                                                              r{.at      rrt ll      $l Ft           rl;lr          l:!9r             ii$3r         tldti           li':{t          lI( lt            :!{ ri          lld tr                 rrllt            llttlr        a:n     ad     lia,'ll            tltrf          lTa';i                                                                        L{ilx'l& t
                                                                      xl:rr
                                                                      tnfral                  rflk't     .d{ts'ta    itirll't       g.} tf{l\'
                                                                      ddrir           ioj'jt         ril(*          :tltt         lttt              .;t\!             xr'ir         rirlt           lstt            lirlt             E!r!            tii'tt                 tirlli           lT4li         ihl{           l&1i               tjt'li        :;n'll                                                                         lrrr{Gl
                                                                      l'tft.t|$rii'|{|'|f!.'1'fk.ltF.|tn![t.*i\}..,ls{j':$r1ri|:fx{|ll{lh1-{
                                                                      &a'at                   tt{1r                                  iid'it          t.'t]t,          lr,nr         t;/,tt          ri.Lr           rt,rtf             idlli          tS ri                  l}1t             tli rt        t!{lf          lt!'|,             ltlli          l!{1t                       _                                                 l$ltljxl       I
                                                                                                         'Jlta       ,r1'b
                                                                     ffin                                                               ii4'             rj:t -             tri;         t.rttt -       .,;qL           .:r;at            iiF--e-------T'-Tit                                              ----;ill--          at   tg              thr            tre          Jls
                                                                             Nl                     4!        t',           it            4,                '.1                                                              tl                                                                                                     t                r!a                                          I
                                                                         lrJt:      I                       |tfrt          xtrr         *tt,            ,itt,                                                                                                                    '4t\ a     *)tl               illl I                            vJtrr                         tli |          .?15{
                                                                          tut                               clryt          *z (         vt4 |           :dA!             ryJ41                                                                                                   !?: |      *:4,               \:t I           ttli-t            gla |         "&! 5
                                                                                                                                                                                                                                                                                                                                                               ltt             9ll r          '"!l:    a
                                                                                    3                                                                                                   '//tL                                                                                                                                                                                                .\$rlt!
                                                                                                           :frfjti     t   ;uili       1r6:rt4t1 wfrt             ,     t1t tl,         Eraarl                                                                                  r1w15t'f,r01/r                !]:r:{rlri                        ltBr?lr)      aij?rl{         lrrir}1r
                                                                                                                                                                                                                                                                                                                                                                   rtrr,'g                                                                    ,nr t.:{        F]
                                                                                                                                                                                                                                                                                                                                         ritrt,rs:, r€rtlt rlt p rrr.l
                                                                                                                                                                                                                                                                                                           :F' I                                           ,:rt {r.!nrt                                                                                       H
                                                                                                                                                                                                                                                                4.J$ttr'.u o41.il                          :n{ rl                                   .at.er,1#l,q                         ,ltl t
                                                                                                                                                                                                                                                                                                                                                                                                                                    ilr.lr\r rl.*ql           ts
                                                                                                                                                                                                                                                                 *\*ryt21 ra$ilrt
                                                                                                                                                                                                                                                          t.Le.q:@n\t11'84t4t
                                                                                                                                                                                                                                                                                                            {|l
                                                                                                                                                                                                                                                                                                            t1.;
                                                                                                                                                                                                                                                                                                                                                        ,ttr)rl t,r..t i,
                                                                                                                                                                                                                                                                                                                                                            :tq    I   eqq                                                                      :4qil
                                                                                                                                                                                                                                                                                                                                                                                                                                                              z
                                                                                                                                                                                                                                                                                                                                                                                                                                                              t'l
                                                                                i
                                                                     YL'^,                                                                                                                                             l,    z'1"tL't1t:. rti   uttt ly    zr   t   ri$]\   | tt r{    lt,Lrltlw                                                                                                                                                              r'l
                                                                     l!r![ li,t
                                                                                        -                                                                                                                                                                                                                                                                                                                                                                     H
                                                                                                                                                                                                                                                                                                                                                                                                                                                              tq
                                                                                                                                                                                                                                                                                                                                                                                                                                                              z
                                                                                                                                                                                                                                                                                                                                                                                                                                                              o
                                                                                                                                                                                                                                                                                                                                                                                                                                                              \J
    C)

    zr{
    H                 I   Tr\E\lr rir.l            I                                                                                                                                                                                                                                                                                                                                           __-_---.-----%i.I
          itrl
          I                                                                                                                                                                                    ntft*16igr-Lsttxtlz{ft(lxt( n*I}rLE.tL                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                                                                                                      2     tt   fr41
    F]
                                                                                                                                                                                                 tuklh     l'.t tk& ftb t/. f t
    zFl                                                                 t l.{r!1tp                                                                                         xtl
              f..r{frrun          (tl...trt
    H                                                                                    lll\                $rt|.n t{.ut1;trs                                          "":
                                                                                        .r, t5                                                                             ilo
    tf
                                                                            1    flt!'           ali,i."(r       r:ttrl{.         r4,1Fl.r         ilira$rr         rli!tl!.         {r*rri,         i!:t{ft           tlfat$           ttvt*           ttrf.tJ,         rtallift            {vidal              Jlr/&)         l4,ttatt             illta:&          lttEi-s              ,ltr&ry         |t+rlrtt             ,lrlttu
                                                                                ltrta             x:!6            ill4r            lL!               as.r            1:atv-           ,!r,             *vt\              ty.-             ttf.            r\rat           a,?r               t?)14                I Yt\          | kh                  a t!,            r t.l.               I it            r tle                  N.r*.
                                                                                iltr.r            rl3:            6{tu             t.:!rr            r!.,            tl:!t            f1.l4i           tr6r              tJtl^           ,,4r-            }1{t            rr%                 ,11r,               r-t(r          lYr*                  ,t*.            ,itt.                 r1t&            *lJ4i                  a,.Fa
                                                                                    I               I                !               I                ,               {                 '               1                 ',              t,               t',              lt                 11                   t,            ,t                   lt                  tt                   ll            :i                      ln
              tlaq            ,-                                                 llli              nr:r _          ItD             !!i!              nrr             &l:              l$t              lJll              3i7l            inlt             |il'1            ,tt|                tt!,"              ll,tE          1l*                  7.1,                tl,7l                5t!:          Iil                     lfll
              01\t::tsts! l*ltN:l                                       l-'.l'''J|.|!d,||,9|i|'l'||,t*snt!x!lt'1|J}t|t{t|'.'fra.'||'g',lf7|!|4'.'..'
              i   $-f{tjs     t                                                               "-      ltr!        ri,ii\      irrl       lr)tt       ;rrt     tJm         r;(1       .'.{d       ?Lr1   1.:1,\ 1!,R                                                                                                  1j!,\          ?,rf,1               t!*r                   rjni              r.tf,r           Tttr                   ltrs
                                    t,rNflPru                  -                  -
                                                        i   orr,[\t:F             ..|I(t'ntt.'.'.,..,,..o.,,.,',.n,.'.*i,*ur"ithD.lt;,,b\ulr;.,,*.utr*rl*l.A!ttbr!t+l.':r,tllnil.hr;tB,t.",.*,,...,.,,,
              l lfnrNrf,l                                                                             l.:rl       :s!         trill      r-{ri       j..;i!   l.ral       tl{!       ?.rd)       lrtrr  :xtr   l.0ti                                                                                                *trtl          l,{iJ                 :[!             ,'JUl  rtrrt                          r.{rr                        iltr
                                        faRrtil
                                                       r    t!-{r*:ti             I           I utto,,* rltp;;             rtrF,ar. tJ;srr, ,.,o,,ao ,no*.i t.Nris r,.{.}m ,u*.-*,i t$}]rs tr\d$lt                                                                                                               trrxad          r${rn               t.nilltr;         ,n"ou ,lrr.s,i                       '-,ttt.r;               ,raur*,
              :-t*lLt                                                                                 ltrrl       r,tt$       riN,       r,0rl       ,'rcl    :tdr        rri{r      t,t(\       i lrl  r.l*r  us!                                                                                                  r.ldt          ll9,                 rr)$             l.tti   r.:()                         t,t!t                        1.{s
                                    t'R*r'{Pni.
                                                        )i|$,'|.\r1x.rlJ|t1.,'!|-:.'ltli||tiilri0|.':t.|J.}r|.9!l't&'|.:.q${|l|it|'.'FLnqn!t!
              .   U.!illi*I                                                     r           i.;61        r.tihi          rlll          lri)                             !.,s1            lJllr            r,,ilt            :Jt!            rlel             lN!              tJEr                  :.nrt            l.{(r           !,a(1               lrs]               l!'tt                 J$l!             lsl                      t.t(l
                                    ;tN(rlir.
                                                        l|ldru1,'l.li1|,l.})tJi.^rl..'i]ol..t4|ll|.1t:+t'hJt|||Jgr,|''}a'r:tq|lr!1r|sl]'{n'N';lj.L'.l}3
              ls,t$fq                                                           .         f:xr         ?tql         !.r)r1         !:a1          rjtr                                    ?ttl!            nt,               t!{r            :!tr             l,i}i            h*f                   i.r!t            r,+s:          ardt                 ts{r               lJilr                 r"lat            lr4}                     r.'rti
                                    Ft8if,tF{.
              {   Fjr*ttT                               'Fs.rl{:[.|.|l.:l{l|lrI{UtlJ|,|t\$:||r.|fli(r||1r\rrtlil|.*|ii.!t.u
                                                                                 '        rj:ii         :!r1             l:ir                           rrq)            r!t!             fJftt             rrjll           ;.Gl             r.j6l           rGl               :trt!              ll{r               t.{n}           rt'lt                }Nl                1}tI                  i.ml             li_S                     iril
                                    %-tlr..t?     rL
                                                        r[{l i}r:l:                        '     ,1n*,a*         ,1,^'5*.i        lNn&li            r.un:t.         ,O*,,.i           rlu.'t$         ,.*.oo            l.ttt$           ,.,*aa..a       rrrgr            ,^,r.,*             tnr:rRr            trX$!           rlrl-U              r,r*lxi           r$b$:{.              ,U*-ril         trrxrnj                 t.l.urrn,
              i tri   I   fkgtq                                                            .        l.rt!           trnr            ;.tll              .lI$           itil               r"sl             |$i               r.rin            lN!            1.*i              r$1                r.qi               rrsr             rr\!                !,ot-r           r:i*                 rsr              r.t:{r                      r.na\
                                    lEtltf,lf$
                                                        ?E'\1.*Nri;                        .l:.u..u,:q.\l'h,'u,,'.,.lr'"-'.u,,,,.n1,,,i'rnlr'.."..',j!}$:dr,.r.v,l'l$\Llr
              r   I$;n[l;l                                                                 -       :atti         :$l:            a.rxr         ir{I           r.rt.'      t}lr                             rJts.t           irrt}           1.{r             r,rul            l$t.l                 l.rnl            !.rit                               llt!               a!i!!                 l.(tr            1,{1:                    lul
                                                                                                                                                                                                                                                                                                                                     '.ltr!
                                    rc,*it!ilr.
                                                        f.llil d*_tr                       ....,,o,it.Lrtrrrr,,,*1...'.sr];,,o',.....,+*,,l!{tttl,.o.,..o''}ili.;.**u.u.*|r$.t:{||lr|t.l*r:|..{n.|;.,n'61,1,i}irtsr.
              ?   ffiF.Aqt                                                                 -         ljtr        l.t$           Tlt)           lNl             r.!S         r;ial           llit         !_&l        itir                                    rt)it            l.,l|5r               r.**             lrlrt          illl                 l$lf,              ttt\                  hai              l"rdi                    l.d
                                    Htrt!ii%.
                                                       *lrit.*i$,!E
              i- fiTFfftt                                                                  -         i$rl            il.rt            rlrrr             i..tr\          l,$tl            :sl              ?r(rt            !.:$l            :.trh           i (ir             r   t(l               itRt            _(!{r           :.Rr                 r.Q!               llil                  iJ.{l            lj)ll                    i.trl
                                    tr:41f!:
              It rrr      rid:t                                                             .        ltlil           :lFr             l.!li             ?tnt            !.')|!           ..{N             rqal             r-tll            I l*1            Jltil            lrtl                  t..f\           :tlDi           tl{                  i.r}il             llnl                 r.d}(             l.lll                  :ru!
                                    ,6.rL)trl
                                                       rl i{.i}}:t                         .|'Dt]t{':|:s!'o1o|$*;.tt.j!.'!.l,|'jL.'|I'q|'|t|..i'}htt,tt}.t{ll|'tu.$s
              t: mfttrT                                                                    '        r.$)       :ril             it.:r            ':J[r          i.rr                     ri^r             l]:tr            l]rlt           lnlr              t,{-t            r-*r                  i.fft           rjxl            1t{!.                ,,li}l             l.$t                  r.sl         ilnr                       :..:$
                                    fcftK;r6l

                                                                        !                  .r                i               "t               -!              ..t               -t               l                -1                |              -l                I                  .t                  -t             .!               .t                    r
          i1r,slEer.g ji4rgg4l4:r-
          E;;j,;;;F.-ffi'-rTl;------iitEi---ilq---
                     .
                                                                                                                                                                                                                                                                                                                                                                          ffi
              ,rr, |il.'F         ltr      r\rt-mrjltrrlt                                  -       ot,rtl         rrx.irr          :rr-:ro           ltttll          an.l*             .t!.l!n         !ll:J)            $N.i*                            ri,ii$           vrl.:!b            r,!..,Rr           t.irr:$        l.ldt.rit            t,!l!.*5         |   r:$.llt          I   ri),ltl     rJA.^rJrl                l.!!l.!J!
    ru                                                                                                                                                                                                                                   'rr.i$:
     tl                                                                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                                   -t       -,                                                                         t
                                                                                                   tl.i9"          tct.)l!         ttr-rrr           tt7:lr.!         .J1 ltt          .!t.lh          ,r).7:4           itaf$            r4rf,f!        q!1..191 ,lt.1t!                     a,e.lrt tjdr.ttr                  t.1Q."1:tt I jrl.tj.,                 t.!il,i$             tflJ.TSl        r.!ff.tt;                r.v.t.tyl
    H                                                                                            ri*Ntl          ltrl,lfn         t21t.rt1         t.tll,1\tt       ,!-7trt          l.da.,.4l        Lir!.1,at        rtt,r4           l,tltltft       tazi.r:il Lttt.\t1                   tl.#'/i4            ital,aut       t,t$i,lt   tttl.t'.,                  !,tl(rtl             :,!!lil:        r.s8.ll1 r.!rr,!l
    zH
    H
    h{
    r{
    a
I
                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 142 of 187




    @
    (n                      :at\l|ftX Sn* FdHd q,2o-ra                                                                                                                                                                                                                                                                                                                                                        ?r4e         tt   E
    (o
    {
                                                                                                                                                                                                                                                                                                                                                                                                                              @
                                                                                                                                                                                                                                                                                                                                                                                                                              Ol
                                                                                alti,.&a                                                                                                                                                                                                                                                              tr,[l5t    d.prt] $r4rlro FFrl                                          ro
                                                                                                                                                                                                                                                                                                                                                                                                                              @
                                                                                                                                                                                                                                                                                                                                                                                                                              O
                                                                                                                                                                                                                                                                                                                                                                                                                              O
                                                                                                                                                                                                                                                                                                                                                                                                                              O
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 143 of 187




                                                                                                                                                                                                                                                                                                                                                                                                                              a     I
                                                                                                                                                                                                                                                                                                                                                                                                                              tq
                                                                                                                                                                                                                                                                                                                                                                                        r.ril.ry lsrd ttrttl
                                                                                                                                                                                                                                                                                                                                                                                                                              tq
                                                                                                                        z ,ttitfrfi        tfttlltii                    t$titti;   tryty[i   \1.ta$'z F!1:!rrll                            tttnltBi/. ty4ltt i         Etturtt: d.l't4l'f   t   t{ttvt'l    a.X.ntl    t     n*   (r{r)   t                                {r'.{      t*lr:r 9 fd':h,i Pff!                   H
                                                                                                                                                                                                                                                                                                                                                                                              td.:rct FFlr*
                                                                                                                                                         ^r't./)t                                                        "{A'ttyit                                                                                                                                                                                            ts
                                                                                                                                                                                                                                                                                                                                                                                                                              zH
                                                                                                                                                                                                                                                                                                                                                                   rlt tsntrfi islEq | il$: prt'r.'qt                         -4
                                                                                                                                                                                                                                                                                                                                                                                                                              F]
                                                                                                                                                                                                                                                                                                                                                                                                                              tu
                                                                                                                                                                                                                                                                                                                                                                t.lfl+   tT€4r
                                                                                                                                                                                                                                                                                                                                                                                   'lT,rt:N'la
                                                                                                                                                                                                                                                                                                                                                                                                   l..i:JlJl,,,rr   !,1
                                                                     t[t|s.i{'tQ.tD|'Jtotn*!Qt.i{.r|'ls$\*fttts)**!8s!ts:|QllN.ti*tull!{sI\F|{*Nilgio|Ft.i                                                                                                                                                                                                                         lt d1:tilra
                                                                                                                                                                                                                                                                                                                                                                                                     ts.stzltit.t
                                                                     n,].it;.j*tl\r)lIw|rpJ.IJ|i'|i'|t'lw|\!':um'(![ft]t*)[Ri.ru\iNi'1ttdrfr.:ir\tlriil[$].|                                                                                                                                                                                                    i-1t{r-lrB t
                                                                                                                                                                                                                                                                                                                                                                             .Ctdr:,il1?t
                                                                                                                                                                                                                                                                                                                                                                                                    Igll4rrn I
                                                                     g'.K.|TnRl[o:.l.o!.ttiijDrttJrr{t{s{X{.i'l1IQ1't.IN|!*$li'{|u}||I.&idl.'{rr\irl.igF*[i!                                                                                                                                                                                                    3-Hr1Yl     t
                                                                                                                                                                                                                                                                                                                                                                                   'tlrl:^tlJ
                                                                                                                                                                                                                                                                                                                                                                                                     rslla$irr
                                                                     t[l1f,i[3|!r1nJ{.{rrr.|l&ti'xi'tnt|i.\]R.fti|.|.*|i|:nr'l'xfI'kl'l.;                                                                                                                                                                                                                       XJil?rt€     rl
                                                                                                                                                                                                                                                                                                                                                                                   'lr,ll.l|.l!d
                                                                                                                                                                                                                                                                                                                                                                                                    l$tt!.t     *t    I:
                                                                     (*]nItt.4J,{t''i-st}I43.if|l:.ltiIw]fafiiti{d.l1H'lt.tiDB1f.|i.i{iF|si:fixd11}'.i'1t3tB}l11.{}i'{€.fe}i{d'                                                                                                                                                                                 3.1S.t|'{ r
                                                                                                                                                                                                                                                                                                                                                                                   tYJ:)Ntt{
                                                                                                                                                                                                                                                                                                                                                                                                     :gat-Jsi I
                                                                                                                                                                                                                                                                                                                                                                tlrtsYll€    I
                                                                                                                                                                                                                                                                                                                                                                                   ltsJtisrtd
                                                                                                                                                                                                                                                                                                                                                                                                     t-5il3!{             |
                                                                                                                                                                                                                                                                                                                                                                                     l-\!g'11E.)trtNl!)ilE
                                                                     W,6                                                                ----'7ilt{ E6?--                  tffi -----**il't                 -----ljE-        tti--          -irta            --;nF            ::t   an'!i         ai:i:         .rit               9l{;            iltl                                                       ItJl
                                                                        ra.            tt            ,l            ;l            ql            {l            rf            tt         il         il             na            L,              g                 a             v                                                    {
                                                                       4;!/-i9                                    ,xtf,4         JJlrb          ttdttt         1$$t        1at{r    ,it':t     tlf/tt         4,/i*t        ./t*ta              :f:i!         YJ.ft      :{r?n     lr:ar{       i*lrs          $nt                                *01    I                                 trqlirX    F!nul
                                                                                     '!rit6                                                                                                                                                                                                                                   ';dt d
                                                                       -.81'         at_qr.          'ior,r
                                                                                                     ,a)-.,       lt/,;t'        .dt/"tlt       *Jstu          i1/14tt    lryttt    tJ&ft      rlrtt          .laBfi        .lJttt)             i9tsif        ft{,{      9F!       vrt,t        :rhi,          *rrl[                                                                              t*l b.d!l
                                                                      4Lq!}'l|4'|{,|q,'..,/.r|'|td':ni'4|9'|\4i4t*'.l|(|!|t}''4|n'9'||N'|||'\lf{4'|||ta\3,|||4f|aA4'dt1|'r|'                                                                                                                                                 ttlqr'ia                                                      dq.l   rad ir *r
                                                                                                                                                                                                                                                                                                                r{r.,!}{                      tlrri                                                  riti {{!€                F]
                                                                                                                                                                                                                                                                                                                                              l                                                    Arq'rdlr
                                                                                                                                                                                                                                                                                                *rnl}rtrsrlJ$ lNil                                                                               lrpbrll$rrI
                                                                                                                                                                                                                                                                      ,r",,                                  rtj d._l rrt                                                               l.itrrSt N{n{d,.1
                                                                                                                                                                                                                                                                                                                                                                                          f,ardrltr rtftprrr!
                                                                                                                                                                                                                                                                                                                                                                                                                              H
                                                                                                                                                                                             a,ritftlt I                       vgvtrtn,t.qfitF                        \a{to                        tl:.t ,tt{lur!,     tt4                    :,)!r,                                                                          F
                                                                                                                                                                                             [18r*W
                                                                                                                                                                                                                                'tt47 tt 14.tnt)
                                                                                                                                                                                                                        te.tht.tqirwl4lvatm
                                                                                                                                                                                                                                                                      .:a4
                                                                                                                                                                                                                                                                      t:l:
                                                                                                                                                                                                                                                                                                         t€,4u1,l@n
                                                                                                                                                                                                                                                                                                              1a4ttsrr{l
                                                                                                                                                                                                                                                                                                                                                                                              rrRdvddt6rH
                                                                                                                                                                                                                                                                                                                                                                                                         r!t{t l              z
                                                                                                                                                                                                                                                                                                                                                                                                                              trl
                                                                                                                                                                                                tl                                              I   aarl b.t ur.\tt                                                                                                                                                           t-l
                                                                                                                                                                                                      x1ftn: lu:)q Ji.tll 1:k-il | u   L't|tl
                                                                                                                                                                                                                                                                                                                                                                                             r-=;;                            H
                                                                                                                                                                                                                                                                                                                                                                                                                              tq
                                                                                                                                                                                                                                                                                                                                                                                                                              z
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 144 of 187
     trl
                                                        ItII1          i, 3 * i r 4 E i:.i t, it I i
                                                                                                     :i z E "*z t^i    i 4 1 lt ! ; ?                                                               .    .t."   -
     l! rl                                               {: ! g::e 5e.!: H r g !:;i zr1*! t 4 z s. F r:r. Ei ti t zit
     It: rl
                                                       S r-;'-;- 4- ?- =- i- =- i- i- si!,'z;
                                                       i
                                   i{fr           i.                       =_
                                                                                                                                                                                                                           il
     t-l                                                                                                                                                                                                  l'l 'a
     tt                                                                                                                                                                                             -l'lf
     tl                                                i t :- r. :. q 1 l. { r,.i. I i f t E 1 !, i_-it i'- t, € l; i i i                                                                                                       I
     ti                            E.-.
                                                       { D ; ! s 7 $i E4 E r.; :; ! :t r d ? 'i I
                                                                                                                                                           ?.}
                                   it:1-'sS -*                        11
                                                                                                                    q2 ;
                                                                                                                                           =-                                                                   E
                                                                                                                                i.it:'; 2: i
                                                                                                                                    r.             iar, ii
     :l
                                                        i-P-;-!--i-E-:                  =
                                                                                                                                           :'. a z 2    i                                           *r-                         &
                                                                                                                                                                                                         t
                                   r*         r        i :. i i A i       i 7 t; iE 9. it 7:.? iE i
                                                                           p,
                                                                                        *. g    E n i z4            ;rtz                                           z g t. E z
                                   $SH            s    : * f != i3 3: r ia * i t.,:,.it i€t
                                                                                             =.!€igaltn a,i
                                                                                                                  ii $ !i                                                                                 t32.


                                                       I I *: i t { i's e { E ! r E ;: i E 9,-. n 4 4 e,tr ; i i z. T t ri
                                                                                                                                                                                                    -r*
                                                                                                                                                                                                    '-l;s
                                                                                                                                                                                                          lni


                                   Ir*
                                   ti;            -r              r         {
                                                                                ;_                     s_

                                                       : i " f:: F.'j + i. ! i2r i.:+ #.i5 F..i= Zit =.t  ei.': i:. I;4
                                                                                                                           e-

                                   ,i'*                i;iilaai;;a;=                                                                                                                                      lt    .;r
                                                                                                                                                                                                         I
                                   $+s --
                                   !:3
                                                       il*gt"
                                                       i : r; ! **7ZZ=,  I t_*i 7.i i*
                                                                   E:; + 2i  a2c iil
                                                                                                                                V"r1 !_\r,iri1 v i!1 a i.i,i
                                                                                                                                f:z 7 7..ii z=4 trr 2i 4 az-4
                                                                                                                                                             7=.i
                                                                                                                                                                                            it
                                                       tfl72AAEil11'-111ri:!
                                   a,+,                i s a ; *'i.u t.x.'ii? E :;'n ?.z z i t E : a ; ii i r i & i t z t ti ?. ? i
                                                                                                                                                                                                    " l-- I


                                   Siii                iZ? Z:i *=1 ilz ii: g"i= g?; ii; -i,:18-.r,: ia. i
                                                       :                                                                                                                                    =4            t--
                                                                                                                                                                                                         I
                                   Er*                 3I        Ta   i.,i,}.\fr.i
                                                                                3,
                                                                                   j.fr a'4.16 a 2 Z i r; z i L,; ? i 2
                                                       '\ 7': i: 4 7, 1 Lt a a r, !4 i. 7, 6 7, z -4, ;. -!. ! i y'. fr i r
                                                                                                                                                                   i, a,
                                                                                                                                                                      Et i z ez i
                                                                                                                                                                         I;i I
                                   ;: in               -_     4-      a'"    .-                                                                                                             =                              *
                                   :5**                                                                                                               t.           ia     -i           i)                 FJ               d

                                                                           j i E t. 2 ! E 7                                                           : ut 4?
                                                                                                                                                                                                    't
                                                                                                     9. I ! I i: 4 i ; 7 z                                                t'i,
                                                                                                                                                      irl;                                      i
                                   g-r*                                                                                                                                            z
                                                       1    c.
                                                       i i 4-":''3 i. S
                                                                 ;, . ;:     :1; ." ;. ;; i -
                                                                                                  Fe
                                                                                                              77d. f i i::; ti                            i-              !'     i- t'-;o-
                                                                                                                                                                                            ?
                                                                                                                                                                                                          It.i
                                   Fi3
                                   3s -
                                                       i..t'                    n-=                  r' f:_:1 r'
                                                                                       ^ I ='' ; 2=:!;-
                                                                                                                   =.' i. 4
                                                                                                                                                      a 4 -. j,-,i'.--
                                                                                                                                                                 za       E,   - - "i t
                                                                                                                                                                                       =
                                                                                                                                                                                                    *l
                                                                                                                                                                                                    '
                                                                                                                                                                                                          t--


                                   $e$            =    i!
                                                            =,.'r Z i. Z z:
                                                            -- ?, i. ij ""4 ::       il-1,;.
                                                                                                  z.   i. e"7                        ii?t
                                                                                        i i i = n, r: ?,I E2 t'I =4 Zi z i i t t? Ii'.i, =i';r ;,r I z t, :-! aiZ :: ::
                                                                                                                                                   .d.?'i.
                                                                                                                                                                                            i,           'lF.r
                                                                                                                                                                                                          t*t
                                                                                                                                                                                                                           *
                                   T**
               s:                                      ii't.il,:?1,44.i,.*.?.1,i7.i741-:.7,2i\.71",.:3"n.ii?a.n'4y'Jq
                                                                                                                                                                                                          I



          u                        3ls                 ,
                                                       J-'
                                                          14-.4,.       r.u i, p.r. L
                                                                   F.- -.t.A
                                                                          '4-     ^        Aq z      Z':              u.aii     Z               fr7   4            ,2:'n4          V,; f.*
                                                       i           ;7,.*,r74r.772ii.
          IA
                                                       i?.r,1 i 4ry i.4e ii143i 7 :"8 t:.:4.i i a.r. i.v,: ! | 4 ti*
          h                                            i?'l:;1i9ri?:a LVj4li:ei7:E ?Z/ nr!t ZLa Vt,ztrl--7i;         =2"2..
                                   33d                 937.ii91271r,1r'.7.7                                                                                                                               t--
               a                                                                                                                                                                                    'l
          t                        !*.
                                   !gg                 1r,t'* z.+.tlt ar. F,?v,':.7i'it" ?;,2 z E ?.r.7? 7 p,ni t:.2-'i.E t: i
          -t   5                                       7;:.1i.=i Z.'.r,;zX: ?,r ?*.A:a Xt 74 2.., t
                                                                   i:-                        7- 7'- ?- 2- t:'  ij-! 2, t:t:p.
               Cts                 33t                 i-                                   ;- :-                        "F.,:         :-                                                                 t--
               $*s                                                              =-
               isl                                     | );. r A- e.- 1r,l"Z.f-,-".4';' E Z.Ti.i.t?t.V. A.n7,,.7i, i.; E
                                                                                                                         ri.
                                                                                                                             t.\i x. I 7 i:                                                         "L- *
          F    ri:                 Udr                 q                  ; -,: z..i  d,;.i ; d.i
                                                                                                                                                                                                          Ji;
               .i tJ                                   f:'';r:"1
                                                              =                                                                                                                                 =
                                                       :.,;-i


                                                       I I g ! f g, i, + a - 4.? E.i.tr i.\= v.;';                                         i.'d.1.=.8            i vi fi ir ir i ii F i
                                                                                                                                                                                                    "r-
                                                                                                                                                                                                    ,,t--
                                   * l,g                                                                                                                                                                  ln-
                                   izi                 *-       tr
                                                       t9<d*.+;-:;.t4d-.
                                                                         t^                 -:-                                 ,-         o-         &-           --r    -{           ;_
                                                                                                                                                                                                          tcs
                                                                                                                                                                                                          ls s
                                                                                                                                                                                                          l-    -

                                                       ! :i ! t s z i : I i i i I ;-.ni F"i; 7:E E i ; A ?'A; t I E ; t i: i :
                                                       !q--r                                                                                                                                                          .::
               s*$g            i
                                                                                                                                                                                                          lis$.
                                                       I t' - d a !. ti i i li a i tr i i i ;. ri?, : :; ii i i. ; f i ; i i ! f ;
                                   :g-.-;t.

                                                                                                                                                                                                          lq
                                                       !:fjsrtreill.:;;
                                                                   ^^
                                   L".'                I z ;,z r l,t.i t":. s. tri -! =n1.8'J. ;:n i E ?.T'i*.'nt E i. t;'i t i r j; I                                                               ' 'h r
                                   i?:                 ? h 4 a = i i a v':= t r i r: i; = A r: & z ri I t.,i i ! i t: =i. i t tl                                                                        trs
                                                       iiisa;4er.i;:,:ai                                                                                                                            - ['--I

                                   :{*                 ! fli al [ [r.i[ i F a]=.7,.1|z='tf zt-t=ii]';; i;' E ;!i i i r ri
                                                       i -i,: i: t-7 -i-
                                                                     tr i r : i ti a i ;, 8 t i ? i. i, t f i fi.! a z i
                          Yr
                                                                                                                              i a.
                     aY
                   !'* I
                                   .i..,               : ;                  i' ?.' 2- ".- i1" 'i- :i-=, i- i-= i                                                                                          ls$
                                                                                                                                                                                                          i--
               ; iiii                                  izi,gs,t"Iq IE.'iizlzz:#$ini,ni,,EzF-Ii                !I n I c                                                                              '    'lA .i
               E:irr   I           r:g                 i .- J= t. ; * * ; i I I i z = i;f ! V i.! i : 3 i ; i ; ;. ; i :
                                                                                      2 z :n'
                                                                                                       n-
               !t-.iii :           i..'                !- ':.-    ;-    [-  i;- V-               !-
                                                                                                            r.,
                                                                                                      i- !- it
                                                                                                                                                      ru

               itie; i                                                                                                                                                                                 I
                                                                                                                                                                                                          t--


                                   l*t                                                      i,?,t Z-i r::84'U7.
                                                                                            .':i      -d;         -        =,
                                                                                                                                      fr
                                                                                                                                . = 6 4 ti
                                                                                                                                           ;..A.:a:i'..'.lt;
                                                                                                                                                      ts.'d- J? z'
                                                                                                                                                                         a?t
                                                                                                                                                                               =
                                                                                                                                                                                   jl:?: *f,'e  i   'l$*Itg
                                                                                                                                                                                                          t$$
                                   s*.
               i_i-:.-;   =;       1.,
                                                                                            -.:.:-lri-:-'
                                                                                                                                                                                                    "r-
                                                                                                                                                                                                    -'l.r
                                   i;i                                                                                                                                                                    I
                                                                                                                                                                                                          I
                                                                                                                                                                                                          I
               di
                                                                                                                      d*                                                                                  I
                                                                   t'4:ii2tiv2a                                                                                                                           i=
                                                                   41:44t4-J){
                                                                   44Edta6E                                                                                                                              .!l +              !

                                                                                                                                                                                                         =l i
                                                            J.IJJ*AJJ
                                                       !.+<1,
                                                       i:4riG                                                                                                                                                   r           !
                                                       ','!                i 2 I i Y ! '." t .r' : !                                                                                                -.{l-!l f                   3
                                                       7!                  E i E n I E i = i E                                                                                                  E   *Eii:                  :


                    ,ii,lz*         izi                'iE     E
                                                       itEEZi-E!;Elill
                                                       a-
                                                                      l t !; t { I f                                                                                           u            F
                                                                                                                                                                                                    :    iis:
                                                                                                                                                                                                    nf!l:i
                                                                                                                                                                                                       il=:
                                                                                                                                                                                                    iiliE
                                                                                                                                                                                                                      ti

                                                                                                                                                                                                                      gt




CONF] DENT             IAL                                                                                                                                                                          PLA]NT]FFS_OOOO8599
                                                                                                                                                                                                                                                                 O
                                                                                                                                                                                                                                                                 (o
                                                                     v-zt 39vd                                                                                                                                          ?t-02-90 tsBsarcj XsArS leo sl^Erl       @
                                                                                                                                                                                                                                                                 c)
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 145 of 187




                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                 a     I
                                                                                                                                                                                                                                                                 ttr
                                                                                                                                                                                                                                                                 tr{
                                                                                                                                                                                                                                                                 H
                                                                                                                                                                                                                                                                 ts
                                                                                                                                                                                                                                                                 zH
                                                                                                                                                                                                                                                                 F]
                                                                                                                                                                                                                                                                 tu
                                                                                                                                                                               .IT'J-OJ                                                    lv.t.{)l
                                                                                                        )ttl   i!   t'ttfi'l                                                                    ::ft) tSl'ft&'i
                                                                                                                                                                                 I   t{}z
                                                                                                                                                                                 0t44
                                                                                                                                   6i0t                                          h?;12
                                                                                                                                   s[{)t                                         s;{}[
                                                                                                                                   I(0i                                          TT{iE
                                                                                                                                   9i0e                                          ti0r
                                                                                                                                   5i0[                                          !c$I                                                       !i    u(.
                                                                                                                                   fi{Ji.                                        ri0i                                                       faUc
                                                                                                                                   {l0i                                          fifti                                                      t[0i
                                                                                                                                                                                 ilt]i                                                      li{tl
                                                                                                                                   I eot                                         lroi                                                       I    ior
                                                                                 {.0)                                              0a0t                                          fii0e                  ftt.F{r                             {}e0g
                                                                                  t   fh"ff?                                       6lSf                                          6l or                  6t0'83r                             t;10r'
                                                                                  rrs'[99                                          s   t0n                                       EI{II                  t | 0'5rf                           *ltta
                                                                                  6{5't t6                                         J t0{                                         {   t0i                ,r0'sr9                             tt$z
                                                                                  f,9s'IoE t                                       I r0{                                         9t0I                   60d.'r b0' I                       !,    t0i
                                                                                  ilu'to$'{                                        Er0{                                          d   l0t                0*$'rjg{                            s 101
                                                                                  ?s    l   ''i6'I                             s   fl0r                                          t'l0e                                                      l,   t0[
                                                                                  rs t'Ft:6'tr
                                                                                                                                   -jirfi          lLr{l0rrH                     fiaA                         ]unrlurv                      JX3,\
                                                                                                   irlNbly€
                                                                                                                                             -                        s           :tlliotrrl/           Ftl'bi6'e               $               :lrrilotuv
                                                                                                                                                                                                                                                                 Fl
                                                                                                                                                 {'lD- ol   tttl   o/o0s   l} rrr,{ t I                    [Tg ot g{         *..669 1} r   rr,{ J
                                                                                                                                                                                                                                                                 H
                                                                                                                                                                                                                                                                 ts
                                                                                 Fkl        6l:i
                                                                                                                                                                                                 i:.#
                                                                                                                                                                                                                             adsllrA !)i).1"-) Ie(}              z
                                                                                                                                                                                                                                                                 rd
                                                                                                                       SS.IrldgHJS      N{}lM)iI   tl.I.qfl Aru gd$dd' IYN {)$x3-l                                                                               O
                                                                                 i'rs&reis                                                                                                                      d'l    1.1:x.) Iu(.) srtr!!.i.      f   I   0e   H
                                                                                                                                                                                                                                                                 h-l
                                                                                                                                                                                                                                                                 z
                                                                                                                                                                                                                                                                 O
                                                                                                                                                                                                                                                                 U
    a)
    o
    zr{
    H     Frrffiil;Jia;r                                                                                              *f,rt. f *fi   f f-trTY rrf-lllf.ta], !\T    l(tli trnEfrltLz'
          f
    U
    rq
    zH
                                                                                                                                                                              rtt
    H                                                            nls.,lwidtt     P.r.l   Prrr.         J                      (4k k.r        *+al   lttuf$     1    \all.l,atb

                   LS,...r   ll!!q lrS..St.l                               ;lltFtliff            ilA   t !1.)                               1;.5   l9& lsrdirh(l nn                                          gr..t l'tltltl,     t.tftt                         & t tdr thtutilU L.Lrt
    tl                                 ! l.:1r.91:               Srx{a,i                                I            -        r-d.!.r                          ] ;l.+:.t.lb                       ht.a.;                          t                   Ar,,ant                     C            .

                    1-rr                     .tNtr.i                         1o.                           drh.1r{                                                                                           \tt.                     i/r./tt,t                  ,;a*                 tt a46
                                                                      |                 :0!{           T             ..                                                                                |              1ttLl      I                -        |            'dlll                       l(t   t.                  .
              t:!(tt-                                                                                                                                 ItlJ                                                                                                                        I                                t              {t,1t   )s,
                             :ul                I   s   r.rrrr                          !nrJ                                                          !*t I                                                           Trtl                                              t:'lt                       !ul                4ra,n2 llqt,t6r
                             :t'lt              irl_llh                                 14t4                                                          t9t{           t,1'A,tl          I                              7/Jr4                                             2rl(,                       t'rtt          7319,711       t   ,tLr,Lls
                             :!l3               :fi,l{,                                 lttr                                                          1|lt           l Jttl.t t        t                              ttl',                                             7ttl7                       !t1?            tl,1t,r14     17,Ufi,llt
                              ,t{rt             :!!,ric                                 r.:l:i                                                        lrll           |                                                :4tt                                              2hl,                        !!,     I      I dil.tl1 tt,nn,''rl
                                                                                                                                                                         "\4t.trl
                              lr!   rr          1:!.t*1                                                                                               ,rl'li         |   )n.fi|                                       zrt,                                              2ilC                        brl.,          ll.il,3E '!.,ytt,111
                             Iri.\              !K,ll6                                                                                                !uln           r:91.     r   II                                 l0tt                                              )nlu                        lrit:          l;r{,-1Jrl ll,?tl.l{i
                              Jr',              :!t.:iv,                                                                                              !ul            lJ,rtlJl                                         li::                                              :D!t                        rstl           l.!.:l)-tlo lr,f4J;te
                              u::                                                                                                                     :t!!           t,$t-r  ll                                                                                         tu!:                                       l.!"!Jr{ t'}.f,I}.u.,
              [)              !:t!              nt.Jir                                  i*-!                                         xl               ll'J:-         t.!s ill                          It             j{r}                                 ln           l0!l                       +Y{I            l,!{lt!r tl.n}t}ttl
              il              :i!{              ll,_lv:               It                Iltr                                         tl               IU.T           !,ts,"t tl                        il             lt1.                                 IJ           !01,r                      lltl            t,ttt,sN t4,ttt.xrt
              I:              In:               t'.!.'t2t             I                 iE!                                          t:               tull           !,!I$.1 il                        ll                                                  ll           Itrll                      !31,            a,t+:l!t il$13t:
                              :t€ri             t*,lm                 il                                                             It               ?r)1.,         t.!lt.l l!                                       lui                                  t!           t{16                       ;tl'ta          t,:',!*,t u.$].{rl
                              Ilql              It:r. tfr             tl                l{Qr                                         l{               .t0li          :.1r1,t       tl                  ta                                                  l+           ][tii                      t{'ft           t,:r:.,1]t t|.f.]q,r,st
                              :Lf,\\            r\iJs                 t!                !r1r1                                                         !il1*                        ll                  l!             $tt                                 ti            tdt*                       ;*?t            l.:qt-(lt t{,Hl.rsI
                              .1r.l,l           |ll,rt?               In                1!19                                                          t0.f           '.$q.t
                                                                                                                                                                     t,]$,il1                          li             :lrll                               lh            rntt                       il:s            l.:{:.r}l lt,it.ll!
              ti              lli}l                                                     ltrlff                                       t1               !,M            ,.)s,ilt                          li             lil-ul                              l?            Id!L.                      lldtr           t,+ql.:ltI l4.0l83{
              It              :il3l                 ",t:              tl                :il1                                         u                tlJI           l-ryr,l I     I                   ti             lnll                                t1            ias                        l!lt            lJ,F., la ll-tt9.t!t
              tt              2{t}}                                                     It\1t                                        l!               Itl:           l.!s.tl I                         l1             )rll.\                              tg            tutl                       lru:            I,1*{.H: tr,rs.ltl
              :s              :{:l                                    :I                ![.u                                         t]               :r! !          r-iil.tl          I              l!              !fll                                Itl           :{}!                       Itdl            i,tt*.ut n,:{t,r il
                                                                                                                                                      N;l            l.h\!.il l                                       lrl{                                              dl!i                       tNr             l.]vr,ul |],*t,,rR
                                                                                                                                                                     t.\r.t,]lt                                       l({ t                                             sjl                        :(l-r1          !,:$,t lt !.st,t&!
                                                                                                                                                      gls            r.N.'.llr                                        t{tI{                                             $]d                        l!.lli          t;.$t,ur t.:{!i.ri{
                                                                                        t[]I                                         t+               l:!rI          rJ!1.il |                                        litll                                             \trrt                      $tir            l_q.t.itl t-tirlv,t
                                                                      )!                                                             :-r.             )a\il          l.-lq lLl                        It              l'!!l                               .ll           t$l                        ll.'JX          I_Wr,all !-r\rt!l{
                                                                                                                                     !t               :|3t           l.$.r,lll                        l*              i{I\                                :tl           NS$                        :UT             l_pt.tll {-t{JlJ
                                                                                                                                     :T               lb:            l.rol.    |||                    l:              J{{N                                31            it4                        ]rl[            j.lli.t ll   t.',4r.ltl
                                                                                                                                     tf               :tst           t   -rp+,t t I                   l\              1r{    |                            ts                                       ji!.r I         l_rPJ.t | | i-{4$1il
                                                                                                                                     N                N*t            l:ltlrn                          te              ,18i                                :l            itrt                       uut             1;!)l.r+ :rrl.ti\i
                                                                                                                                     tx               !:-)               :i.l.lrr                      tr             lrnt                                !i            il{I                       i\rI
                                                                                                                                     tl               :t4{                                            ll              till                                tl            i.}t                       IIR
                                                                                                                                     ]I               $:                                              l!              tn{,                                              N{:                        INT
                                                                                                                                                                                                      l-1             lH'?                                r:                                       lav(
                                                                                                                                                                                                      1.              ll{l                                lq            ltr!                       l{*t
                                                                                                                                                                                                      ll              lur                                 ls            lsl                        :tst
                                                                                                                                                                                                      lli             Jlfi                                ld            l{{t                       1lrll,
                                                                                                                                                                                                      !r              :nid                                              lu:,!                      *trlI
                                                                                                                                                                                                      lr              )rll                                lt                                       Ir$      |
                                                                                                                                                                                                      )l'             )nl!!                               :l            l{!:                       iir\l
                                                                                                                                                                                                      lil             tiltl                               {tl           r{:-t
                                                                                                                                                                                                      {r              lill.l                              {l            sdl                        :{*r
                                                                                                                                                                                                      {:              lr!-r                               {r'           lilll                      ist
    FU                                                                                                                                                                                                t)              &tt                                 t]            ltld                       tal
                                                                                                                                                                                                      l.              t(il                                              tu,,t                      :-.i1i
    ti                                                                                                                                                                                                                                                                  tnti
    I>                                   t    J.t7t.,tlr {tta                                                                                                  | :l,att.l\\                tJr:             l1?1tt,
    H
    zFl
    H
    Ftl
    FI]
    (n
I
                                                                                                                                                                                                                                                                                                                                                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 146 of 187




    O
    O
    O
    O
    @                   f.a*.       $*,:$.1 Fdcri4+:+11                                                                                                                                                                                                                                                         FA.;t 1t r,
    O)

    H
          Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 147 of 187


                                                                                                                                                                                                                                                                                   .t



                                                                          .-s5rr?*f6nYr
    1il
                                            r il. *.:i              Ei.   +. F-       r. E      !   ?. x.     z l.   a:   &,.4.1.'i.2.i:-p,8,v.2.7._\'i,t:.':.1.v.;.e.a
                                            *      E$          ii   F     ;:I              EF       I ii !1 I I 2 i 1'. i i                u t z 7''a 2 :'t' 1 1 ! "
                                                                                                                                        =-
                                                                                                                                                                                          "1    =


                                            ;rs.   l:    r",   t       .fcGar*ra4
                                                                    U. S.     ;.
                                                                             F.            ;.   ;_ r"    r.
                                                                                                         4      r.   .1 q. S. 3, q. l'. 3                        3 ?,9-r-;2 E E ?:{
                                                                                                                                                                 !-ni(4r"..<.r-t.+.-
                                                                                                    r_Fr.hha,a$4-v                                                                   "-




                                      :sf-$+                                                    +,a?Gr,+-ra-,te.1                                                ).t
                                                                                                                                                                  a -)+ F
                                                                                                                                                                        4 6        t.                *
                                     5 s n n a :t                         i';         7,'4,     :.4^ ?. E'i i4 e e,         rt   "4   A   ;i ri F1fi*f1 va7t7r?t7nq
                                                                                                                                                        ;4L7i4t4:1ni'nfi!4
                                                                                                                                                                                                             -
                                                                                                                                                                                                                  ;as!\El                   ir*. Jis.*!5


                                                                                                                                                                                                                                                                              s
                                       I
                      t                I




                 {                                 $   $$E* E
                                                   ;.: s s !\* r:
                                                                                      i    e
                                                                                      a 11 r
                                                                                                * *a.r i r?r .it *.J'-r:t i -' n" i, t        {'   f4   i-   t   t, 4    !"-
                                                                                                                                                                               €   t    {. #   { ti I i' i f * $ $ $ $ i                           $$       I $I c
                 b
                                                                                                !
                                                                              r.-          r        '1
                                                                                                                            rf                                                 1i                            *iE
                                                   i***iF;F.FtF.Zftinfri                                                              ZEEZ4ZZZZ4
                                                                                                                                                                                        =AZ
                                                                                                                                                                                                 Z 2'                 E   - -s 5SS g * s S S S S
                          i.;
                      E=!                                                             ;4   4                                                       A    lii i"n37i                      ;?i1.:               * ti     E   **;          +    ** g   [.   5   tf   FF
                                                                              '-                ==!!!L3.:=!i7:;',J
                      .1        i*                                                                                                                                                 ',

                                                                                                                                                                                                                                                                              v
                                       l^
                                       tr-
                                                   ...
                                                   i     - {-
                                                         j          -     {   !       v t

                                       f?+ o o $ a ri ::                                   zi   ; r:'t !: t: !:.i
                      l              :l;l
                                     ;l:lt
                 J
                                     -'lilii"';;Lt;ti\";Ltir;ii'r;-1t!31';Cibr:t.\',t.riLtlili!lfggltll*tSti
                                         f,d{
                                              ( t 4.&ie E       1:&3*8?ra,c,+cr9**.ir.4t94n\'.C"4,A   $6Oe!1$fI                                                                                                                                               Ani I
                                                                                                                                                                                                                                                                      E

                                        I
                                        I
                                     }f      i:ii                   F'.: g            *    H    l   E
                                                                                                         g    f I iA        e    ifri i7*r;4                      *g$          ii       4sE      *   F; :z;        i I $: * li i 'l; I n il n * i T
                                                                                                                                                                                                                                       F"
                                        I
                                        I
                                        I
                          i=t
                                        f- .--                                                  9:aa:r=,:=!*:.i:ldi.xilii,;in2:.:=.\::4::*,i;+{+g$+E*s
                      ii't              I



                                                                                                                                                                                                                                                                              *t
                                                                               € E'4 #'+ * + "* 2' 4 H 1 ?4 q'i r fr "+ t;-tJ;
                                                                                              -r
                                        lH 4 ? +                    iddt in E+                                           i ?'r4 i2*- id a-,
                          {.i
                          rfl ' =    .l
                                          ld   &
                                                   '5,r
                                                                            nd 4i d n 6:i zJi i- d i. d 4 1; a 4; "t a -
                                                                                                                                                                                                                                                                              :t

                          ril
                   "rl
                 r,li
                 fi                         [., -t
                                                        igil"aiiii*$t$ig t"rsii"rEtai*tEg!!$$'ril
                                                   r. ir .i rr .. r. li ti ra ]a -. -i p. '" -. -t tt ,. ti                                                            .i ri .r rr ri
                                                                                                                                                                                                                    4 -i ..E.!
                                                                                                                                                                                                                    ?'iltltt{(tt{!{. -{
                                                                                                                                                                                                                    Is66afitYgIT:.s!:
                                                                                                                                                                                                                                        r.t...          * lD.t.*.i
                                                                                                                                                                                                                                                                      irl
                                                                                                                                                                                                                                                                      t'l s
                 2l
           rg
                 rl                   rlg:=3F;r|ii4'itsii:tti?:i2:.!,a-r'6'c'''ea':-
                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                    *
                                     JlErnEi'i'if.a-HH                                                    r.l Ei   :i'i n:i 2fi d "x',;77-,7. A=;F,i ?.?.F.AAF.F.                                                                                                     "l
           FI                                                                                                                                                                                                                                                                           n
           {?l                                                                                                                                                                                                                                                                          a
                                                                                                                                                                                                                                                                                        :
           I              :{                |
                                                                                      *' s:2:3:'l:                                    3;i:i:.1 ?17/i)1'; !: i;.::'j:::                                   i
           S              ; i;
                          ':i-z             l- -q'q€                              F
                                                                                                                                  =
                                                                                                                                                                                                                 r'l nr.4tJ{r+{i9+vJ                                  .:l
           1
           <              , {4              I|                                                                                                                                                                                                                            I             2




CONFI DENT       IAL                                                                                                                                                                                                   PLAINT]FFS OOOO8602
    (-)
    o
    zr{
    H         Nr:rhin th\tuL.r.n
          I                                                                                                                                        ft   Etl.rff,:Fll-i      a   Rl:(!.lrv!: lJlrnl"{ll.^f"tfr.1 $rlllllptll.lrs                                                                                                                              'tri]
    U     I
          I    gl{Nrl Y'rrrr                                -                                                                                                                                                                                                *..-            -                                 --'-                                       !'4lHt
    H         ttt-\H ntt{t!r$                                                                                                                                                                                                                                                           -
                                                                   l.(ra                                                 J{l                                                 !!y.'tl                                                               1733t{rrt^.7LAttx
                                                                                                                       r0Ir:!:!s:l.\$8|3:u.Ir1'lk74ffi1:}:|:t1'7,,Uft..{'''1(d'!'|e
    zFl
              knMrtlNilsR                                   5
    H                                                                      .    ilu          ltfti     iliH             tl;lt         al3?a                  !4.tlt         lllar            1!,P:            q-afi            tlr{-ll             tt.t:t        ir,n(a    trl.td       nt.ita      6r,{rn             ti.3}:      a"att     ;t,+rl        ?1jtta
    )>        tnf,d !.6.r{ill'i:
              rrpL({fi(lg!                                                 .-***-__,:_".._-,+*,**:.-il!?3!3r                                   -                      -               -             -                     -        -   ..... -    . : trst!6:.                                                                      ,,.           .       1t*.tiut
    r         il\:{Nrlt^sgF.\Ltw,                           I                 I .r.tnt r n:.l\i I ttrNl $                 iit{ t      !ii.:rtr I tQ.t$. t i{$i                            Mi2rt         I ':!1.*11.r
                                                                                                                                                                                                             :.ji I tl'ii-r t ltvJ}r I l?r6tt I :tt.!l,t t +.Dt? I                                  tt.in
                                                                                                                                                                                                                                                                                                      ,,, \ fxni                I bfrt,]

              ilttRlit     t.{1   1   (}!
                                                                                                          Yfrrl                                               It.tl                                                            1t't                                         tr          t:          lt                  lJ
                                             I l!* h!il.h       lth.trFi !{ lisl lSlurdta            nr! tdtr         ltf.&          l:NG.                rilirt:i        llllr:           Llllt            !$:.           0    l              n_efi
                                            3:'frf ltifr!        i{li    nf nel AiFlulirtr           O.F l..r          dill1i        lr tqt              r[ ,, l+i        r ?ii            I l{$            I l)?n         l 'ltltsr           ?   ri+4      1   lai      !.!f*     t   ti*.      ,.':*               t.t*:,
                                                                                                                                   .
                                                                    l:r                                lJr                                                   :^'.rilr                                                          lr                  t:            tl        14           tr          tt                  lr         t,        ft            jfi
              It.r                                               lrllt         $li       l$l?
              rffi                                                                                                I      lrial I 5rt4t I                     l{rHn I         F..rr I         lrjs       I     }i,ll{ t                   - t

                                                                                                                                                                                                              il"l(l           N,'.tnt             ?f,f,rt       .!frr!    :!.s1        la.fw


                                                                                                                                                                                                                                                                                        -te.rl!    t::Jv:               st.l:      'u.+in    3f,,{li       tl.t}l
               llVtd
                                                                                                                                                                                                                                                                                                                                                           tn,rT



               li Ttr.




               t: 1'.x

               ll    Y.#




                                                                                                                                      tl.l'l               142.+:,         t'.1!t7t         Iir i rl           liit            ct   tu                                                             rt.1l   I
                                                                                                                                                                                                            Iri: rt.       lJl.rll
                                                                                                                                                                                                            !lr.ajlr   I   lia rq',
    ru
    TJ

    H
    zFl
    H
    r{
    r{
    @
I
                                                                                                                                                                                                                                                                                                                                                                     Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 148 of 187




    O
    O
    O
    O                      trrdrNl iqrl rllcrtl [5,:8.t{                                                                                                                                                                                                                                                                                    I A{jt 1r.,
    Ot
    (,
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 149 of 187




                                                                                            trt-Tr.:{.{tTt]f{? REtt   Rrr g^r{L:I.41'lo'l\


     Ht!Nrlr{-t t#s i. irt1,                        4ll $rn!:?l

                        :*:{                                                      tc&ttry llrrt             4ltts               Jrr+         ,rlv      i.Ial    *Frd|      . f*lolrr
     Idii t'tri:                                                                    11:         1::                              !11         '3          l-!       'r;l         ttl
     *rc$ t \      n{ilr.ib
     $r.ris I l-itiit
     "*:{,,1.t*.4 tt?.Wi



     lerdsl    lkrr      !t I      lili

     lwrrl    h{6(Pih                                  t-{5r,ll, litr.,trr.l       l:.l.i,s     llt.tD      lil.nli llt.s,a )lt,0h i:it"!ir lrt.ifQ                itl{+t l!3.tr9           ti}tt9r t1r,(i4
                                                            t.;.t+.t sJf                til         ';!i!       t{t!      !9t         n:       9-il       *:           llt      v5              fiI     yt}
     '*.a14'Y*tLa                                        tiit.rrI, !:r&qrrl        ri:.r&{'i    1n:}ii       i; -rr:, ,!6.rutl irl;.::1 F-il$L,tlil$lq             -t!-j:}ll .l?:1S          ll.JjlJ {l.t]tt
                                                        t.::,inl --i;.r*             rr.u;       -';':l:     6t.;{     tI,lN et.ilt In?"|iil lli.!:l               r;}:{     lls,lrt        j}4:f, ari'lrn
     J&{oqC{rrb!@ rlc;i                                              rrlii           !..t:r          l;.1    :i A!' t4,lll         ;{,iit    lr.s!; ld,'"tl         1r.13: ?4,'I1            1r)lr'" tltll
     t*.a4 A',4&a :.le rl(u | &l                          itiiJr                                 "ll-inr                                                              1-.1$ :)i/t
                                                            li1iil      rtj           i.;,'i                   t.rit!    ).i")r. -:.irit l{tt           t.11}                                 :'tlt   1,{16

     ardsrNEh6                                              :tia      tr:l!           {.'li        *::.{i      rull     {,lt}}      t-tl:l    t-{!l     t,$t}         d-t)ft {,rl?            t.orr lJtr?
                                                        r*;r.f fr   rJ!i$           rir.tri     :l?.-rrli   r:t!g!,,,-l-t),li!,--!!3ij!-l$j!        - l:*.:ri,               t:rJil,        Jitt?t9 ttt,l*,
     aah'.w*itt, * tiqtr;c                            il J6l *::i                                                                                                  "\i-q;
      *'tiE
                         :t!       |                                 ,lrrsq       frbnrT        lircl       lpiil      rlt!      lrit        J{ly      iuld      }admkr       ftroh.t      So*nlrl lt*olE
                                                                        t{            tt           f:        )1         ti!       ll:        ::l         li}        ::l          Lll          l,1i     lT,
      let.:dt,                                                                                               an!       ot:i      ,lit.       :ts]        pr'.      1il:;        tlr.         lF!;     {14;
                                                                        irr.-
                                                                    *fin---'riil---  \|,:         *'i
                                                                                                  ri;-' --1fi**iii----*iu                '---if-----i=i---:fii--'lf"                      -.-itT-iT--



                                                                                                 i rr.       IFi       t$i                   TF;        OF;                     v   t?r      *vn
      {@4 !t'.s              it:       tr?:l


      -idrrl lHar       f{ill                          Lrfi:]rj        t.*.ftj      t.ii.t!it .*J*'r        lre.U: l{t,l{l       id:lrl      lrl.f+l l{ri,!61 rr*}tl lll!.t4t ir}.{t!                   llrr,Hl
                                                         : ir#             ir:}         s,ti.    lt!           *lt     9ll          9$           r.uj    !l!     'li1     ,!l    ty                          9!t
      9*nlwn
                                                        irr?.ri' il.r:rr" r"Ur-I-.,!::Jil, '?r!tr ..1!.llir r,{Sr-;jl,!.1} l!l.t4l lliiii
                                                                                                                           ,ll.l}l :;!.$: ,i?llit
                                                                                                                                          lrl.$l ,i.tP'!l                                               ,'t,f:t'
      Et$:ci*hqy,l*i.F{l:t                             l-\rr,.ul -Jllfrl*-i::Fr' llt:trt  lilisi: lll.r'it lil,tit lil.itt                        t11,1{}                                               lll.lal
      A F wt lnrw. :,k* l'lp,r dl                        1l!.i!t ::.Hr               f).ilr       !:r;{,r :lrlgl        t},Ndf liJxl          lr.u9l      rl.+rT :l.t!{; ;l$t                 }t#l       7,H1
                                                9
                                                          A!"r1, l,i*r                -:.ri:       : r&? :rl:            i,5al   l-rlt         i.rl:       "r,lrl -tjlt   i,,I7                :-5*7      i,it1
                                                          :4.t!;  +,;)l               n,t:t        l::l    I la          i,i*   {.i;l          l.lr$       {.1!t  {.111 4,tr,                  t,l"-l     4,tt
      hrlw,tNa#*.
      tlsdUkm-.,                                        t9t2 Er
      tah     .,tkti;iBt a   1.tIItrlt                ir 3+t,ti::


                             rl::                                                  ,|rhnrn ilra'l            lrl        \ty       Jrq         l|lf      irFd     l+of*'        Aatntu Xdnl+r        ,wmb6
                                                                                      tii    l:s              r)r        lrl       ltr         :!l        Itl       lt:         tii     tlJ              t"tx
       74Utt\U
       /46,l;aitr



       1wf:alwl
       nrmt tJwy lll                    s.T:;



                                                        i,tl.ll,l  lri.,{rr r1:.:r* 1i"! til    )r:.t\ l+}*lt l}!..nq lrl trl l{}srl l{1.(il 113,b'1b to'!,til lll.rv
                                                           il:41       tu         *l{     I'Jl       llJ       ${:      \Jl       ${        qi.      {{,      ,tt      t\a
                                                                                                                                                                                 "7t
        *a*y'rx**                                        ,rrj {i   ,N.,rr, rrr_':r:              !r;lirl- j!e\Iljt irl}-rifl il-llji   f]!,'lu rli.lilr }lfl.li#tt l!o.ii{
                                                                                                                                                                             (14.!i1,
        ia*tr.. htuke.F"f:t'r                           llu JF -fr;:fi-Tii:i$-        "n,liii
                                                                                      L\*         :i  ls  l.tj.rqi  ,\l-t+r   l.'d.rt   lr{.tls  il.rtt   t)4.t    l4-.rr    l:a,t4t
                                                          {.q:tit rbt{ri: tgri$r:t l:&:il.l:: l!l[rr]l ]UN.l15 sli}{i{!(    rt0*!!J   r${tt{ll r\rrP{;1t fargt.t, V)lryt4i, ?va}*lrj
       Ote tal' I'p,w :kt rigz. i,t i                                           ji:s               :i:!               ls:il     l-l:{     I,nl$ t65; 1,4t* !t!1,                !,ilx
                                                           !i.*t,    :irt               ltlt                 i.ilt
                                                            il(ltj   {,1N {.i'g         r.lil       l!$     l.:ir     l-"itd {-lg         l,!*u     {.Jtr s,?'* .JM            J)U
       74tut*rara                                                                     tl!;;{     li},:.rd t$,]{b r!9-V[ llt-rrd lf?.]is l:9-rr4 ltg ii, llr-rad              itr,k
       tltd lktt*tB                                      rit! t[\ t:9,1* l|ufi
       t*,!*r(u.J*t{!ti4r.                             {i.stlqi -:l-l: IB
        bECt|.
                                                                        lq\ ir'lqrIr                               u:\!i5( 0lr<lt: 1{:J>!                {1




CONFIDENTIAL                                                                                                                                                              PLAINTIFFS                               OOOO8604
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 150 of 187




                                                                EXHIBIT9
                                            FORM     OF'   ACCOI]NTAI\TT'S ADDENDI]M

        Note: in this addendurn" "company'' shall mean 2013 Travis Oak Creek, LP and 'lartnet'' shall mean any member or
        parlu   of the company. "Limited Partners" shall meaq collectiveln anypartner or member of the oompany related
        to PNC Bank, National Association.

        In addition to preparing each of the following items in fulI compliance with Generally Accepted Accounting
        Principles ("GAAP'), requirements of the Internal Revenue Service ("IRS'), as applicablg the accowrtant's work
        shall include the following minimum requirements.

        Cost Certification

        The Cost Certification sent to the Limited Partners shall be accompanied by the accountant's work papers, with
        sufficient detail provided for any 'lumped" categories presented on the cost certification. Additionally, the
        acoountants shall prepare a comparison ofthe achral certified costs and oomputation ofeligible basisjuxtaposed to
        the corresponding computation in tle Financial Forecast that is attached to the company's operating agreement as
        amended and restated from time to time. The Cost Certification shall capitalize and expense interest costs of the
        company in a manner consistent with the Financial Forecast and in accordance with the requirements under the
        Code, and shall not capitalize any operating exlrenses unless coresponding allocations were assumed in the
        Financial Forecast.

        Tax Returns

        The annual tax retums (federal and state) sent to the Limited Partners shall include, or be accompanied by,
        depreciation schedules for each depreciable asset class, and by a capital a@ount analysis for each parfirer. The
        schedules shall show the annual activity in the account, beginning with the corryany's first tax year, and including
        the beginning and ending balances. K-1s and applicable state information reporting forms shall be on a tax-basis.

        Annual Audlt

        The annual audit se,nt to the Limited Partrers shall be accompanied by the adjusting and reclassi$ring journal entries
        and an audit trial balance reflecting the financial statement groupings. The annual audit sent to fte Limited Parfiere
        shall include in the footrotes, or be accompanied bn book-basis depreciation schedules for each asset class and a
        capital account analysis for each partner. Each ofthese schedules shall show the annual activity in the account,
        beginning with the year in which the oompany was formedn and including the beginning and ending balances for
        each year. The depreciation schedules shall include adequate detail, for each asset class, to determine thebeginning
        and ending aoquisition oosl disposals, depreciation expense and acoumulated depreciation. The capital account
        schedules shall separately show the total capitd commitment of each parher, any adjustrnents tlereto that have
        occurred, the amount actually confibuted todaten the annual net income or loss, and any syndication costsn cash
        distributions, etc. affesting each parbrer's account.

        In the presentation ofthe balance sheet (or in the footnotes), the audit shall include details on accrued interest and
        interest expsrise for each liability of the compatry.

        In the cornputation of net operating income, the income statement shall report operating revenues and expenses in
        form no less granular than the following categories (each as applicable).




                                                            DGIIBIT9-Page I
        48t74545-8969.4




CONF   I DENT IAL                                                                              PLAINTIFFS_OOOO86O5
                 Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 151 of 187




                                                              EXHIBIT     9

                                            FORM OF AqCqUNTANT'S ADDENDUM


       Note: in this addendum, "company" shall mean 2013 Travis Oak Creek, LP and "partner" shall mean any member or
       partner of the company. "Limited Partners" shall mean, collectively, any partner or member of the company related
       to PNC Bank, National Association.

       In addition to preparing each of the following items in full compliance with Generally Accepted Accounting
       Principles ("CAAP'), requirements of the Internal Revenue Service CTRS"), as applicable, the accountant's work
       shall include the following minimum requirements'

       Cost Certification

       The Cost Certification sent to the Limited Partners shall be accompanied by the accountant's work papers, with
       sufficient detail provided for any "lumped" categories presented on the cost certi{ication. Additionally, the
       accountants shall prepare a comparison of the actual certihed costs and computation of eligible basis juxtaposed to
       the corresponding computation in the Financial Forecast that is attached to the company's oPerating agreement, as
       amended and restated tiom time to time. The Cost Certification shall capitalize and expense interest costs of the
       company in a manner consistent with the Financial Forecast and in accordance with the requirements under the
       Code, and shall not capitalize any operating expenses unless corresponding allocations were assumed in the
       Financial Forecast.

       Tax Returns

       The annual tax returns (t'ederal and state) sent to the Limited Partners shall include, or be accompanied by'
       depreciation schedules fbr each depreciable asset class, and by a capital account analysis for each partner. The
       schedules shall show the annual activity in the account, beginning with the company's first tax year, and including
       the beginning and ending balances. K- I s and applicable state information reporting forms shall be on a tax-basis.

       Annual Audit

       The annual audit sent to the Limited Partners shall be accompanied by the adjusting and reclassifyingjournal entries
       and an audit trial balance reflecting the financial statement groupings. The annual audit sent to the Limited Partners
       shall include in the footnotes, or be accompanied by, book-basis depreciation schedules for each asset class and a
       capital account analysis for each partner. Each of these schedules shall show the annual activity in the account,
       beginning with the year in which the company was formed, and including the beginning and ending balances for
       each year, The depreciation schedules shall include adequate detail, for each asset class, to determine the beginning
       and ending acquisition cost, disposals, depreciation expense and accumulated depreciation. The capital account
       schedules shall separately show the total capital commitment of each partner, any adjustments thereto that have
       occurred, the amount actually contributed to-date, the annual net income or loss, and any syndication costs, cash
       distributions, etc. affecting each partner's account.

           In the presentation of the balance sheet (or in the footnotes), the audit shall include details on accrued interest and
           interest expense for each liability of the company.

           In the computation of net operating income, the income statement shall report operating revenues and expenses in
           form no less granular than the following categories (each as applicable).




                                                            EXHIBIT9-Page       I
           4837 -4545-8969.4




CONF   I   DENT        IAL                                                                           PLAINTIFFS_OOOOB6O6
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 152 of 187




        Rental Revenue
        Gross Potential Rental Income paid by Tenants
        Gross Potential Rental Income paid by Subsidy
        Rental Vacancy (contra-revenue account)
        Other Revenue
        Amenity Income (garages, carports, storage lockers, cable television, etc.)
        Other Operating Income (laundry, vending, etc.)
        Tenant Charges (late fees, key replacement fees, pet fees, application fees, etc.)
        Collection Loss and Bad Debts (contra-revenue account)
        Rental Concessions and Specials (contra-revenue account)
        Commercial Lease Income
        Miscellaneous Operating Income (please provide detail unless amount is nominal)
        Administrative Expenses
        Advertising and Marketing
        Annual Audit
        Compliance Consulting
        Other Professional Services (bookkeeping, accounting and legal)
        Tenant Supportive Services fiob training, financial counseling, fitness training, etc.)
        Annual Fees owed to the State Tax Credit Allocating Agency (excluding amortizing fees that were paid up-
        front)
        Payroll Taxes
        Workers Compensation Insurance
        Payroll Benefits (retirement, health insurance, etc.)
        Other Administrative Expenses
        Property Management Fees (non-payroll)
        Repairs & Maintenance (excluding Capital Expenditures)
        Snow Removal
        Pool Maintenance or other significant amenity maintenance
        Maintenance and Janitorial Payroll
        Security (contracts, equipment, etc.)
        Security Payroll
        Turn-over Costs
        Other Contract Labor and Services (grounds keeping,janitorial, painting, etc.)
        Other Renairs & Maintenance (please separately identifv anv sisnificant line-item costs)
        Utilities (if the property is sub-metered or there is some other reliable means of categorizing the various
        utilities, then distinguish between common area costs and costs for apartment units)
        Electricity
        Gas
        Fuel Oil
        Water
        Sewer
        Trash Removal
        Payroll
        Administrati ve and Leasing Payroll
        Social or Supportive Services Payroll
        Employee Apartment
        Other Payroll (please provide detail unless amount is nominal)
        Property Taxes
        Casualty and Liabilitv Insurance




                                                       EXHIBIT 9 -Page2
      4837-4545-8969.4




CONF I DENT     IAL                                                                          PLAINTIFFS               OOOO8607
             Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 153 of 187




                                        EXHIBIT     10

                             FORM OF QUARTERLY STATUS REPORT

                                        (See attached.)




                                      EXHIBIT l0 - Page I
        4837-4545-8969.4




CONF   ] DENT IAL                                              PLAINTIFFS         OOOOSSOB
                           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 154 of 187



                                                                                                                           <<PRIMARYCONTACT>>
Period:              Quarter20-                                 TSPNC
Due:                                                                   REAL ESTATE
                                                                                                                                        <<Alternate>>
       ---.r20-                                            QUARTERLY STATUS REPORT
Partnership <<ltname>>                                                        PROPERTY: <<PROPERTYNAME>>
             This form is designed to be contpleted by hand. Required Jields are in bold, but also note conditionally required infonnation.
                        If lou pre,fer to use an electronic Iorm, please contact us and we will send you the appropriate version.
                                               ALL             ITEMS ON TIIE TORM MUST BE COMPLETED.


         Management Company.' <<mgmtcompany>>

         a. Are there any plans to change management? Yes                 No             If Yes, provide details:
o
         b.Havecontactschangedsince-?YesNo(IfYes'completesectionbe|ow.IfNo,skipto2.)
0!
             Site Manager:                                    Regional/Property
z
                                                              Regional/Property Manager Email:
             Site Phone:
                                                              Phone:


         Occupied Units on                      #- l-7o                    #- l-Vo                            #- l-Vo        (Include manager's unit in
         total.) Please note, we are asking tbr both   a percentage and an actual count       of the occupied units,
 o       (It92Vo or less at quarter-end, complete section below.        lIffior       above at quarter-end, skip to 3.)

 q)
         -     Specify reason(s) -:
                                  for occupancy    below     -:
                                                           Evictions                          -: Housing in Area
                                                                                              New
 (J
              92Vo (check all that apply):                 Declining   Economy                Other:
(\l            Indicate efforts being made to increase Increased Advertising Agency Outreach
              occupancy (check all that apply):        Rent Incentives (provide details:                                                          )
                                                           Other:


         Provide the following information about the regional economy:
         a.Averageoccupancyvoofothetrent-restrictedproperties_non-RHS_intheareaasof-:-vo
         b. The overall regional economic condition is: Improving Stable Declining Other:
         c. Is there any planned construction ofatTordable housing in the area? Yes No(IfYes, provide details:
 o0                                        .)
 c)
         d.    Have any local businesses closed recently?    Yes No      (If Yes, provide details:
?tJ




       a. Has the property experienced any of the following since                      ?(check all that apply)
       Flood Fire Mold Excessive Wind Hail Drug Trafficking/Crime/Gang Activity Other:
       If any of the boxes above are checked, describe plan to correct/repair damages:

       Property has not experienced any events impacting operations.
       b.    Has any qualified unit been out of compliance for more than 60 days?              Yes     No
       (If   Yes, provide details:


         a. Does the                 receive proiect-based rental assistance?
 q,)     Source of contract:                                                                           Amount of contract: $
&        HUD Housing Assistance Payments (HAP)               Project-based Section 8                   Contract Expiration Date:
rn
         Rural               Rental Assistance               Other:                                    # Units Subsidized:

                                                                    EXHIBIT   10   - Page 2
4837-4545-8969.4




    CONF] DENTIAL                                                                                                 PLAINT]FFS               OOOO8609
                    Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 155 of 187



      b. Have rental rates changed since                    Yes   No           (If Yes. comnlete section below. If No. skio to 6.)
      Attach additional pages if necessary.
                                                     # Units at        Current          Previous         Date of Rate      Conventional
                              Size          Vo AMI     Rate        Rental Rate         Rental Rate         Chanee           Market RaEr
                                       ft     -?                  $-                   $_                                   $_
         bed, -bath
      -bed,      bath             sq   ft                                              $_                                   $

      - bed, - bath -sq           sq   ft
                                            -vo                                        $_                                   $_
      -       -       -                ft
                                          -Vo                     $-                   $                                    $_
      -bed, -bath -                       -7o
                      -sq                 -Vo




                                                           EXHIBIT l0     -   Page 3
4837 -4545-8969.4




 CONF] DENT]AL                                                                                        PLAINTIFFS_OOOOB61O
                         Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 156 of 187



<<ltname>>
                                                                                                                                                   Quarter    2O-
       Provide the following information YEAR-TO-DATE as of
 IA
       a. Is YTD income under budget? Yes No (If Yes, provide details:
       b. Are YTD expenses over budget? Yes No (If Yes, provide details:
       c. Is there a YTD operating deficit? Yes No (If Yes, complete section below. If Non skip to 7.)
\o
                                                                -:
          How is the deficit being funded? Operating cash Accrual of expenses (If accrual, explain:
                                             CP advances         Other:


        a. YTD Mortgage Payments: Principal:            $                 -
                                                                                Interest: $
        b. Is the mortgage delinquent?      Yes No      (If   Yes, complete questions below. If No, skip to (c).)
        Delinquent Amount:       $-            Is property under a workout plan with the lender?                   Yes   No
                                               (If Yes, attach copy of plan.)
        Reason:                                                                PIan to correct:


 ()     c. Does the property receive financing from a HUD program? Yes                     No
        (If Yes, complete all questions below. If No, skip to E.)
t*
        l.       FHA/HUD 2. Date of most recent 3. Most recent                                 4.   Most recenl     REAC 5. Date of most recenr REAC
        Project     ID       #   REAC     inspection:           REAC            score:         Mgmt       Co.       Rating: Mgmt Co. Rating:

                                                   - HUD Regulatory Agreement
        6.   Has the property received any           violations:                                    Yes       No              If Yes to any, provide copies of
           notices       from HUD      regarding
                                                              review:
                                                   - Management                                     Yes No                    all notices received from HUD.
           adverse findings on the following?
                                                   - Section 8 HAP contract violations: Yes No


        a. Are property taxes delinquent?      Yes    No                  b. Are any insurance payments delinquent? Yes No
                                                                              section below. If No to both. skin to 9.
        Amount Taxes Delinquent:                                          Amount Insurance Delinquent:
                                                                          s




           Provide the following information regarding the project's reserve accounts:
                                                            Actual Required
                                                            Balance Balance                    fs account                  Reason for underfunding:

 q,
                                YTD        YTD               at        at                  underfunded                   (Also indicate if project is under
                            Deposits    Withdrawals                                                 3.                     a workout plan with lender.)
        Replacement        $_            $_                $_             $_                    Yes      No
 €)
        Taxllnsurance      $_            $_                $_             $_                    Yes      No
 x      Operating          $_            $_                $_             $_                    Yes      No
        Other              $_            $_                $_             $_                    Yes      No

 z,                 FOR ALL RESERVE WTTHDRAWALS, COMPLETE PAGE 3 OR PROVIDE EQUTVALENT REPORT.
                   Equivalent report must show amount, date and reason for withdrawals, source offunds, and status oflender approval.
 o\
        b. Any repairs/improvements planned for                   quarter? Yes No (If Yes, complete section below. If No, skip to 10.)
        Estimated Cost:                  Source:   Replacement reserve Operating cash Operating                     reserve           New financing
        Details:
                                                        -

                            -
                                                                EXHIBIT l0      -   Page   4
4837 -4545-8969.4




 CONFTDENTIAL                                                                                                        PLAINTIFFS_OOOO8611
                     Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 157 of 187



10. Attachments:
If not previously submined, attach the following:
Balance Sheet                                  Reserve withdrawal   detail           Inspection reports from stdte/federal agencies
YTD Income Statement (must be     YTD)         Annual budget                         Notices of adverse findings from state/federal agencies
Tax Credit Compliance/Occupancy     Reports    Most recent marketing   survey        Details of workout plansylth !91!91


11. Completed by:

Your   Name                              Company                                     Phone   Number                          Date


                                  Please return this form and attachments     bv                    .   20   :


               PNC Real Estate, Asset Management Department, 121 SW Morrison, Suite 1300, Portlandn OR 9?204
            Phone: (503) 808-f392 Fan (503) E08-1301 Alt Fax: (503) 808-1400 Email: pncmfcassetmgmt@pnc.com




                                                          EXHIBIT l0    -   Pase 5
 4837 -4545-8969.4




  CONF        I DENT IAL                                                                                 PLAINTIFFS_OOOO8612
                            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 158 of 187


     <<ltname>>                                   Quarterly Reserve Withdrawal Detail                                        Quarter   20_
                                 Instructions: For all withdrawals from   reserve accounts during this quarter,
                                        please complete the   following or attach an equivalent report.

                                                                                     Source of Funds:

                                                                              (e.   g., replacement reserve,

                                                                              "i:::'Jjl3ll;ll.ill,J'
       Tvpe of Expense:                Total   Cost:   "ffiF#ffi"
                                                        Operating:                      reserve, etc.)              Approved bv Lender?
       Air   conditioners               $                                                                      Yes No Pending N/A
       Appliances                       $                                                                      Yes No Pending N/A
       Blinds                           $                                                                      Yes No Pending N/A
a)     Cabinets                         $                                                                      Yes No Pending N/A
       Doors                            $                                                                      Yes No Pending N/A
       Drywall                          $                                                                      Yes No Pending N/A
f      Flooring                         $                                                                      Yes No Pending N/A
       Heating units                    $                                                                      Yes No Pending N/A
       Painting                         $                                                                      Yes No Pending N/A
       Plumbing                         s                                                                      Yes No Pending N/A


       Accessibility (ADA)              $                                                                      Yes No Pending N/A
       Alarm system                     $                                                                      Yes No Pending N/A
       Common area                      $                                                                      Yes No Pending N/A
o
       Exterior painting                $                                                                      Yes No Pending N/A
t)     Exterior windows                 $                                                                      Yes No Pending N/A
       Fire sat'ety system              $                                                                      Yes No Pending N/A
       Landscaping                      $                                                                      Yes No Pending N/A
?
       Laundry facilities               $                                                                      Yes No Pending N/A
u      Office equipment                 $                                                                      Yes No Pending N/A
a
       Parking lot                      $                                                                      Yes No Pending N/A
       Roof                             )                                                                      Yes No Pending N/A
       Sidewalks                        $                                                                      Yes No Pending N/A
       Siding                           $                                                                      Yes No Pending N/A
       Signage                          $                                                                      Yes No Pending N/A


                                        q
                                                                                                                Yes No Pending N/A
       Audit                            {                                                                       Yes No Pending N/A
       Compliance fees
                                        $                                                                       Yes No Pending N/A
       Deficit funding                  q
                                                                                                                Yes No Pending N/A
        lnsurance payment
                                        $                                                                       Yes No Pending N/A
       Property taxes




                                                               EXHIBIT l0     -   Page 6
     4837-4545-8969.4




      CONF        ] DENT IAL                                                                                   PLAINT]FFS_OOOO8613
                   Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 159 of 187



                                                                     Yes No Pending N/A
                                                                     Yes No Pending N/A
                                                                     Yes No Pending N/A




                                           EXHIBIT l0   -   Page 7
4837-4545-8969.4




 CONF       I DENT ]AL                                               PLAINTIFFS           OOOO8614
                Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 160 of 187
f
  ,

                                                                          TRv       20170046g9
                                                                          4   PGS




                                            MECHANIC'S LIEN AFFIDAVIT AND CLAIM


                STATEOFTEXAS                              $
                                                          $
                CoUNTYoFDALLAS                            $

                      BEFORE ME, a notary public in and for the State of Texas, on this day personally appeared
                Derek Armstrong, who being by me duly swom, on oath states the following:

                       l.   My name is Derek Armstrong. I am a Group Vice President for Weis Builders, Inc.
                            ("Claimant"). I am competent and authorized by Claimant to make this affidavit on its
                            behalf as the sworn statement of its claim.

                       2. Claimant flrmished labor, materials,   equipment and/or services for the improvement   of
                            the following described real property in Travis County, Texas:

                                     Lot lA, Re-subdivision of Lot l, Oak Creek Village, recorded in
                                     Document No. 2014075496, Travis County, Texas (the "Property").
                                     ,Jee   attached Exhibit A.

                       3.   The name and last known address of the person to whom the labor, materials,
                            equipment and/or services were fumished for such improvement is 2013 Travis Oak
                            Creek, LP.

                       4. The name and last known address of the Original Contractor/Claimant for such
                          improvement is Weis Builders, Inc., a Minnesota corporation located at7645 Lyndale
                          Avenue South, Minneapolis, Minnesota, 55423. Claimant maintains an offtce in Texas
                          with an address of 520 E. Corporate Drive, Suite 500, Dallas, TX75057

                       5.   The name and last known addresses of the Owner or reputed owner(s) of the real
                            property and improvements upon which this claim is made is 2013 Travis Oak Creek,
                            LP, 3001 Knox Street, Suite 400, Dallas, Texas 72505 and whose registered agent is
                            located at20Al Agency Corporation, 14160 Dallas Parkway, Suite 800, Dallas, Texas
                            1   5254 per the Texas Secretary of State.

                            The kind of work performed and/or materials fumished by Claimant is generally
                            described as follows:

                                      All   labor, materials, equipment, services, management, and other work
                                      of improvement for the consfinrction of said project. The work
                                      completed by the Claimant includes, but is not limited to, framing,
                                      window installation, drywall installation, painting, finish carpentry,
                                      masonry, electrical, plumbing, landscaping, and paving.

                                                                                                                 EXHIBIT




      CONF   I DENT IAL                                                                          PLAINTIFFS         OOOO8357
            Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 161 of 187
                                                                                                                    !
                                                                                                                        \




                   7.     The amount unpaid for such work and/or materials and which is now due and
                          owing to Claimant is $3.2E5.305.94 (Three Million Two Hundred Eighty-Five
                          Thousand Three Hundred Five Dollars and Ninety-Four Cents), which amount
                          is true, correctn and just, with all just and lawful offsets, payments, and credits
                          known to affiant.

                          Claimant claims a lien against all the above described land and improvements
                          thereon in the amount shown above pursuant to Chapter 53 ofthe Property Code
                          of the State of Texas, and makes this sworn statement of claim in support
                          thereof.

                   9.     Claimant expressly claims      a first lien on all    removables and claims           a
                          Constitutional mechanic's and materialman's lien    as the   Original Contractor on
                          the project.


                    10.   ln compliance with the Texas Property Code, Claimant is sending one copy of
                          this Affidavit to the above-referenced Owner or reputed owner(s) at its last
                          known address and that ofits registered agent.




                                                             Title:   Group Vice President


                    Subscribed, swom to before me by the said Derek Armstrong, this 9th day of January,20l7,
           to certifu which wihress my hand and seal of offrce.




           Prepared By      & Upon Filing,                                         GINA LEE GAISVIZ
           Return To:                                                                    Notrary Public
                                                                                     STA1E OF TEXAS
           Shelly Masters                                                        My Comm. Exp. Aprit 15. 2A1Z

           Cokinos, Bosien & Young
           l2l0   Nueces Street
           Austin, TX 78701




CONF   I DENT IAL                                                                             PLAINTIFFS_OOOO8358
       Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 162 of 187




                                      Stewart Title of Austin, LLC

                               OWI\IERSHIP AND MONETARY ENCUMBRANCE REPORT


       Order Number:
       oB2l52

       This is to certify that we have searched the records of Travis County in the Offrce of Stewart Title of Austin, LLC
       through December 22,2016 at 8:00 A.M., as to the following described property, to-wit:

                Lot 1A, of RESUBDIVISION OF LOT l, OAK CREEK VILLAGE                a subdivision in
                Travis County, Texas, according to the map or plat of record in Document Number
                2001400101 of the Official Public Records of Travis County, Texas.

       As of the effective date and time of issuance of this report, the last document purporting rc convey the fee title to
       said land is Instrument dated,May 23,2014, filed May 27,2014 and recorded in Document Number 2014075496,                of
       the Otficial Public Records ofTravis County, Texas, said land conveyed to 2013 Travis Oak Creek, LP.

       The outstanding mortgages or out$tanding statutory monetary liens purporting to affect said Iand are:

                Deed of Trust filed May 27 , 2Al4 from 20 I 3 Travis Oak Creek, LP . to Jacqueline P .
                Yardley, Trustee, securing the payment of one promissory note of even date therewith in
                the original principal amount of $26,000,000.00 payable to JPMorgan Chase Bank, N.A.
                together with all other indebtedness ofany kind whatsoever secured or to be secured
                thereby, and the terms, conditions, and stipulations contained therein. Deed ofTrust of
                record under Document Number 2014075497 and as amended in Document Number
                2016079435 and Document Number 2016203390, ofthe Official Public Records ofTravis
                County, Texas.

                Deed of Tnrst frled May 27,2014 from 2013 Travis Oak Creek, LP. to Elizabeth A.
                Spencer, Trustee, securing the payment of one promissory note of even dale therewith in
                the original principal amount of $2,000,000.00 payable to Austin Housing Finance
                Corporation together with all other indebtedness ofany kind whatsoever secured or to be
                secured thereby, and the terms, conditions, and stipulations contained therein. Deed of
                Trust ofrecord under Document Nuurber 2014075498" ofthe Official Fublic Records of
                Travis County, Texas.

                 Subordination Agreement filed May 27, 2014 and recorded in Document Number
                 2014075499, ofthe Official Public Records ofTravis County, Texas.

                 Deed of Trust filed May 2'1,2014 from 2013 Travis Oak Creek, LP. to J. Kirk Standly,
                 Trustee, securing the payment of one promissory note of even date therewith in the original
                 principal amount of $7,330,000.00 payable to 2007 Travis Heights, LP together with alt
                 other indebtedness ofany kind whatsoever secured or to be secured thereby, and the terms,
                 conditions, and stipulations contained therein. Deed ofTrust ofrecord under Document
                 Number 2014075500, ofthe Official Public Records ofTravis County, Texas.

                 Deed of Trust filed May 27,2014 from 2013 Travis Oak Creek, LP. to lames Clutts, Jr.,
                 Trustee, securing the payment of one promissory note of even date therewith in the original
                 principal amount of $27,300,000.00 payable to PNC Ban( National Associafion together
                 with all other indebtedness ofany kind whatsoever secured or to be secured thereby, and
                 the terms, conditions, and stipulations contained therein. Deed ofTrust ofrecord under
                 Document Number 2014075501, of the Official Public Records of Travis County, Texas.




                                                                EXHIBIT A




CONFI DENTIAL                                                                                      PLA]NTIFFS                       OOOOB359
         Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 163 of 187




        In addition, the following urueleased involuntary liens are recorded in the above stated county:

                 Affidavit and Claim for Mechanic's and Materialman's Lien filed February 26, 2016 and
                 recorded in Document Number 2016028472, of the Official Public Records of Travis
                 County, Texas.

                 Afiidavit and Claim for Mechanic's and Materialman's Lien filed April 13, 20 I 6 and
                 recorded in Document Number 2016055753, of the Official Public Records of Travis
                 County, Texas.

                 Affidavit Claiming Mechanic's and Materialman's Lien filedAugust 15,2016 and
                 recorded in Docume nt Number 20 I 6 I 3 3 I 76. of the Official Public Records of Travis
                 County, Texas. (Partial Release filed October 14,2016 and recorded in Document Number
                 2016172092, ofthe Official Public Records ofTravis Couoty, Texas.)

                 Affrdavit Claiming Mechanic's and Materialman's Lien filed August 15, 2016 and
                 recorded in Document Number 2016133494. of the Official Public Records of Travis
                 County, Texas.

                 Affidavit Claiming Mechanic's and Materialman's Lien filed December t5,2016 and
                 recorded in Document Number 2016207248, of the Official Public Records of Travis
                 County. Texas.

                 *Performance Bond filed May 27,2014 and recorded in Document Number 2014075502,
                 ofthe Official Public Records ofTravis County, Texas.




        This Report is nor Title Insurance. This Report only provides title information contained in the abovc stated records
        and does not reflect unindexed or misindexed matterst or any unrecorded or off-record matters that may affect this
        land. This Company, in issuing this Report assumes no liability on account of any instrument or proceedings in the
        chain of title to the property which may contain defects that would render such instruments null and void or
        defective. All instrurnents in the chain of title to tbe property are assumed to be good and valid. This Report is not a
        commitrnent to insure and therefore does not contain the requirements and exceptions which would appear in a
        commitment 0o insure or the exception which would appear in a title policy.

        This Company's liability for this Report is limited to the amount paid for this Rcport and extends only to the party to
        which it is issued. No other party may rely on this Report. This Report contains no express or implied opinion,
        warranty, guarantee, insurance or other similar assurance as to the status oftitle.

        Executed at Austin, Texas on January 5, 2017 , and effective as indicated above.


                                                                               FILED gND                     RECORDED
                0.*         V^J^r+'--?                                                OFFICIAL PUBL.IC         RECORDS



        Prepared by:
        Dave Merritt
                                                                                 hr't&&anta'+
                                                                                       Jan lO, 2Ol7 11:14 fl|l
                                                                                                                               2017004689
                                                                                                 RAnIREZn: $38        .   AO

                                                                                   Dana DeBeauvoir, County Clerk
                                                                                        Travis Corlnty         T€XfiS


                                                                                           Recorders Memorandum-Al the time of recordation
                                                                EXHIBIT A                  this instrument was found to be inadequate for the best
                                                                                           reproduction, because of illegibility:-91r{n o'
                                                                                           photo.opy. discolored paper. etc All blockouts',
                                                                                           idditions  and changes were presenl at tne tlme mc
                                                                                           instrument sas filed and recorded




CONF] DENT]AL                                                                                          PLAINTIFFS                    OOOO8360
               Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 164 of 187
/
                                                      trHAsE             €F

                                              Dianne M, Stark          C,ommercial BanHng    -    Special Credits Group
                                              Authotized Officet        tel ptQ 732-6945 far      (312) 336-J541
                                                                       10 S, Dearborn, Floot 36
                                                                       Chicago, IL 60603
                                                                       dhne.m.stark@chas€.com


                                                                       June 28,2017
              yra couRryR ANr) DMArL SCAN
              2013 Travis Oak Creek, LP
              3001 Knox Street, Suit€ 400
              Dallas Texas ?5205
              Attention: Mr. Rene Campos

                                                     NOTICE OF'SET OFF


                      Re:     2013 Travis Oak Creek, LP (the   'Egrtowe{')   indobtedness to JPMorgan Chase Bank,
                      N.A. (the 'EgS') evidenced by that ceriain Advance Promissory Note Dated              as of lvlay Z3.,   Z0l4
                      (the "Construction Noten') in the Principal Amount of 926,000,000.00 (the        ,Lonn")

              Ladies and Gentlemen:

                     Reference is made to that certain indebtedness evidenced by tlre Consfiuotion Note and advanced
              pursuant to that certain Credit Support aad Funding Agreement between the Borrower and the Bauk
              {atedMay 23,2014 (as amended from time to timo, the "Loan-4gpgment'). The Loan is secured by
              that certain: (i) Construction Deed of Trus! Absolute Assignment of nefu, Socurity Agreement and
              Financing statement effective as of May 23,2014 (as amended from time to time, the ,2iE4gf.Trg$"),
              (ii) Assipment of Accounts, including but not limited to, Pledged Cash Flow Collateral Account
              ("),                                         (iii) guaranty of payment and completion made byEureka
              Multi-Family Group, LP, Chula Investments, Ltd.,2013 Travis Oak Creek Developer, Ino. and Rene 0.
              Clrypos, jointly and severally, each May 23, 2014 f'Guaranteos"), and (lv)-all other dooumenh
              evidencing and/or securmg the Loan (as amended from time to time, collectively, the ,.Lq*g
              Dogumqntsi'). Capitalized terms used but uot defined herein shall have the respective m"*ing as*iU"a
              to them in the Loan Agreernent and the Loan Documents.

                      By letter datod June 2,2017, the Bank advised you that an Event of Default was declared for
              pilT=  to repay all obligations due under the Loan Documents. As a result of the Event of Defautt, the
              Bank is exertising its rights set forth in $estion ?.3 (e) of tho Loan Agreement. Effective today, thi
              balurca in the Pledged Cash Flow Collateral Account of $834,144.46 is being applied to the principal
              balance on the Loan.

                       The Bank reserves the right to exercise any and all remedies allowed under tlre Loan Documents
              or at !-aw or in equity due to the Event of Default Any and all costs pursuant to Bank's rights aud
              remedies under the Loan Doouments, including but not limited to, attorneys' fees, shall be due and
              payable by Borrower pursuant to Section a.1(w) of the Loan Agreement,

                       This notice does not (l) operate as a waiver or forbeaance of any right, remedy,
                                                                                                                Fowsr or
              privilege of the Bank under any of the Loan Documents or applicable law, (2) prejudice or
                                                                                                            iteolude utry
              other or further exercise ofany respeotive rights, remedies, powers of privileges of the Bank under any oi
              tlre Loan Doouments or at law or in equity, (3) entitle you io any othir notice or demand whatuoever, or
              (4) in any way modi$, impair or release any of your liabilities under or pursuant to any of the Loan
              Documents or any other liability that you have to the Bank. This notice does not purport to contain a
              complete or exclusive list of defaults.


                                                                   EXHIBIT
                                                         to
                                                         5
                                                         tg
    CONF   ] DENT IAL                                                         7               PLAINTIEFS                   OOOO8O76
         Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 165 of 187
                                                                                                                         \
                                                  CHAsE               4fr

               - Furthermorg no delay by the Bank in enforcing its rights and remedies under tle LoBn
        Doouments or applicable_ law and/or the acceptance from time to time by the Bank
                                                                                               of any payments on
        account of the Loan shall, in any way, constituto or aot as (a) a rescission or waiver of
                                                                                                   the default
        desgribed in this notice, (b) amodification of any of the Loan Documenh or (c) an accord
                                                                                                       or satisfaction
        with respect to the entire amount of the obligations due under the Conshuction Noto and tlre
                                                                                                          othor [,oan
        Documents' No oral communication from or on behalf of the Bank by         *y   party shall constitute any
        agr€ement, commitment or evidonce of any assurance or intention wiih respect
                                                                                           to any aspeot ofthe
        subject Loan.



             .   Should you havo any questions, please contact the Bank's sttomoy, Wayne yaffee, at
                                                                                                    Greenberg
       TraurigLLP.

                                                                   Very truly yours,




                                                                   Name: Dianne M, Stark
                                                                   Title:   Authorized Officer

                 PNC Bank, National Association
                 c/o PNC Real Estate
                 121 S.W. Morrison $treet, Suite        13OO
                 Portland, Oregon 972O1
                 Attention: Fund Manager
                 lvia enall and Coufierl

                 PNC Bank, National Association
                 5OO West Jefferson Street, Suite 2GOO
                 Mailstop K-1 -KHDO-23-4
                 Louisville, Kentucky 4OZO?
                 Vn ematt and Cou*rtt
                 PNC Bank, National Association
                 26901 Agoura Hoad, Suite 20O
                 Calabasas Hills, California 91301
                 Attention: Loan Administration Manager
                 Loan No, 310401 235 {Oak Creek Viltage}
                 lvia Email and CoufierU

                 Jackson DeMarco Tidus Peckenpaugh
                 2815 Townsgate Road, Suito 20O
                 Westlake Village, CA 91301
                 Attention: Andrew S. Begun
                 Ma fman am Couriei




CONFI DENT   IAL                                                                        PLAINT]FFS_OOOOBO77
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 166 of 187
{
                                               trHAsE ffi
                   Kathleen J. Wu
                   Andrews Kurth
                   1717 Main Street
                   Suite 37OO
                   Dallas, Taxas 75201
                   (via. Email and
                                   Qoarter{l

                   Rene Campos
                   3OO1 Knox Street
                   $uite 40O
                   Dallas, Toxas 7b20b
                   lvia Email and Couriedl

                   Chaiken & Chaiken, P.C,
                   Legacy Town Center lll
                   58O1 Tennyson Pkwy #440
                   Plano, TX 76024
                   Attn: Kenneth B. Chaiken
                   (via Email and Coqrlerl

                   Eureka' Multi-Family Group, LP
                   30O1 Knox Street, Suite 4OO
                   Daffas, Texas 75206
                   (ula Emall and Goufierl

                  Chula Investments, Ltd.
                  3OO1 Knox Street
                  Suite 4OO
                  Dalfas, Texas 75205
                  (via Email ?nd Couied

                   2013 Travis Oak Creek Developer, lnc.
                  3OO1 Knox Street
                  Suite 40O
                  Dallas, Texas 75205
                  (via Emafl and Courterl

                  Austin Housing Finance Corporation
                  Attention: RHDA Program
                  l OOO East Eleventh Street, #200
                  Austin, Texas 78702
                  lvh Email an! Couderl
                  2O07 Travis Heights, LP
                  A,ttention: Mike Wallis
                  3001 Knox Street, Suite 400
                  Daflas, Texas 752C,5
                  lvh Email and Courterl




    CONF   I DENT IAL                                           PLA]NTIFFS         OOOOBOTS
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 167 of 187
                                                                                                                                      \
                                                       trHAsE ffi
                    2013 Travis Oak Creek, LP
                    g2O S. Main Street
                    Suite 20O
                    Grapevine,   TX 76051
                    Wayne A. Yaffee
                    Greenberg Traurig LLP
                    10OO Louisiana, Suite 17O0
                    Houston, Texas 77OOz
                    lvia knail and Courierl

                    Kevin Welsh
                    JPMorgan Chase Bank, N.A.
                    (vi? Email




                                                NOTISS TO SERVICEMEMBERS

         {,F"   !*oryr,-   gugantor,.collatelal Pfadgor, properly g1lerr any individual who is personally liable for tho
         rbligations of a business entity that is a bortower, oi any individual who owns, diroctly ot inaitr"tfv,lb7o or more
           the equity or shnilar interests gr a buliness entity that sonstitutes a bonower, guilmtor, prop€fty ownor,
                                                                                                                                 or
           lateral pledgor, ls a Servicernember and is, or reoently         on Active Duty  or actiie service, tnai person
                                                                                          -                                may   be
                  to certain legal rights and protections, includinglva-s-,
                                                                               prrotection from foreclosurq p,*u*t to ' thu
                  Lembers Civil Relief Act (50 USC App. $$ 501-596), as amanded and, possibly, ;duin
                                                                                                                      similar srate
        statutGs.


        ltigtqb tervico may include the following: Active Duty with     the Army, Navy, Air Force, Marine Corps, or Coast
        Guard; Active servic€ with tr€ National Guard; Aotivo service as a commissi*ea om"ei of the National
                                                                                                                      Oceanic
           Atnospheric Adminiseation; Activo service as a commissioned officer of the public Health Service; Service
            the forces of a nation with which dre United State,s is allied in the prosecution of a war or military actionl
                                                                                                                            or
              r with the National Gumd or a state militia under a state c4l to Auty. Eligible
                                                                                              service also includes any period
              which a Servicemembet is absent fiom duty on account of sickneog wounds, leavq or other lawfut cau$e.

          you 0r any ofthe persons described above is such a Sorvicemember, you should contact
                                                                                               Chase at l-g77-3r14-30g0,
          onday thrrug! Friday, 8:00am-7:00pm cental rime to discuss the sratus of this loan.




CONF I DENT   IAL                                                                               PLA]NTIFFS_OOOO8O79
              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 168 of 187
?


                                                                                                  ffiPNC
                                                     Desember 27,2016


              VIA OVERNIGHT TVIAIL                               YIA OVARNIGHT MAIL
              2013 Travis Oak Creek, LP                         PNC Bank, National Association
              c/o Eureka Multifamily Oroup                       121 S.W. Monison Street, Srrite 1300
              3001 Knox Street, $uite 400                       Portland, OR 97201
              Dallas, TX 75205                                  Allention: Fund Manager
              Attention: Rene Campos

              VIA OVERNIGHT MATL
              JPMorgan Chase Banlc, N.A,
              Cornmunity Developnrerrt Group
              221W.6rh Stleet, 2"d Floor
              Mail Code TX3-82A7
              Austirr, TX 78701

                    Re:     Notice of llefault untler Forrvard Conrmitnrent

             Ladies and Oentlemen:

             Refercnce is heteby made to the $27,300,000 Fannie Mae Forwatd Cornnritrnent for Fixed Rate
             Mortgageloarr clated May 21,2014 (the "Origirral Forryard Commitnreut'), as amended by
             eaolr of (i) the letter agrceurent initially dated March 28,2A16, nnd subsequently levisecl ott Apttl
             6,2016 (the "Commltrnent Extensiou'), and (ii) thc letter agrcement t{ated November 14,2016
             (the "socond Conrrnihncnt Extension" and, collectively with flre Original Forward
             Conrmitment and the Comnritment Extension, the "Forrvard Contrrritmcnt"), ftrotn PNC Bat*,
             National Association, a nntiorml bankiug association, irr its calmcity as <lelegated tutderwriting
             ald servising lender for Fannie Mae (in such capacity, "PNC'), to 20t3 Travis Oak Creek, LP, a
             Texas linrited partnership f'Borrorvert). hritially capitalized teuns not otherwise defined hetein
             shall liave the respective meanings given in the Forwatd Conrmitment'

             Refcrence is also nrade to the Tri-Party Agreenrent dated as of May 23,2014, executed by and
             amorrg Borrower, JPMorgan Chase Bank, N.A,, a national banking assooiation ('Con*tructlon
             Lerrder"), arrd PNC (the "TrhParfl' Agt'eenent").

             Putsuant to Section L.l.(c) of the Forward Comrnitmeut, tlre Forward Colnnritrrrent shall expire
             if the Mortgage Loan Closing does not occur at least thirty (30) days ptior to tlre Final Delivery
             Date, Perthe First Comnritment Extonsion (rvhich extension lvas contenrplated by the Oliginal
             For.ward Conurrihrrent), the Final Delivery Date was extencled fiom May 23,2916,to Novenrber
             23,2016 (the "First Extension"), subject to the satisfaction of the teuns and cotditions set forth
             tlreiein. Such teuns and conditions of the First Extension lverc satisfied and the Final Delivery
             Date was extended toNovember 23,2016,




                                                 EXHIBIT
                                          fD
                                           o
                                          5
    CONF   I DENT IAL                     0g
                                                               P                           PLAINTIFFS-OOOOB625
         Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 169 of 187
                                                                                                                               I

        2013 Travis Oak Creek, LP, et    al.   '
        December27,2016
        Page2


       In late 2018 as the Bonower was unable to nreet the extended contraotual Finnl Delivety Date,
       PNC agreed, as an accommodation to anotlrer extension request by the Boilowet, to flt$her'
       extend the Final Delivery Date. Per ihe Second Contmittueut Extension, the Final Delivery Date
       was fililher extended from November 23, 2016 to May 23, 2017 (the "Sccotttl Extcnsion"),
       subjcct to tlre satisfaction of the terus atd conditions set forth thcmin, inclrrding, witlrout
       limitation, Bonower's payment of all extensiou fees as and when due urder condition (b) of the
       Secorul Comrnitment Extension.

       As requircd pcr SectioJr 5 of thc Tri-Party Agteenrent, PNC hercby notifies eaclr of Borrcwer',
       Corrsh'nction Lender aud PNC Bank, National Association, a national banking association, itt ifs
       capacity as Bonower's eqnily investor and lirnited parhrer (in suclr capaeity, "PNC fnvestor
       Linritcd Partnerr), lhat Borroweris in default urtcler lhe Forwnrd Comuritment as a rcsult of
       Bonpwer's failure to pay cach aud all of thc extension fees as snd whetr due pursuant to
       coudition (b) of the Second Conrnrihnettt Exleusion; narrrely, the MBS Investot Extensiou Fee in
       tlre anrount of $238,875 wlrich was due by Deccnrber 15,2016 (tlre "Folward Conmitrnent
       Default').

       Mark Gittelman and JeffCluistopher of PNC Legal have been engaged in discussions withthe
       Boilower's counsel over the pnst few days to deterrnine when or if the Bou'owel able or even
       inclined to cure the Forward Conunitrnent Default and to rnove forwarcl to a Final Delivery Date
       in January of 2017. We have r:eceived no definitive answel'to either of those questions.

       PNC has offered to rnnke tlre PNC (2/3rds) portion of the Good Faith Deposit (as desclibed irr
       Sestion K.3. ofthe Forward Conrrnitment) available to cnrc the Forward Conrmitment Default,
       to af low the Firral Delivery Date to be extended tlu'ough January 23,2017, The Bolrowel has not
       affiunatively responded to that poposed action either,

       As a resnlt, tlrc Bofficwer is in default of a lrraterial co[ditioil to tlre Second Conrmitment
       Exteusion, nntl tlrp Second Extertsion shall therefore, tlrhty (30) dnys flonr the date of this letter'
       rnrless the default is cured to PNC's satisfaction, be tenninated ancl the Forward Conmtitment
       shall be terminnted per the teuns of Section M.l.(a) thereof,,

       Conespondingly, as a result of srtch tennination of tlrc Folward Conrrttitment, the Tri-Paily
       Agrcement shall also autontatically be teuninated per the tenns and provisions of Section l3
       thereof.

       No forbsarauce, clelay or inaotion by PNC in the exercise of its riglrts and remedies, and tto
       continuing performance by PNC under the Fotward Conunitment: (a) shall constihrte: (i) a
       modification or an alteration of the terms, conditions or covenants of lhe Forward Conuuihnent
       or (ii) a waiver, rclease or limitation uponPNC's exercise of any of its rights and letueclies
       thereutrcleq all of which ate hereby expressly reserved.




CONFI DENT   IAL                                                                      PLAINTIFFS-OO              OO 8   62 6
                  Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 170 of 187
i
    l




                   2013 Travis Onk Creek, LP, et nl,
                   Decr:rnber 27,2016
                   Page 3


                   Wo n'orrltt hope nnd expefl thnt llie Bonorvm lvill, pronq:tty, authorizo use of PNC's ponion of tlrrj Cood
                   Fcith Doposit or pgy thc p.nst duu fces pursuant to fte Second 8:ttenFion and then offer nn c*pectcd
                              Loan Closing <lato bofore the e.\tcnded Final Delivery Date.
                   Yl,Snpr
                   l'"or irfforrnarlon purposes, PNC's damages fuonr atermirration of the Forward Conifiritmsnt (ns cnlculared
                   pprsuont to thc forntuln contained on Exftibit C to lhat ccftin Delivery Assnrance Ccrtificnte execuled by
                   t{te Bonnrt'et ort May ?3, 20 | 4) arc estimated to bc approrimstely $6,9. Milllon. Thar cqlcutation rws
                   perforned at I lan ct op Diienrber 23, ?01 6 rvith * l0 year"Ireasury socurity rate of 2.528%and r 30
                   yeorTrcrsuty security rnte of 3.1057;, rvith tfreyield calculntion based orr a 30 year bond matruing in
                   Februaryof203l,yielding2.652%, Byn'ayoffurtherinhnnatiolr,,theounentmarkdvalueofsuchs
                   security (i.e.,.tltc Yaluu ns of I lam et on Deceilber 23,20l6,lhnt an investor rvould be rvilting to accept
                   to sell thc corilrnilrnent) it approximatcty $rt.t tvliltion, such thrt, if the PNC sccurigr rvere purclnsecl
                   todny, PNC's overoll dantage claim for early torminntion rvguld be nritigated. Both caleulations are
                   subject to msrket oondltions and woutd chnngc ar nrarker.rflies chnnge. lVe ivould llso be rviiting to mnks
                   one of oilr lnternnl expcr{s nvailablo to esplaiir thc r.onrrnctual Non:.Delivrry Fcc and the nrarket lalu*tlon
                   calculntions fo you nttd your representatives.

                   $e rvill expsct full repayrnent irnmc<lintoly upon tonnlnntion. Morcover, PNC renrains oF:n to working
                   rvlth Borrorvcn to pronrptly resolve lho Forrvnrd Conrnritrnclt Dofault. IVo look fonvard to hea$rg fmrn
                   you'


                                                                              VBry truly yoors,r




                   MSMttag


                            Wnyne A. Yaffce of Gardere Wyunc Servell LLP, Counsel to Coti$truction Lendsr
                            Mnrk A, 0itlehnnn, Bsquire
                            Ioffrcy Cbristopher, Lisqu irc
                            Klrk $tandly, Esquire
                            Kenneth Choiken, B$quire




        CONF   I DENT IAL                                                                                   PLAINTIFFS               OOOO8621
   Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 171 of 187




                                                                                                          1717 Main Street, Suite 3700
ANDREWS                                                                                                   Dallas, Texas 75201

                KURTH                                                                                     214.659.4400 Phone
                                                                                                          214.659.4401 Fax
                                                                                                          andrewskurth.com

                                                                                                          Kathleen J. Wu
                                                                                                          214.659.4448 Phone
                                                                                                          kwu@akllp.com




                                                February 28, 2017



VIA FEDEX, CERTIFIED MAIL,                                   VIA FEDEX, CERTIFIED MAIL,
RETURN RECEIPT REQUESTED AND                                 RETURN RECEIPT REQUESTED AND
U.S.MAIL                                                     U.S.MAIL

2013 Travis Oak Creek, GP, LLC                               2013 Travis Oak Creek, GP, LLC
603 W 8th Street                                             c/o Eureka Multifamily Group
Austin, Texas 78701                                          3001 Knox Street, Suite 400
Attn: Rene Campos                                            Dallas, Texas 75205
                                                             Attn: Rene Campos

         Re:     Amended and Restated Agreement of Limited Partnership of 2013 Travis Oak
                 Creek, LP, a Texas limited partnership (the "Partnership"), dated as of May 23,
                 2014, by and among 2013 Travis Oak Creek, GP, LLC, a Texas limited liability
                 company (the "General Partner"), PNC Bank, National Association (the
                 "Investment Limited Partner") and Columbia Housing SLP Corporation, an
                 Oregon corporation (the "Special Limited Partner", and together with the
                 Investment Limited Partner, the "Limited Partners") (collectively, with any
                 supplements, amendments and other modifications specifically approved in
                 writing by the Limited Partners, the "Partnership Agreement")

                 NOTICE OF DEFAULT, DEMAND FOR PERFORMANCE AND
                 RESERVATION OF RIGHT TO REQUIRE REPURCHASE PURSUANT
                 TO PARTNERSHIP AGREEMENT <THIS "NOTICE OF DEFAULT')

Dear Mr. Campos:

        As you know, this firm represents and writes to you on behalf of the Limited Partners.
The Limited Partners have reached out to the General Partner to request information regarding
the financing for the Project 1 and with respect to the extent and costs of ongoing construction
and have yet to receive any productive response from the General Partner regarding the status of
financing or other issues that may ultimately threaten the Tax Credits for the Project. As such,

    All capitalized terms used but not otherwise defined herein shall have the meanings given them in the
    Partnership Agreement.

                                           ANDREWS KURTH KENYON LLP
Austin Beijing Dallas Dubai Houston London New York Research Triangle Park Slllcon Valley The Woodlands    Washington, DC
DAL:953821.l


                                                         EXHIBIT

                                                                      lo                           2013TOGP 000013
     Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 172 of 187




 2013 Travis Oak Creek, GP, LLC
 February 28, 2017
 Page 2

financing or other issues that may ultimately threaten the Tax Credits for the Project. As such,
and as a result of the Events of Default as provided herein, the Limited Prutners are left with no
other choice but to issue this Notice of Default to the General Partner with respect to certain
defaults under the Partnership Agreement, as described more fully below. The Limited Partners
have previously conveyed their willingness to meet with the General Partner to discuss the status
of the Project, and remain amenable to doing so at this time, without waiving any of their rights,
remedies or recourses hereunder or under the Partnership Agreement.

NOTICE OF DEFAULT

        This Notice of Default shall serve as formal written notice that the General Partner is in
default under the Partnership Agreement based on various breaches thereunder. Among other
things, the General Partner has failed to: (i) cause the Partnership to comply with all
requirements under the Permitted Loans and all Project Documents, including but not limited to
(1) the forward commitment with respect to the First Mortgage Loan, which has been terminated
by the First Mortgage Lender as a result of the failure of the Partnership to pay all amounts owed
thereunder, and (2) the Bridge Loan, which is in default as a result of the termination of the
forward commitment referenced above; and (ii) cause any mechanic's liens affecting the
Property to be cured and removed from title. The foregoing, among other potential defaults, are
in violation of the Partnership Agreement and constitute Events of Default thereunder.

        The Partnership Agreement permits the Limited Partners to, among other things, remove
the General Partner upon the occurrence of an Event of Default. Demand is hereby made on you
to cure the foregoing Events of Default. If you fail to do so in full on or before 5:00 p.m., New
York, New York time on the date that is 15 business days from the date hereof, the same
being March 21, 2017, the Limited Partners may exercise any and all rights, remedies or
recourses available to them under the Partnership Agreement, the Guaranty, or otherwise at law
or in equity, including, without limitation, removal of the General Partner as general partner of
the Partnership.

RESERVATION OF RIGHT TO REQUIRE REPURCHASE

       As described above, the forward commitment with respect to the First Mortgage Loan
was terminated as a result of the failure of the Partnership to pay all fees required under such
forward commitment. Such circumstances give rise to a right of the Limited Partners to request
repurchase of their interests in the Partnership if such financing commitment is not reinstated or
replaced within sixty (60) days of such termination. At this time, all rights of the Limited
Partners with respect to their right to require repurchase of their interests are hereby specifically
reserved.

        The foregoing breaches further constitute grounds for recovery by the Limited Partners
and their respective Affiliates of their respective costs, expenses, liabilities, claims, damages,
loss of profits, diminution in the value of their Limited Partner interests and other losses of any
kind or nature as set forth in Section 6.6(d) and Section 7.8, among others of the Partnership


DAL:953821.1




                                                                                   2013TOGP 000014
,      Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 173 of 187




    2013 Travis Oak Creek, GP, LLC
    February 28, 2017
    Page3


    Agreement (all rights of the Limited Partners in connection therewith hereby being reserved).
    The Partnership and its Limited Partners have already incurred or suffered significant costs,
    expenses, obligations, liabilities, losses and damages, and may continue to do so in the future as
    a result of General Partner's conduct, including, without limitation, failure to perform its duties,
    agreements and obligations under the Partnership Agreement. Please know that the Partnership
    and the Limited Partners intend to avail themselves of any offset rights to which they may
    respectively be directly or indirectly entitled under the Partnership Agreement or otherwise,
    together with any and all other benefits, rights, remedies, privileges, powers and recourses
    available to them, respectively, under the Partnership Agreement or otherwise, all of which are
    hereby reserved. We direct your specific attention to Section 7.7(c)(3) and Section 7.8(a),
    amongst others, in which the General Partner is and remains responsible for all costs, expenses,
    obligations, liabilities, losses and damages incurred by the Limited Partners in connection with
    their rights thereunder including, without limitation, the matters set forth herein.

            This Notice of Default is also being sent to the Guarantors, as guarantors of the
    obligations and liabilities arising under the Partnership Agreement on the part of the General
    Partner, pursuant to the terms of the Guaranty, to demand that the Guarantors immediately cure
    or cause to be cured the defaults of the General Partner as described above. Please know that the
    Partnership and the Limited Partners further intend to avail themselves of any and all benefits,
    rights, remedies, privileges, powers and recourses available to each, respectively, under the
    Partnership Agreement or otherwise against the Guarantors.

            Neither this Notice of Default nor any previous or contemporaneous correspondence or
    other communications (including all communications directly from or on behalf of the Limited
    Partners) is intended to be, nor should it be construed as, a waiver of any rights, benefits,
    agreements, remedies or recourses to which any of the Limited Partners may be entitled with
    respect to any breaches or defaults that have occurred or may occur under the Partnership
    Agreement, or otherwise, or as consent or acquiescence to any acts or omissions. Each of the
    Limited Partners further continues to reserve any and all rights, remedies, agreements, benefits
    and recourses available to it under the Partnership Agreement or any other agreement, document
    or instrument (including, without limitation, the Guaranty and any Project Document) to which
    any of the Limited Partners is a party or possesses rights as a direct or third party beneficiary, or
    otherwise at law or in equity, together with any and all claims, counterclaims or defenses the
    Limited Partners may have under the Partnership Agreement or otherwise at law or in equity in
    connection with any negligence, misconduct, or otherwise on the part of General Partner. The
    Limited Partners further continue to reserve the right to seek recovery of any and all costs,
    expenses, obligations, liabilities, losses, damages and other recoverable amounts, whether or not
    demanded hereunder, including, without limitation, any actual, punitive or other damages against
    General Partner, the Guarantors and/or any other responsible party.

            If any party who receives this Notice of Default is a debtor in a bankruptcy subject to the
    provisions of the United States Bankruptcy Code (Title 11 of the United States Code) (the
    "Code"), this Notice of Default is merely intended to be written notice that formal demand has


    DAL:953821.1




                                                                                       2013TOGP 000015
      Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 174 of 187




2013 Travis Oak Creek, GP, LLC
                                                                                                         '
February 28, 2017
Page4


been made in compliance with the Partnership Agreement and applicable law. This Notice of
Default is not an act to collect, assess or recover a claim against you, nor is this Notice of Default
intended to violate any provisions of the Code. Any and all claims that the Limited Partners
assert against General Partner or Guarantors will be properly asserted in compliance with the
Code in your respective bankruptcy proceedings.

         Your most urgent attention to these important matters is respectfully requested.

                                                      Very truly yours,

                                                            ,JJ   ~c..--c-
                                                      Ka    eenJ.~}

cc:      Chaiken & Chaiken, P. .                      VIA FEDEX, CERTIFIED MAIL,
         5801 Tennyson Parkway, Suite 440             RETURN RECEIPT REQUESTED,
         Plano, Texas 75024                           U.S. MAIL AND EMAIL
         Attn: Kenneth B. Chaiken, Esq.               (kchaiken@chaikenlaw.com)

         Rene 0. Campos                               VIA FEDEX, CERTIFIED MAIL,
         603 W 8th Street                             RETURN RECEIPT REQUESTED,
         Austin, Texas 78701                          AND U.S. MAIL

         2013 Travis Oak Creek Developer, Inc.        VIA FEDEX, CERTIFIED MAIL,
         603 W 8th Street                             RETURN RECEIPT REQUESTED,
         Austin, Texas 78701                          AND U.S. MAIL
         Attn: Rene 0. Campos

         Chula Investments, Ltd.                      VIA FEDEX, CERTIFIED MAIL,
         603 W 8th Street                             RETURN RECEIPT REQUESTED,
         Austin, Texas 78701                          AND U.S. MAIL
         Attn: Rene 0. Campos

         Mr. David Hasselwander                       VIA EMAIL
         Joy O'Brien, Esq.                            VIA EMAIL




DAL:953821.l




                                                                                    2013TOGP 000016
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 175 of 187



     ANDREWS                                                                          1717 Main Street, Suite 3700
                                                                                      Dallas, Texas 75201

                     KURTH                                                            214.659.4400 Phone
                                                                                      214.659.4401 Fax
                                                                                      andrewskurth.com

                                                                                      Kathleen J. Wu
                                                                                      214.659.4448 Phone
                                                                                      kwu@akllp.com




                                              June 7, 2017


     VIA FEDEX, CERTIFIED MAIL,                       VIA FEDEX, CERTIFIED MAIL,
     RETURN RECEIPT REQUESTED AND                     RETURN RECEIPT REQUESTED AND
     U.S.MAIL                                         U.S.MAIL

     2013 Travis Oak Creek GP, LLC                    2013 Travis Oak Creek GP, LLC
     603 W 8th Street                                 c/o Eureka Multifamily Group
     Austin, Texas 78701                              3001 Knox Street, Suite 400
     Attn: Rene Campos                                Dallas, Texas 75205
                                                      Attn: Rene Campos


     Re:      Amended and Restated Agreement of Limited Partnership of 2013 Travis Oak Creek, LP,
              a Texas limited partnership (the "Partnership"), dated as of May 23, 2014 (with any
              amendments and modifications thereto specifically approved in writing by the limited
              partners, the "Partnership Agreement'), among 2013 Travis Oak Creek GP, LLC, a
              Texas limited liability company (the "General Partner"), PNC Bank, National
              Association, a national banking association (the "Investment Limited Partner"), and
              Columbia Housing SLP Corporation, an Oregon corporation (the "Special Limited
              Partner", together with the Investment Limited Partner, the "Limited Partners")

              (i) DEMAND FOR REPURCHASE OF LIMITED PARTNER INTERESTS AND
              (ii) NOTICE OF REMOVAL OF GENERAL PARTNER PURSUANT TO
              SECTION 7.7(c) OF THE PARTNERSHIP AGREEMENT AND (iii) NOTICE OF
              EVENT OF WITHDRAWAL OF GENERAL PARTNER PURSUANT TO
              SECTION 9.1 OF THE PARTNERSHIP AGREEMENT


    Ladies and Gentlemen:

           As you know, this firm represents and writes to you on behalf of the Limited Partners.
    Capitalized terms not defined herein shall have the meaning ascribed to it in the Partnership
    Agreement.

              (i)    DEMAND FOR REPURCHASE

           Pursuant to that certain Notice of Default under Forward Commitment by PNC Bank,
    National Association delivered to the Partnership dated December 27, 2016, the Partnership is in


     DAL:956266. I                                      EXHIBIT
                                                  j
CONFIDENTIAL                                                                PLAINTIFFS 00008030
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 176 of 187
                                                                                                          ·,

     2013 Travis Oak Creek GP, LLC
     June 7, 2017
     Page2



     default under the terms of that certain $27,300,000 Fannie Mae Forward Commitment for Fixed
     Rate Mortgage Loan dated May 21, 2014 which has now been terminated. The General Partner
     has failed to timely cure those defaults under the Partnership Agreement that were outlined in
     that certain Notice of Default, Demand for Performance and Reservation of Right to Require
     Repurchase Pursuant to Partnership Agreement dated February 28, 2017 (the "Notice of
     Default"). Additionally, the General Partner has failed to cause the Partnership to cure the
     defaults set forth in that certain Notice of Reservation of Rights dated May 23, 2017 from
     JPMorgan Chase Bank, N.A., such that a Permitted Loan Event of Default has now been
     declared, among other repurchase triggers. Pursuant to Section 5.l(c)(l), Section 5.l(c)(3) and
     Section 5.1(0 of the Partnership Agreement, this letter shall serve as written notice to General
     Partner demanding repurchase of the Limited Partners' respective interests in the Partnership at
     the purchase price outlined in Section 5.2 of the Partnership Agreement. Pursuant to the terms of
     Section 5.3 of the Partnership Agreement, the full amount of the purchase price must be paid
     by General Partner to each Limited Partner within thirty (30) days from the date hereof,
     the same being July 7, 2017, and any failure to so timely make such payment will result in
     interest accruing as set forth therein.

              (ii)   NOTICE OF REMOVAL OF GENERAL PARTNER PURSUANT TO
                     SECTION 7.7(c) OF THE PARTNERSHIP AGREEMENT AND NOTICE
                     OF EVENT OF WITHDRAWAL OF GENERAL PARTNER PURSUANT
                     TO SECTION 9.1 OF THE PARTNERSIDP AGREEMENT

             The General Partner continues to be in breach of and in default under the Partnership
     Agreement as provided in the Notice of Default, among other defaults. These include, by way of
     example, but without limitation: (i) the failures referenced in the Notice of Default, and (ii)
     uncured defaults under Permitted Loans as set forth in Section 7.7(a)(7). These failures
     constitute, both separately and in the aggregate, grounds for removal of General Partner as
     general partner pursuant to Section 7.7(c) of the Partnership Agreement. Pursuant to the terms of
     the Partnership Agreement, this letter shall serve as a notice from the Special Limited Partner of
     the removal of the General Partner as a general partner of the Partnership (the "Removal").

             Please be advised that the Removal constitutes an Event of Withdrawal under the
     Partnership Agreement and such Event of Withdrawal is in violation of Section 9.1 of the
     Partnership Agreement. As a result, the General Partner is no longer the general partner of the
     Partnership. In addition to all other legal remedies which may be pursued, the General Partner
     relinquishes to the Special Limited Partner (or its designee) the General Partner's entire
     Partnership interest and all unpaid fees from the Partnership to the General Partner and its
     Affiliates, including without limitation, any unpaid fees, deferred development fees,
     reimbursements of amounts advanced or other amounts distributions, profits, deferred fees and
     other amounts, whether earned or not. In particular, payment of the Deferred Development Fee
     is deferred in accordance with the Partnership Agreement. Per Section 9.1, the General Partner
     shall remain liable for all of its obligations under the Partnership Agreement, including, without



     DAL:956266.1




CONFIDENTIAL                                                                  PLAINTIFFS 00008031
         Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 177 of 187



     2013 Travis Oak Creek GP, LLC
     June 7, 2017
     Page 3



     limitation, Capital Contributions relating to the Deferred Development Fee, Adjustment
     Amounts relating to any recapture or reduction of Tax Credits, and every other obligation of the
     General Partner set forth in the Partnership Agreement. Demand is hereby made for the General
     Partner to deliver to the Special Limited Partner any and all documents and information relating
     to the Partnership currently in the General Partner's possession, including but not limited to all
     Partnership books, records, reports and accounts. Failure to do so will in no way impact or affect
     the fact that the General Partner is no longer a general partner of the Partnership. Furthermore,
     demand is made for the General Partner to transfer to the Special Limited Partner complete
     control of all funds currently held by or on behalf of the Partnership.

             Alternatively, to the extent the General Partner's interests were not relinquished in
     accordance with the foregoing, Section 7.7{c) of the Partnership Agreement further provides that
     effective upon the removal of General Partner, the Special Limited Partner or its designee
     automatically shall become a general partner and acquire the interest of the removed or
     withdrawn general partner in consideration of the lesser of a cash payment of $100.00 or the
     amount of the removed General Partner's Capital Account, less any damages to the Partnership
     connected with removal. Accordingly, please be advised that the Special Limited Partner shall
     automatically become the successor general partner pursuant to Section 7.7{c){l) of the
     Partnership Agreement, as applicable. Enclosed is this firm's check provided to you on behalf of
     the Special Limited Partner payable to the order of General Partner in the amount of$100.00.

             This letter is not intended to recite each and every agreement, right or obligation of
     General Partner or agreement, right or obligation of the Partnership or any Limited Partner in
     connection with General Partner's removal as a general partner or otherwise, so General Partner
     should not infer from the absence of a reference herein to any such other right or obligation that
     either the Partnership or the Limited Partners intend not to honor such right or perform such
     obligation to the extent required under the Partnership Agreement.

             We remind you that Section 7.7(d) of the Partnership Agreement provides that effective
     upon the removal of a general partner, such general partner continues to be liable for its
     obligations under the Partnership Agreement, except as specifically limited by the terms of
     Section 7.7{d). Moreover, Section 7.7 grants the Special Limited Partner an irrevocable power
     of attorney, coupled with an interest, to take all action and do all things necessary or appropriate
     to implement and carry out the provisions of Section 7.7 of the Partnership Agreement.

             The Partnership and its Limited Partners have incurred or suffered significant costs,
     expenses, obligations, liabilities, losses and damages, and will continue to do so in the future as a
     result of General Partner's conduct, including without limitation its failure to perform its
     agreements and obligations under the Partnership Agreement. Please know that the Partnership
     and the Limited Partners intend to avail themselves of any offset rights which they may be
     directly or indirectly entitled to under the Partnership Agreement or otherwise.




     DAL:956266.1




CONFIDENTIAL                                                                   PLAINTIFFS 00008032
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 178 of 187



     2013 Travis Oak Creek GP, LLC
     June 7, 2017
     Page4



             General Partner and its officers, directors, shareholders, members, employees, attorneys,
     accountants, agents and representatives are hereby expressly prohibited from (i) holding General
     Partner out as a general partner or other authorized agent or signatory of the Partnership to any
     third party (including, without limitation, any financial institution holding Partnership funds on
     deposit or in escrow and any property manager or leasing agent for the Project), (ii) expending
     Partnership funds or incurring costs or expenses on the Partnership's behalf, (iii) taking any
     action with the intent to bind, or that would bind, the Partnership to any monetary or non-
     monetary obligation of whatever kind or nature (including, without limitation, the ratification,
     modification, extension or enlargement of any existing obligation), or (iv) taking any other
     action with respect to the Partnership that is reserved to a general partner generally, or to General
     Partner specifically, under the Partnership Agreement or applicable law. To the extent General
     Partner possessed any of the foregoing rights and powers in its former capacity as general partner
     under the Partnership Agreement, all such rights and powers are hereby revoked.

            Furthermore, and in addition to all other demands, requests and notices set forth in this
    letter or in previous correspondence or communications, demand is hereby made that General
    Partner tum over any and all books and records, reports (including, without limitation, reports to
    be completed or distributed to any Partners pursuant to the terms of the Partnership Agreement)
    and other items in its possession relating, in whole or in part, directly or indirectly, to the
    Partnership or General Partner in its former capacity as a general partner. Please further advise,
    in writing, as to the status of all reporting and other delivery obligations that are in progress.
    Without limiting the generality of the foregoing, demand is hereby made that General Partner
    tum over any and all documents, agreements, contracts, records, reports, correspondence,
    communications, notices, surveys, plans, specifications and any and all other materials of
    whatever kind or nature (including, without limitation, electronic copies of the foregoing) in
    General Partner' possession or control relating to (i) any construction, improvements, additions,
    modifications, repairs, replacements or maintenance to the Project (including, without limitation,
    any work in progress and contemplated work not yet commenced), and (ii) any claim or
    threatened claim by any party against the Project or the Partnership. All of the foregoing
    information and materials should be delivered to Kathleen J. Wu, as counsel for the Limited
    Partners, 1717 Main Street, Suite 3700, Dallas, TX 75201; Phone 214.659.4448, either by hand
    delivery or certified U.S. mail, return receipt requested, no later than ten (10) days following the
    date of this letter.

            Neither this letter nor any previous or contemporaneous correspondence or other
    communications (including all communications directly from or on behalf of the Limited
    Partners) is intended to be, nor should it be construed as, an election of remedies by either of the
    Limited Partners or a waiver of any rights, benefits, agreements, remedies or recourses to which
    either of them may be entitled. Each of the Limited Partners hereby reserves any and all rights,
    remedies, agreements, benefits and recourses available to it under the Partnership Agreement or
    any other agreement, document or instrument to which either of the Limited Partners is a party or
    possesses rights as a direct or third party beneficiary, or otherwise at law or in equity, together



    DAL:956266.1




CONFIDENTIAL                                                                    PLAINTIFFS 00008033
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 179 of 187



     2013 Travis Oak Creek GP, LLC
     June 7, 2017
     Page S



     with any and all claims, counterclaims or defenses the Limited Partners may have under the
     Partnership Agreement or otherwise at law or in equity in connection with any negligence,
     misconduct, or otherwise on the part of General Partner. The Limited Partners continue to
     reserve the right to seek recovery of any and all costs, expenses, damages and other recoverable
     amounts, whether or not demanded hereunder, including, without limitation, any actual, punitive
     or other damages. The recital herein of any default under the Partnership Agreement shall not be
     deemed a waiver of any other events of default, conditions or circumstances that exist but not
     specified or which may occur at a later date regardless of whether the same are known to the
     Limited Partners.

              If any party who receives this letter is a debtor in a bankruptcy subject to the provisions
     of the United States Bankruptcy Code (Title 11 of the United States Code) (the "Code"), this
     letter is merely intended to be written notice that formal demand has been made in compliance
     with the Partnership Agreement and applicable law. This letter is not an act to collect, assess or
     recover a claim against you, nor is this letter intended to violate any provisions of the Code. Any
     and all claims that the Limited Partners assert against General Partner will be properly asserted
     in compliance with the Code in its respective bankruptcy proceedings.

              Thank you for your immediate attention to this important matter.

                                                   Very     y yours,

                                                          ~LA__
                                                        leenJ. Wu

     cc:      Chaiken & Chaiken, P .C.                    VIA FEDEX, CERTIFIED MAIL,
              5801 Tennyson Parkway, Suite 440            RETURN RECEIPT REQUESTED,
              Plano, Texas 75024                          U.S. MAIL AND EMAIL
              Attn: Kenneth B. Chaiken, Esq.              (kchaiken@chaikenlaw.com)

              Rene 0. Campos                              VIA FEDEX, CERTIFIED MAIL,
              603 W 8th Street                            RETURN RECEIPT REQUESTED,
              Austin, Texas 78701                         AND U.S. MAIL

              2013 Travis Oak Creek Developer, Inc.       VIA FEDEX, CERTIFIED MAIL,
              603 W 8th Street                            RETURN RECEIPT REQUESTED,
              Austin, Texas 78701                         AND U.S. MAIL
              Attn: Rene 0. Campos




     DAL:956266.1




CONFIDENTIAL                                                                     PLAINTIFFS 00008034
           Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 180 of 187



       2013 Travis Oak Creek GP, LLC
       June 7, 2017
       Page 6



                 Chula Investments, Ltd.      VIA FEDEX, CERTIFIED MAIL,
                 603 W 8th Street             RETURN RECEIPT REQUESTED,
                 Austin, Texas 78701          AND U.S. MAIL
                 Attn: Rene 0. Campos

                 Mr. J. Kirk Standly          VIA EMAIL

                 Joy O'Brien, Esq.            VIA EMAIL
                 Mr. David Hasselwander       VIA EMAIL
                 Ms. Lisa Williams            VIA EMAIL




       DAL:956266. l



CONFIDENTIAL
                                                          PLAINTIFFS_00008035
                                                                                                                                                                       \0
                                                                                                                                                                       c'1
                                                                                                                                                                       O
                                                                                                                                                                       @
                                                                                                                                                                       O
                                                                                                                                                                       O
Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 181 of 187




                                                                                                                                                                       a     I
                                                                                                                                                                       ttr
                                                                                                                                                                       ftr
                                                                                                                                                                       H
                                                                                                                                                                       ts
                                                                                                                                                                       z
                                                                                                                                                                       H
                                                                                                                                                                       F1
                                                                                                                                                                       Ol
                                                                                      croos ugE   lril   E0OOI   I I ir.' rrrE5 I I t Orll
                                                                                                                   \fN'lu3g otrqC uESrotrdf
                                                                                                                                                       -t
                                                                                                                                                                :;i
                                                                                                                                                            ro u30uo
                                                                                                                                                              sHlOr
                                                                                                                                                                AVd
                                                                              @aLva
                                                                                 1?                                              L0z9z svxllrs\fl]vo
                                                                     orrr-I9-Zg                                                                   zfll
                                                                                                                               001e SJns "rs Nlvt l
                                                                     ffi4WlL
                                                                     RrudiEg                                                    INnoccv gNr.tvH3do
                                                                                                                            d1.l l{tuny,sIy\3HQNV
                                                                                                                                                                       Fl
                                                                     89TZZ
                                                                                                                                                                       H
                                                                                                                                                                       H
                                                                                                                                                                       z
                                                                                                                                                                       t'l
                                                                                                                                                                       o
                                                                                                                                                                       H
                                                                                                                                                                       ftr
                                                                                                                                                                       z
       Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 182 of 187
I

                                                                                             irtT   lr,lainslre+!| s$iis.3?00
    AN D REWS
    Gtukq#ffiHrH                                                                             Daltds,iiirias lEior
                                                                                             ?l{i65$4400rPhqite
                                                                                             tl&65sj4401 Ftx,
                                                                                             andrqglpnh-gg.m

                                                                                             l(aihlebh J;Wu
                                                                                             ,?t465pi{44,f PhpnB
                                                                                             hm€eHlprm



                                                June 16,,201?



    .ViA TTAND.DATIVDRY

    2013 Travis Oak Creek GP, LLC
    603 W Bth Street
    Austin, Tpxas 7S70i
    Attn: Rene Campon

    Re:      Amnn{ed and Restatsd Agr'*mc.n! of'Limired.Fartnership of'20l3,T*av,i* Orik Crtek, LP"
             a ?oxas:liffiited pamcrsfip.,t*A "firnertniptl, Uated as of May ?g- 1014 {with any
            an:esdr1ents aud modificatisn$ thoreto spgcitically approved in writing by the lisdts€
            partnors, tbe "Pa:rtnershlip Agreemento'), among ?013 Travis Oak Crcek GP,,LI-C, a
            i'sxas limitsd liability company (the "Firs, Gi"'), PNC, Bank Natiplral A*rocjatiqq n
             nationa! banking association (the "Investm€nt'Lhnitcd Partnef'),'and Columbia llousing
            ,$LP Corporation, an O.regon corporation ("Colunbia I'Iousing," together with the
            Inva-gtrnent Lirnited Partnor. thg "&etrnihin g Paflrrer{',


            til.$Ur}LSM&I|ITA,t.t1$OsIcS O$'nXMOyAt Of ?Hn ITnST CP PURSUANT
            TO $SCTION ?"?fc) oF THE PARTNSR$I{| AGRtrI'IWENT A]rD        (ii)
            $UPPLrcMNNIUL NOTICE OFEYENT OS WITITDRAWALOT THE FIRST GP
            PUkSUANT T() SECTION 9;I O-F THE pAnThlEn$ruIP A$RSEME}{T


    Ladies and,Osntlemen:

            As you know, this firnn,rs.pregentq arrd writes to youcn boha,lf of the Rcmaining Fartners.
    eapitnlized totllll; ilot defined hefeiu sheil hnvs the meaning asoriberl to thsm in'the Paftrier,$hip
    Agrcemgnt.

             (r) SUPpLDMSNTAL NOTICE OF REMOVAL Orf THU        rIA'St Cp pUnSUAr'm
             to    spcTlott z;it"l otr 'Tfm PAnTNsnsHlp     aGRaE${EI\{{T AND (ii)
             snpPr,sMsNTA,L NoficE oF D'vENr CIr WJ{mRAwAt CIr'TI{E FrRST Gr
             PT]NSUAFTT tb SNCITTOU P;i OS TflI} FANTN$NSffTP ASRSEIVTANT

            The First GP eontinues to be in breach of and in default under the Partnership Agreement
    a*p-rovided in thal uertain Nstice of D.efault, Demand for Perfotmance and Rsseryation of *tght
    to Requirc Repurchase Purs-umt t-o pqrtnei$hip Agreeiaerrt dnted'Februaryi?-& 2017'lrbe"Notia
    ol Dsiilnlt't) arid in that esftilin (i) Demand fcl Repurcha*e of timits{t Fartnet in-ter,ests arrd, (ii)
    Notice of Removal of 'tlre First 6P Pursuant lo Ssclion,.?.?{c} of the Fattnership Agreerneqt *ud


    DALi959313;l
                                                                EXHIBIT
                                                        it
                                                        .c
                                                        o
                                                        I
                                                        g
                                                                                           2013TOGP 000020
      Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 183 of 187
                                                                                                            {r


20 1 3'.Travisl0dk :Crcek GP,,   LLC
June 16,20!?
 E'tge2;

liii)''Notice, of,Evsnt of Withdrawal of the First GP Pursuanl to Se,ctionr9,1 of the Partner:ship
.{gree.rnentrdated June 7"2}1it (ther'iFirsr Not{ce of'Re4oval"), anrong ot.her defaultS. These;
:lnclUde-by *ay of,,6xarnple, liut without limitation: (i) tho failures t'cfcrbficed iii'tho Nbtice of
Default antl the Fjrst Natice of Remo-val; (iD the failure to achiove Final Construction
Completion b.y March 1, ZO16; (iiD 2013 Travis Oak Cree* GP, LLC's voluntary
sorilnoncoment of ieeeiversbip piocscdings agalnst: the Partneflrhip; and (jv) existence,of, a,
 pending'suit that,fo.respeabiy wou-id;materiaily and,adversely affect oppral,iofr$ o-f:thirFartrtership,
 orProjectth4t. ha*not been bonded aigainst. The$9,,fai!$.i'es conslitute,rbo$,$bpii.rgtdXr.dnilin the
 acgreiatE ;grounds fot'removal'oi ttri:Flrst CC ur Ben;iol Bartuer.pursoant,'ts sentionilf ;?(p1:ot
 t}e Partnership,Agreement. Pursuant to the terms of the Partnershrp Agreement, this letter shall
,selts,Bs a supplernontal notiee ftom Colutnbia Housing of the remdval of the First GP: as a
 general.paftnelof the: Part nership (the' t' Removd\t,

        Please be advised that the Removal constitutes another Event of Withdrawal under the
'Partneship .Apeement in addition
                                   to the,one described in;Ure;Fi*t Notice of $ernoval ,and that
'the oiirrent EVen[ of Withdrawal is again        in violation of $ectisn g.l of the Pannership
Agieementi As a retiult a$d,in addition to,the Event of Withdrawal desorihed in ihe,,'FirstNotice,
of,Rernoval- the.First ,GF is no lo.ng+r thc general partner of the Partnorshlp, In addition to all
Otber,lsgatr 'remedies which rnay bo prrsued, ,the First GP -has pretiously :nelinquirhed to
Cptumbia Hqusing the,Firs,t :G-Fts,ontiro P.artnership inthregt alrd all unpaicl fees fron rthe
Partnership to the First GF and itb Affiliates, includittg without limitation, ana uupaid fees,
tlefeutd developrnent fees, rei,qhursenents'of amounts advancgd or other,amounts distributioac,
profil$, def0fred feps :and g.th,eJ amhuntsi whether earned or notr such evehts beiug {urthel
csnfinned,by, the instant Notice. Irt particular, pa/rnent of tho Defeilrd Development, Fee has
been,and is new,agajn defer:red,in aocprdnnse withithe Partlership Agree.msnt, F,gr,,$eeiion9.l,
the,Fii'st GF Continr:es to retnaih liable,forrall of its:ob,ligations undor:the Partnefs 1ip Aggeernonti
including-, without lirnitation, Capital Connibutions relatiag to the D,ef,Ened Developnaenr F,oe;
 Adjustment Amounts rclating Io any recapture or reduction of Tax Credits, and every olher
 obligation of the First GP set forth in the Partnership Agreement: Demahd is again hereby made
 tor the Firs-t,GFto delivcr to Columbiall,ousiug.*nL arlel all documents'and h$o-lnoation re-lating
 to the Prirtnefship'cuffently irt, the .Fit'st GP'S,trtoi$'es$ibtir.,includingbut,not trimitletl to,aU
'p,artnerslrip books,'r:6cords, reports, and acceurlts. Failure to:  d   so will ,in uo. w,ay,irnoact or
 affegt the fact that the First GP is no fonger'a general pa$nej of the Partnership. Fnrthermote;
 domand is,again made fot thrt rFifst GP to,transfer to,Columbia,Ilouslng complete,control rof all
 funds currently hcld by or on behalf of'the Partnership,

         Alternatively, to, the extent the Fiist GFrs inters-,!,tgs we-re not relinquished in accoftncg
 with the foregoing, Sbction ?.7(.c) of the Partnership Agreement furthei provides that effective
 upon the rernoval of the Fir.st GP, Columbia Housing or its designee automalically shall,becorne
 a general partner and acquire the intelest of the removed or rvithdiawn general p4r-tner in
,co'nstderation of thei .lesser',of a cash poym€nt oi $,100,00 of, the:ramount oi'the removed the,First
r0Pls Catrlital Aecouul,
                               fess any' damages to tbe Partnefship connected with rernsval.
Aceoldingly, piease be advised that Colurnbia l:lousihg has previously dnd automatically become
,the successor geueral pafttrer pursuant to Ssslion 7.7l (:l) of 'tbe Partnership Agreement; a.5




DAL:P59X.13,1




                                                                                       2013TOGP 000021
      Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 184 of 187
I


    2013'Travi5,96q Creoa 6P,, LLC
    Juno,l6,,20l7
    Papi
    applicable, To the extent rcquired at tlris time, enclosed is an addilional check,proVldod to you on
    hehalf of Colulnbia tlousiflg patable tolhe order of the Firct GP in the arnount of $100.00,

              Tlris letter is not intended'to iecjto each and every,agreemeut, right oi obligation of the
    First SPr or agresment, :right or, obligation of the F iershtp or any Remaining' Farlncr rin
    qonnepJion With ttre Fir$t GP'r rgmoval as.a generial parlner:or otherwise, so'the.'Fi,rst 6,P,should
    not,ipf.s-r frorn the absonce of a refere$cs,'heiejn torailX $uch,olhof $$f or obligation,that eithtr
    the Fartnership or tho Remaining Partners intend not tCI ircinor such right:otl'pcrfoml, $Ueh
    gbligation to ths, nxtertt rgqqired und€r tho F.artr.rerehip Agrcementi

            trVe-relnind you that gpciion     ?;?(il of the Partnership Agreernent provides that effsctive
    upon the remoVal      of n  general    partner;   such general p$rtner continues to be liable for its
    obligations,undc.r tbe Fsrtnsrslrip: A$. snent, G*eept a.* speu'ifleally limited by the tenls sf
    SeOtiort f:l(dt, Moteovei ,$eptiorl ?.? gr-ants C-oiurnbia Housing: sn ,irrevpeabl$ pqwer ,of,
    attolf.tpfi couplcd with ,an intere$t,, tb t{kg, all ,ag1i"on and do dl. things necess$ry or apptopriate, to
    irnploment and canyout thc:provisisns sf$lciibq 7,? of the,Partoeishlp Agreement.

            The Padnership and         Remaining Purtnerc have incuned or suffered significant costs,
                                   ,its,
    e1psnsc$, obligetipns" liabilitios,losses $rd.damages, and     will continue to do so in the futufe;al,a
    ib$utf of ths F,irst GP's,conduc1,.incl$ding:without liuri-tation itq:fttilu,re ta perforn its agreerncnt!
    and obligaiiors under the Partnership Agrecment, Please know that thc Fartnership and the
    Remaining Partners intend to aveil themsclves of any offset righu which they may be directly or
    indi:rectly entitlcd to under the Pafrnership Agreement or otberwise.

            The First GP and its officers, directors; shareholdersi tnofirbers, ernployees, attorneyg,
    aecsrrRt_aqts, ags.nts .and wpresentA$ve$ wore previougly afld ars,,heroby again expressl,y.
    Brohibileil fro{n  (i)h   ding iho,first GP.out:0s,a gerr-e{al pqrtner,o-r,ollrel: authorized agent or
    iignatory ol' the Partncrship to an11 third purty (including,, without limitatinn. any financial
    institution holding Partnership funds on deposit or in escrow and any prgpprty {nanager or
    lensing agenl for thb Project), {ii) expending Pafiuorship fdnds Or inourring costs or expense.s on
    ths Partner$lrip:g,bebalf, Sii) lnkiog a$y autioil rpith tlre intsnt lo bind, or that would-blndr,tfre
    Fartnurship to*ry munatary: of uonumonot J,oltigatib-n,of *hatover kind or nature (including,
    wjtlrout limitntisn, ths, ratifioation, lnodification, extension or enlargement of any existirig
    obJigallon) or (iv) laking any other action wilh ryppel to:thp P.$lnsr-ship that is resorrybd,,to:a
    geaeral pariner generally, or tc the Firsl GP:speclfifo{y, thd$f thp P,artne -}rip Agqesnsni ol
    appJicable.la!.v, To the,extent the Ffust OP possessed :any of the fotqgc.ring rights,_a1d pow€r$ in its
    foirnel capacity as general partner undorthe:P, ar}nersbip Agfgem*nt, all such rights and porvi:rs
    were preniously and hereby again rcvoked.

             Furthermore, and in addition to all other demands, requests, and supplemental aotices sst
    forth in,thip'.leiter or,in previous correspondencs or communtcution$, dernand is hgreb,yma$e lpx
    the- Firs1- Sp tufn over nny anel all books and ,recpr{$,,rqpor!$,;$,q udiug, wirhout limitati'on;
    repoft$ ,to e *ompleted or disffiunlt,to any Pafiners pursuant to,the temrs of the Patuetship
    Agrspmpnt),,end o-thcritsE$ iir,ilrrposses$ion rolating, in whole or in part; directly o*:indirecttlr
    to the Flutnei:ship or the Firut GP in its, former capacity as a geiuoral $nrtner.,Pleu$.e, fur'rhb*


    DAL:959113.1




                                                                                             2013TOGP 000022
     Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 185 of 187



?013 Travis Oalc Creek0P,    LLC
Juns 16, ?01?
P.age 4


ndvise, in writing,, a$ to thb status of all roportitrg,and other ilelivery obligations that 6re ifi
progrs$$. Without limiting the generality of the foregoing, demand is hereby made that tho Fir*t
GP tum ovcr anf and all dbc0ments, aBr sment$i conlr4ct$, rccordtr,re$orKi estfgspondencs'
eorrmunicatioi$; notise$, survey$, plnnsi spqificario;s and any and,, all CIth$f rnaierials of
whatever kind or nature (including, *ithout limitation, eJbclronio copies of the foregoing),in the
First'GP's possession or control relating: to         (i)any con$truction, improvcments, additions,
ruodificaiion$n:rc_pairsi,rsplace-msntt ol.maintonance,tothe P,rojact{in'c..l    i.ug'rYi utli tafign-
arill"woik in progg63. and contempl+tp.d work not yet edrilnrtlliecd), arrd (it) any ciaim, or.
thrsatoneiJ clairu bry,a!)' rpart-If 'agdrtst the F'mjecr or the Partfiersid$, Alf of ttre .foregplng
:infornration anelrnalqrials should bE dclivered,ts Kathlesn J. Wu, as counssl fst tlie,R*maining
P: , 1717 Main $tree[, Suits 3700, Dafias, TX,?5201; Phono:,2l4,659.4448" oith,E by hand
de-livery oJ cortilieCl U.S. mail, retur:n receipt rcqps$ted, no lhter than ten (10) day.s following the
dateroftbis.letter.

        Neither this lelter nor any p.revious or con{emporaneout conespondqrce ot other
conrmunications (including atl connmunjeations directly frorn or on behalf of the Remaining
Partners) is intended to be, nor should it be construed as, an clection of remedies by either of the
Renrnining Fattners or a 'waiver of any, ri'ghts, benefits, agreements; ,ie. medies ur nxoul*es to:
whicb eithrr of them ,rnay be entitled" Each of .the Remaining Fartners lrereby rnserves aRy and
all rights, remedies, &greem€nls, benefits, and recourses available to it under the Partnership
Agrcement ol any othtr agryemeit, document of instfilrt€ill to which either of the Remaining
Partners is a party or posses$es rights as a direct or third parly beneficiary, or otherwise at law or
in egulty; togqtheJ with any anil,all.cJniEs,,aountsr-s-jainr$ or defenses the Remnining Partnem
rnAy h[ve under the'Fartnorship Agrcement or otherwi.cc at law of in equity in connection with
any, negligunee, ,t::tisspnduct, orr-ot$gr{v,ige on the p-art of ths Fjrr!:6}. TIre Remai$itrg Fartners
con$nuc tg, resgrve,the righr [o, sek nrcov.,ery of ahy and all co$ts. Bl;lshso$; ilamages       ,
                                                                                                tt other
reCoverabls srnsuntsr whether ur not;,,dsnuildsd hpreunder;,i1t-tb*nn, wiihout,Iimltaiion, unlr
actual, punitivq ot ,otbBr damuges. The qeqital h-c.ryin of any default'nnder tbe Pnrtnership
Agreement shall not bc deerned a waiver of any othsr Events of Default, conditions or
circu$staneeq ihqt exist,bu,t .tr0t, sps$ifrpd or wllish, rnay occur a[ e lqter date regardleg.r of
whether the sarne are:knowrr to the Remaining Fnrtners, including but not limited lo all Events of
Default,idcntifi ed in the Fi$t Notico of Rernovcl.

         If auy party'who receivcs this letter is a debtor in a bankruptcy subjcct to:the ptovl$ions
of the uniled $tates.Bank[uprcy code (Tirle         ll   iof the united $tatc,s codp) (ths'ic.CIdel), thi$
lotter is rn*erely intended to be wtitten supplemental noticb that fomal demand ha* been mude in
complinnec with the farmership Agreemenr and ,applicrible:trau this l'etter is nst $n act to
collect; a.s$e$s oi, r€covsr a ctai'm'against'yor.rr nor ls this lottet:inteidsd to violfi$ eiuy,provlsious,
of the Code. Any and all claims that the Rernaining Partners ussert againsl the First OP will tre
properly assetted,in cornptriance.,with tho Code in its respective bankruptcy proceedings:




DAL:959313;l




                                                                                         2013TOGP 000023
   Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 186 of 187



2013 Trayjs,0ak'Creek S-P, LLC:
.Iune 16,201?
llnge 5

         Thank you for your immediatc attention to thi.s important matter.




         Ctaiken&ehaiken, P,Cr                        VIA TIAND DELIVENY AI{D
         5801 Tennyson Parkwayi Suite440              Wry.tawcamt
         fhns, Toxgs 75OW
         Attn: Kenieth B, Chaikun,,Hsq.

         Rgpe'0..Campos                               VIA I{AND DELIVrORY
         603 W Bth'${rest
         Austin'Texas ?8?0.1

         ?013 Tr,avis Oak Creek De'veloper,,Xnq       YIA HAND DELIV})RY
         603 W 8th $trcat
         Austirr, Tixa-s ?S?01
         Attn: Rene O. Carnpos

         Ctiula Invsstments, IJd.                     vIA IlAup*,llEIJllffiRY
         603.1W-8th $tree[
                 jTeNas
         AustiR,        7S?0t
         Att$ Rene O" Carnpos
         Joy'OiBrien, Esq;,                           VTA
                                                      ry  SMAIT
         Mr,, David, H*spel*ander'                    VIA DMATI,
         Ms.,LisaWilliams                             ;ffi




nAL9593r,3.l




                                                                                2013TOGP 000024
                                                                                                    22L6L
           ANDREWS KURTH LLP
              OPERATING ACCOUNT
            1717 MA|N ST., SU|TE 3700
              DALLAS, TEXAS 75201                                                                   32-61.1   1   10

PAY
                                                                                  o^,. U*(@:11
TO   THE                                                  G
ORDER
                                                                 K                         $      1.CC,0a
                                                         \rod                               DOL

                           J.PMorgan .


                        nr[l I   I   LE   lrr. ri t M008lt.'t!       88CI   5000 I I0n.
                                                                                                                              Case 1:17-cv-00584-RP Document 72-3 Filed 07/25/17 Page 187 of 187




                                                                                                   2013TOGP 000025

                                                                                                                       r-.'
